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 Region     Child Name   Date of Incident       Location                                                                             Description

                                                                            was in the garage with Office Morgan. She was trying to get his attention, but he wasn’t giving it to her. She started spraying body spray
                                                                 towards him after he asked her not to. She was saying it was pepper spray. She came in and tried to spray it on             (cw) but she took the spray
                                                              nozzle off of it. She was doing a lot of horse playing and Officer Morgan came in and told her to stop and go settle down in a stern manner. It was shift
                                                                change, so she walked             (cw) out to her car. We were all outside at this point. They came back up to the house and she ran in and locked the
                                                              door. As that was happening,              stated she said she was going to cut herself. She went into her room and acted like she didn’t hear us knocking.
                                                               Officer Morgan banged on the door and threatened to break it down if she didn’t open it. She unlocked the door. We all went in. She ran over to the
                                                                   short dresser that was up against the wall in the living room. It had a salt container on it. She grabbed it and ran into the room. Officer Morgan
                                                             immediately went after her. She had torn the metal spout off the container. He grabbed her and asked her to give it to him. At this point, she had both
                                                             of her arms behind her, holding her wrist together. She was resisting but he managed to find the metal piece in her pocket and gave it to me. She kept
Region 8A                  2/20/2022
                                                             resisting so he handcuffed her and asked if I would call county. I did. He ED’d her. County arrived and she was sent to SA Behavioral for an assessment.
                                                              I followed along with Officer Morgan (BCSO request). Officer Morgan left SA Behavioral after he made sure they no longer needed anything from him.
                                                                  According to Officer Morgan, she had mentioned a few times about cutting herself. He acted quickly on the knowledge that she had been talking
                                                                  about it and she has a history of self-harm. Once at SA Behavioral, she started out refusing to cooperate. She stated to me she wanted to leave. I
                                                             stated that we were there, and I couldn’t take her anywhere. She kept saying Dr. Poke said she can’t come there. I stated I had no knowledge of that. I
                                                             stated that she is there and there are 3-5 staff members standing her that will help her do what she needs to do, or she could just do it voluntarily. She
                                                                  cooperated somewhat. She did tell the intake person she didn’t have anything to inflict harm on herself. I eventually corrected that. She shut the
                                                               intake assessment down before that and stated she wasn’t answering anymore questions. She went to sleep waiting on them to give her a bed. She
                                                                                                                               was still sleep when I left.



                                                                 Other: Child taken to ER due to left side pain. After          woke up this morning, she ate her breakfast and took her meds around 9:30. She was
                                                                   very talkative and was in a good mood. She mentioned to the workers that her left side was hurting. She said that she could taste blood in her
                                                                mouth. She said that she had a knot in it, felt bloated, and that she had an appointment scheduled to see a liver doctor on 3/2/2022. She said that
                                                              she had started her menstrual cycle today. Around 11:15 she went to bathroom and came out. She asked to speak with Jamie Brown (blue worker) in
                                                               private. They returned and Jamie informed the Worker Stephens that                  said that her side was hurting and she wanted to go the ER.
                                                               came back in the living room area as well and said that she had been having diarrhea for the past couple of days and there was blood in her diarrhea.
                                                                 Worker Stephens recalled seeing discharge papers in her file from going to the ER on 2/19 in which her left side was hurting. The discharge papers
                                                              said for her to put warm compressions on her side and take some Tylenol for pain. Workers noted that there was no Tylenol in her medication box or
                                                                  in the medication closet. She said that she hadn’t had any Tylenol for pain. Worker Stephens contacted her primary CVS worker who contacted
                                                               Melissa Bennett, on-call CVS supervisor, who stated that it would be best to take her to the ER just in case it really was something going on with her.
                                                              Worker Stephens took              to the ER around 12:30 pm. She informed the triage nurse that she had been hurting on her left side for about a week
                                                               and a half. She said her pain scale was in the middle, but more like a 6 or 7. She was placed in a room in the ER. Her urine was collected as she said
                                                               that she needed to go to the bathroom. After waiting a couple of hours, she was finally seen by the doctor. She told the doctor that her left side and
Region 4                   2/27/2022                            abdominal area had been hurting for about a week and a half. She said her back was hurting some as well. She said that had blood in her diarrhea.
                                                              She said that she had diarrhea she knows for the past 3 days, but it may have been longer, she couldn’t remember. She said that she had blood in her
                                                              urine as well. She said that she was having a menstrual cycle, but then said she wasn’t. She was asked if she had blood in her vaginal opening and she
                                                                said that she doesn’t have any blood in her underwear. She said that she has a scar on her vaginal area and an indention, but she isn’t sure where it
                                                                 came from as she’s in foster care and has been since she was little so she doesn’t know why it is there. She said that she is to see a doctor on next
                                                                week, but she is not sure what kind of doctor it is. She said that she thinks it’s about her liver. She said that on last week when she came to the ER,
                                                                she thinks the doctor found something wrong with her blood because she has been on the same medication for 5 years and it may have messed up
                                                                   her liver. A CT scan was ordered. While waiting for the nurses to come get her for the CT, Worker Stephens asked                  when she last had a
                                                                  period. She said that she had one in 2020 and 2021, but not in 2022. She said that since she got her birth control implant, her periods have been
                                                             irregular. After getting the CT scan, the doctor came back in and stated that              has a little inflammation in her intestinal lining and that he would
                                                               be prescribing some antibiotics. Her diagnosis is enteritis. She was prescribed antibiotics and Motrin. Told to make sure she follows up with her PCP
                                                               at get referred to a gastro doctor. They gave her pain meds via IV. After being discharged, her meds were picked up from CVS and taken back to the
                                                              child watch house with her. Made it back around 5:25 pm. She was still in a good mood, did not appear to be in any significant pain, and was ready to
                                                                                                                            go somewhere with the others.


                                                                       became upset because she was told that she would be getting new placement. She became aggressive and broke the dresser drawer from
                                                              an empty bedroom in the house. She was throwing the drawers and that is how they broke.              picked up glass from the house next door and
Region 8A                  2/23/2022                         stated she would get herself ED so that she wouldn’t have to go to her new placement, she stated that she would kill herself. She waved pans at staff.
                                                               CW was able to get the glass away from           CVS worker, CVS Supervisor and             PO were made aware of the situation. LE was called
                                                                and an incident report was made. Incident report was provider to on call Supervisor.         de-escalated and was taken to a new placement.




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 Region     Child Name   Date of Incident       Location                                                                             Description


                                                               Upon arrival the child was already upset and irritated with staff             asked the staff for their phone the staff refused to give the child their phone
                                                               she went on a rant and stated that she has a right to call her mother then walked out the room stating these I am about to leave they are pissing me
                                                               off. Staff allowed          time to cool off by going outside to calm down the child then went into the front office where the receptionist allowed the
                                                              child to use her phone. As staffed approached the front office the child began to state get the fuck out you didn’t give me the phone. This is when the
                                                                receptionist asked the caseworker if she was with CPS, caseworker replied yes then the receptionist asked for her phone back this is when
                                                              turned her aggression to the receptionist by knocking things over in the office then called the receptionist multiple bitches and hoes. Then proceeded
                                                                to tell the receptionist that she will fuck her up, she aint gone do shit, called her a multitude of names because she informed              that she is not
                                                                  supposed to talk to grown up that way. The child proceeded to go to the room to put on some tennis shoes and returned to the office to fight the
                                                              front desk receptionist admin and front office receptionist called 911 to prevent the situation from escalating due the child behavior. Officer Glasgow
                                                                      steeped in to calm the child down but she was not hearing anyone out the office sat down and explained to                  that her actions have
                                                              consequences and that due to her behavior we have to leave because trespassing charges can be implemented the child did not hear the officer at all
Region 6A                  2/21/2022
                                                                  she locked herself in the room so the staff and officer could not get in the room with her.              father arrived at the hotel where he began to
                                                              charge staff up asking who was talking to his daughter and that she is a child caseworker explained to the father how the child was behaving and how
                                                             she approached a grown woman who helped her out by giving her the phone and how she called the lady everything but her name. The father calmed
                                                              down and addressed his child,               about her behavior and how unacceptable it is to speak to adults in such a manner and how she needs to stay
                                                             in a child's place Mr. Noble talked to his daughter for over an hour to get her to calm down. Then HPD arrived on the scene due to the child disturbing
                                                                   the peace and that she had to leave the premises because of her behavior is a disturbance initial she was upset then once she saw HPD was not
                                                               playing with her she begin to pack up stating that she did not want to go to hotel 7 with the current CWOP staff and then another issue arose where
                                                                         did not want to be with CWOP staff but she wanted to go home with her father. Due to her behavior the supervisor agreed to allow the child
                                                                 to stay with her father and her caseworker will pick her up to keep the child from attacking staff due to the behaviors that she has displayed. Once
                                                                          left the premises the caseworker packed her things up and dropped them off at the murworth location where her caseworker will pick her
                                                                                                                                       belonging up.




                                                                  CW Linda Nemec was working with HST Monica Cardenas for the noon-4pm shift awaiting the arrival of youth from discharge from Laurel Ridge
                                                              Psychiatric hospital. Youth was brought into shift by a transporter at 2pm. Shift workers were informed 15yo youth is deaf and she went straight to
                                                               TV to read closed captions cartoons for a few min. She got up and walked out of the room after 20 min. CW and HST followed her and watched her
                                                             from the lobby door because of the 35 degree windy weather. Youth was wearing sweatpants with light sweatshirt and crocs with socks. CW notified
                                                                LE on duty that youth is refusing to reenter the building and LE said CW needs to report it to non emergency SAPD. Youth would look back to see if
                                                               there was a staff member being watched. CW & HST motioned for her to return back and she shook her head no. Youth started walking away from
                                                              hotel location so CW and HST used the state rental car of CW to follow her. HST then went back inside to locate primary CW phone number to notify
                                                                  her of situation. CW contacted PD Robyn Muennink to staff the situation while watching the youth from car. Youth tried to hide behind trees in
Region 8A                  2/25/2022
                                                             parking lot across street and in between two metal portable buildings at the back end of the hotel. CW parked rental car by the portable buildings and
                                                                 asked the other staff on shift for youth who was not there to help HST watch            to fill out shift log report to prepare for end of shift. LE was
                                                                  asked for help because the other staff with HST noticed youth was throwing rocks hard at the rental car when parked. LE handcuffed youth and
                                                             brought back into her room. Youth got aggressive with her upper body trying to knock off work computer and her groceries that were on the desk and
                                                              she kicked the coffee table over. Youth then tried to shove CW as LE intervened again to put her onto the bed. HST called SAPD to make a report for
                                                              EMS to assist with an ED. HST wrote on a tablet to ask the youth if she is wanting to go back to psychiatric hospital and she said yes. CW filed a info
                                                             report with SAPD with officer Ochoa 1223. The report is #SAPD22040463. Fire Department came to the room to evaluate youth and the police were in
                                                                                  process of coming to assist with transport of youth back to Laurel Ridge as CW left the CWOP location at 5:15pm.




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 Region     Child Name   Date of Incident       Location                                                                            Description


                                                                Worker Alicia Mercado and Melody Gaylord were in room 412 with                    . A security guard was also in the room. At approximately 1:25 pm,
                                                                         was talking about how she wanted her phone back from the police officer that took it from her yesterday. The phone was taken during a
                                                                human trafficking sting. The officer told her she would get it back today. She attempted calling the officer, Sergio, a few times and could not reach
                                                              him. She went into the bathroom and locked the door. Staff heard lots of things breaking and being ripped from the wall. Staff moved away from the
                                                              bathroom door and the security guard stood in front of the bathroom door.              came out of the bathroom and walked to the wall next to the bed
                                                             where she ripped out the two bedside lights from the wall. She then moved to the window and ripped down the blinds. She then turned to the TV and
                                                               attempted to rip it out of the wall. She was unable to completely rip it out of the wall but she cracked it. Security was near          Staff began going
                                                                  out of the room.         grabbed Alicia Mercado’s state issued laptop and threw it into the wall. The screen was shattered, and the wall has an
                                                              indentation from the computer hitting it. Staff Gaylord and Mercado went out of the room and into the hall.              came out and towards staff. She
                                                             grabbed the fire extinguisher out of the wall. Staff turned and ran to the emergency exit stairs.         went the other direction and also headed to the
Region 3E                  3/26/2022                           hotel lobby. When staff arrived in the lobby,         was also in the lobby and threw the fire extinguisher towards staff. Staff went towards the front
                                                             desk and front desk staff was already on the phone calling for help.          continued to knock over a janitor’s cart and began grabbing everything she
                                                             could to throw or break. Staff went behind the front desk area for protection. About 6 hotel staff locked themselves in an office while calling 9-1-1 and
                                                               continued to hear sounds of things breaking and being thrown. The security guard was able to place              in handcuffs. By that time the following
                                                               items had been broken: Emergency phone, Coffee station ,Front desk computer monitor 3 toilet tank tops, Shower bar, Towel bar, Lobby Hot water
                                                               urn, Keurig, Microwave, 2 bedside lamps ripped off wall, Overhead lighting lamp shade ripped down from lighting, Television in room- cracked, Wall
                                                              dented in drywall from computer being thrown into it, Fire extinguisher, Ripped shades/blinds down including box that they hang ins, Lamp shade, 2
                                                              hand sanitizer stations, 1 Dell laptop, Threw everything in the pool. Staff Cree Brown, shift lead also reported that         told her that she would put
                                                                her organs on the ground over there, and her head over there (pointing to another spot.) Security guard stated that            told her that she would
                                                                 shoot her but the guard said          was already in handcuffs so she didn’t feel threatened. Once law enforcement arrived and took over for the
                                                                                        security guard,        was arrested. Hotel staff surveyed the damages and reported them to police.




                                                                    was asleep when staff arrived. Contracted worker Ms. Mock attempted to wake               up.      refused to get up. I tried to get    up as well. I
                                                               informed        that I had been directed to take up his electronics and      stated, “I just want you to leave me alone”. Ms. Mock and I attempted to
                                                             wake      up several more times.         stated once to me he would get up however he did not. I consulted with house supervisor Melissa Bennett who
                                                                directed me to contact the school resource office and see I they could come to the location and get           up for school. I contacted Officer Case at
                                                             Henderson ISD who stated he cannot transport          but can come and speak with him. Officer case arrived at approximately 9:30am and attempted to
                                                               wake       up by moving the bed. Officer case took both of          blankets. While Officer case was speaking with          I gathered       TV, DVR, fan,
                                                              radio and his headphones. When I took            headphones from the floor, he got very angry and got out of bed.           began coming towards me and
Region 4                    3/3/2022
                                                                  the officer redirected him to the common area while I took the electronic items and locked them in the far hall closet.           began cursing and
                                                                 continued attempting to get to me. The officer continued to redirect                was cursing at staff and the officer.      continue attempting to
                                                               approach me, so the officer put       in handcuffs while I finished locking the items in the closet as I had to make 3 trips. I did not observe     being
                                                              handcuffed. The officer made several phone calls and then talked to           about calming down. During this time,         began crying and said he would
                                                             remain calm. The officer removed the handcuffs. Ms. Mock, myself and the officer spoke with               for approximately 45 minutes about his behaviors.
                                                                   remained calm and expressed worry about being away from his siblings if he went to Arkansas.              agreed to go to his appointments on Friday
                                                                  and then go to school after the appointments.         remained calm the rest of the 8am-12pm shift, ate breakfast and baked a cake with staff.


                                                             Around 6:30PM              stated that she would like to go to the ER because she was having body aches and her head was hurting. Caseworker took
                                                                       to the ER at 7:00PM.            was checked into the ER at 7:21. She was checked out by the Dr. She was tested for the Flu, and for COVID.
Region 5                    3/2/2022                         She was given a prescription for some nausea medication, and told to call the ER back in two hours to receive the results for the Flu and COVID test.
                                                               Elizabeth Moro notified PA, Tasha McFarland on 3/03/22 that the COVID and FLU test results were both negative. Child had treatment at ER for
                                                                                                            cold/flu like symptoms. Negative flu and COVID tests.




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 Region     Child Name   Date of Incident       Location                                                                             Description


                                                                    had left with CW Leazer to go to Target for tortillas.     returned at approximately 1:00 PM. Peer made           quesadillas and played Nintendo
                                                                Switch. Peer escalated in a separate incident and         became upset and agitated.       calmed himself down and went out of the room with CW
                                                              Boedeker. On-duty security was with peer when             became agitated and upset and CW Boedeker and on-duty security followed            at 2:30 PM.
                                                                        became verbally aggressive, threatening on-duty security and CW Boedeker, and began hitting the elevator buttons, walls, doors, flipping
                                                                trashcans in the hallway, wandering through the hotel, and was hitting random room doors.           would then walk off the hotel property to Olive
                                                              Garden next door. Staff remained in line of sight with              continued walking through the hotel, hitting doors and walls in the hotel, hiding in
                                                                rooms that were restricted, and finally came and sat down outside the rooms.          then went to the first floor and went to the restricted electric
                                                              room next to the elevator. As shift change was occurring with staff and on-duty security, the leaving on-duty security went to the front desk to have
                                                             the hotel staff unlock the door and the oncoming on-duty security assisted CW Boedeker with getting            out of the room and escorted         to the
Region 8B                   3/6/2022                            hotel room and had him sit on the bed. Peer made a comment to            and       then began making homicidal threats towards peer and grabbed
                                                                forks and knives in attempt to stab peer and then told on-duty security that he was going to grab his duty weapon and shoot everyone and/or the
                                                             officer on-duty.        was detained for an Emergency Detention Warrant due to his homicidal threats. While detained,           began making self-harms
                                                                threats. Victoria Police Department was contacted for Mental Health Evaluation. On-Call Supervisor, Roxi Gearhart, was notified and informed CW
                                                             Boedeker to contact On-Call PD, Viki Hinson. CW Boedeker informed PD Hinson of situation. Supervisor’s Green, Espinosa, and Lopez were notified as
                                                                 well.      was transported to Citizen’s Medical Center for mental health evaluation by Gulf Bend MHMR and medical clearance. While              was
                                                             detained at Citizen’s Medical Center, he continued to be verbally aggressive and threatening law enforcement, peer, and others.            continued with
                                                               suicidal ideations, homicidal ideations, and was grabbing items in the hospital room while waiting for evaluation.        eventually calmed down and
                                                                    spoke with CW Boedeker at 6:40 PM.          remained calm and spoke with Crisis Caseworker Christie Prince. Gulf Bend was still completing
                                                                                      assessment when CW Boedeker left.          was discharged and returned to CWOP at approximately 9pm.



                                                                      was in peer’s Room 319 and was cooking at 1:30 PM. After finishing cooking and interacting with staff, CW Leazer and CW Boedeker,
                                                              began tearing his room apart looking for his tablet.        broke the lamp next to his bed and then began flipping the table in the room and throwing
                                                                the over the counter medication box and other boxes in the room.            began threatening staff, CW Boedeker, regarding his tablet and on duty
                                                                security intervened until         could calm down. CW Boedeker contacted Victoria Police Department at 1:47 PM to make a report regarding the
Region 8B                   3/6/2022
                                                              property destruction and went downstairs to notify hotel personnel at the front desk. CW Boedeker contacted on-call Program Director, Viki Hinson,
                                                                   to notify her of the situation and to write up an incident report. Officer Ballard of Victoria Police Department responded and provided Case
                                                                #2022002063. Hotel Front Desk staff indicated since it was minimal property damage with the lamp shade and the lightbulb that they would not
                                                                                                                                  pursue charges.

                                                              When overnight staff arrived,          was awake and watching TV. Staff verified that            was still on restrictions with on-call PD Toney and removed
                                                             power cord from TV.           became very upset and left the room. She walked around the building twice as staff followed her. She picked up two pieces
                                                               of glass and sat by the pool. CW Cole repeatedly asked            to get rid of the glass and return to the room.          asked about watching TV and was
                                                                told no, so she ran into the restroom located in the lobby and locked herself inside. Staff informed             that we would have to call LE if she didn’t
                                                               come out and surrender the glass, but she ignored us. CW Cole asked hotel staff if they had a key to the restroom, they replied no so Admin Brown
Region 6A                   3/8/2022                         called LE.        finally came out the restroom and stood in the lobby with staff. CW Cole was able to get the bigger piece of glass from her first.
                                                              asked if the police were really coming, we said yes, and she went to the ice room to dispose the rest of the glass she had and continued back outside.
                                                              While outside she picked up two bottle caps and was using them to “draw” lines on her leg. LE arrived and noticed her with bottles caps, she refused
                                                                to hand them over and became aggressive with LE. LE were finally able to get the cuffs on               even though she resisted and retrieved the bottle
                                                             caps as well.         confided in the female officer telling her that she was upset and wanted to cut her wrist, but she didn’t.            was transported via
                                                                                                                           LE to Ben Taub Neuropsych hospital


                                                             On 3/9/22 at 7:00 P.M.                  walked out of the Fairfield Inn & Suites in Plano off Premiere. Directly after         walked out the caseworker,
                                                               E. Mendoza along with security officer T. Heard walked the premises of the hotel. Once the premises and surrounding areas were observed the
                                                                 caseworker I. Martin contacted CPS Supervisor L. Randell. L. Randell requested the Plano police Dept be contacted and the incident report be
                                                             completed. Plano police officer L. Ferguson arrived in the hotel, room 320 and questioned both caseworker, security officer, and CPS minor occupying
Region 3E                   3/9/2022
                                                                  the same hotel room. Ms. Ferguson requested an email from E. Mendoza with an updated image of                     . Officer L. Ferguson contacted
                                                                 caseworker, I. Martin and reported            had been picked up by the Plano Police Department and would be transported by ambulance to
                                                             Children’s Hospital off Legacy Drive at approximately 8:25 Caseworker, E. Mendoza and the security officer drove to the location and accompanied
                                                                                                      in ER room 18. Soon after at 9:00 P.M. caseworker E. Mendoza was relieved.




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 Region     Child Name   Date of Incident       Location                                                                            Description

                                                                         reported that she “thinks” she was raped and that her butt hole was hurting.               remained in the hotel bathroom. SAPD arrived and
                                                              stated that they would come in and talk to her but if she “thinks’ the rape happened, there was nothing they were able to do and gave the following
                                                                  SAPD report – SAPD22053397.                had left the hotel room and was wandering around the premises. Latricia Prather was trying to follow
                                                                       , but she ran down the stairs. Once             returned, Latricia and Monica Clark both asked if she was okay and she stated that her butt hole
                                                              hurt. EMS was called to assess                       left the room again and Latricia followed            Monica asked the security to call for the EMS so
                                                                 that Monica would also be able to help to locate Miranda. At 1:22am EMS arrived to the hotel room and Miranda was still not in the hotel room.
Region 8A                  3/15/2022                          Monica provided EMS with                information and EMT’s waited for 5 minutes. EMS stated they would wait downstairs if                 returns before
                                                             they are ready to leave.           came up to the hotel floor that the room is located on and then walked to the other end of the hall to avoid the EMS.
                                                              Security saw            walk to the other end of the hallway. EMS went back to the lobby and the officer that responded to the original call came into
                                                                  the hotel room right after           came into the room and went to the restroom. The officer knocked on the bathroom door trying to talk to
                                                                       . Officer asked          to step out of the bathroom.              yelled through the door that her “asshole was falling out”. Latricia knocked on
                                                               the door and tried to get           to talk to the EMTs. Latricia asked if she wanted to go to the hospital to be checked out.            stated not right
                                                                      now. The officer asked again if she wanted to go to he hospital and she stated her asshole was falling out and wanted to be left alone.


                                                                      was taking a shower, claimed to have slip on some soap buildup, as he was falling, he stopped himself by putting out his left hand to brace his
Region 8A                  3/12/2022                          fall.       claims to have reinjured an old injury. Ms. Molly Daniel PD was contacted and approved         to be taken to Northeast Baptist ER.
                                                                          received an ex-ray and a hand brace placed on his left hand with instructions to contact an orthopedic on Monday 3/14/2022.

                                                                   was upset she had to clean her room. She walked out and went to the pool. Hotel staff said she had to leave which upset her more. She ran to
Region 8A                  3/14/2022                          CVS and started throwing items on the floor. She then slapped my arm and left a mark on my arm. She was kicked out of the store which started to
                                                                                     calm her down. SAPD on duty and caseworker walked her back to hotel and she was calm by then.

                                                                               experienced a psychiatric episode during the shift. LE/EMS was called, and they did respond. During the event           was talking to
                                                                 herself, making claims that she needed to hurt herself and others, and was self-harming on her forehand.            ran outside shortly after the
                                                             incident began and both the caseworker and off-duty SAPD (Security) followed her outside where she attempted to run away. The officer at this point
                                                              detained her and LE/EMS was called along with the PD. During the incident              made numerous threats of violence against others and self-harm
                                                              against herself. She was combative which resulted in her being restrained throughout the incident and lead to handcuffs being used on both her legs
Region 8A                  3/14/2022                            and hands. She attempted to eat rocks and glass, as well as kick and attack both LE and EMS. The caseworker (Mayra Morales Sosa) attempted to
                                                               deescalate          throughout the incident but was unsuccessful.             was taken for dinner at Panda Express around the 2-hour mark into the
                                                               shift, she was behaving appropriately at that point in the shift. I am unsure what the trigger for        was, she had minor behavioral problems at
                                                              the beginning of the shift, but settled down about fifteen minutes into the shift and we were able to play multiple rounds of Uno (card game) prior to
                                                                us taking the two youth to dinner, she got along well with the other youth in the room and even knew some sign language for interacting with the
                                                                                              youth I observed no existing or preexisting conflict between the two youth in the room.




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                                                                      was picked up from school by Breanna Bellows. When               got to the hotel room he was informed that he needed to clean his room.
                                                               ignored it and started interacting with          about the video game he was playing.            then had walked back to his adjoined room and I had told
                                                                 him that he should clean it up.         stated that he did not want to clean his room. I then told          that an email had gone out earlier informing
                                                               everyone that he needed to clean his room so staff on the following shifts were also aware.              was visibly upset as he was yelling that he did not
                                                             want to. I told         that all he had to do was clean up a bit and it was a simple chore to complete.            yelled that he did not do chores and wanted
                                                                 to know who was making the decision to have him clean his room. I told              that it was not important who, but that he was only being asked to
                                                                 complete a simple task that didn’t require much.           then yelled that he was going to hit me if I did not tell him. I again told him that it was not
                                                              important because other staff would ask him the same.              then stormed out and purposely slammed the hotel room door. I followed behind him
                                                              as he ran towards the stair case to the left of the hotel room. I walked down and out of the building and saw                walking in the parking lot at least
Region 8A                  3/21/2022                           50 feet in front of me. He turned around and saw that I was following. Once he saw me he turned around and walked back towards me.                        then
                                                             again confronted me and was saying that to him it was important to know who was making the request.                      swung at me with his fist. I am unsure
                                                             if he was trying to hit me or scare me but I dodged out of the way and began walking back away from him.                   started following me and said “come
                                                                   on fight me”. I told        I was not going to fight him. At that point I called law enforcement.              ran back into the hotel. I followed as I
                                                                 provided law enforcement details on the phone. When I got back up to the hotel room.                 was still upset but was no longer getting in my face
                                                             about it and told me that I should not be there. Breanna was on the phone with a PD at the time.                 walked back out and I followed him again. As
                                                                     got into the elevator I waited outside and he asked, “are you coming in or not”. I walked into the elevator with him and he started talking about
                                                              him having a rough day at school and how he feels like he is under a military like state at school. When we walked out of the hotel into the front, law
                                                                  enforcement arrived.          was nice and calm by then. Law enforcement took a quick statement but left.                did better for the remaining 15
                                                                                                                                minutes of the 12-4p shift.




                                                               About 9:34 PM,              asked CWOP staff to drive her into town to get something to eat. She was told there was food in the hotel room to eat. She
                                                                 also wanted to buy tampons. She was told there were some already in the hotel room. She said she didn’t like them because they had cardboard
                                                               applicators. I told           and the other girl that while I was not willing to drive them around town that late at night, we could find something to be
                                                                delivered to the hotel. We were looking up options available in Uvalde and talking about what was available, and she started to get more agitated,
                                                                stating that the food and tampons were needs that were not being provided to her. I told her it was too late at night to be asking for all that now,
                                                               especially when the items were available to her, maybe just not exactly what she wanted. She said if money was the problem, she would just go get
                                                               the stuff herself. I told her that was not the issue but driving around in the dark was an issue for me, it was late and this all could have been handled
                                                             during the day time if she hadn’t slept all day. She would not offer any suggestions for food delivery, just continue to complain about not getting to go
                                                                    out. I told her it sounded more about getting out of the hotel than actually getting food, and I put my phone on the table. She told me I was
Region 8A                  3/20/2022                          disrespecting her when I put down my phone, and that she was tired of being there, of not getting respected or treated right, and rolled her eyes and
                                                              cursed, etc. The other youth in CWOP tried to intervene and tell her she was not being sensible. She asked to call Molly Daniel, PD on call for CWOP. I
                                                               allowed her to talk to Molly. When she hung up she handed me the phone and walked off toward the Oasis Restaurant. I called out for her to stop. I
                                                             followed her a short way but when became evident she was not going to stop, I called Molly Daniel, who instructed me to call the police department. I
                                                              gave Officer Chapa a physical description of            and a bit of background on her. He made the rounds in the area several times. He finally was able
                                                               to locate her inside Walmart and brought her back to the hotel at approximately 10:40 PM. She was very upset and crying. She would not get out of
                                                             the police car or respond to me until I asked her if she would like me to get the other youth in CWOP to come outside. She indicated she would, so the
                                                              other youth came out and was able to get her out of the car and calm down. After that                was fine and asked respectfully if staff could purchase
                                                                  something to eat rom the hotel “store,” which I did. She was fine and in a happy mood the rest of my CWOP shift. Police Report #287037 – case
                                                                number was provided to on call supervisor Kristy Knopp. I did send an e-mail to                caseworker this morning to let her know what happened.




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                                                                       was asking to talk to her worker and staff and her roommate tried to reach her worker with no success,              asked if she could then walk
                                                            downstairs by herself and come back in 12 minutes. Staff told             that we could walk downstairs but staff had to go with her, she continued to say
                                                               that “this is not fair, because no one trusts her, and she is able to be by herself”.         said no one talks to her and she wanted to talk. Staff aske
                                                                     about her school day, what did she have for dinner, asked her about getting her hair braided this weekend and                continued to shut down
                                                             and said she wanted to leave. Staff told          that would not be a good choice and could we make a better choice.                started using cuss words,
                                                                      roommate then left the room and staff went to find her roommate and could not, when staff returned to the room                    says again that “no
                                                            on trust her, she is leaving”         said she is not going to school, no one could make her, she hated this hotel and started to get her house shoes on.
                                                                    was asked to wait for staff to walk with her and she said, “no one better follow her” and she bolted out the door. Staff went two directions to
                                                               try and find         and her roommate. Once staff got downstairs              and her roommate were going out the door.               roommate said she
                                                              would try and help get          back in the room.         went out the side door to the hotel and back in front of the hotel. She continued to walk at a
                                                              fast pace and crossed the street by the Red Lobster, she then went towards the highway.                  roommate was very close to her and tried to get
Region 3E                  3/22/2022
                                                                    as she was fearful, she was going to run out into traffic.        became combative with her roommate and pushed her off of her and kept going
                                                            down the shopping center- restaurant strip, she was not near the road, but closer to the shopping centers. Rena Crawford called 911 and Plano police
                                                               responded. Staff and her roommate had               in eyesight the entire time, but she was not responding to the calling of her name to stop. Plano
                                                            police were able to get to          before she got to the access road off of Hwy 75. The police talked to            and she was very upset again saying she
                                                                 “could not do anything and no one trusted her” and she was using walking as a coping skill. The police screened               for suicidal or homicidal
                                                             tendency and            denied wanting to hurt herself or others.         did agree to go back to the hotel but said she was leaving the minute the police
                                                              left and she would be doing this all night. Police escorted         a and staff to the hotel room.         escalated again with the police officers making
                                                              verbal threats to staff and the officers and using very inappropriate language.             caseworker was able to be reached by phone and her worker
                                                             was able to calm her down and talk to her about her behaviors. The police left after about 15 minutes as the situation was under control and
                                                                was calmer and talking with her worker about upcoming appointments.                 did apologize for her behavior. Police Incident Report number 22-
                                                                                                                047124. Officers J. Kartdilas 1990 and A. White 2000



                                                             At 11pm on 03/23/2022,           went to shower in the restroom of room 317. He exited the shower approximately 20 minutes later. Worker Kendra
                                                             Leazer detected a smell of marijuana was emitting from the restroom of room 317. Local on-site security Sgt. M. Henry badge # 208 from Seadrift PD
                                                              entered the restroom and detected the same smell of marijuana. Victoria Police Department dispatch was notified at 11:24pm. The following was
                                                            found in the restroom of room 317 – a roach in the toilet, 3 small bags of marijuana were located in a black Champion cross body bag that belonged to
Region 8B                  3/23/2022
                                                                     that was hanging on the wall in the restroom, plastic wrap that smelled of marijuana, paper tray with marijuana residue and burn mark, and
                                                              loose marijuana in the front zipper pocket of the Champion bag. Victoria Police Department made location and notified Victoria Juvenile Detention
                                                               who would not authorize arrest. Case will be writing up and submitted to the prosecutor. Marijuana was taken by Victoria Police Department by
                                                                               officer P. Higdon badge # 8124. Victoria Police Report # 2022002655. PD on call, Robyn Muennink was notified.



                                                             After returning to the hotel from dinner,         demanded to play video games immediately upon arrival. Worker Kendra Leazer told him no as he had
                                                            several hours on the games earlier in the day and had not been on good behavior.               was previously told prior to going to dinner, that if he was not
                                                             on good behavior, respectful, and appropriate he would not have additional video game time in the evening – he refused dinner, cussed, told staff to
                                                             shut up, refused to get out of the car when stopped, refused to wear seatbelt (eventually did), threatened to break out car windows, and threatened
                                                             to attempt to cause an accident if placed in the front seat so he was seated in the very back without access to doors.              began cussing, hollering,
                                                               making threats to harm himself, others, and the local on duty security officer.            stormed out of room 319, went down the hotel hallway, HST
                                                             Christine Haun, and Lt. L. Warren #206 from Seadrift PD (local security) followed him.            returned to the room voluntarily and stated he was going
                                                            to bash Worker Leazer’s head in per reporting from Lt. L. Warren. When                entered the room he was still agitated, sat down on the bed, continued
Region 8B                  3/27/2022
                                                            to make threats of harm towards others, and stated, “I’m going to kill myself at school tomorrow.”              then grabbed a black plastic folding chair and
                                                                threw it into the wall, causing it to stick. There was a visible hole left in the hotel bedroom wall that adjoins to the restroom in room 319. Lt. L.
                                                                 Warren placed          in handcuffs behind his back to ensure            own safety and minimize any further property damage. PD on call, Robyn
                                                                 Munnenick was notified at 6:31pm of the situation and directed workers to make contact for mental health evaluation of               . Victoria Police
                                                            Department non-emergency dispatch was notified at 6:33pm. Officer Avila arrived on scene and took over then transported                   to Citizen’s Medical
                                                               Center in Victoria, TX to start the mental health crisis evaluation process. PD on call, Robyn Munnenick, was updated at 6:58pm and was going to
                                                            make contact with the local on call CVS worker, Moneyka Bellard, to dispatch Worker Bellard to the hospital as someone leaving CWOP would take the
                                                                                       workers and location out of ratio. Lt. L. Warren also documented and incident report for the record.




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                                                            At approximately 11:35 CW Melissa Macias walked toward               bedroom. had been cleaning his room and moved                    belongings from the floor
                                                              to the bed.         began to say, “why did you move my stuff you bitch ass nigga”. responded to                 by saying “what you want me to just sweep
                                                            over your shit”.         then responded “don’t touch my shit you bitch ass”. then stated, “well then do something punk ass nigga come through”. CW
                                                             Macias observed both             and       walk into the room. CW Macias asked them not to go into the room.             stated, “I know how to calm them”.
                                                            The argument between and                 escalated and          began to walk out of the room continuing to call , “you dumb bitch ass nigga”. CW Macias
Region 7                   3/23/2022                         asked for assistance and Officer Lord and Security DeShun walked toward             room. Officer Lord asked CW Elizabeth White to call PD in. Officer Lord
                                                               attempted to detain and he slipped away from her grip. continued to tell                  “to do something then come through”. moved very quickly
                                                                toward         and punched him.          fell toward the table hitting his head and then fell to the floor.       then headed outside with Caseworker
                                                            Henry, and two other youth followed outside. CW Macias asked Security DeShun to join them outside. CW Macias headed outside to the backyard and
                                                               brought         a bag of ice. CW Macias listened to the statement that           was providing to Officer David and Officer Amaya.           stated he was
                                                                sleeping walking and didn’t even know what was happening.               continued to state, “it’s like a demon was following me and the next thing you
                                                             know I’m here outside”. CW Macias spoke with Officer David and Officer Amaya explaining what she observed in the bedroom with and J                       . CW
                                                               stated that it did not look as       was sleep walking because he was actively replying to . CW Macias stated that                began to walk out of the
                                                             room and that punched                one time and that he fell hitting his head on the way down to the floor. CW Henry advised CW White that while she
                                                                  was outside with        , he admitted he used Marijuana prior to taking his night meds; however he would not state where or how he obtained
                                                            marijuana. EMS arrived and evaluated             . CW Macias communicated medication given to               and that he may have used Marijuana earlier in the
                                                               evening. They reported he had normal vital signs.           stated he did not want to go to the hospital. CW White spoke with PD outside. They stated
                                                            they would not be making an arrest and that they would make a family violence report instead. stated "this isn't over tonight so make sure to keep
                                                             them separated." CW was provided with a case #22002080. Officers Davis (badge 544) and Amaya (badge 368) were the responding officers. After
                                                            left, the other youth reported had a knife in his room. INV Paz Acevedo, HST Stephanie Calhoun, and LPS HST Airiyanna Bell searched                    room but
Region 7                   3/23/2022                          were unable to find the knife. was bragging about staff being unable to find the knife.                reported that he was fearful of sleeping in the home
                                                            due to the knife. On Call staff arrived to take         to the hospital for evaluation as EMS indicated they could not medically clear him and           did not
                                                             want to go to the hospital via EMS.           was taken to the hospital and released with no concerns. Youth reported to Security guard Deshun that
                                                              put the knife inside the top mattress and security guard planned to try to take it when he can get into the room without interfering. INV Acevedo
                                                                searched the room again and found the knife. LE took the knife and placed it in her vehicle as the youth have been trying to break into the locked
                                                                                                                                         cabinets.



                                                                    was upset she was being moved to a placement in Dallas, this evening. She went into the restroom while speaking the on-call supervisor and
                                                               while in there she took two Disinfecting Wipes and on Hand Sanitizing wipe and squeezed them into her drink she had. She then came out of the
                                                            bathroom and told me CW Greenfield about what she just did. I called 911 and messaged the on-call supervisor. I answered all the question 911 asked
                                                              me and I observed her until help arrived. She was then monitored and checked out my medical staff and then transported to St. Joseph hospital in
Region 7                   3/20/2022                        Bryan, TX, I rode with her to the ER. Then she was evaluated by more medical staff; they took UA, blood work and performed an EKG on her. Then Dr.
                                                            Pelton came into the room and asked her questions and why she was trying to hurt herself. She stated to him that she didn’t want to go to Dallas and
                                                             wanted to kill herself if she had to go to Dallas. During her evaluation I observed her giggling and playing on her phone. She stated she felt dizzy and
                                                            tired but continue to play on her phone and take pictures of herself.          was evaluated and released by the hospital as this was behavioral and she
                                                                                                                 was not considered a danger to herself or others.


                                                             hostile (by yelling, waving her arms up, refusing them to help her anymore, and walking away to the bathroom) when they tell her it wasn’t a bad cut
                                                               and that she wouldn’t need stitches. Fire department got staff signatures saying that there isn’t anything they can do since              is refusing help
                                                            from them, so they left. The police arrive at this time and try asking           questions, but she becomes hostile with the police, so they turn to staff to
                                                              try to find out what happen. Police asked staff Nyeshia Bryant would she want to press charges and Nyeshia said yes. The police stated they wanted
                                                                the police incident number from the night before and that they were going to contact the district attorneys to see what will happen. Both police
Region 6A                  3/27/2022
                                                            officers had to get         in the police car to just detain her. The police stated charges were accepted for assault to Nyeshia Bryant by             and they
                                                            will be booking her. The police stated           will be released back into CPS care, but hopefully she will not be released until tomorrow. Nyeshia Bryant
                                                             contacted staff Lindsey Simmons was contacted, because since                was detained and         is dual status, Lindsey is one of the contact people to
                                                                 report to. Ms. Lindsey didn't answer and Nyeshia Bryant sent her a text to contact me when she can. Houston Police Department, Incident No:
                                                                             0401975-22, Title: Assault, Address: 5001 Blk Homestead Road, Date: 3/27/2022, Officer’s Name: Esparza, Unit No: 741E




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 Region     Child Name   Date of Incident      Location                                                                              Description

                                                            At 11:13 Pm             began making repeated statements of wanting to kill and rape CPS staff on shift. LE/MCOT were called and reported that
                                                            “homicidal ideation and sexual deviation towards staff.” Law enforcement reported they could not get a mental health evaluator out due to low staff.
                                                            At 11:33 Ms. Tracy Scott arrived to shift and proceed to speak with law enforcement about her willingness to help transport              to a mental health
                                                            hospital. Law enforcement asked for               to sit in the back of his vehicle due to making statements that he “wants to harm the people here.” Law
                                                            enforcement called several facilities and found an opening a Cross Creek in North Austin. The protocol for admissions into cross creek is that he must
Region 7                   3/26/2022
                                                               be medically cleared by medical professionals.               was transported by law enforcement to Scott and White Hospital in Marble Falls along with
                                                               CVS, Linda Roldan.             has been cleared by medical staff and has been approved to be taken to Cross Creek in North Austin. Medical or police
                                                              transport was requested to ensure              arrives at Cross Creek no earlier than 7am. CVS Andy Serrano followed and ensured intake paperwork is
                                                             filled out at the facility as required to admit           at Cross Creek. Address: Cross Creek Hospital, www.crosscreekhospital.com, 8402 Cross Park Dr,
                                                                                          Austin, TX 78754, (512) 549-8021. 03/27/2022              was admitted to Cross Creek Psych Hospital.



                                                                     was sitting on the curb attempting to light a piece of his hair on fire. It was reported by on duty Officer Ledezma that               appeared to be on
                                                                Instagram Live having people pay him to light his hair on fire. As I was walking up to             , he threw the lighter under his leg and stated that he
                                                            wasn’t doing anything. I pointed out that I saw him put the lighter under his leg.               stated that he did not have a lighter. I informed        that he
                                                                was not supposed to have a lighter and requested that he give it to me.                stated that he was not going to give me the lighter. At one point,
                                                                         did burn a small string of hair in the front of his head.           then got up and walked towards me and stated, “Bitch don’t record me.” I
                                                                 informed            that I was not recording him.            then took off in the parking lot towards the back of the hotel where neither his assigned
                                                              workers, the on-duty officer, nor me could see him. After a few minutes,                came from around the back of the hotel. Conroe PD and Tri County
                                                             Behavioral Health responded. Police stated that they could clearly see                  hair was singed. With supervisor’s approval, Tri county mental health
                                                               services requested to see              med bottles. Tri county determined that             has either been pocketing his meds or just not taking them, all
Region 6B                   3/2/2022
                                                               together based on the prescription fill date and the amount on hand. Conroe PD and Tri County returned outside where                       and other Conroe
                                                            police officer were, to discuss their concerns with            .         informed the officers that he has been taking his meds and not refusing or pocketing
                                                             them.           stated, “I just take what they give me.”            informed the officers and Tri county that he was using hand sanitizer in order to try and
                                                             light his hair on fire. On duty officer Ledezma confirmed that              was using hand sanitizer to light his hair. Tri county and Conroe PD continued to
                                                               talk with          about the importance of taking his meds, sleeping, and going to school.               stated that he understood and would go to school
                                                            tomorrow. Per supervisor’s directives, I informed                that he had lost his phone privileges due to his self-harming behavior and acting out.
                                                                  stated that he paid for the phone and he was not going to give it to me. The on-duty officers and Conroe PD officers reminded                  of their
                                                              conversation and stated to just give the phone up for the night.                refused and walked off.          then returned to his room with his workers.
                                                                      was checked out by EMS and by Mental Health and determined to be unharmed and did not require any further onsite mental assessments.




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                                                                      was present upon arrival. He was sitting on the bed watching Shameless on Netflix. The workers both greeted              and asked him how his
                                                            day was.            stated that he has been sleep majority of the day and he has been watching Television. Workers asked              did he get any check
                                                            marks on his chart for the day and he stated no. Worker asked             to do some of the things on the chart so that he can get his points for the day.
                                                                       got up and began to clean the room and make up his bed.             asked the worker to see the phone to get on the internet. Worker stated
                                                            that he could see the phone once he picked all his food wrappers from off of the floor.            walked to the trash can and pulled out a smoked black
                                                            and mile.            told the workers that he could not take his medication on time because he was smoking. Workers both discussed with                the
                                                             dangers of smoking and the affects it has on the body. Worker asked               why he didn’t take his medication at 8 and he shared that he wants to
                                                              take it at 11. The worker told          that it was 11 pm and it was time to take his medication.           grabbed the locked medication boxed and
                                                             shared with the workers that he knew the code. The worker asked               to put the box down but he did not listen.           then continued to try
                                                             and open the box but he was unable to get it open. Due to him not being able to get it open              pulled the medication out through the crack on
Region 6A                  3/17/2022
                                                               the side of the medication box. When             pulled the medication bag out one of the bags ripped and the things inside flew out. Worker asked
                                                                       to put the box down and the medication but he refused.             began to administer his own medication. Workers asked him to stop and
                                                                shared with him that we have to give it to him.           shared that he knows how to take his medication. The workers shared with him that we
                                                            needed to make sure he was taking the right medication.              then go upset and began to open up more medication. Worker shared with
                                                             that if he did not listen he would not be able to use the phone.          threw the workers phone on the ground and stated “ I’m going to show you
                                                            crazy and F Life”. The workers immediately called MCOT, EMS and the supervisor. The incident report number is 333201-22.                  was transported
                                                               by ambulatory service to Texas Children’s' Hospital in the woodlands.             was in emergency and being monitored when caseworker arrived.
                                                                Caseworker spoke to Dr. Hayes the attending physician. Dr. Hayes stated that              has a high heart rate probably due to his pacemaker and
                                                            amount of pills he took. He will be monitored for the next 4-5 hours and if all is good will send for a psychiatric evaluation.         was transferred to
                                                                                                    emergency room 13 to be monitored. Camden went to sleep at 3 o'clock.




                                                               Around 7pm              asked for medications, and she was pacing, and looked nervous. Wendi asked her if she was okay and if she wanted to eat.
                                                                          said No. We walked to the room downstairs for meds. Officer was present and was helpful. He asked                    how she was doing and
                                                                 feeling. Officer asked her about the medications/type and              asked for a shot.            said that she was diabetic and needed the shot.
                                                            Officer asked her if she was diabetic and           said No. Officer said but you want a shot? Give me my medicine.                 was sweating and a little
                                                               pale. Officer said you are withdrawing.             would switch topics or answer with a question. Wendi and I escorted                upstairs 203, and
                                                            officer asked if he needed to escort us.             did not like that the officer was escorting staff. She was again arguing and insulting officer. Ignored
                                                                and moving on with             she was ready for her meds. Wendi administered the medicine, and                 pretended to take the meds, and both
                                                                  officer and Wendi saw her place them inside her bra. She began talking about various things that did not make any sense.                 refused to
                                                              cooperate about the medicine that she placed inside her bra. Officer said that emergency detention would be necessary due to hiding medications
Region 8A                  3/23/2022
                                                            and appeared to be going through withdrawals.                 walked all over the hotel not wanting to cooperate. She was argumentative and did not like
                                                              that emergency detention would be next. Relieving staff member arrived and helped in trying to calm                             got quiet and listening to
                                                               the officer as well. Officer said he knew          and she just had emergency detention two days ago. SAPD Officer did not feel she needed to be
                                                             transported to hospital. When              stood up and walked to her bed, worker and Wendi saw pills fall to the floor. Wendi picked up the medicine.
                                                                       refused the medicine and said she was fine. Emergency detention was canceled. Wendi put medication away. During this incident the officer
                                                             on site was helpful and managed the situation in a calm voice. Duty Officer reached out to the Via officers for help to transport to hospital. Because
                                                                 SAPD did not know when they would show up to room 203. Soon after SAPD arrived at the hotel. CW left at 8:30pm and                      was calm and
                                                            standing by her bed and appeared to be relieved that emergency detention was canceled. As of 4-8 pm shift                   did not drink or eat anything and
                                                                                                                                refused offer of food.




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                                                                Monday, 3/21/2022 at approximately 7:45pm an incident occurred in which the youth,                         stated to staff that she was experiencing
                                                              auditory homicidal hallucinations and stated she was unable to control herself.             then made a statement that she “just wanted to choke the
                                                                 shit out of someone.” Law enforcement officer, R. Salas assisted in detaining          . As we were in the hotel room 125 of Quality Inn, 3602 SE
                                                               Military Drive, SA, TX 78223,          took out two plastic knives from the picnic packs that are provided with their meals.             began to scrape
                                                              them together and stated she wanted to “cut something.” Staff would not let her out of the room as officer R. Salas had already warned                  to
                                                               remain in her room and if she did not comply he would handcuff her. The initial warning was due to              running out of sight of the staff to the
                                                            outside of the hotel after locking staff and R. Salas inside the room where the medications are stored. Moments later               , staff and another youth
                                                            were in the room 125 for a few minutes until             managed to push staff out of the door way and run to the front desk with the plastic knives. She
                                                              saw a hotel employee folding towels at the front desk and asked him to stick out his arm. But when he refused to do so;                then attempted to
                                                            jump over the counter three times. At this point, Officer R. Salas arrived to aid and told her again that he was going to handcuff her.              then ran
Region 8A                  3/21/2022
                                                              out of the front door of the hotel to the right side of the parking lot in which she picked up a 12-foot board and attempted to swing it around. Staff
                                                             and Officer R. Salas asked to her put it down but refused until it was pulled from her hands by Officer R. Salas.           ran to the CVS pharmacy next
                                                             door and I found her inside pocketing a pair of scissors. I attempted to talk her into surrendering the scissors to me, but she did not.             stated
                                                              that she keeps hearing male voices saying to hurt someone and that she didn’t like males.              ran off again to where the scissors are displayed
                                                            and took 4 more pairs. At this point, I connected my left arm to her right arm and began to walk together, she still did not surrender the scissors until
                                                              Officer R. Salas arrived and was able to remove the scissors from her possession. Officer R. Salas began to walk her back to the hotel, but when she
                                                            was inside, she sprinted to the room again. Officer R. Salas then ran after her and there in room 125 he told her he was going to handcuff her. At first
                                                                she did not comply. However, Officer R. Salas explained what the process was going to be and that he would answer her questions after she was
                                                               handcuffed. Officer R. Salas made a phone call for assistance and             was detained by Law Enforcement and taken to Laurel Ridge Psychiatric
                                                                                                         Hospital at approximately 9:05pm. Case number: SAPD 22058869.


                                                                 Per Staff Jessica Hayes: When I came on to my shift               and         were already having conflict.          asked if I could go walk with her. We
                                                            walked around for an hour until we came up at 9pm.                   and         watched a show until              asked me to take         on another walk to get
                                                              her out the room. I said no it was late and she got up and said something’s under her breath.                  got upset about her attitude and walked out. To
                                                                     room and vented to             and security. We walked back up to the room and               leaves for meds while taking the remote control. Roxanne
                                                              West and I try getting the remote and                throws it down the hall.          put on a music until around 11 when             came back demanding to
                                                               watch her own show. Roxanne and I tried to come up with a compromise we’re                      would pick two options and             can pick from that since
                                                                          had the tv earlier in the day.          wouldn’t compromise and started calling me a white trash bitch, fat bitch, looked like a clown stated I
                                                             was racist and stated I told her to “go pick cotton” (to clarify I was never alone with her, nor said any racist or derogatory remarks) I tried deescalating
                                                              the situation. Asked what she wanted. She stated she just wanted to get me pissed off. I explained to her I wasn’t upset. I wanted to come up with a
Region 8A                  3/26/2022                         solution so they could be in the same room so neither one would be walking around all night.                    then asked to go for another walk to calm down I
                                                               agreed and we went down to the 6th floor and walked then went back up to the room.                       had apparently taken the remote with her. When we
                                                             returned to the room               was drinking coffee and           went to her bed not saying a word and turned on the tv.              got upset since she was
                                                            looking for the remote and went to leave out of the room but first unplugged the tv before she left calling                  a bitch.        and          continued
                                                             to exchange words.             followed           out of the room. And chucked the remote in her direction. It missed                and          yelled you dumb
                                                              bitch you missed.            yelled back “you not about that life” while I was in between             and           They continued to yell until          said oh
                                                             really I’ll show you and threw her coffee over             and I.        pushed passed me and under my arm and when I turned around                    and         i
                                                               were already pulling hair I ran into the room to call security up and ran back in the hall way to get the girls away from one another, I was able to get
                                                                      to let go of          hair and get her off the ground when security showed up. We then took                  down to security room while I called on call
                                                               PD to report and figure out a way to keep the girls separate. I was informed                 would be going to get checked out and would be removed. We
                                                            kept            with me in the security room while             was able to gather her things to leave. Per staff Rozanne West: I came on shift at 3 pm because
                                                             the worker before me had to leave early. When I arrived both youth were asleep. I reviewed their binders during this time. They slept until 5:30 pm.
                                                            When they woke up                asked to go for a walk. She was talkative during the hour long walk around the building. She talked about knowing
                                                             from before and not liking her. She asked to call the PD on call to get permission to go on an outing because the shift before allowed her to do so and
                                                            she was granted permission to go to the park.                got permission from the PD on call to go to wal-mart, if the other youth agreed to go as well, but
                                                                 had to be back indoors by 7:30 pm. At first               said she didn’t feel like going so         continued her walk with the other worker, Elizabeth
                                                              Ortega. Shortly after            left         said she wanted to go on the outing. Both workers took both youth out and returned at 7:30. I went to the
                                                              room with             where she continued to watch movies. Worker Hayes came on shift at 8pm and took                     for another walk. When            came
                                                                 back in they both watched a movie for a while, and they were doing okay.                    asked if         wanted to watch this or that, they talked and
Region 8A                  3/26/2022
                                                                laughed a little. Something about                 attitude set off       and            asked to go to the computer room. But she put the remote in her
                                                              pocket. As I walked out with                       realized that         was trying to leave with the remote. When I realized it I talked to             about it
                                                               and she seemed like she was about to give it to me when                started yelling and threatening            . Then           wouldn’t give it up. Worker
                                                             Hayes stood in front of             to prevent her from lunging at           and I encouraged              to walk away. I didn’t see her do it, but         threw
                                                                   the remote back in the room as she walked away. I took                 to the computer room, but it was closed. This was about the time I called PD
                                                                Munnick to let her know what was going on and letting her know that it didn’t seem like the girls were going to be able to stay in the same room
                                                            together. The PD encouraged the staff to work things out and tell them that tomorrow they would look at moving one of the girls. We walked around
                                                                inside the building for about an hour to cool              down and allow            time to calm down. The worker Hayes and I kept in constant contact
                                                                  through text. Worker Hayes informed me that                 was calm and was okay with               coming back in as long as she didn’t come in talking




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                                                             necessary. But the police officer on duty was always in the room with us. When the incident started to escalate the other officer came into the room.
                                                                      is alleging that the reason he attacked         was because         touched him inappropriately. From what I was able to observe         did not
                                                               touch           on either his penis or butt area.       got close to         and was stating he was going to mess him up and            got angry and
                                                            attacked him.            pinned        to the bed and had his forearm to his neck.          was stating to      that he isn't the guy he should be messing
Region 8A                   4/1/2022                          with, and         was trying to get          off him. The police officers separated both         and      , but         was attempting to get close to




                                                             Jennifer & Haidee staff for the 12am-4am shift arrived at 12am and               was in the room with the officers who are working the CWOP shift. Staff
                                                                were told from the previous shift that she had not had her medicine as she was out. The bag said old meds so they didn’t give the Clonidine. They
                                                                weren’t sure if that was an error or not. Once they left           immediately started running around the hallways, walking up and down the stairs
                                                            from the first floor to the second floor.           did have a key to get into the doors.         was asked by staff and officers several times to go to her
                                                              room, but she refused.            continued to go into room 125 and closed the door with the contractors in the room. They kept telling her the door
                                                            can’t be closed with both in the room and no other staff. She ended up running outside and then when staff went after her she ran back inside and ran
                                                               into the room and shut the door. Haidee got the front desk staff to open the door, officers followed the staff into the room with             .
                                                             then again ran outside and walked around the parking lot, as well as walking up and down the street next to the hotel. She then crossed the street in
                                                            traffic, and I followed her. Currently, I was on the phone with the on-call PD, Natasha explaining what             was doing while I was running after her.
Region 8A                   4/6/2022                         I was directed to contact the crisis hotline. I contacted them at 12:53AM and explained what               had done on this shift as well as the prior shift.
                                                                She didn’t have any of her medication but was given her Clonidine. While the staff waited for the crisis team             went back outside and was
                                                            running around the parking lot from one side to the other, across the street and the main road. She picked up a huge tree branch and attempted to hit
                                                             me with it several times, I asked her to please stop. The officer walked over to her and she ran from him. She went inside the building with the branch
                                                                 but the other officer on duty took it from her.          then went back outside, and I followed her. She attempted to throw rocks but again was
                                                              stopped by law enforcement. The officer told              that the police were being called and she will have to go to the hospital to get evaluated. She
                                                             became upset and had told the officer she would sit down in the room. She said she didn’t want to go. When the officer arrived at 1:35AM to take her
                                                                to the hospital she explained to him she didn’t want to leave. He told her he will give her one more chance and if she didn’t lay down and he gets
                                                            called back she will go. She agreed to go in her bed. Staff and Amanda went to the room and she sat on her bed with her phone. She laid down around
                                                                                                                                        2:15AM.


                                                             On 4/4/2022; I was assigned to room 313 for CWOP along with CVS Specialist Katlyn Flores.                         had been brought back to CWOP at 6:30PM,
                                                            prior to my assigned CWOP shift at 8pm. Katelyn and I did attempt to read the attachment A form, however, there was not one provided in the binder.
                                                               On a separate sheet, there were notes for the caseworker to utilize while supervising                One specifically advising physical boundaries should be
                                                              implemented between              and female staff. Upon arrival,         was very cooperative with me. At approximately 8:16 PM, Katelyn and I sat at the
                                                             table and positioned both chairs toward              bed. Katelyn was sitting at the end of the table and I was against the wall.           sat on the floor right
                                                             near Katelyn. I witnessed Katelyn jump up and request               not do that as it was inappropriate. Katelyn then advised me that            placed his head
                                                            on her butt. I asked         if he could please sit on his bed or in front of us on the floor.         refused to move. Katelyn asked him if could at least move
                                                               in front of her, he refused to do so.       was sitting directly near her seat which would not allow her to sit back down.             advised us to “not say
                                                             another fucking word because we were pissing him off”.               was visibly upset, I requested Katelyn get law enforcement from the next room. When
                                                             Katelyn exited the room,           stated we pissed him off and he wanted to kill someone. He said I know where the pens are. He jumped up and ran to
                                                                  the kitchenette counter and grabbed a pen. I immediately got up when he got up and picked up my chair to shield myself as                   lunged at me
                                                                 attempting to stab me with the pen. I yelled for the officers twice. Officers Moncivais Badge 205 and Maldonado Badge 26 came the room.
                                                            turned his attention to the officers and grabbed another pen advising he would kill them if they came any closer. Officers attempted to calm him down
                                                             and requested he allow me out the room.              refused; I held the chair in front of me in the event he attempted to lunge at me again. Child
Region 8A                   4/5/2022                            came over asking officers if he can attempt to calm           down.         was hesitant the first few minutes yelling at           to go back to his room.
                                                                       attempted to hug         which allowed            to get pass       .          went up from behind           and restrained his arms from behind long
                                                             enough for officers to jump in, remove the pens and cuff him. Officer Maldonado Badge 26, called for EMS and patrol units to assist.                   continued
                                                             to threaten staff and officers that he wanted to kill them. When             was placed in the patrol car, he was banging his head against the windows and
                                                             attempting to kick the seat. EMS arrived and took his vitals.            had calmed down and was transported to Clarity. I contacted PD Natasha Bussey at
                                                                   8:29 PM when         was placed in cuff. I informed her of the situation. Katelyn appeared to be upset that              placed his head on her butt. I
                                                                 attempted to inform her of his mental health, however, she was to proceed how she would like as officers asked if she wanted to press charges.
                                                             Katelyn advised me that she would not be working if              is not taken and or assigned back to the room in the future. I informed PD Bussey. Katelyn
                                                                  contacted a peer in her unit, I instructed her to get off the phone as we were still providing information for the ED report and speaking with PD.
                                                             Katelyn then advised that           was touching her butt which was not what she initially advised me of. I did not witness any of Katelyn’s claims. I only
                                                               witnessed her reaction of her allegation that he placed his head on her           . Katelyn initially denied pressing charges. I was advised by PD to follow
                                                            law enforcement to Clarity and Katelyn was advised to head home. At 9:16PM, I received a call from Katelyn asking if I was still with law enforcement.
                                                                I advised I was, she asked me to request officers contact her as she would like to press charges for sexual assault against               I declined to press
                                                                charges as I did not sustain any injuries and no was contact made. I informed PD Bussey and remained at Clarity to complete registration for
                                                                                                                                         until 12am.




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                                                               Caseworkers on this shift: Helen Goff CVS Caseworker 1 and Valerie Rivas Protégé.             was in room 235 at Townplace suites and was texting her
                                                             mom around 6:45pm. The text messages were upsetting                and she let both caseworkers (Ms. Goff and Ms. Rivas) read the messages. Ms. Rivas
                                                               and Ms. Goff were trying to encourage          as she was upset.        asked if she could call her mom, but her mom was not answering.             asked
                                                             Helen Goff to call her mom and Ms. Goff spoke to             mom for a few minutes.            mom said        is verbally abusive, using offensive language
                                                            and she was not comfortable with that. She shared that did not feel she deserved to be spoken to with such disrespect. Ms. Goff thanked                   mom
                                                               for her time and told her she would share the information with             caseworker.        is worried her Mom will give up her parental rights.
                                                            became more aggressive after the call with her mom. She said she wanted to hurt herself and Ms. Goff went next door and asked the police officer to
                                                             come in and speak with          . The officer came over for a few minutes to speak with         and then left to go back to his room. After the officer left,
                                                                    and the other girl in the room were making videos and both Ms. Rivas and Ms. Goff were watching (they had gone into the bathroom to make
Region 8A                   4/4/2022
                                                              the videos).       got very angry saying she did not want Ms. Rivas and Ms. Goff watching and Ms. Goff let her know that was her job, to watch the
                                                              kids at CWOP and make sure they were safe.            was yelling at both Ms. Goff and Ms. Rivas and said “F U” over and over. Shortly afterward
                                                            tried to grab the binder out of Ms. Goff’s hands as she was making notes. Ms. Goff told her not to do that.             said she wanted to read it and did not
                                                                care. Ms. Goff told her she should not grab things out of another person’s hands without first asking for permission. Shortly after            said she
                                                             wanted to hurt herself again, Ms. Goff asked Ms. Rivas to please go next door and tell the officer. Ms. Rivas went next door and left the door slightly
                                                             ajar as she left. Ms. Rivas came back into the room and said the officer “called it in” and that officers were on their way. The officer next door asked
                                                                  to please come into the next room (the room where the officers stayed) and asked for one of the caseworkers to wait with him. Ms. Rivas went
                                                             next door with the officer and        . Ms. Goff called the program director, Natasha Bussey, and was told to call the “on call” person, Monica Clark, to
                                                                               have someone go to the hospital to be with          . Police officers then transported        to Clarity at about 8:30pm.



                                                               Around 11:00 pm the child                        came to room 306 where the children      and          are. The door of the room was closed and
                                                             locked.         was observed outside the door wearing a red bandana over his face.           started kicking and punching the door causing the door
Region 8A                   4/5/2022
                                                             to almost fall.        continued to kick the door. Law enforcement was outside the door with him and law enforcement didn’t do anything.
                                                                           was outside saying that he will beat up        . After      left staff opened the door and observed 3 dents in the door.



                                                             Caseworker Yvette Navarro and I, supervisor Ernesto Baca, were taking              out of the room to go downstairs so that housekeeping could clean the
                                                            room. I walked with          to the elevator while Yvette ran over to the housekeeping lady on the floor to ask her to remove the phones from the room
                                                                because       kept trying to call out. I        walked out through the pool area exit and continued walking around the building towards the front
                                                                where the main parking lot was. I followed behind           and asked him what he was doing.           stated he was just walking and that he felt like
                                                               walking on the street. I told       that it was not safe to be walking out on the street. I told     we needed to go back inside, and we could watch
                                                             television.        started looking into some of the vehicles in the parking lot and I asked him not to be touching the vehicles in the parking lot.
                                                               then started walking back towards the wall adjacent to the right of the hotel. Yvette caught up with us and she also asked             to go back inside.
                                                               Yvette suggested to         that we could watch television or play a game.          stated he did not want to. We began following           as he started
                                                              walking across the lot through the dirt area directly in front of the parking lot. As we followed,        asked us not to keep following him because he
                                                               did not want to hurt us. We continued to follow           as he walked onto BMT street. We tried getting           to come back, but he was refusing. I
Region 8B                   4/6/2022
                                                              called law enforcement for assistance.           then started walking towards the main road, HWY 97. We followed             from a safe distance, but he
                                                            continued to walk toward the highway. As we were calling              not to go to the highway he waived a peace sign with his hand over to us.           then
                                                              started walking on the highway as cars passed by in both directions.            was crossing the highway without looking and was almost hit by a semi-
                                                             truck.       made it across to the other side of the highway. We continued to yell at            to stop but he continued walking west bound on HWY 97.
                                                             Law enforcement officer Amelia Camacho arrived and pulled over to talk to             .        was not being cooperative with the officer and tried to walk
                                                                 away. Officer Camacho grabbed             by the arm so that he would not flee and tried to talk him down.          continued to fight officer Amelia
                                                            Camacho and tried to get out of her grasp. Backup arrived, and             began to threaten the other officer.        swung at the officers a few times and
                                                              would not calm down. The officers restrained            on the floor with handcuffs, there was a bit of a struggle because he would not allow himself to
                                                              be retrained. After they stood         up with the handcuffs on he began kicking the officer helping.          then was restrained with shackles. Officer
                                                                 Camacho asked if we would like for him to be emergency detained. We confirmed, and she stated she would drive him to Methodist Hospital.




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                                                               CW Karen Ortiz-Washington and CW Brashad Young received a call from Howell Middle School due to               having a crisis and becoming physically
                                                            aggressive with staff. When CWs arrived at the school he was in a padded room and in handcuffs. He was already calmed down and was asking for the
                                                               handcuffs to be taken off. School staff stated the incidents started with him trying to elope but he actually only went to the courtyard. The teacher
                                                             followed him and sat with him while talking to him until finally convincing him to go back inside the campus. After he went inside, he took a nap and
                                                               woke up at 1:39pm which set him off because he was ready to go home and he realized it was not time yet. He then became physically aggressive
                                                              towards his teacher, SRO and other school staff. He also stated he was going to hurt himself and was doing hand motions of stabbing himself with a
                                                             pen. He broke a door window by slamming himself into it as well. Gulf Bend arrived to do a mental health assessment and it was determined that he
Region 8B                   4/6/2022                         needed to be admitted into a psychiatric hospital. He was transported by SO to ER to get medically cleared around 3:00 PM. When in hospital he was
                                                               calm and cooperative. He was given a lot of snacks such as sprite, ice-cream, crackers, applesauce and it was also double of everything. At around
                                                            6:00PM he received his food tray which he was beginning to get very inpatient about. When eating his food,            became upset over the tea they had
                                                            given him and again became physically aggressive to himself and others. He began to slam his head on the bed, attempt to punch and kick officer, bite
                                                                 himself and officers and throw himself to the floor. He had to be restrained and put in handcuffs. He continued and refused to calm down which
                                                               caused the nurse and 5 other professionals to restrain him to give a shot of Haldol 2mg. After the shot, he continued to be combative while on the
                                                                floor for about 5 minutes. He became calm and officers were able to remove handcuffs. The incident lasted about 15 minutes altogether while at
                                                                     hospital. A bed at a psychiatric hospital is still being located for  as he was determined to be a harm to self and others and unstable.


                                                             On 04/07/2022 at approximately 5pm, a Circles of Support meeting was being held for                     and during the meeting           became upset talking
                                                                about not wanting to go with her sisters or her sister’s Godmother Rosie, even after no one had mentioned either topic. She got upset and walked
                                                             away from the meeting, so the meeting was ended a few moments later.                     appeared to have calmed down a little, so I (Amenda Outlaw) asked
                                                              to speak to her in her room to find out why she was upset and to try to comfort her. She expressed concerns that the Department was going to send
                                                            her younger sister to live with her here at Sunny Glenn which she does not want, and I tried to assure her that her sisters were not coming here to live.
                                                                 She started yelling and tried to choke me with her right hand, but I was able to block her from grabbing my neck. I was against the wall when this
                                                                 happened and when I blocked her from grabbing my neck with my hands, she grabbed onto my fingers and tried bending them backwards while
                                                               telling me to get out of her room. I asked her to let me go so I could leave the room, but she continued to try to squeeze and bend my fingers. I was
                                                              able to get away from the one wall but she pushed me back onto the wall near the door to her bedroom while telling me to get out of her room and
                                                             cursing but at the same time, she grabbed my hair. I called for assistance and the officer on duty came and helped pry her fingers from my hair. I then
                                                             left the room and she could be heard struggling with the officer and threatening to kill others. I also heard the officer tell her to not reach for his gun.
                                                              She could be heard screaming and cursing and threatening to kill the officer and other CWOP staff (David Calvo) who was near the room. I was in the
                                                                   middle of trying to call the Tropical Texas Behavioral Crisis Hotline when David Calvo asked me to call 911 to get assistance for the officer who
                                                             appeared to be struggling with               but he was able to restrain her. I then called 911 and they arrived shortly after and a few moments later, EMS
                                                                   arrived and           had to be handcuffed because she would not calm down and kept trying to attack others. I also called the Tropical Texas
Region 11                   4/7/2022
                                                            Behavioral Crisis Hotline to request an evaluation on              but the person I spoke to said that since            was going to be hospitalized, she had to
                                                                be medically cleared and the hospital would have to call Tropical Texas Behavioral Crisis Hotline to have her assessed at the hospital. I then left as
                                                            instructed by my supervisor since on call was going to be going with                to the hospital. I did not seek medical attention for myself but did make a
                                                                 report on CAPPS. The following documentation is from FGDM coordinator David Calvo who was present during the incident: During the Circles of
                                                                Support meeting,             became upset and went to the living room where she turned the television on at full volume. Amenda (primary worker)
                                                              asked            to accompany her to her room to talk as she was being disrespectful. Within a minute from going to the room, I heard                 yelling
                                                             for Amenda to leave her room. I heard Amenda raising her voice asking                  to let go of her hair and that she was leaving the room. LE officer ran
                                                               to the room and I followed. I got to the room and observed LE struggling to keep                from hitting him and reaching for his gun. LE had her arms
                                                             gripped and struggling to have her sit down.              was moving around struggling to take the officer’s hands from her and was yelling she was going
                                                              to kill him and shoot Rosy (I think that’s the name she said). She kept wrestling with the officer yelling that she was going to get his gun and kill him.
                                                                  The officer begged            to not hit him and to stay calm. He reassured             he was there to help, but          would not de-escalate and
                                                            continued to wrestle him until he pinned her down to the floor and held her arms tight. I directed Amenda, who had walked out of the room to call law
                                                             enforcement and EMS for assistance. I directed the CWOP contractor to take the other child to the other room to keep her safe. I assisted the officer
                                                            in taking his tag off and glasses as he continued to struggle with              who was fighting to reach for his gun and trying to scratch him. San Benito PD
                                                                 officers arrived within 5-10 minutes and helped restrain             while our contracted LE office handcuffed her SBPD began asking question and

                                                            At 11:22pm, walked out of the room staring. When asked if she was okay, she did not respond. Staff asked again if she was okay, she then began to
                                                            fall backwards and fell between the door and the living room. She had a seizure. Staff placed a pillow under her head and helped her to her side as she
                                                            was observed with saliva coming out of her mouth. After 5 minutes, Valtoco 15mg was sprayed in each nostril. Paramedics were called as a precaution
                                                             to ensure that she was stable. Her vitals were checked and assured that she was stable. Paramedic staff stated that she could be transported to the
Region 3E                   4/5/2022
                                                               hospital by choice, but there was no neurologist at the site, and she would be referred to one. Staff was advised by paramedics that she could be
                                                             monitored at home since she was given medication. Staff was advised that if additional services are needed, the paramedics could be called again.
                                                             was still groggy after paramedics checked her out, but responsive to commands. She was able to state that she had a headache. Paramedics assisted
                                                                                                   her and helped her to bed. She was resting in bed at the end of the shift.




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                                                                  was watching television and asked regarding snack and dinner at 4:08 PM.          was informed by CW Boedeker that he could have one snack for
                                                            right now, he would be having dinner in about 45 minutes and then would have a snack 45 minutes after dinner.           became severely agitated, went
                                                              to the refrigerator and freezer, and began to slam both doors several times while yelling.      then left Room 319 and went into Security Room 317
                                                             and kicked at security and left the room stating he was going to run away. CW Boedeker and FGDM Waters followed with Security, Lt. Louis Warren.
                                                            Due to his agitation, Lt. Warren maintained the lead to prevent harm to staff.       was at the front desk and began throwing items off the front desk.
                                                                   then began attempting to hit Lt. Warren by swinging at him and punching him. Due to           physical aggression, Lt. Warren had to detain
                                                            for his safety and Lt. Warren’s safety. Lt. Warren escorted       to the elevator while CW Boedeker and FGDM Waters followed.           began to kick Lt.
Region 8B                  4/10/2022
                                                            Warren, kick at Lt. Warren, and attempting to headbutt Lt. Warren. Lt. Warren escorted him to Rm. 317.           began to kick Lt. Warren again and then
                                                            started to bang his head against the wall, the floor, and the bed frame. CW Boedeker contacted On-Call Program Director, Natasha Bussey, at 4:12 PM
                                                              who directed CW Boedeker to contact local law enforcement to have           assessed for a mental health crisis.    continued to yell, scream, curse,
                                                              wanted to kill himself, and wanted Lt. Warren to shoot him. CW Boedeker contacted Victoria Police Department at 4:13 PM. After 10 minutes,
                                                              was able to use his coping skills by taking deep breaths to calm down. Victoria Police Department Officer Hornstein, Trejo, and J.T. Smith arrived to
                                                               speak with      . Officer Hornstein determined that      was calm and that       was no longer in a mental health crisis and would not contact Gulf
                                                                      Bend MHMR to assess         .     was able to return to his room, watch TV, eat dinner, and color/draw/write in his Brain Quest Book.




                                                            Caseworker Yvette Navarro, Officer Daily, and I, supervisor Ernesto Baca were in room 219 and                    was sitting on the edge of the bed in adjoining
                                                                room 217.              was leaving voice dictated text messages to a friend asking him what was going to happen.                  was playing music on his
                                                             phone and was shuffling through different music when all of a sudden, the music stopped and                     shot out of the room. All three of us followed
                                                             and the officer on shift caught up to             at the elevator.           was in the elevator and the officer was holding the door open.             yelled at
                                                               the officer to leave him alone.            yelled at the police officer that he was going to go for a walk. The officer told him that he could not do that
                                                              right now.             continued yelling at the officer and tried to get the officer to escalate.          made a comment “you should take out you gun a
                                                                and shoot me”, and then he also made the comment, “if I grab your gun you’ll shoot me”. The officer continued to try and talk                    down and
                                                            asked him if he wanted to hurt himself.                mentioned that he was very upset because of some situation with the mother of his children.               n
                                                                 told the officer to let him go and the officer declined.           tried to push through the officer standing at the door. The officer asked me to call
                                                                Jourdanton Police Department for assistance. While on the phone, the operator could hear                   yelling at the officer. The officer continued to
                                                             shuffle with             and it looked like         was about to hit the officer but did not swing.           went around the officer and was up against the
Region 8B                  4/11/2022
                                                            wall by the elevator trying to leave. The officer tried to grab              and she took her handcuffs out but             would not let himself be cuffed. She
                                                              tried to grab him to put the cuffs on, but            moved and was able to run out.              ran out to the staircase to the right from the elevator and
                                                                we all followed. Once outside             was in the parking lot walking away from the hotel. He stopped turned around and was yelling profanities.
                                                             Jourdanton police department was already in the hotel lobby and ran out when they saw the other officer. The officers that arrived spoke to
                                                               for several minutes, but he was refusing to stay at the hotel. Officer Camacho put                in handcuffs because he was saying he was going to run
                                                             because he did not want to go back in. The owner of the hotel spoke with police and informed that that he was going to kick out                      because he
                                                            did not want these kinds of problems there because it was bad for his business. The woman at the front desk mentioned that she was going to talk to
                                                               the hotel manager about it since he dealt more with the day to day operations. She asked me if there was anyone in specific that she could talk to
                                                                about           , she asked if Molly Daniel was the one to contact. I confirmed. After some time outside,                agreed to go back up to the hotel
                                                             room. Officer Camacho and officer Daily walked                 upstairs. I called Molly Daniel to update. Officer Camacho stayed in the room until she was
                                                                           sure that           was calm and then removed the handcuffs.                stayed in the couch chair in his room listening to music.




                                            l
Region 7                   4/22/2022                           This incident involves several youth:                    15y, PMC, from Runaway;                      , 16y, TMC, from psych hospital;                     ,
                                                                17y, TMC, from kinship;                  , 14y, PMC, from RTC.         was in the bedroom with                     and       . They kept coming out and
                                                            yelling at the staff. One of the boys threw a comb out of the room and nearly hit Kinship Burke.              came out of the room and blew vape smoke into
                                                            Officer John’s face despite being told to stop and to give us the vape. The security officer then called the police as           continued to blow smoke and
                                                                spit in his face. The police arrived and talked to       and Officer John.                , and          kept walking in and out of the house refusing to
                                                            listen to directives from staff or officers. The police report number is P22030612.            came into the living room to look for a snack.       and
                                                              came out of the room and threw a can of body spray on the floor and yelled grenade. They picked up the can, the can had a hole in it. He picked it up
                                            l                 and threw it in the trash after shaking it and getting body spray on the officer.                  and          went back to the bedroom.         was heard
Region 7                   4/22/2022                        from the room cursing at              and         . He was angry that they would not give him the vape.           went to the bedroom and slammed the door
                                                               so hard that it went through the frame. Officer John went to check on             .      then came out of his bedroom. He stood in the living room with
                                                                          body spray.          came out and took the body spray from           . Kinship Burke tried to get the axe from the          and         but they
                                                             refused to give it to her.        and          started arguing in the kitchen.        started breaking stuff that belonged to           because he stated that




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                                                                    was sitting on the couch watching the news.          got up from the couch and stated that his "partner" was taking too long and he was going to
                                                                leave to go find him. Worker Boroda asked          how his "partner" would find him if he left the room.         stated that he needed to start work
                                                             already.        stated that it was 5:30 am and he needed to go to work. Worker Boroda informed             that it was not 5:30 in the morning, but late in
                                                               the afternoon.         told Worker Boroda to shut up.         walked toward the door and tried to open it, but the police officers blocked him.
                                                             walked toward the window to leave that way and Ms. Boroda blocked him.               picked up a pen and pointed it at his wrist. Worker Boroda, Worker
                                                            Alexa Cantu, and both police officers asked         to put down the pen.        said "Fuck You" to the police officers and told Worker Boroda to "shut up"
                                                                     sat on the couch and took off his shoe. He said "Don't make me throw this at you."          picked up the coffee table and threatened to throw
Region 8A                  4/10/2022
                                                             that at officers. The male officer in the room walked to         and took the coffee table away, gently pushing         to sit down. The officer told
                                                            that he would handcuff him if he threw anything.           started to threaten that his brother would fight anyone who put him in handcuffs.             eyes
                                                             and head started to droop.          dropped his shoe and said "I give up." The male officer suggested that         should lie down and rest.        got into
                                                            his bed, covered himself up and fell asleep. CVS Worker Boroda called Natasha Bussey, CVS CPS Program Director. Natasha told Worker Boroda to call
                                                             911. Worker Boroda started to call 911 and the male officer told her that they were not calling 911. CVS Worker Boroda called Natasha Bussey when
                                                                   calmed down. CVS Worker Boroda called the crisis hotline and spoke to Alexy Soto. Mr. Soto stated he could not assess Jesse if Jesse was asleep.
                                                                 Mr. Soto stated that he would call       legal caseworker at 10am in the morning to assess         .       took his medication and went to sleep.


                                                               The youth have struggled this day and throughout 4/28/2022 shifts due to each youth instigating and picking verbal arguments with each other.
                                                             Around midnight all the youth were in their room. Security was walking the premises and found                 with her arms out the window using the
                                                                metal from the window to cut her arms. 911 was called and both EMS and LE responded immediately and                    was taken to Marble Falls
Region 7                   4/29/2022                        Hospital.          did not need sutures but the nurse did place steri-strips on the cuts in effort to keep them clean and be a deterrent as well. Marble
                                                             Falls PD/EMS has requested a 72 hour hold on            given that this is the second self harm event in a short period of time.           remains in
                                                             the emergency room at this time while the hospital seeks a psychiatric bed for her as she has been declined by 2 hospitals already due to previously
                                                                                                               being in-patient with them and several are full.


                                                                      arrived at the home with her primary worker around 10:30AM and an admin on shift asked her a question and                 immediately said do not
                                                              talk to her [to Admin May] and then began to be rude and disrespectful to her primary worker. While Admin May was talking to other youth,
                                                             began to talk to Admin May. The two (              and Admin May) then began arguing back and forth and triggering one another with             yelling and
                                                             calling Admin May names. Ultimately               threatened to hit Admin May who responded something to the effect of ‘do it, I dare you, you will go to
                                                              jail’. The primary worker tried to de-escalate the situation between the two to no avail and ultimately            threw off her shoes and went over the
                                                                table to hit Admin May.           did not hit her but did ‘chest bump’ her at which time the off duty officer stepped in and removed          from the
Region 7                   4/28/2022
                                                               situation in handcuffs and called Marble Falls PD.            was taken to MF Police Department and given a citation and later returned to child watch
                                                             around 1pm. Citation # EMF-021659, has a court hearing on 5/12/2022 for the citation. The remainder of the day and evening                   kept mostly to
                                                            herself with the exception of a few interactions. She has been refusing to take any medications. The other youth appeared as though they were trying
                                                               to instigate her and she was avoidant of them. **It should be noted that off duty officers & security over heard other youth in the home discussing
                                                             that in order to be ‘part of the group’          would be required to pick a fight and assault a caseworker or security on shift. It was believed by the off
                                                                    duty the other youth initially instigated this assault by telling      she could not be part of the group without an assault on staff/security.




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 Region     Child Name   Date of Incident      Location                                                                            Description


                                                            At approximately 12:45am, I was sitting in room 310 with shift Lead, Ali Witt. We received a call from room 311 stating that             was making suicidal
                                                            threats to cut himself and hang himself. Shift lead sent me across the hall to sit in there while the worker came into our room to call the crisis hotline.
                                                              CW Harris ended up calling the mobile crisis hotline while I was in the room. I waited approximately 10 minutes and returned to the med room with
                                                             the shift lead. At 1:14AM we received a call from Elaine Hambright stating            was escalating and that they needed help. Ali and I went across the
                                                              hall and observed CW Harris and            to be speaking in raised tones to one another.         had a shoelace in his hand and stated he was going to
                                                              hurt himself if we did not take him to DBH immediately. CW Harris informed us that the crisis hotline reported they would come back out tomorrow
                                                            and re-assess          and informed them to keep an eye on him for tonight.             was asking to call another person from the mobile crisis team. They
                                                             attempted to call him from Ali’s phone twice and he didn’t answer. CW Harris then attempted to call him and was able to get him on the phone. CW
                                                            Harris explained that           was escalating and stating he would harm himself if we didn’t take him to DBH right now. The mobile crisis team member
                                                              stated he would call his supervisor and return our call. At this time, shift lead stepped out into the hall and contacted the shift supervisor. While she
                                                                 was in the hall,         began to put the shoelace around his neck in attempt to pass out. The security guard was standing very close to him. He
Region 3E                  4/13/2022                        eventually let the shoelace go from around his neck, but would not give it to case workers or security. He put it in his pocket. He then grabbed a piece
                                                             of ice from his chick fil a cup and some salt and was rubbing the ice on the salt on his arm in attempts to make cuts on his arms. That wasn’t working
                                                             for him so he began breathing fast and then would put his hands around his neck. He fell into the window at this time after putting his hands around
                                                               his neck. CW opened the door and informed Ali what was going on. She informed the shift lead who instructed her to call 911. Ali contacted 911 at
                                                               approximately 1:24AM. While we were waiting on 911 to arrive               kept putting the shoelace around his neck and putting his hands around his
                                                             neck to make himself pass out. He then grabbed a Clorox wipe and began sniffing it. I was able to get the remainder of the Clorox wipes from              .
                                                            He also broke a key card in half and began rubbing it on his arm attempting to cut it. Two police officers arrived approximately 10-15 minutes later and
                                                             told         they were taking him to the hospital on a mental health hold. As soon as officers arrived           handed him the shoelace and grabbed his
                                                              bags that he had packed by the door. He told officers that he wanted to only go to DBH. The officers informed him that they were limited on where
                                                                   they could take him, and they would figure it out. They handcuffed            on a APOWW (involuntary patient to be evaluated in a psychiatric
                                                            emergency room) Shift lead and Immanuel Harris went downstairs. They returned in approximately 15-20 min and informed us that                     was being
                                                                                                  taken to children’s hospital. CW Harris then left the hotel and went to Children’s.




                                                              Case worker Tierria Johnson received a call from on duty officer MCQUEEN. That              and            has just fought.          was observed to
                                                                have blood coming from under her right eye.           also had a mark on her forehead that was bleeding that she said she had the mark from a
                                                             previous incident.          was also observed to have a bite mark on her arm from               Details of Incident (including follow-up actions taken):
Region 6B                  4/10/2022
                                                                       refused to go with paramedics to the HCA hospital.           was transported to the hospital by Priscilla Guzman and Lakeitra Jones due to
                                                             her blood pressure being raised due to the incident. She was taken to Memorial Herman Hospital where the triage nurse who stated that everything
                                                               looks good.          did have broken skin due to the bite on her arm. They are going to clean her eye and give her some antibiotics to prevent an
                                                            infection.           was transported to by Pearland Police Department to Jail due to             wanting to press charges.              was refusing to be
                                                                                                         arrested and the officers were having difficulty arresting her.
Region 6B                  4/10/2022


                                                              At approximately 9:30 pm,                         was sitting very close to the television. She became upset when CW Kendra Harris asked her if she
                                                            had ever had her hearing tested because she was sitting so close to the television. CW requested that she scoot away from the television so close and
                                                              she became upset. She abruptly got up from her chair and went into the kitchen. CW Kendra Harris followed her into the kitchen to ask her if she
                                                             needed to talk. She yelled at CW to leave the kitchen and stop talking to her multiple times. CW noticed that she had a butter knife in her left hand.
                                                            CW requested that she put the knife down and she refused.                     stated that she wasn’t trying to hurt anyone else, just herself and continued
                                                            to refuse to put the knife down. CW requested that she put the knife down and talk about what was bothering her. She continued to yell at CW. CW
                                                            noted that she was squeezing the knife in her left hand. Her hand appeared to be shaking. CW informed her that she could not leave the kitchen area
Region 4                   4/18/2022                             because she had the knife and CW must ensure that she did not harm herself. CW went to doorway and called the Security Officer on duty and
                                                                informed him of situation. Security Officer entered kitchen and requested that she put the knife down and talk to him. She did not comply. She
                                                             continued to yell for everyone to leave her alone. Security Officer exited kitchen area to call for back up. 2nd Officer appeared in a very short period
                                                              of time and requested that she put the knife down. She refused and told him that he couldn’t make her. 2nd Officer informed her that she would
                                                             either put the knife down or they would have no choice but to tase her. She continued to yell. Officers were able to get the knife from hand and she
                                                             was handcuffed. She was taken out of the house and eventually transported to Atlanta Emergency Room for Evaluation by an Officer. HST Joycelyn
                                                                Mitchell followed in her personal vehicle to hospital. CW Kendra Harris contacted On Call Supervisor Dani Morris.                  was admitted to a
                                                                                                                          psychiatric facility on 4/20/22.




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 Region     Child Name   Date of Incident      Location                                                                              Description


                                                                       was upset due to his girlfriend breaking up with him. At 8:35pm             walks out of the room and he takes the stairs. Caseworkers take the
                                                            elevator and officer Garcia follows             down the stairs.          cussed out caseworkers by calling them Bitches.                walks to the highway and
                                                                stands at the stop sign for at least 10 minutes. Cw Guerra calls Supervisor Desiree Flores and was instructed to talk to                 to come back to the
                                                                 hotel but stay afar for safety and if needed call law enforcement. Caseworker Guerra followed                  and spoke to            from afar (50 ft). Cw
                                                             Bingham accompanied Cw Guerra. Cw Guerra asked                    to come back to the hotel and no response. Finally, after 15 minutes                 walks back
                                                            to the hotel and approaches hotel guest.               continued to cuss out cw.          walks into the hotel and stays in the lobby. Cw Guerra asked Hotel
                                                                Guest if they provided            with anything. Hotel guest denied any items provided to               .         was approached by hotel guest and gave
                                                                        advice. Then at 9:15            walks outside the hotel again and approaches another guest in the parking lot. Caseworkers and officer Garcia
                                                             follow. Officer Garcia approaches             and the guest in the parking lot while caseworkers stand afar.               was provided a cigarrette by a guest.
                                                                        lit up his cigarette and runs behind the hotel fence. Caseworkers calls out for              but would not come back. Caseworkers stayed by the
                                                             hotel with the officer. Finally,           comes back and starts cussing and threaten the officer. Officer Garcia talked to              , but         would not
Region 8A                  4/19/2022
                                                                   calm down. Cw Guerra and Bingham talked to                afar, but he got upset.           calls cw bitches, Nigga, and that he is ready to swing at
                                                                caseworkers and anyone. Caseworker asked                 who he was calling nigga.            then walks towards Caseworkers and tells them to say the
                                                            word Nigger one more time because he is ready to swing at the Caseworkers.                    said I am ready to begin swinging at Caseworker multiple times.
                                                                            called Caseworkers racist because caseworker said the word nigger and it is not the same as Nigga. Caseworkers talked to                    and
                                                              explained to him that the word Nigga and Nigger should not be used.                got a little closer again to caseworkers and tells Caseworkers that he is
                                                            ready to swing at the caseworkers. Caseworker went ahead and called Jourdanton Pd.                            upset and says that he is ready to fight anyone and
                                                                 swing at anybody including the officer. Jourdanton Pd arrived. Officer pierce talks to              asked to speak to Officer Pierce alone. Officer Pierce
                                                              asked to speak to             alone in the parking lot. Caseworker said yes. Officer talks to           . Officer Pierce tells Caseworker that            agreed
                                                             to go upstairs and not cause any problems. If he does cause any issues to call officer Pierce and he will detain                           walked upstairs to the
                                                               room.             slams the door on Caseworkers and officer Garcia. Cw Guerra called supervisor Desiree Flores to inform her of the outcome.
                                                                                                                           was back in the room at 9:55pm.




                                                             CW Beth Juarez arrived on shift and said hi to        . He said he was going to slash her tires. CW asked what that was about, and he said he doesn’t
                                                            talk to “bitch ass niggas”. He started talking about how he was going to make a shank. He talked to someone on the phone for a while and to the cop,
                                                            from Hondo PD, for a while and seemed to calm down. After a while he got up and started putting his sweater on and talked about getting weed from
                                                            his homeboy. He darted out of the door. Staff and cop followed him, he stopped in the hallway and laughed and said y ’all thought I was really going to
                                                            go outside. He was talking to someone on the phone and argued that he was going to call them back in about 10 seconds and that he needed to hang
                                                             up because he was going to jump the fence and do parkour stuff. He hung up and rolled up his pants legs and took off running. CWs and cop followed
Region 8B                  4/27/2022
                                                             him down the stairs. He was already out of sight when CWs got outside he was trying to hide and going around the property. He came back smoking
                                                             and blowing the smoke in the cats face (he has a stray cat in the hotel room that he refuses to release). CWs asked him to stop and he started yelling
                                                             and getting closer to CW. He started calling her stupid and getting in her face. CW Juarez asked if he was going to act this way with his girlfriend or if
                                                             he was going to be able to calm himself down. CW Juarez told him, his kids may end up in CPS care because of his anger. He came at CW and the cop
                                                            stepped in between. He started hitting the cop. The cop asked CW to call local PD and they responded in minutes. It was female officers trying to calm
                                                                            him down and that made him madder. He went at the female officers and they restrained him and took him to juvenile.




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 Region     Child Name   Date of Incident      Location                                                                              Description


                                                               At around 4:32am           returned to the house after being gone for 30 minutes unauthorized. CW Joseph was on the phone with law enforcement
                                                            informing them that the            had returned.          went straight to the kitchen with another youth,          , and they were cooking eggs. While
                                                               was cooking, he pulled out something that looked like a black and mild or blunt, and he tried to light it on the stove. CW Joseph got up to go look at
                                                            what           had in his hand,        started cursing at CW Joseph, and he called CW Joseph all sorts of names. CW Joseph went to sit down,                pulled
                                                             it out again, and tried to light it. CW Joseph took a picture of it and he got mad. He stated that CW Joseph is not supposed to take pictures of him and
                                                            CW Joseph informed him that CW Joseph only took pictures of what he was holding in his hands. He became upset and started saying that CW is “gay”
                                                                and CW took a picture of his “ass”. CW Joseph did not pay attention to him,            the stated that he “will kill a mutherfucker”, and he said a racial
                                                                comment to CW Joseph but CW Joseph did not pay any attention to him. CW Joseph did not respond to him and he started cursing at CW Joseph
                                                              again, he came to the table, and he tried to grab CW Joseph’s phone. CW Joseph took his phone and placed it in his pocket, and                   stated that he
                                                               “would punch CW Joseph in the fucken face”. CW Joseph asked CW Schlab to call the police. CW Schlab called the police and                   started trying to
                                                             talk over CW schlab while CW Schlab was on the phone with dispatch. Dispatch stated that they would send someone over. At. 4:45am three officers
Region 7                   4/16/2022
                                                              arrived at the residence, CW Joseph went to talk to them outside, and explained to them what happened. They went inside,                     and          were
                                                             sitting on the futon, and they asked           about what he was smoking.           stated that he did not have it and he finished smoking it already and he
                                                             threw the bud outside. The officer asked            to stand up and        was saying a lot of curse words while the officer searched him.            asked why
                                                               he was getting arrested and the officer stated that he was not arresting him. The officer searched              but he could not find anything. One of the
                                                                 officers called CW Joseph outside to ask if          had gone outside or to his room prior to their arrival and CW said “no”. He came back inside, he
                                                                 searched the trash can and found a black and mild in the trash. Law enforcement arrested              for possession of tobacco by a minor. While CW
                                                             Joseph was on the phone with supervisor Watkins law enforcement came back to inform CW Joseph that they were taking                        to jail and he will be
                                                            seen by the judge in the order that he went to jail. Law enforcement stated that the judge may ask a bond of $500 at the most or the judge may grant
                                                              him a PR bond. He called             outside to talk to        but CW Joseph did not know the nature of the conversation.              came back inside and
                                                             went to cook himself some eggs.              stated that he was going to sleep and he can’t afford to go to jail. At 5:15am           fell asleep on the coach.
                                                                          As of 04/18/2022,          remains in jail; however, is expected to be released to child watch this morning after seeing the Judge.


                                                              When I arrived at my 4-8am shift          was awake. The worker leaving said bye and           gave him an unexpected hug as he walked out.            was
                                                             saying something to the affect that it was nice to see me again. The cops were standing by the door and the other worker was sitting on a chair.
                                                             offered me noodles and I said no that it was too early and that he should be asleep. He said he was going to eat his noodles. I said okay and then told
                                                              him that he could go to sleep. He sat next to me in the sofa. I was sitting on one end and he was at the other. He gave me a hug and I told him about
                                                            personal space. He tried a couple of times and I reminded him about my personal space.               went to his bed and LE offered to turn off the lights, but
                                                              he said no and then got up and sat back down next to me but with space between us.              started eating his noodles again and I looked at my work
                                                               phone. I heard the officer call his name and say no. I turned, and         was inching his hand towards me (bottom area). He did not make contact. I
                                                             moved further away from him.            got upset and started cussing at the cop telling him not to tell him what to do. He got up and started talking with
                                                                the other cop and for a few minutes it was okay but then he started opening the door and saying that he needed to go find his “partner”. He was
                                                               referring to his LE partner. He put on shoes and went outside. All four of us followed him.         was very agitated. LE and the other worker tried to
                                                              convince him to go back to the hotel. He was not listening to any of them, so they backed off.            was getting closer to the expressway and that’s
                                                              when LE told him that he was not going to go any further. He told LE that he was going to hurt him and was cussing at them. He said he was going to
                                                               get his gun and shot him/us. LE told him that if he tried they were going to put him in handcuffs.         started walking away. I pointed towards the
                                                             hotel and told him for us to head back that way. He bumped into me and said don’t touch me. I told him I did not touch you, you bumped into me. He
                                                             started cussing at me and telling me F-U repeatedly. He then started walking back towards the hotel cussing and threatening LE, myself and the other
Region 8A                  4/11/2022
                                                               worker. He then started going towards cars and saying he was going to steal them. LE advised him not to because he would be arrested. He did it a
                                                                few times until we finally made it back to the hotel. He did not want to hear from anyone, so I told him he had two options to go inside the hotel
                                                            through the front entrance or the side door that we were by. He said not to tell him what to do and he was not going to listen to me that he was taller
                                                              than me. I told him those were his options. The other worker opened the door. LE asked what our plan was. I told him that I was going to call PD on
                                                             call and get guidance on the next step. As we were walking in and back to the room we ran into the next LE shift.            started cussing at him and got
                                                                   into his personal space. He told him to go to his room and        did with reluctance. LE were by the door talking to the new shift about what
                                                               happened. I was standing to the right of        and the other worker was on the other side.          grabbed the lamp and yanked it from the wall and
                                                                took off the light bulb. He threatened to throw it at us. The other worker moved the light bulb out of his way and then LE told him to put it down.
                                                                     then motioned as if he was going to throw it. I moved out of the way and           slammed it on the table. At that point LE told him to stop what
                                                            he was doing and that we were all trying to help him but if he was going to continue with the behavior that he was going to call back up to pick him up.
                                                                 They backed away from him and            started hitting himself with closed fists on his head, chest and body. I was in the kitchen and noticed his
                                                             knuckles were red and thought I had seen blood. I asked the other worker if she could see. At that point            started scratching his arms to the point
                                                               that he started bleeding. LE tried to stop him but he started resisting their attempts and he was put on the bed and handcuffed. They at that point
                                                                  called SAPD to transport to ER. They arrived and said they would be transporting to Clarity after the other worker told them what happened. I
                                                            contacted PD on call            worker and site lead and told them what was happening The other worker and I followed them to Clarity and stayed until




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Region     Child Name   Date of Incident      Location                                                                              Description

                                                              CWOP Staff, Savannah Lujan and Shelbi Johnson - Workers arrived at Midland Alternative Program to pick up               around 4:05, Caseworkers were
                                                            informed that          was not on campus. Law Enforcement was contacted, and a police report was made.               arrived at the Farm around 6pm with
                                                                a Slurpee and candy in hand. When asked where he was, he said he decided he just wanted to walk home but then a wreck happened in front of
                                                           Subway, so he got distracted and asked one of the officers for a ride home. We were all outside together near the basketball court when               and the
                                                           other youth started playfully taunting each other, calling each other “gay”, etc. The other youth stated he was going to drink             drink and walked
                                                               up to         cup with his back towards         pretending to drink when         angrily walked up and shoved the other child away telling him to get
                                                               away from           things. They ended up on the floor somewhat playfully wrestling on the concrete and eventually stopped when asked until they
                                                             continued yelling in each other’s faces. Workers continued to ask them to stop and separate and warned that if they continued then the cops would
Region 9                  4/26/2022
                                                              be called out, but they continued yelling until the other child smacked          drink to the floor. They ended up on the floor wrestling again, but this
                                                             time it was much angrier and more serious. They were poking each other’s eyes and mouth until               put the other child in a choke hold. The other
                                                           child began screaming asking for workers to get           off and call the cops while workers were on the phone with dispatch.           eventually got off of
                                                               the other child and somewhat walked away. Other youth was asked to walk into the home for them to separate until cops arrived and went to his
                                                               room.        was asked to stay outside but argued that other youth was going to destroy his things and ran inside straight to his room as well. Law
                                                             enforcement arrived shortly after and took reports. The boys were asked to stay in separate rooms for the night. Officers spoke to both youth about
                                                            not getting physical with each other and possible consequences for assaulting others. No arrests were made due to “mutual combat”. No report was
                                                                                                                           provided by Law Enforcement.


Region 7                  4/26/2022                          This incident involves several youth:               , 14y, PMC, from RTC;                       , 17, TMC, from Kinship;                , 15y, PMC, from
                                                            Runaway;                   , 14y, TMC, from Psychiatric Hospital. All 4 boys left the house at 1:40 am without permission. When they did not return and
Region 7                  4/26/2022                         could not be located at the park next to the home, a police report was made at 2:10 am. The boys later returned at 2:40 and the police were notified
                                                            that they had returned.          asked to speak with Worker Joseph alone and reported the boys made him steal swishers from the store. Police came
Region 7                  4/26/2022                          by the house and asked about attempted robbery at 7 11 store. According to the police, one of the youth ran behind the counter and tried to steal
                                                             some cigarettes and stuff from behind the counter. Officer issued           ,         and       curfew violations and will be following up on the alleged
                                                            robbery.         sat at table during entire interview with police and never said a word and unlike the other youth, he did not sign the curfew violation
Region 7                  4/26/2022                                                                     card. No arrests were made regarding the allegations of robbery.

                                                           CW Ashley Crawford arrived on shift at approximately 750pm along with CW Hannah Sample. Workers from previous shift provided a briefing and left.
                                                                   stated he was going outside and went through the front door. CW Crawford was able to see             on front porch while CW was standing near the
                                                                door. CW Crawford asked         to return inside while CW’s signed in.      stated, “no” and preceded to walk outside. CW Crawford walked out the
                                                               front door as to keep him in line sight. CW Crawford turned on the front porch light, to see.        remained on the porch, reached through the open
                                                               door, and flipped the light switch to the off position. CW Crawford stated the light needed to remain on for visibility.        proceeded to remove the
                                                              light bulb from the front porch fixture. CW Crawford asked         to return the light bulb where it belonged. He stated he threw it on the ground. CW
                                                             Crawford walked outside and looked nearby for the bulb. Dan then pulled the light bulb from the mailbox, hanging on the exterior wall of the house.
                                                           Again, CW Crawford asked           to put the bulb back in. He walked inside the house with the light bulb. CW Crawford entered the living room with
                                                                 and again asked him to return the light bulb. Security officers advised him to do so as well.       walked out on the front porch and screwed the
                                                             lightbulb back in. CW Crawford asked          to come inside. A security officer offered to go out front and supervise while CW’s signed in.       went out
                                                           briefly and returned inside. He went to his bedroom and security officer talked to him.           was being argumentative.         put on another shirt while in
                                                               his room. At 813pm, CW Crawford and CW Sample were in the living room within close proximity to              , signing binders, when he exited the back
                                                                door with security officer. CW Crawford completed signing in and went to follow out the back door. Approximately 45 seconds later, the security
                                                            officer met CW Crawford at the door and stated, “he just ran.” Officer reported           squeezed through an opening in the fence and left. CW Crawford
                                                           went out the back to see if he was hiding in the backyard. CW Crawford loudly stated, “ You have ten seconds to show yourself or I will have to call law
Region 5                  4/12/2022
                                                             enforcement.” CW Crawford counted out loud, with no response CW Crawford called LE. One security officer left on foot to look for               and another
                                                            left in their vehicle to drive around and look. CW Crawford contacted On-Call Supervisor Anita Sykes, who advised CW to begin runaway protocol. CW
                                                              Sample went to her car to get laptop. While CW Crawford was on the phone with Supervisor Sykes, security officer pulled back up to the house and
                                                           stated        was coming from around the block. CW Crawford observed             and other security officer walking toward the house. Upon making it to the
                                                           front of the house,        stated he would take off again. CW Crawford explained he did not have permission to leave the premises.             ignored CW and
                                                           continued to walk off again. LE showed up during the exchange. CW Crawford explained the situation and LE officers spoke to                . n asked LE what
                                                             he needed to do to get arrested and informed them he would be leaving again. Once               was back in the yard and appeared to be calm, LE left.
                                                               entered the house and informed CW Crawford he is “immediately annoyed by her presence.” CW Crawford worked on SIR, while                    , CW Sample,
                                                              and one security officer sat outside. CW Crawford went outside to check on staff and           demanded CW Crawford to “go back in fucking side.” CW
                                                               Crawford explained the responsibility of CW was to assist in supervision and CW Crawford was aware of                defiance and disrespect toward CW
                                                             Sample. CW Crawford assured            he could maintain distance, but CW would assist in keeping him in sight.         became confrontational and began
                                                               walking around the house in the dark. CW’s and security asked          to return to the front yard. He continued to ignore directions. Security assisted
                                                           with flash lights, at which point,       went through a small opening in the fence and exited the premises. Security officers continued to follow           and
                                                                CW Crawford was able to see          from a distance. CW Crawford attempted to follow, as to keep him in sight. However,           ran into a dark area
                                                               where he could no longer be seen CW Crawford and security officers gave verbal directive multiple times for              to show himself or return to the




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 Region     Child Name   Date of Incident      Location                                                                             Description



                                                                         was standing in the hallway playing his music and then came back into the room around 10am asking why the staff just sit around and don’t
                                                             take him anywhere he is bored in the hotel room all day. Staff didn’t say anything to him, then he started to curse staff out calling staff out her name
                                                            calling her fat and that she is a bitch. Staff said nothing to him and he continued to disrespected staff.            got in the caseworker face so staff put
                                                                 mask on and asked              to please remove out of her personal space and called her a bitch staff continued not to say anything to him as he
                                                             continued to curse out the staff.              continued to threaten staff got in her face and he was so close that he was spitting in staff face. The other
                                                            worker tried to intervene and asked                to back up he said shut up with your bitch ass. He took staff snacks and threw them away then he came
                                                              up on staff while she was sitting standing over her and he told staff to touch him so he can have a reason to beat her ass he tried to take staff work
                                                              bag and staff grabbed it from him. Staff called supervisor to let her know what was going on and she advised staff to step out and take a break staff
                                                              tried to step out but            was so close that staff was blocked in staff asked him to please back out of her personal space again and he refused.
                                                            Then              got even closer and started recording staff on his phone calling her bitch and kept spitting in staff face so staff picked up the phone and
Region 6A                  4/12/2022                           called 911 to help deescalate the situation because he was constantly threatening staff and stayed in her personal space.                  was so close to
                                                             staff as she stayed sitting down and              was on top of staff constantly threatening staff. Then           said I don’t care call the police and I am
                                                              still going to beat your ass. He put on his shoes and walked out the hotel room. He came back in the room and asked where the police then he said I
                                                              knew you didn’t call them. So, then he was said I’m going to stop fucking with you lady. Then the cops knocked on the door and                    answered
                                                              the door and told the police they have the wrong room nothing going on here and the police called staff to come to the door.                   wouldn’t let
                                                              staff out so the police asked me was               the one who threaten me then police told hm to put his hands behind his back                refused and
                                                               was fighting with the police and he resisted arrest the police offer had to grab him and pushed him up against the fridge to handcuff him.
                                                            threaten the police and said when he gets out those handcuffs he was going to beat his ass then the police escorted                    and caseworker outside
                                                               to talk about the situation. After cops talked to caseworker and              the police said the DA wouldn’t accept the charges. The police said if we
                                                                need him again to please call and they will come back and get him. The police left              came back in the room and was still threatening staff
                                                                                              saying he was going to beat her ass the threats kept going on until the end of staff shift.




                                                                       got upset because           allegedly ate her pizza rolls.        stood up to          and            and         began to fight. The girls
Region 8A                  4/14/2022                         had to be separated by on site security.          remained in the room and            was taken to the security room where she continued to yell and
                                                               tried to go after         .          began to make comments stating that she was going to kill herself and          . No injuries were reported.
                                                                Superior Crisis Line was contacted for a mental health assessment based off             comments. When the Crisis Line contacted CWOP staff
                                                                       was already moved to another location due to this altercation. PD contacted the new CWOP location, Homewood Suites Lackland, and they
                                                            reported            was already asleep. They contacted the Crisis Line who reported that since          calmed down they can be contacted if another
Region 8A                  4/14/2022                                                                                episode occurred. LE was not contacted.




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 Region     Child Name   Date of Incident      Location                                                                            Description

                                                                     was in living room on sofa watching YouTube videos.           was informed of fire drill that needed to be completed by everyone in the home.
                                                              Hotspot was paused due to fire drill needing to be completed.             stated that she didn't want to go outside because it was hot. CWOP staff and
                                                                  police officer attempted to convince         to come outside, informing her that it would only be a couple of minutes, however she resisted.
                                                             Caseworker informed          that everyone must go outside, and she could lose hotspot privileges if she did not follow directions.         became really
                                                               upset and started yelling that staff was forcing her to go outside and she didn't want to because it was too hot.            continued to yell that she
                                                             wanted hotspot to be turned back on and she wouldn't go outside and asking why we were forcing her. She got up from the sofa and approached the
                                                                caseworker and police officer (J. Rodriguez) who were standing by the dining table.           became physically aggressive against caseworker; she
                                                             attempted to grab caseworker by the neck, however police officer grabbed               arms to prevent her from attacking caseworker.             was able
Region 11                  4/29/2022                          to scratch and grab caseworker's shirt.             nails broke caseworker skin. A red welt, open skin, and blood is visible on caseworker's neck area.
                                                                      continued to fight with the police officer. He continued to hold her arms in order to prevent           to attack the caseworker, police officer,
                                                                or herself.          attempted to attack the police officer. Caseworker and police officer asked           to calm down and asked her to sit down
                                                             however she refused.           continued yelling for the hotspot to be turned on. CWOP staff asked             to calm down and stop yelling in order for
                                                             hotspot to be turned back on.          was asked to hand over the remote control however she refused and continued to yell. She would not hand over
                                                             the remote control and demanded to be provided hotspot password in order to turn it on. Process was prolonged due to                 continuing to scream
                                                                and yell which caused her to not be able to hear the password. Password was plugged in wrong by                which caused her to yell even more.
                                                             Workers continued to repeat password and               plugged in password correctly and was able to access youtube which caused             to calm down
                                                                                                                                and sit down on sofa.



                                                              Worker Angela Guerrero: At some point during the CWOP shift,                    stole Caseworker Guerrero's car key. CW Guerrero was unaware that
                                                            the key was stolen.                 then ran away at 11:39 and law enforcement was notified. At 12:59 PM, a police officer notified CW Guerrero via cell
                                                             phone that                 had stolen CW Guerrero's car and wrecked it.                 rear ended another car and police were called to the scene. CW
                                                                Guerrero pressed charges and             was arrested.          was not injured. The motorist she rear-ended was not injured and left the scene.
                                                              Program Director Teara McKentie: I spoke with Mrs. Guerrero to get more detail regarding what happened. The CWOP address/location was 7807
                                                            Kirby Dr. Houston, TX 77030 Rm#1508. Mrs. Guerrero stated that she always had her keys near her, but she was distracted when she realized that the
Region 6A                  4/20/2022                         night staff had not secured the mediation. While she was putting the medication away,             stole her keys.           ran away shortly after. Mrs.
                                                             Guerrero did not realize her keys were missing because she, and her protege', ran after her to search for her and filed a police report. Mrs. Guerrero
                                                               stated that her car was still present when the police took the report. Mrs. Guerrero did not realize that her keys or car were missing until she was
                                                            notified by police that there had been an accident. I went to the scene to meet her, at San Felipe and Kirby. I informed the police of            runaway
                                                            history and the trouble that she had gotten into the last few weeks. The officer was able to give the information to the Juvenile DA and they agreed to
                                                             press charges. I spoke with the other person involved in the crash and she was not hurt. Thankfully, she was very understanding. I have attached the
                                                                                                                               pictures that I took.



                                                               At 4:19 PM,         asked worker Jamiesha McBiggers if he could use her phone. Worker asked what he was wanting to do and                 said watch
                                                            YouTube. Worker saw that he is not allowed to be on the phone so she explained to             that he cannot, and he said okay. Two minutes later,
                                                             walked up to the worker and stated that he would like to go back to the hospital. The worker asked if he was okay and            stated that he feels like
                                                                he could kill himself. The worker then let the floater Rachel Quarles know what          said and what he is wanting as         started to pack his
                                                              belongings and then sat on his bed. Rachel called the Primary Supervisor Dewanda Jones to update her on the situation. Dewanda stated that the
                                                            workers should call the mobile care unit and have them come check             out. CW Jamiesha called the mobile care unit and let them know what was
                                                            going on and the mobile care unit let the CW know that they will staff the situation and when they send someone out, they will call first. CW Jamiesha
                                                             gave her name and number as the primary contact person and gave 6pm shift lead Leslie Perkins number for after 6pm. Worker Rachel went to pick
Region 3E                  4/12/2022                        up         medication from CVS. 5:07PM-            is on the hotel phone, CW Nora Zamora asked him to put the call on speaker phone. He just looked at
                                                               Nora and rolled his eyes. He continues to be on the phone. He was asking for Aunt Jackies number. He just got off the call @ 5:10PM. He is now
                                                            watching T.V. Workers Jamiesha and Rachel updated               primary worker on the situation. 5:17PM-         asked if he was going to be able to go to
                                                              Dallas Behavioral as he gets the most help there. When caseworker Jamiesha walked back in, she stated Urgent Care Unit was on their way to the
                                                            hotel. 5:20PM-         tried to look at the CWOP binder with his information in it. 5:25PM-          primary worker Marcia called and asked the workers
                                                              to get security to take the phone out of the room and hand it to the shift lead.         got upset when he saw security disconnect the room phone.
                                                            Stated his worker allows him to use the phone. Jamiesha informed him that the caseworker requested for it to be removed from the room. He looked
                                                                at Nora angry and said it was her fault for saying he was on the phone. 5:37PM-Jamiesha stated she brought his medication; would he take his
                                                                                                        medication? He said NO. 5:57PM           started punching the beds.




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 Region     Child Name   Date of Incident      Location                                                                              Description
                                                             On 4/4/2022; I was assigned to room 313 for CWOP along with CVS Specialist Katlyn Flores.                       had been brought back to CWOP at 6:30PM,
                                                            prior to my assigned CWOP shift at 8pm. Katelyn and I did attempt to read the attachment A form, however, there was not one provided in the binder.
                                                               On a separate sheet, there were notes for the caseworker to utilize while supervising              One specifically advising physical boundaries should be
                                                              implemented between              and female staff. Upon arrival,         was very cooperative with me. At approximately 8:16 PM, Katelyn and I sat at the
                                                             table and positioned both chairs toward              bed. Katelyn was sitting at the end of the table and I was against the wall.         sat on the floor right
                                                              near Katelyn. I witnessed Katelyn jump up and request              not do that as it was inappropriate. Katelyn then advised me that          placed his head
                                                            on her butt. I asked         if he could please sit on his bed or in front of us on the floor.       refused to move. Katelyn asked him if could at least move
                                                               in front of her, he refused to do so.       was sitting directly near her seat which would not allow her to sit back down.           advised us to “not say
                                                             another fucking word because we were pissing him off”.               was visibly upset, I requested Katelyn get law enforcement from the next room. When
                                                             Katelyn exited the room,           stated we pissed him off and he wanted to kill someone. He said I know where the pens are. He jumped up and ran to
                                                                  the kitchenette counter and grabbed a pen. I immediately got up when he got up and picked up my chair to shield myself as                 lunged at me
                                                                 attempting to stab me with the pen. I yelled for the officers twice. Officers Moncivais Badge 205 and Maldonado Badge 26 came the room.
                                                            turned his attention to the officers and grabbed another pen advising he would kill them if they came any closer. Officers attempted to calm him down
                                                             and requested he allow me out the room.              refused; I held the chair in front of me in the event he attempted to lunge at me again.
Region 8A                   4/5/2022                            came over asking officers if he can attempt to calm           down.         was hesitant the first few minutes yelling at         to go back to his room.
                                                                       attempted to hug         which allowed            to get pass                  went up from behind         and restrained his arms from behind long
                                                             enough for officers to jump in, remove the pens and cuff him. Officer Maldonado Badge 26, called for EMS and patrol units to assist.                 continued
                                                             to threaten staff and officers that he wanted to kill them. When             was placed in the patrol car, he was banging his head against the windows and
                                                             attempting to kick the seat. EMS arrived and took his vitals.            had calmed down and was transported to Clarity. I contacted PD Natasha Bussey at
                                                                   8:29 PM when         was placed in cuff. I informed her of the situation. Katelyn appeared to be upset that            placed his head on her butt. I
                                                                 attempted to inform her of his mental health, however, she was to proceed how she would like as officers asked if she wanted to press charges.
                                                             Katelyn advised me that she would not be working if              is not taken and or assigned back to the room in the future. I informed PD Bussey. Katelyn
                                                                  contacted a peer in her unit, I instructed her to get off the phone as we were still providing information for the ED report and speaking with PD.
                                                             Katelyn then advised that           was touching her butt which was not what she initially advised me of. I did not witness any of Katelyn’s claims. I only
                                                               witnessed her reaction of her allegation that he placed his head on her butt. Katelyn initially denied pressing charges. I was advised by PD to follow
                                                            law enforcement to Clarity and Katelyn was advised to head home. At 9:16PM, I received a call from Katelyn asking if I was still with law enforcement.
                                                                I advised I was, she asked me to request officers contact her as she would like to press charges for sexual assault against             I declined to press
                                                                charges as I did not sustain any injuries and no was contact made. I informed PD Bussey and remained at Clarity to complete registration for
                                                                                                                                         until 12am.

                                                             Shortly after midnight on 04/19/2022,             refused to sleep, put the cat outside (neighborhood cat), and turn the TV down/off. She cussed at the
                                                             officer on duty, Officer Kevin West, and made vulgar sexual comments to him. Caseworkers asked her several times nicely to do these things and to
                                                            be respectful. Caseworker Nobles attempted to put the cat outside,                physically pushed CW Nobles away from the cat and told her not to touch
                                                                the cat. Caseworker Nobles unplugged the TV,              tried to plug it back in and flipped the TV over, but plugged it back in. Caseworker Nobles
                                                             unplugged it again and attempted to take the cord,              cussed at her and began to get physical with her by pushing and hitting her. Officer Kevin
                                                            West stepped between Caseworker Nobles and                           swung and hit Caseworker Nobles on the arm/shoulder. Officer Kevin West interfered
                                                            and tried to stop                  started hitting him. He pushed her down to the ground while trying to separate                from hitting staff and himself.
Region 7                   4/19/2022                                got up and started hitting and punching Officer Kevin West again.               then threw the TV onto the ground. Officer West tried to detain her
                                                             body on the couch, she was kicking him. He backed off and she got up and started punching him again.                   fell on top of the TV but got up again
                                                            and went after the officer. He detained her on the chair, then backed off, and she got up again and continued punching him. At one point while trying
                                                               to detain         as well as shield his face, Officer West hit           face. She stopped and ran outside. Bryan Police Department came and took
                                                            statements. LE found            down the street. Officer Kevin West had scratches on hands and arms from                 hitting him.         was complaining
                                                                of her side hurting and had no visible injuries, EMS was called by the Police; but            refused to allow them to see her. Officer Kevin West is
                                                             pressing charges for assault (of public servant).          was arrested and taken to Bryan Juvenile Detention Center. Bryan Police Department Case #
                                                                                                                  220400753.           remains detained at this time.




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 Region     Child Name   Date of Incident      Location                                                                            Description


                                                            I arrived at my shift around 11:50 AM.        was still sleeping. I was the red worker on the shift. The yellow worker (Elsa Nobles) reviewed the binder
                                                             to ensure that the kids had taken their medications and if anyone need afternoon medications.               work up around 12:30 PM and went to watch a
                                                               movie in the living room with staff. The yellow worker discovered that           had not had his medications. Joni Yount (Supervisor for CWOP house)
                                                               was contacted but did not respond quickly enough so Marlee Doung (PD) was contacted. She requested to know the name of the medication and
                                                             then gave approval for        to have the medication. At 1:08 PM the Ms. Nobles provided him his morning medications. He grabbed the medication
                                                              and went into the bedroom. Ms. Nobel’s followed him and checked his mouth to ensure that he took the medication and he had taken it. He then
                                                            stated he took them and sat back on the couch.           then went to take a shower around 2 PM. He was in there for a while so staffed checked on him
                                                                 and        responded to knocks on the bathroom door on two separate occasions in approximately 10 min increments. I observed                 exit the
                                                            restroom. When I went into his room I observe             face to be very pale. I asked        if he was okay.      stated he was sitting down in the shower
                                                             and felt dizzy when he went to get up.        stated he fell over and it felt like his heart had stopped while in the shower. I asked       if he needed to
                                                               go to the hospital and      responded that he was not sure if he needed to go.             denied having the water temperature hot while showering. I
                                                            contacted Supervisor Joni Yount about contacting EMS, Joni agreed to call EMS. EMS was called to the home. Appropriate information was provided to
                                                                  EMS. They were informed that          has no known allergies and his medication information that he took at 1:08 PM was provided.              was
Region 5                   4/27/2022
                                                            transported to Chi St. Luke’s in Lufkin, TX. Ashley Goodwin who was reporting to the 4 PM shift, got his binder and met the ambulance at the hospital.
                                                             (Amanda Runnels was contacted by Lacie Salinas for more information and to update the SIR, it was completed together, and Ms. Runnels approved
                                                              the changes that were made). This update was completed by on call supervisor, Lacie Salinas. I was contacted by Amanda Runnels at 5:54 PM. She
                                                              stated that Ashely Goodwin was still at the ER with          She stated that when they were drawing blood that his heart rate dropped to 20. He was
                                                             given medication to make his heart rate go up. He is going to be transferred to Texas Children’s Hospital by ambulance tonight and he is going to be
                                                            admitted to the hospital for further testing. I contacted on call CVS PD Jessica Hickman regarding the incident. The decision was made to contact CPI
                                                              since the child was removed on 4/21/22 and the 14 day hearing had not occurred yet. I contacted on call supervisor for Lamar County in Region 04,
                                                             Bethany Brunson. I explained what was going on and let her know that they needed to send someone to meet this child at Texas Children’s Hospital
                                                             around midnight to meet the child and the ambulance there. The CWOP worker will remain at the hospital until the child leaves the hospital and the
                                                                CPI worker will need to meet the child there. She stated that she would get back with me. On 4/28/22,              was transported to Texas Children’s
                                                                 Hospital in the Woodlands. The youth was seen by medical personnel.               was discharged later in the afternoon with no concerns. Physician
                                                              reported that he was experiencing “dehydration”.            was feeling better and returned to child watch location with no issues. Lori Sutton-White,
                                                                                                                                  Regional Director



                                                              During the 8p to 12a child watch shift at the Atlanta Location                   was disrespectful and used profanity towards staff.         hit case
                                                             worker Myrandi Williams on the leg and claimed it was an accident.             went into the kitchen and worker Shaterica Rainey followed her.
                                                               put on her jacket and acted as if she was going towards the back door. Worker Shaterica stood in front of the door to keep           from running.
Region 4                    4/7/2022                                   grabbed a coffee mug and looked at worker Shaterica.             threw the mug across the kitchen.         picked up the mug and bashed it
                                                                 against the window. The glass shattered and the window was completely broken. Captain Restelle and worker Myrandi Williams rushed to the
                                                             kitchen. Captain Restelle informed staff           will be charged with criminal mischief.         was not remorseful about breaking the window. She
                                                                told staff she was angry, and her meds are not working. Worker Myrandi Williams swept up the glass while worker Shaterica supervise



                                                               When I arrived to my CWOP shift,          became fixated on having me near him. I would refuse and would remind him of personal boundaries and
                                                             space. The two officers on the shift first noticed that he was trying to grab me inappropriately. The officers were able to help me redirect him and we
                                                              began to play catch. During this time,         repeatedly told me it was because he loved me that he wanted me near and because he could not stop
                                                               thinking about me. Once the officers were relieved at 6 pm and one officer came to replace them,               attempts at touching me became more
                                                                frequent. I did not receive help from the others in the room at redirecting        At one point,       asked me to help him build Legos and I said I
                                                             would, but he needed to stay on the couch, and I would sit at the other end of the coffee table. I could see that he was attempting to touch me again
                                                             and I would ask him what he was doing or going to do, and he would say nothing. When I sat down,                quickly rushed next to me and I quickly got
                                                             up and told him that I would be on one side of the table and he would sit on the other or I would not play Legos with him anymore. He said okay and
                                                              stated that nothing was wrong, and he was not doing anything. I was able to make eye contact with the officer and the officer looked over at
Region 8A                   4/9/2022
                                                              and        told him to stop being a creep. I also made eye contact with the worker on my shift but no help for redirecting           was received. Even
                                                            after stating loudly to        multiple times that he needing to give me personal space. A few minutes later after we were back to building Legos,
                                                              reached under the table and attempted to touch my vagina. I quickly got up and went to the kitchen and told the officer that             was making me
                                                            uncomfortable and was trying to touch me inappropriately. He did not say nor do anything. I made                food and stayed in or near the kitchen away
                                                              from        the remainder of the shift. When his food was done cooking, I told him that it was ready, but he stated he was going to take a nap and I
                                                               said okay. I went to chat with the worker, and she pointed out to me that          was masturbating. We did not state anything to           during this
                                                             time.         did not try to touch me again the remainder of the shift. Follow Up: Staff did not call on call PD while this was happening. The call came
                                                               after from the staff's supervisor to the on-call PD. At the time, they notified the security POC what had occurred and the officers had to be in the
                                                                                               immediate line of site with this youth. The worker did not file a police report for this.




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                                                              At the beginning of the shift, coworker/Victoria, left CWOP to go to the store to buy              items so he would not get bored, she was gone about 45
                                                             minutes. Caseworker was with             and two officers in the room during this time.           started out asking Victoria and myself for a hug and he was
                                                            given a side hug.        continued to talk to Victoria and wanted to sit by her when she was sitting in a chair next to the kitchen and proceeded to get a
                                                             chair and put it next to Victoria’s. Caseworker witnessed            putting his chair closer and closer to Victoria and she relayed to       numerous times
                                                                   for him to remember boundaries. Caseworker witnessed                 inching his hand towards Victoria numerous times attempting to touch her.
                                                             Caseworker witnessed           state to the officers, “stop creeping on me” and this co-insided with him trying to touch Victoria. Later Victoria moved to
                                                               the couch to put together a lego that she bought for him and he sat on the floor. Victoria reminded him again of boundaries and had told Victoria
                                                            numerous times that he loved her. Caseworker witnessed                 try to touch Victoria through the underside of the coffee table where she was putting
                                                            together the lego toy and again accused others of creeping on him when he was attempting to touch her. Victoria reminded                    numerous times of
                                                            boundaries because he kept trying to get physically closer to her until she got up and said she would rather stand. Finally, about 6pm Victoria got
                                                             to participate in playing ball with the soft football she bought him and the two officers all played with           as well for about 30 minutes. The officers
                                                            also tried to keep        busy with watching tv, showing him workout moves, and in general just talking to him to keep him occupied. Shortly after the
Region 8A                   4/9/2022                        two officers left at 630pm and another officer arrived            announced he was going to take a nap and covered up with a blanket. Victoria was sitting
                                                              with her back to the kitchen/just at the corner of the kitchen wall, the officer was sitting near the door and I went into the kitchen to get something
                                                              and observed         under the covers masturbating. I went back out of the kitchen (I was sitting at the table next to the closet) and relayed what he
                                                                was doing to Victoria and the officer. About that time           got up and stated he was done with his nap (which was approximately 2-3 minutes).
                                                              During the entire shift, minus the time Victoria was out of the room,            was primarily focused on Victoria and would follow her around and try to
                                                              stand next to her or sit next to her and he was observed at least 3 times trying to touch her. Caseworker did not witness him actually touching her.
                                                               Caseworker also observed           staring at Victoria and telling her repeatedly that he loved her and staring at her waist area in an obvious way that
                                                                was inappropriate. Victoria seemed calm during the entire shift and appeared to handle the situation calmly and professionally. Victoria did not
                                                                appear to be upset during the shift and did not state that           had touched her. However, Victoria did state she would probably not sign up for
                                                              CWOP with          again. Again, when the two police officers were present they did not engage               directly about his behaviors but did talk to him
                                                              about boundaries and constantly redirected him, as did I, and as did Victoria. When Victoria left at 8pm and another male worker arrived                  was
                                                            mostly appropriate throughout the following shift. This caseworker does not feel that younger / attractive women should sign up for CWOP with
                                                                                             and his particular behaviors as it does not appear           is able to control these behaviors.




                                                               Upon arriving to my shift            was complaining about feeling irritated with her roommate            While completing the sign-in logs I observed a
                                                              note in           binder that stated she is not to be using the hotel phone.           came out of her room asking if she could use the workers phone as
                                                                    was still on the hotel phone.          came out of her room upset stating how annoyed she was with              listening in on her phone calls. I tried
                                                              to calm down             as I explained to her that        was wanting to use the phone and advised her that she is not to be using the hotel phone per
                                                             the note in her binder. I continued to explain to          that the phone from her room needed to be removed per CVS PD Ida Pierce. I continued to text
                                                              CVS PD Ida Pierce who informed me police needed to be contacted and advised me that there was an on-call FBSS Supervisor.                   became furious
                                                               at this point and began yelling at me and the other worker.            began to start making threats that she was not going to listen to anyone and that
                                                             she was on the verge of “poppin a bitch”.             eventually took the phone out of her room and threw it on the table where I was sitting. Shortly after
Region 8B                   4/2/2022
                                                                        came out of her room again yelling and then walked out of the hotel room. I followed            and went to go look for her downstairs. While
                                                                downstairs she was calm and agreed to go back upstairs. Once we got upstairs she went into her bedroom and locked the door. Once again
                                                             came out of her room upset as she began yelling at myself and the other worker. We advised                we were going to have to call the police in which
                                                                 she stated that she did not care.           again began yelling, slamming the door to her room, threatened myself and the other worker, and again
                                                             walked out of the room . At this point Alejandra was on the phone with police calling for assistance. As she walked out other customers staying at the
                                                             hotel came to the room to see if everything was ok.              returned to the hotel room, slammed the door to her room and locked the door. Police did
                                                                  not arrive till at 11pm in which their assistance was no longer needed as           had calmed down. As           behavior escalated the following
                                                                                   individuals were contacted: CVS PD Ida Pierce, Supervisor Latoya Williams, and PD Nicole Solis were all contacted.




                                                              When in the room,           began to warm pizza rolls for herself. Worker Jullyana observed                go over to          and state that those were
                                                            her pizza rolls.         not being able to hear was confused, and              indicated with hand gestures that they were her pizza rolls.            typed
                                                              on the phone that they were her pizza rolls. Other worker Jaime approached the situation and tried to separate the girls.                 yanked the door
                                                              handle of the hotel room door and broke it in doing so, she stormed out of the room and worker Jaime followed. Shortly after,                 returned to
Region 8A                  4/14/2022
                                                            the room aggressively toward             both workers tried to separate them and inform                that she could request pizza rolls on her grocery list,
                                                                       refused and began to get enraged.             took             iPad and threw it into her toilet, worker        quickly took it out.         then
                                                             took             smart watch and threw it           hitting her in the face.          then grabbed another object and threw it toward               missing
                                                                      this time.         went to grab another object to throw and               got up throwing her hands up and               went at          throwing
                                                                the first punch. Worker Jullyana ran downstairs to get a police officer, both police officers ran upstairs and tried to separate them. At this point
                                                                       and           were on the floor on top of each other, and            had             hair in a tight grip. Law enforcement was able to separate




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                                                                  the girls. Caseworker Jullyana was on the phone with on call PD Monica Mata during part of the altercation.                 continued to be upset,
                                                              caseworker Jullyana and LE walked her downstairs into the security room and Caseworker Jaime stayed in the room with                     and other police
                                                               officer.            expressed that she wanted to go home and kill herself. Shortly after she also stated that if she did not get moved that she would
                                                               either kill herself or kill        Caseworker informed on call PD, PD suggested having                evaluated through the crisis hotline, caseworker
                                                            Jullyana called the crisis hotline and was told she would receive a phone call back. Ms. Mata was concurrently working on finding                a new hotel
Region 8A                  4/14/2022                            to be moved to.             was moved hotels per on call PD instruction,           left before crisis hotline called back. Caseworker gave on call PD
                                                             Monica Mata the information for the crisis hotline person ready to speak with               Both girls did suffer from minor scuffs during the altercation.
                                                                           had a scratch on the top of her hand with minor bleeding. Caseworker Jullyana helped her clean it.              also had minor swelling and
                                                                                                  scratched on her face. No immediate medical attention was deemed necessary.



                                                            I reported to my shift at 5:00 p.m. Caseworker Veronica Wood suggested that one of us needed to take the dirty towels downstairs to exchange them
                                                            for new towels. The hotel will not allow us to leave dirty towels outside the door anymore and they are asking that we bring them down and get clean
                                                                ones. Veronica left and Jennifer was present for the 5:00-p.m. shift.            wanted dinner and we talked about cooking chicken Chessy Cheddar. I
                                                            started boiling the chicken while            was on the floor with his familiar surrounding of cars, coloring books, and his favorite movies. Jennifer was on a
                                                            personal call that made her upset. While I was cooking, she asked               to grab the dirty towels and take them downstairs to get clean ones to shower
                                                                later.      refused and she asked him again.            stated that he did not want to pick up the towels.         picked up the towels and she took him
                                                                 downstairs and stated that she will only be a few minutes. Officer Petrie stayed upstairs as Jennifer stated that she was only going to take a few
                                                              minutes. Jennifer did not ask me to assist her as I had boiling chicken on the stove. Jennifer did not ask Officer to assist her to walk downstairs. As I
                                                              was cooking, we received a call from the hotel phone twice. The first time, Officer Pierce did not answer it in time and answered it the second time.
                                                                She stated that we were needed downstairs. We both went downstairs and saw Jennifer Janak against the wall and                    no where to be found. I
                                                                asked Jennifer where was           and she stated that he ran. Jennifer stated that         pushed her against the wall and I asked her what happened?
                                                                Jennifer stated that        wanted her to print out pictures to color and she told him no, not right now and they had to wait as the front desk had a
                                                            customer. Jennifer also stated that he locked himself in the office and threw down the towels and ran outside. I told Jennifer that we were told no to
                                                               say no and she responded that she told him he had to wait and it was unacceptable that he pushed her. I walked in the area where he could have
Region 8B                  4/11/2022
                                                            walked and Officer Petrie also went to look for             We found him sitting on a curve by Olive Garden.          had a sad smile and was looking down. He
                                                             screamed that he hated her and he pointed at the direction of the hotel. I asked why he hated her and he stated that she told him no. Officer Petrie
                                                               and I asked what did he want and he stated that he wanted pictures to color and they needed to be printed out. Officer Petrie stated that she will
                                                              print them out and held his had as he grabbed hers and mine. I asked               if he needed a hug and he stated yes and I gave him a hug. He held both
                                                              our hands and we walked him back to the hotel front office. Officer Petrie worked with               and printed out pictures. Jennifer walked outside of the
                                                               hotel and stated that she needed to cool down. I asked her if she was ok and she stated that she was ok and just frustrated. I also asked her if she
                                                              needed medical attention and she stated no. She stated that her arm was hurting and I suggested that she complete a incident report. We reported
                                                            upstairs with        and he ate dinner at 530 p.m. and he was calm and happy the rest of the shift. 4-8-2022 We received tips on working with                from
                                                            Nicole Green. Here are some things to keep in mind in working with                as he has been pretty good today. Refrain from using the word “No”. Maybe
                                                              telling him things like in a little bit or using timeframes with him like in 45 minutes you can have another snack without being authoritative. He does
                                                               well with numbers and sticking with a schedule by telling him how much longer before can do something. RD Follow up: Following up with the PA,
                                                             Shannon to follow up and ensure that staff are aware of the              special needs which states that he is not to be told no (this is a trigger for him). RD
                                                                is also recommending that the PA follow up with the worker Jennifer in regard to the use of her personal phone during her CWOP shift. Protocol
                                                                  would be if a call needs to be taken the staff let the other staff know and officer, worker can then step out and take the phone call as needed.


                                                            At 5:10,        hit       bed trying to scare him. Worker corrected                 was asked to return to the kitchen area of the room. At 5:15pm,
                                                            rolled to the kitchen on a rolling chair, and he made a comment on            feet smelling. Worker corrected the comment made. He was asked to leave
                                                                     alone because those type of comments cause them to fight. He got upset from being corrected; he left the room in the chair. He was brought
                                                             back to the room being pushed on the chair. He left at 5:25pm. As he walked out the room, he stood up aggressively and closes his fists while looking
                                                              at staff. Once outside, he gathered rocks and asked which was the worker’s car so he could throw rocks at it. He went to the back with rocks on his
  06B                      4/20/2022
                                                            person. He became more agitated from being followed and turned to the worker and threatened to throw rocks at the worker. The worker was hit five
                                                                  times. The worker was hit on the leg and on the back. After being hit the first time, the worker called law enforcement since the worker was
                                                              videotaping the incident on the work phone. As the officer arrived,         threw a rock at a parked car, hotel guest’s car. Once the office arrived, the
                                                                officer spoke with       and detained him and placed him in his vehicle. After speaking with primary worker, she states he is on probation. After
                                                                                                       informing Marcella, it was determined        would be taken to juvenile.




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                                                          CWOP Staff, Maria Mandujano and Daisy Campos; Shift Time: 12pm to 4pm. Workers reported during their CWOP shift yesterday, Supervisor on Call,
                                                           Erica Carter, approved for food to be delivered for the boys. When            came out of his room and was asked what he wanted to eat he got upset
                                                          and questioned why they couldn’t go out like last week. Workers and Supervisor tried to explain to him that it was not possible today.           was not
                                                             listening and would talk over the supervisor on the phone.            claimed that his worker has approved for him to go out and do things, but the
                                                          workers are lazy and don’t want to take him.          grabbed worker’s phone from her hand and hung up the phone call.            was upset and yelling.
  9                      5/1/2022
                                                         He started to slam the fridge and freezer doors. The drawers and shelves came out of the fridge. He said that supervisor Erica Carter can come pick it
                                                          up. Worker called Supervisor again and she advised to call the police. The police were called. Other youth went into             room and told him that
                                                           the police were called, and        came out and fixed the fridge. He said that it is not broken and to not call the police. Workers advised        that
                                                         the police were already on the way and worker will wait until they get here. Worker asked             to calm down and back off. He did what he was told.
                                                                        kept saying the fridge is not broken. Police did arrive at 4:00 PM. They talked to        to calm down. No police report was made.


                                                                      was taken to the CPS office at the start of the shift to take a shower. When she returned she noticed that another child in at the church
                                                         was using a nail polish that belonged to her.             got upset because she said that she did not want other people going through her belongings.
                                                             She went in her room and started getting her things together because she said that she wanted all her belongings to be locked in the closet.
                                                                        then snuck out of her bedroom window and was found be CPS staff laying on the ground on the side of the building. Staff then asked
                                                                       to please come inside because it was dark, and she refused.               then continued to walk away and went into the woods. When
  4                      5/2/2022                          she returned from the woods she proceeded to go in front of the church on to Longview Drive and lay down in the middle of the road. Staff again
                                                         asked her to come back inside and she stated that she wanted to get hit by a car and killed because no one cared about her and she has no family. At
                                                             this time on call supervisor and LE were notified of the situation. These comments were made several times to staff and responding officers.
                                                                       was taken to the hospital for an evaluation without further incident. Standby worker was notified and reported to the hospital to assist
                                                            with                care.              was evaluated by LMHA and accepted to Perimeter Behavioral Health Hospital in Arlington, TX on 5/3/22.
                                                                                                                       was transported by local LE to Perimeter .



                                                          When worker first arrived at Child watch location                kept complaining that she had lumps under her skin and was scratching hard. Worker
                                                           gave               some hydrocortisone cream and calamine lotion to help with the itching.                said that the itching was getting worse and
                                                           started screaming. Worker ran to the gas station and got                 some Benadryl and gave her two 25 mg pills.               was still screaming
                                                         and crying. Worker asked her to give it 20 minutes to see if it works. After 20 minutes              continued to scream and itch and her ear appeared
                                                         swollen. Worker could visibly see rashes and bumps all over her skin. Worker asked                 was she allergic to anything and she said not that she
                                                           knows of.               said the detergent was changed last week to gain and that’s when she noticed the allergic reaction coming on. When worker
  4                      5/2/2022
                                                            noticed              was swelling up and not getting better and she kept screaming. Worker called the ambulance to come and check her up. EMS
                                                            arrived and said that her right ear was swollen, and she had a lot of bumps up under her skin, so they took her to the ER to get checked out. In the
                                                             EMS van they gave                 fluids that helped her. When worker got to the ER              was calmed down. The ER nurses asked medical
                                                          related questions, took vitals, and discharged               since she no longer appeared to be having the allergic reaction anymore.               was
                                                         given a prescription for Benadryl 25 mg every 6 hours and permethrin 5% cream. RD follow up: We were unable to determine what caused her allergic
                                                                       reaction. She had been using the Gain detergent for 9-10 days prior with no reaction. The worker will continue to monitor.


                                                                   had spoken with her mom on the phone and learned her mother had not taken her drug test. She became upset and was crying and ended up
                                                          hitting the metal part of the building multiples times with her right hand. After she calmed down, we provided her with ice to put on it due to it being
  4                      5/3/2022
                                                           swollen and bruising. I then I transported her to Henderson Memorial hospital in Henderson. She was x-rayed and it was not broken. They wrapped
                                                                                                                        her hand and discharged her.




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                                                                    participated in her level meeting until she found out that she was going to remain on the same level. At that time, she disconnected from the
                                                           teams meeting. On or about 4:30pm right after shift change                 requested to take a shower. After getting her shower items ready, Kristen and
                                                             Tracey (yellow and blue workers) agreed to take her to Henderson office as the other youth was at the ER getting her hand checked out.
                                                             immediately ask “Where is she going?” (Pointing at the worker Tracey) . We both explained that we would both be going to take her to office to
                                                          shower as normal protocol indicates. She immediately stormed off and put her shower towels back and left out the door. Kristen ask “Where are you
                                                            going?” and she replied “about my business”               at that point began to walk out the church door and down the sidewalk and up the road. The
                                                            officer and blue worker followed her. The officer and worker asked her to return and said “let’s talk about this” and she said no and proceeded to
                                                          walking down the road on the side of US 259. Yellow worker, Kristen got in the truck and followed behind                 and officer. worker also called HPD
  4                      5/3/2022
                                                         for back up as           was almost to the highway. Worker Tracey walked back to church and drove back down in personal car to the side of 259 where
                                                          officer was trying to calm her down.           began to get combative and verbally aggressive and another backup was called to the scene off Hwy 259.
                                                          Officers attempted to get her in the car and she persistently resisted getting into the officer’s car. Two passersby attempted to help and saw the back
                                                         car drive up and they decided to leave.             finally was physically placed in the car by 3 officers with much struggle. Kristen made several calls to on-
                                                              call supervisor and primary caseworker to make sure they were aware of the situation. The officers and both workers (Tracey and Kristen) were
                                                          waiting on instruction on what to do with              while she waits in the car. Worker was told to return to the church to assist the other worker (Jodie
                                                          Bradshaw who had returned from the ER with youth (                   Law enforcement tried to get juvenile to take           but they would not.          was
                                                            transported released back to the lead worker at the child watch location about 6pm. On call supervisor and primary worker were kept up to date.




                                                         Report involves two youth:                      15y, PMC, from Runaway;                             16y, TMC, From psych. At 10:40pm        went inside the
                                                          room, caught            going through his stuff, reported that           pushed him when he asked him to stop, and started punching him. and CW
  7                      5/3/2022
                                                           Joseph pulled CJ off               started yelling and started calling CJ’s mother names. CW Joseph asked if he needed medical attention and he said
                                                             yes. At 10:48pm CW Joseph called 911 and asked for EMS. While CW Joseph was on the phone with 911                  came out of the house crying. CW
                                                         Joseph informed him that EMS was on the way and he ignored CW and walked towards the mailbox. He continued crying and stated that his ribs were
                                                             hurting. At 11pm arrived-on scene and spoke to                He informed        that EMS was around the corner and he took           statement. At
                                                         11:10pm EMS arrived on scene and checked              out. He was asked if he wanted to go to the hospital and he said “yes”. While at the hospital,
                                                              was extremely disruptive and security had to be involved on multiple occasions as he was yelling racial slurs at other people and calling clients,
                                                          hospital staff, hospital security, and DFPS staff obscenities and racial slurs as well as locking and attempting to break emergency room doors. He was
  7                      5/3/2022                          redirected several times and would comply for short periods of time (5-10minutes) before starting again and demanding to leave. Ultimately,
                                                          refused to allow hospital staff to examine him, did not display unmet physical health needs, and the hospital staff told DFPS to leave as he would not
                                                                                              participate in an exam or treatment and there was nothing further for them to do.




                                                         LE incident number: 22MF05431. Details:This incident involves two youth:                     , 14y, TMC, from Shelter;                   , 13y, PMC, from
                                                            Detention Around 4am on 05/04/2022            came out of her room and began accusing             of throwing her computer behind the washer and
                                                             dryer.         came charging out of her room and said let’s take it outside. They both started yelling and hitting their hands at each other. CVS
                                                          Shakirra and security stepped in between to separate them. Security called 911 to alert law enforcement. KDW Sanchez got on the phone with law
  7                      5/4/2022                         enforcement explain the situation. Law enforcement came and put both youth in handcuffs.               was taken outside while the          was taken in
                                                             the kitchen. Law enforcement took statements from both youth and staff.            had difficulty calming down, regulating, and stayed outside in
                                                          handcuffs for her safety and to prevent further incidents. She continued to threaten staff and gave the finger to law enforcement. She finally agreed
                                                           to come inside and sit on the couch and watch tv. When told she could call her mother later, she started threatening staff.          said her mother
                                                           would come here and kick everyone’s ass, and she continued to curse and tell staff to “shut the fuck up, old ass bitches”.         denied touching or
                                                         breaking the computer and stated that          hit her first. Law Enforcement talked to her and told her to stay in her room for the rest of the morning
                                                           and keep calm. She was calm and able to go to her room.           remained outside threatening everyone and saying her mother was going to come
                                                              here and kick everyone’s ass over her computer getting broken. Several staff tried to calmly talk to         redirect her behavior, and help her




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                                                           When shift change started at 8p.m. the girls were all wanting to go swimming. Lead worker, Ms. Bertelsen stated that they would talk about it once
                                                          the other workers got there. Worker then told the girls we could all go down to swim for one hour but they had to all follow rules and no fighting staff
                                                         about bedtime, taking meds, or going to school tomorrow.              was immediately upset and stated she would not be going to school and her worker
                                                         knows that and doesn’t hold it against her. Staff tried to explain that the rules of being able to go do fun things is that they must follow rules and go to
                                                           school.         continued to be upset and started yelling at staff and threatening to throw things at them.            then said she was leaving, and she
                                                         took off out of the room. One of the staff followed her while the other staff tried to call on-call supervisor and notify them and ask about security since
                                                            they were not there.         walked around the hotel, then came back up to the room with staff and was still angry.              went over to the hotel
                                                          phone and staff tried to redirect her and get her off the phone, but she had already called 911 and hung up.              then asked to call her worker and
  4                      5/5/2022
                                                            talked to her worker on the phone. Worker stayed close to            since she was on staff phone,           turned around and threatened staff if she
                                                         continued to follow her. Staff explained she must remain where worker can see her. Staff was unaware she called 911 until law enforcement called the
                                                              hotel back and asked what was going on. Staff talked to law enforcement and explained the situation. Two officers came to the room and took
                                                         statements from all the workers and talked with                     was on the phone with her worker,                     saying she was not going to school
                                                           because she didn’t have clothes and that it wasn’t fair that she couldn’t go swim. Law enforcement talked to              and explained she cannot make
                                                          threats to staff. Law enforcement asked staff if they wanted to press charges, all staff said no that no physical contact took place and that they would
                                                            not be pressing charges. Law enforcement left and            continued to talk to her caseworker. Caseworker gave permission for               to call her
                                                                                                      aunt.         talked to her aunt after worker and calmed down.




                                                            Around 8:24 out of nowhere           began pounding the wall with his fist and head. Not to the point that it was self-harming himself or damaging the
                                                             wall. Worker asked if he wanted to talk about anything and he would not answer. He moved to a wall that connects to another room. He got mad
                                                          slammed his door shut. He began banging on walls again and hitting his head against the wall. Worker tried to talk to him and gave him some time to
                                                             cool down. Worker then tried to open the door and he locked it. Told worker “Fuck you”. Woodway police Department and Mobile crisis unit was
                                                           called due to not being able to have eyes on           to see if he was self-harming and because his behaviors were escalating. Law Enforcement arrived,
                                                          officers Canter and Miller were able to push the door open and get in. They spoke with                about leaving the door open and to listen to the workers.
                                                           Before LE/MCOT left they helped asked             to take medicine, but he still refused. MCOT/Crystal continued to try and assess the situation, but
                                                           would not answer questions pertaining to the incident other than his hand hurts and needed to see a doctor. MCOT told worker to call back if things
                                                         escalated. Later worker asked          again if he would like his medicine and he turned it down by not responding.             was observed watching videos on
                                                           tablet. Later       came in making stating that his hands hurts, and he thinks that they are broken. He was offered pain reliever and ice.                reports
                                                             that his fingers are swollen. At first, he said both hands hurt but then stated only his right hand. Workers assessed his fingers and did not see any
                                                           swelling or discoloration. Youths hands are large, and no differences were observed when comparing each hand. Workers touched lightly on fingers
  7                      5/6/2022                        and        whined a little but did not cry. This was about an hour after the hitting of wall began. Workers asked him to do different movements with his
                                                           hands in attempt to see him move fingers. He stated that he could not bend his fingers at all or move them on his right hand. He requested medical
                                                          treatment because he has not pooped in four days. Worker questioned about the statement due to them arriving at the start of the shift                      stated
                                                          he was in the bathroom having a bowel movement.                  started laughing and talking and pain was not observed. Shortly thereafter,           stated that
                                                            he has a boyfriend who is in his 30’s and he met him on TickTok. He stated that the guy is Mexican and has a child.              continued to talk about the
                                                            guy on TickTok.        was observed moving the fingers slightly on the right hand and bent the fingers.              then asked to call EMS to go for medical
                                                          treatment. After talking about seeing the therapy dog’s tomorrow               decided to go ahead and take his medication. He was observed using his right
                                                           hand to swipe and hand his iPad.          continued to complain about severe pain in his hand (despite workers not seeing this and observing him using
                                                         the hand). Because of the continued complaints the staff did not call EMS as                requested but did transport him to the local hospital to ensure there
                                                           was no injuries. Arrived at ER at 10:40 pm--- While in the waiting room with               he was observed using his fingers to and grabbing his iPad. He was
                                                            called back to triage and nurses assessed his needs.            told the nurse that it’s his knuckles that are hurting and one knuckle feels like it is going in
                                                             one direction while the other knuckle is going in another direction.            had x-rays of his hand and spoke with medical. There were no fractures,
                                                         swelling, discoloration, or medical treatment needed.               was released and told he can take Tylenol or Ibuprofen and ice his hand as needed for pain.




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                                                          At 10pm         started watching videos how to charge his vape with bare wires (because staff took his charger since he will not give up the vape pen)
                                                          and staff disconnected the house Wi-Fi.        wen to his room, the security guard followed him, and the security guard saw that he had a usb charger
                                                          that       had exposed the tips to connect to his vape to charge it. The security guard took it from Jesse,        kicked him on the back of the leg, and
                                                             the security guard brought it to CW and it was locked in the cabinet. The security guard went back to check on                   was outside, and the
                                                         security guard grabbed the Xbox and PlayStation for CW to store in the garage so          would not try to use another cord to expose the wire to charge
                                                           his vape pen.        came inside and asked for his Xbox, he was told that it is being kept secured until everything calms down. He went to his room,
                                                            the security guard followed him there, and CW Schlab followed them and            was telling the security guard to get the fuck out of his room.
  7                      5/7/2022
                                                              proceeded to push the security guard and the security guard told         not to touch him.        pushed the security guard two more times and
                                                          punched him on the chest and the security guard pushed           onto the bed in order to restrain him.        kicked the security guard several times on
                                                          the chest and once on the face knocking his glasses off. CW Joseph asked them to stop and CW asked CW Schlab to call the police.               immediately
                                                           stated that he would stop and CW did not need to call the police. At 10:13pm CW contacted the police and informed them of the situation and they
                                                            stated that they would send an officer to take statements. Law enforcement came and took statements from                  staff, and the security guard.
                                                         Further, Law Enforcement instructed the workers to give          his playstation/Xbox and they were tired of           Law enforcement stated that it was
                                                                                        a mutual combat from          being restrained by security and left without making a report.




                                                                             , 14y, TMC, from psych;                  , 15y, PMC, from runaway. At midnight, Temple Police Dept brought both           and
  7                      5/8/2022                          home after they left without permission. Per law enforcement, the boys were found at an apartment complex pool and had done property damage.
                                                          Law enforcement stated that there were no charges pressed at this time. **Noted that before LE brought the youth back to Stratford they took them
                                                            out for soda and snacks. At 1:10AM,           and       left Child Watch after CW Joseph and CW Schlab repeatedly asked the boys not to leave. At
                                                            1:36AM,           and       came back to child watch.         came back and he yelled that he was “going to kill that nigger” and he was referring to
                                                                        stated that        needs to be in a mental institution. He stated that       was trying to get his vape and       beat him up in the street.
                                                                  told workers that        was trying to choke himself while they were on their walk and that         stated that he wanted to die and asked
                                                         to kill him. EMS/MCOT was called to child watch and             became aggressive with them and then went to his bedroom. EMS/MCOT stated that they
                                                          could not take          to the hospital because he is aggressive with EMS/MCOT workers. Police officers talked to          and       and discovered that
  7                      5/8/2022                                was not trying to hurt himself but rather        and        were fighting over a vape that they found while they were on their unauthorized walk.
                                                                          Within about 15 minutes they boys were playing the play station together and no longer fighting or mad at one another.



                                                                             ate dinner around 4:30 PM. Shortly after she began complaining her stomach hurt in the lower right area of her stomach. The pain
                                                          persisted and she also had diarrhea. Julia Love (yellow) and Kimberly Harp (blue) decided the on-call supervisor should be called. Julia Love called on-
                                                            call supervisor Alma Gaviria and she advised Julia Love and Kimberly Ford to take                 to the hospital. Alma Gaviria spoke with
  4                      5/8/2022                                       and she agreed to go to the hospital with Julia Love and Kimberly Harp.                 was taken to Paris Regional Medical Center
                                                           emergency room. Kimberly Ford,                       primary worker also came to the hospital. Update on 05/9/2022:           was released from the
                                                          hospital and returned to the child watch location. Medical staff believe that she passed the screw that she previously swallowed prior to coming into
                                                                                                                                child watch.


                                                           Worker Jessica Gomez and Khadija Diaz were supervising              and he was refusing to go to his room, 324.         was at the computer station from
                                                         5pm until 8:30pm. The workers told            it was time for him to return to his room. He refused and said he didn’t have to listen to workers. Officer Lee
                                                         asked         to go to his room, but he refused. He stated no one can make him do anything and he can do what he wants. Lead worker Kari Adams told
                                                                 it was time to go upstairs as well. He stated no one can make him and Officer Lee is not a real officer so he couldn’t make him. He stated Officer
                                                          Lee can try to make him, but he can’t. The officer stated the computers are not their property and it was time for him to go upstairs.             got off the
                                                            computer and went to the TV area. Officer Lee stated he can assist            upstairs, and       stated the officer can’t touch him. Officer Lee started
                                                           escorting        to the stairs and he then started to tense up on the officer.         was pushing against the officer and the cabinets at the coffee bar.
 06B                     5/9/2022                            He started jumping and the officer tried to get him to calm down.           then started pushing away and turned around punching officer Lee in the
                                                            stomach and chest. The officer then escorted the child to the ground after            knocked his glasses off.       was then sitting on the ground and
                                                          Officer Lee was restraining him by having his hands around him.            then went to his stomach and Officer Lee followed him.           tried to bite and
                                                          scratch the officer.        was then pushing himself off the cabinets and floor. Shenandoah Law Enforcement was called for assistance. Officer Patrick
                                                         Read came to assist          off the floor and escorted him outside, to the cop car. Officer Reade requested a copy of            psychological evaluation to
                                                           be sent to preade@shenandoahtx.us. This worker did not send his psychological evaluation, it could be because he was detained and released all in
                                                            the same day. Officer Lee filed a police report. The case number is 22m004301.             was transported to Montgomery County Juvenile Detention
                                                                                                                                     Center.




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                                                                    was taken to the CVS pharmacy for a COVID test. He was asked if he had a lighter and he said no. We took him to CVS. He signed in to the
                                                         computer and we sat in the waiting area. He asked to use the bathroom and went to the bathroom right next to the waiting area. He came out and sat
                                                           down in his seat. About 1 minute later a CVS worker ran by saying the bathroom was on fire. CW Gracida asked                  if he started a fire. He said no.
  9                      5/9/2022                           CW Gracida told him he needed to be honest if he did it. He got up and went to the CVS worker and told her he accidentally dropped a lighter in the
                                                          trashcan. She said “no, it wasn’t the trashcan, it was a toilet paper roll”. The police were called. They interviewed him. They said they thought he was
                                                           lying. He had his COVID testing and then he was arrested by Officer Guevara and Officer Acosta.            lit a roll of toilet paper on fire. The roll was on
                                                                        the metal holder and that is what was damaged.           was released the next morning and taken to placement out of state.
                                                         Paige Formby:              became upset today about her progress notes. She said she was going to run away and then she left the hotel room. Workers
                                                          followed her. She had already made it outside of the hotel and was walking towards the Dairy Queen. We went into the bathroom and decided that
                                                         she was in one of the stalls that was locked. We called her name and asked her if she was inside. We asked her to come out. She would not respond.
                                                         She then walked out and screamed, “Do you want me to punch you in the fucking face? I’m going to punch you in your fucking face.” I told her that I
                                                          would call Law Enforcement. She walked out of Dairy Queen and said that she would just run out in traffic and get hit by a car. She proceeded to run
                                                            across 4 lanes of Loop 286/Hwy 271. Workers did not run across the highway. Traffic was extremely busy. I called LE and the other worker, Diana
                                                         Russell, called the primary worker, Kim Ford, and the supervisor, Julie Morris. We watched as                 ran to a Jack in the Box. We could not see if she
                                                          went inside or if she went behind the building. LE showed up and we could see Kim drive up as well. We went back into the hotel to get the car keys
                                                            and then we drove over to Jack in the Box. When we arrived, there were 3 cop cars and 2 ambulances. We went inside, and an officer talked to us
                                                             and told us that she came inside with a piece of sharp plastic that looked like it was broken off a headlight or taillight. He stated that it looked like
                                                               glass and she waved it around to the employees and demanded all their money. They stated that she then went behind the counter and was
                                                           threatening to kill herself and others and was pushing the buttons on the register. They stated that Jack in the Box had also called LE. They tried to
                                                              deescalate her, but nothing she cursed them out and wouldn’t comply. They went around behind her and tasered her and restrained her on the
                                                           ground and cuffed her. At this point it was decided that she was going to the Paris ER and they would see if they could get her into Terrell. Kimberly
                                                            Ford:I received a text from Paige Formby stating that            had walked over to the DQ and was in the restroom. I text back and said I was on my
  4                     5/11/2022
                                                           way. As I was leaving my home Diana Russell called and said that she had ran across oncoming traffic to Jack in the Box and they could not see her. I
                                                             told her to call the police and I would go to Jack in the Box and see if I could find her. When I got to Jack in the Box the police were there. I walked
                                                                    was behind the counter with a plastic shank. I asked her what had happened, and would she talk to me. She told me to leave she didn’t want
                                                           me to get hurt. The officer asked me to stay and see if we could talk to her. I reminded her that I had just left her about 30 minutes ago and that she
                                                            and I were supposed to have supper later tonight when I got back from Sulphur Springs. She said she didn’t care anymore, and she was going to slit
                                                             her throat. I asked her to talk to me and tell me what was going on. I said this is me and you so talk to me. She said no. I then said oh look you are
                                                              wearing the crocs I bought you. I love them they are so pretty. She reached over and got a girl’s ID and money out of a wallet. At this time other
                                                            officers were arriving on the scene and the restaurant had been cleared. The other officer started trying to talk to her as well. She said it is about to
                                                         get bad Ms. Kim you need to leave. I reminded her that I had not left her, and I wanted to talk to her. She stole money. I said if you need money I have
                                                           some in the car, but I am going to need you to put the knife down so that the officer can help you out to the car so that I can get the money for you.
                                                          She put the knife up to her throat and said Ms. Kim tell them all to leave or I will slit my throat. I said I can’t do that. Officers were coming in the back
                                                         way and to the sides of her and they had their tasers drawn. The other officer and I kept talking to her and keeping her distracted, so they could get in
                                                          line of sight of her. I asked her again what happened for her to be so upset. I said you told me earlier you had a good day at school. We were going to
                                                          get our nails done this weekend. At this time, the officer tased her. She screamed. I stepped back out of the way. It took four officers to tackle her to
                                                         the ground EMS was called to remove the taser The officer asked me if I could remove the items that she had in her bra I said yes but I wanted them
                                                         Staff Michael Roberts was filling out progress notes at approximately 11:20 pm.         and        were in the kitchen making ramon noodles. They burnt
                                                             a spoon on a burner and then were putting straws together to make a longer straw, wasting them. Staff asked them to stop messing around or
                                                           otherwise they wouldn’t be able to be in the kitchen to cook.        had a plastic ladle and stated to Michael that he would throw burning water on
  5                     5/11/2022                         him. Due to         complete disregard for authority and utter lack of respect for staff, Michael did not know if      was making a valid threat or not.
                                                           Lufkin PD was outside visiting with an officer that was on duty, so Michael went out and asked LPD to have a conversation with         about making
                                                         threats to a public servant.       was spoken too and disrespectful to law enforcement. No charges were pursued or filed. Staff Rebecca K Adams also
                                                                                                                            heard        threat.



                                                           This incident involves multiple youth:                          , 16y, TMC, from Psych;                , 15y, PMC, from runaway;                  , 16y,
  7                     5/11/2022                        TMC, from Psych (present but not involved). 05/11/2022, During the overnight shift another youth,                was consistently talking to other youth,
                                                            staff, and security. During these conversations,          was repeatedly using racial slurs. Despite staff, security, and requesting him to stop, he
                                                          refused. Ultimately,          continued to call racial slurs in Spanish and began to punch and hit                punched him multiple times in the face,
                                                          upper body, and chest. It took multiple staff and security/off duty law enforcement to remove CJ from Jessie. Temple Police Department responded
                                                             to the residence and was arrested for family violence and transported to the local precinct and then to juvenile detention. EMS responded to
                                                          evaluate         after the fight.       had a visible injury to his eye and was transported to McLane’s Hospital. While at the hospital       continued
  7                     5/11/2022                             to state that his eye hurt and told staff he was going to do whatever he needed to leave for a hotel and not go back to Stratford House. Staff
                                                           attempted to talk to          about how his actions provoke others and while we would be looking at him going to another location this would not be
                                                         decided until the morning.           was belligerent with hospital staff and attempted several times to attack hospital nurses and security and ultimately
                                                           had to be given an Ativan injection beca se he wo ld not stop attempting to attack sec rity and n rses at the hospital Event ally the hospital was




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                                                           had to be given an Ativan injection because he would not stop attempting to attack security and nurses at the hospital. Eventually the hospital was
                                                           able to evaluate his vision and there was no vision changes and his test was 20/20 in both eyes. Xrays were evaluated and there were no fractures.
  7                     5/11/2022                                                                 was discharged from the hospital around 7am and immediately went to bed.



                                                           Joy Brown and I arrived for out shift at the Haven at 12:00 am.        was in the kitchen cooking. A couple of minutes later,         placed her plate on
                                                          the counter and went into her bedroom. When             did not return to get her food, CW Joy went into her bedroom to check on her.            was upset
                                                          and crying. When CW Joy returned to the living area, she stated          told her that she was ok. A little while later,    was still in her room crying, I,
                                                          Kissey Benford, went into her room and checked on her.            stated she was fine, but she wanted to be left alone right now. I returned to the living
                                                          area for a few minutes to give her space. When          began to cry louder, Joy went back into           bedroom where         was still crying. I waited a
  7                     5/14/2022                        few minutes and went into the hallway to ask if everything was ok because            was continuing to cry. CW Joy went into her room and found a plastic
                                                         purple eyebrow archer that had blood on it and I noticed that          had several small cuts on her left forearm. (Although it is not specific, all the above
                                                            occurred between 12am and 1am when EMS arrived)               was taken to the Emergency room via medical transport. None of the physical injuries
                                                          needed medical treatment outside cleaning.           later told CW Joy that she no longer wanted to be “here” (was clarified as suicidal, not location) as
                                                         she was upset following an argument with her son                father who threatened to keep             from her.       was later admitted to Cross Creek
                                                                                                          Psychatric Hospital where she remains today, 5/16/2022.



                                                           This incident involves 3 youth:                    , 12y, PMC, from Detention;                       13y, PMC, from RTC;                     , 13y, TMC,
  7                     5/14/2022                            from KIN. At the start of the new shift I, CPI Juan Diaz, was informed by staff and security           and           had been bullying         in the
                                                            home. They were having verbal arguments consistently. Shortly after arrival, I was given a vape pen by              who reported that they believed it
                                                          contained THC and likely belonged to               or       (both of whom denied). Local LE was contacted to dispose of the vape in case it did have THC.
                                                         Local police talked to all of the youth and discussed the dangers of use and could not determine who had the Vape Pen initially. Shortly after the police
                                                         left the home,                       and          again got into a verbal argument which quickly turned physical and both the security guard and off duty
  7                     5/14/2022                         officer had to intervene. Both            and            began to shove/hit the off duty officer and security in attempt to hit      and the police were
                                                           contacted. When Local Police arrived, a female officer frisked the girls and found              to have 3 vape pens containing THC in her bra. All vape
                                                          pens were taken by the local police department for disposal.               and          were detained by Marble Falls Police Department, processed for
                                                                                                 assault and returned to Bradford House the same day, within about 2 hours.
  7                     5/14/2022


                                                          Henderson CWOP, 1909 Longview Dr Henderson TX Present; Ben Alexander (BA), James Jobe (JJ), Lakeisha Cooper (LC), Law Enforcement Christopher
                                                            Monroe (LE), Youth Lynnette Webb (LW), Henderson PD Officers Silva, Casey and Graham, via phone Supervisor Rolanda Massey.At approximately
                                                           5:30PM,                   began destroying property at the CWOP location. She had been asking to go to the park, but it was explained to her by Ben
                                                          Alexander and other staff that outings are not approved when there were serious incidents ongoing.             said she was being punished for other
                                                            deeds. She poured a whole bottle of ketchup into a bucket of mop water, broke the mop into pieces, poured out flour and pancake mix, destroyed
  4                     5/14/2022
                                                           construction materials left on the side of the building.        began walking down the road. HPD showed up and brought her back to the location.
                                                          HPD Officers Silva and Casey followed           around as she continued to walk around the property hitting and kicking things. Officer Silva went back
                                                         inside with                   could be heard screaming and hitting walls. She knocked items off counters and slammed doors.       exited the rear of the
                                                         building and Officers Silva, Casey and Graham were able to locate her and calm her down.6:06PM – HPD Silva and Graham still on scene.               came
                                                                                                                         outside and seemed calm.


                                                                     was in her room. At 1 PM, staff went into her room to check on her and she had jumped out of the window and was gone. CW Rhonda
                                                         Freeman attempted to contact her probation officer and caseworker by phone to let them know she had jumped out of the window and ran away. CW
                                                          Freeman left messages for them.             returned around 1:45 pm and stated she came back after a man gave her a cigarette and tried to lure her in
                                                         some bushes. She went into her room and changed her clothes. She came into the common area of the home and was talking to everyone and acting
                                                             normal. She went into her room alone and when staff went to check on her at 2:55 pm, she had jumped out of the window again and left. CW
                                                         Freeman contacted Belton Police Department to report her as a runaway. Officer Atkins, Belton Police Department contacted CW Freeman and stated
  7                     5/15/2022
                                                          the Event is # B 2212583 and stated since           is returning to the home and not taking any of her items they would not consider her as a runaway.
                                                          CW Ladny reached out to Belton PD again to confirm that              was reported as a runaway. The staff member who answered the phone stated she
                                                            was, but CW Ladny then spoke to Officer Adkins who stated that they did call but Officer Adkins did not want to consider her a runaway until after
                                                         dark since they assumed she was in a nearby park and she didn’t take anything. CW Ladny informed her that it had been approximately 3 to 3.5 hours
                                                          since she had run and that the LEO Branch present at the home did not find her in the park. Officer Adkins stated that she would send somebody out
                                                              to the home. Officer arrived a little before 6:45 PM and took the report. Case #22001058.           remains on runaway status as of 05/16/2022




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                                                            On 5/16/2022 at approximately 1:00 pm             asked Worker Stephens to take her to the emergency room. She was laying in her bed on her
                                                           stomach and had just came out of the restroom. She stated that her butt hurt really bad and that it was bleeding. Worker told her that she would
                                                         take her to the emergency room. When she stood up, she said that it hurt really bad and that the only relief she had was when she bent over standing
  4                     5/16/2022
                                                          up. Worker Stephens drove her to Atlanta Emergency Room and Worker Stuart was present at the ER as well. With the works present,              was
                                                             examined by the doctor. She was given Ibuprofen for pain at the time of discharge and a prescription for a suppository and Motrin which was
                                                                     dropped off at the local CVS pharmacy. Upon discharge,         was in good spirits and did not show any further signs of pain.



                                                                  returned from her previous runaway incident on 05/16/2022 @ 5:25pm and appeared shaky and under the influence. EMS was contacted to
                                                           evaluate her as she reported to being under the influence of ecstasy and stated she just “popped a molly”. When EMS was contacted                ran to
                                                          her room and jumped out the window. Staff followed her but lost tract of her. Belton Police Department returned her shortly there after and stated
                                                           they do not have a DTA and therefore would not be detaining her. EMS evaluated               and reported that her oxygen and heart rate were normal
                                                            and they did not have concerns to warrant her going to the hospital.           talked with staff and reported that she planned on going to El Paso to
                                                          cross the board and showed staff the scale she said she uses with her boyfriend to weigh drugs. The scale was confiscated and locked away. Around
                                                         10pm          was watching TV and got up and stated “I wonder if they took my orange condom? I need to go get it in case I decide on a field trip” She
  7                     5/17/2022                        then went to her bedroom and staff observed her just laying on her bed. She later came back into the living room area and watched TV again. Around
                                                           midnight on 5/17/2022,         was sitting at the table with the girls. Staff was informed that she had her window open and she stated it was hot in
                                                         her room and staff closed the window. She talked with everyone and announced it was her birthday. She talked about just coming back from being on
                                                          runaway status. She stated had come back high. She went into her room at 12:30am saying she was going to bed. Another youth was looking for her
                                                         phone and we went into the ask          at 12:40am if she knew where the phone was but               was gone; having left the home through her bedroom
                                                             window. She used her clothes and stuffed them to appear like someone was lying under the covers in attempt to mask that she ran away. Law
                                                           Enforcement was contacted and Officer Schwindt came back at 2:45am. He stated he has been riding around and has not seen her. He gave me his
                                                                                 card with case #22001070. An email was sent to her probation officer notifying him that she ran away.




                                                          I Stephanie Castro accompanied by Marion Barrera arrived for our shift at 8PM.              went in for a shower about 8:15PM. When she came out she
                                                            grabbed a plastic knife Stephanie Castro asked her to throw it away and she said no. Stephanie went to try and retrieve the knife and she said no.
                                                                  got up and went to sit on the floor and stuffed the plastic knife in her back pack and began to pack but she never threatened to leave. Security
                                                               Cameron tried to retrieve the knife and was unsuccessful. He asked her if she wanted to go outside and walk and blow off steam and
                                                         immediately said yes. Marion and Cameron took                 to the parking lot to walk. Upon their return         immediately ask to go to the restroom.
                                                            Marion stated she had seen her pick up a quarter size piece of glass and she knew it was in              pocket. Security Cameron and Stephanie tried
                                                          talking to          to try and retrieve the piece of glass and were unsuccessful. Stephanie proceed with calling on call Supervisor Sharlotte Porter who
                                                           advise to call law enforcement.           heard Stephanie on the phone and tried to rush Stephanie, but security Cameron was able to get in the way.
  4                     5/20/2022
                                                                  told security Cameron to get out of the way if not she would punch him. She did not punch him and asked to go to the restroom for 5 min staff
                                                          let her know we could not agree to this at this time. She went back to the bed and started making movement as if she was cutting herself. Blood was
                                                         observed on the pillowcase. Law Enforcement showed up and with in 5 min she released the quarter size piece of glass. Law Enforcement hand cuffed
                                                                   and transported her to Titus Regional Medical Center.            was very rude to the Doctor and stated he was talking to brick wall and she did
                                                         not care what happened to her. She also commented that she wished she would have slit her throat with the piece of glass. Shortly after she asked for
                                                            the hand cuffs to be removed. Security Cameron agreed but stated one side had to hand cuffed to the bed. She did not like his answer and started
                                                         spitting at him in the face. Security Cameron called Paris PD who then helped restrain              to the bed face down. Update:          continues to be
                                                                                          admitted to the hospital for medical treatment and mental health evaluation and referral.




                                                                   and            was at the Holiday Inn room 216.               walked into the room and staff mistakenly called                              became
                                                          upset and told the worker not to call her             because she doesn’t look like           nor act like her and rolled her eyes.         stated don’t call
                                                          me           because I am a beautiful Ethiopian Queen.                heard          and threw a bottle of water that splashed on           and the worker.
                                                                   picked up a binder and threw it at              The workers immediately jump in between both                and            They both kept mouthing
                                                           to each other. The workers still had the             and           separated.           charged at           almost running over the worker.            ran
  4                     5/20/2022                        into the room and             jumped on top of her. They ended up in the corner and fell on the floor.                was screaming for         to get off her.
                                                                   was hitting at           and P. Salisbury attempted break up the girls from fighting. When P. Salisbury realized             had          in a choke
                                                           hold, she yelled for the other staff to assist her. T. Fuller grab         hands and P. Salisbury was able to get her hands from around               neck.
                                                                     told           Bitch I am going to Kill You. Workers separated both girls and            exited the room. Law Enforcement was called. Law
                                                          Enforcement asked if EMS was and workers stated no because                   said she was okay. Workers observed               and asked her several times if
                                                         she was okay.             stated just little weak and she took her shower.            was transported by Law Enforcement to the juvenile detention center.




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                                                               asked to speak with a supervisor.       stated that he would rather speak with a female. I called CWOP Lead Audrey Dalton and
                                                              spoke with her. Audrey advised that        was having pain with his menstrual cycle and let me know that he could have Tylenol if
                                                         needed.        was asking Audrey to be taken to the hospital. After the phone call,        went over and broke a ruler.        was rubbing the
                                                             broken ruler on his wrists. I attempted to grab the broken ruler from              put the broken ruler down his shirt. Security Guard
                                                          Ebony spoke to       about giving the broken ruler up and speaking to us about what was wrong.              kept the broken ruler for a period
                                                          of about five minutes.       was informed that the police would have to be contacted if he did not give up the item.          finally gave the
                                                           broken ruler to me.       then went to the bathroom. Security Guard Ebony was able to get the door open to ensure that               was not
                                                            attempting self-harm.       was not self-harming when he went to the bathroom.             came out of the bathroom and Security Guard
  7                     5/21/2022                          Ebony had already left as her shift ended.       then pulled out another piece of a broken ruler.         repeatedly tried to cut his wrist. I
                                                           and Geovani attempted to take away the object. At some point,          pulled off a cap to use the sharp end to try to harm himself.
                                                         then was trying to bang his head against the wall. I contacted 911. The Pflugerville Police Department responded and EMS. I and Geovani
                                                          exited the room while EMS and police spoke with               wouldn’t initially engage.        then wrote on a paper that ‘he wanted to die
                                                           and life sucks’.     was transported by EMS. I went drove and met           at Dell Children’s Hospital. I was provided a law enforcement
                                                          involvement number of: 22053037. The officers that responded were Funaray (319), Berotrie (441), and Grimer (417). I sat with                in
                                                             the Emergency Room. I informed medical staff that we did want           admitted.        told medical staff that he was not suicidal and
                                                           didn’t want to harm himself.        only had superficial marks (not cuts) to his wrists.       was later released from the hospital back to
                                                                                                 child watch and returned to the hotel with no further issues.


                                                              On 5/23/22; Day watch staff Victoria Palmer and Danielle O’Brian were assigned to                    at Home wood Suites. The day went well with no
                                                         incidents. Around 4pm;          asked to call his mother. He was swimming at the time. We advised               that we will notify 5p staff when they arrive so
                                                         they can retrieve permission and information.           got out of the pool and ran around the parking lot of the hotel. Both assigned staff to follow. Upon
                                                          reaching the front of the entrance,        yelled for staff to stop following him. We told him we would give him space but needed to have eyes on him.
                                                           There was plenty of space between staff and                   grabbed two stones from the parking lot and walked to worker arching his arms back with
 06B                    5/23/2022                         the rocks in position to throw rocks at worker. I advised him to not throw rocks at me. I told him to put the rocks down and he will not throw rocks at
                                                            me       brought the rock over his head and slammed the first rock to the ground near my toes. CW told him to stop and put the rock down.
                                                           threw the second rock at me and it struck my leg. I told          I will be calling the police since he was throwing rocks. While grabbing my state phone
                                                           and dialing police,       closed fist punch me to the side of the face; striking the left side near the jaw and ear. He immediately ran off to the feeder
                                                          road of 45N. Second staff Danielle Obrien chased him, calmed him down, and coaxed him back to the front of the hotel. Officer Ledesma took a police
                                                                                                              report with Shenandoah Police. Case #: 22m004774




                                                          CWOP Staff, SUP Courtney Reese and CW Maddison Bacon; Shift Time: 8:00am to 12:00pm; When SUP and CW arrived to the Farm                             was asleep.
                                                           SUP Reese asked             to wake up to go to school.         called her a “bitch” for waking him up and asked her why she had an attitude. SUP Reese
                                                               told       that he needed to get up to go to school and that he had missed the bus already. SUP Reese left the room and came back about 2-3
                                                          minutes later and asked            to get up once more.           again, called her a “bitch” and said he was getting up now. SUP Reese turned the light on
                                                            in the room and left the room for           to get ready. SUP Reese reported that CW Bacon went back to the room to check on                  and called SUP
                                                         Reese.          then ran out of the room and told SUP Reese and asked if she was Courtney, SUP Reese said yes, I am.                  then said, you are the bitch
                                                           who told me that I can’t play with the hammer. SUP Reese reported I guess I did tell you that.                then went to explained to her that he worked
                                                         with a plumber for two years and he had experience with the tools.                called SUP Reese a bitch, a nigger, and a nigger bitch.         was very upset
                                                                because SUP Reese was laughing while he was calling her a nigger bitch. SUP Reese explained that she laughed to calm herself as she was not
                                                          expecting          to call her those names.          then went to the table where SUP Reese was counting pills and knocked all his pills on the table. She
                                                         told         that he needed to calm down and he called her a bitch and a nigger once again. SUP Reese told                 that he needed to calm down or else
                                                           she may have to call Law Enforcement to which              said he did not care.         stated that Law Enforcement was not going to do shit to him. CW
  9                     5/23/2022                        Bacon then asked             to calm down and to get ready for school.           refused for SUP Reese to transport him to school. CW Bacon then offered to
                                                             transport him, to which SUP Reese indicated that she couldn’t transport him alone.               ended up getting in the car and he got in the front. SUP
                                                         Reese rode on the back of the car. On the way to school               told CW Bacon that SUP Reese shouldn’t be laughing. CW Bacon indicated that he was
                                                          being so rude, and he was calling her ugly names. CW and SUP then were having a conversation and                    got very upset.         then got out of the
                                                           car behind Academy and started walking. They both asked                 to get back in the car but he refused.        then knocked on someone’s’ door and
                                                              asked them to call the police on CW and SUP. They both asked               not to be knocking on people’s doors.         also tried to get in a car with a
                                                          stranger, both SUP and CW told this individual that             was award of the state and not to let him in the car.         then walked off.          was just
                                                         getting more upset since he was being followed by both CW and SUP, which they informed                    that they will do so until he got to school safe.
                                                          punched CW Bacon’s car window and continue to call them derogatory names.                      started getting more aggressive. No damage was made to CW
                                                         Bacon’s vehicle.          then called SUP Reese a nigger and spit in her face. At this time, Law Enforcement was called. While they were waiting for Law
                                                               Enforcement, they followed behind            but didn’t let him get close to the car. When Law Enforcement arrived, SUP Reese indicated that she
                                                          wanted to press charges on              At this point,       attempted to talk to SUP Reese and said he was sorry.            was taken to the Midland Police
                                                                                        Department for Assault on a public servant. Office J. Kheil/P657 Police Report Number: 220523010




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Region   Child Name   Date of Incident      Location                                                                           Description

                                                               Incident involving                    .Present; Loy “Ben” Alexander, Sharon Loftin,                    (youth), Jessica Lopez, HPD Officer Benoit
                                                            Henderson Holiday Inn Room 216.                returned with Tommie Rivers from medical appointment.               continued her rude behaviors from
                                                          previous.           said vulgar things of a sexual nature to get a reaction. Ben and Sharon ignored her behaviors. She twerked on the couch and ripped
                                                           papers out of my hand. She attempted to take the binder away while I was documenting her behaviors.                   chewed up a strawberry and spit it
  4                     5/26/2022                            around the room. Sharon stated she wanted security. I also felt things were escalating. I called 911 and requested an officer to Room 216. While
                                                          waiting for the officer, Jessica Lopez arrived for shift change. We informed her of what was going on. She spoke with             in the other room of the
                                                         suite.          stated that I triggered her and reminded her of her adoptive father who molested her. Officer Benoit arrived and was briefed on events.
                                                            Jessica let him know that            seems triggered by men. He began speaking with              while I exited the room to document. No arrest was
                                                                                                            made, and Officer Benoit left after talking with


                                                           On the evening of May 26th approximately 8:07pm,                                                                    departed the CWOP house stating
                                                            that they were going for a walk and would return in 30 minutes. At approximately 9:02pm, all returned and appeared to be under the influence of
                                                            marijuana.         went to his room and immediately came back out to the kitchen, got a handful of tortillas and water and went back to his room
                                                          where they started to play music. At around 9:12pm, Jaxen came out and told the staff that           was crying in his bed. CW Madison, CW Gonzalez,
                                                         KDW Robledo and Security Guard Deshun entered the room to attend to              and observed him lying on his side crying out loud that he needed help.
                                                           CW Madison asked if he was okay and if he was having a seizure to which          responded saying yes. He moaned and stated that he was hurting.
                                                           The security guard comforted him. Noted that         continues to refuse to take his medications saying he was not going to; prior contact with the
  7                     5/26/2022
                                                          pharmacist reported he can still take his regular medication if under the influence; however if he is under influence of alcohol he cannot take rescue
                                                         medication.        was not shaking and did not appear to have been having a seizure as stated by the officer.          and stated that he was very high
                                                          and did not think it was a seizure. CW Madison called 9-1-1 to request assistance- during this time,       ate a tortilla. Within 5 minutes, the Temple
                                                          Fire Department arrived, and         reported to have been feeling better. The Fire Department took            vitals, which were normal at 132/63 and
                                                           stated that there was nothing he could do for an episode that had not and was not occurring. The Fire Department stated that they did not believe
                                                          that any medical attention was necessary and departed the residence. When the Fire Department left, the Police arrived and asked if assistance was
                                                                                             needed, and CW Madison denied           needing to be transported to the hospital.


                                                                      was on the phone making a phone call to her mother. When Caseworker told her she was not to be using the house phone, she was to be
                                                           using the Worker’s phone and should have it on speaker.             then started screaming on the phone and telling her mother that this fucking bitch
                                                             was being mean to her and tell her stuff.          continued to scream to the worker fucking bitch and to leave her alone. Case worker than told
                                                                  not to be disrespecting her and talking to her in that way. Caseworker told        that she was not disrespecting her and should be respecting
                                                          the caseworker.            continued to get aggravated and continue to yell bad words to the caseworker. Caseworker reminded               again that she
                                                             is not to be using the house phone and she should not be making phone calls to people that are not on her call list.           made a phone call to
 11                      5/9/2022
                                                           someone named Michael and gave him a quick message to have her mother call her back to the Care cottage. Caseworker reminded                     as well
                                                            she’s not to be given anybody the house phone number from Care cottage.               once again started getting irritated and yelling and saying bad
                                                            words to the caseworker. Worker was standing in front of the coffee table that’s in the living room and then           pushed the table with her legs
                                                            hard towards the Caseworker hitting her on the left leg. Caseworker received a bruise from that incident. Caseworker then called Harlingen Police
                                                              Department, Officer: D. ID: 3541and reported the incident: 22-6155. Law enforcement took            to Juvenile. Officer stated that        will be
                                                                                           returning within an hour or so. Caseworker went to hospital to get her leg checked out.


                                                            5/14/22, 1:15PM. Henderson CWOP, 1909 Longview Dr Henderson TX. Present; Ben Alexander (BA), Rhonda Sabri (RS), Amahdiyya Pace (AP), Law
                                                           Enforcement Christopher Monroe (LE), Youth                       (SH), Youth                  (KA), Youth                  (LW), Henderson PD Officer
                                                           Silva, via phone Supervisor Rolanda Massey. At approximately 1:15PM,                       asked to speak to Ben Alexander.      asked BA if she could
                                                          move the TV from 1 bedroom to the other bedroom so she could watch movies. She said they take turns sharing the TV.                          was lying in
                                                         her bed and she arose and began to argue with       about the TV. BA asked the girls to stop arguing and escorted      back into the main living area near
                                                             the kitchen.    exited her room and came into living area to continue arguing with     DFPS Staff present were Ben Alexander, Rhonda Sabri and
                                                          Amahdiyya Pace. Law Enforcement (LE) was present, Christopher Monroe. Despite attempts to de-escalate             and     they began to throw punches
  4                     5/14/2022
                                                            at each other. LE jumped up and restrained      on the ground while BA guided      away from the area. LE asked for Henderson PD to be called. AP
                                                         called HPD.                  was upset by the situation and screamed and cursed at LE to let      up off the ground. LE instructed her to leave the room.
                                                          Staff continued to try to de-escalate     HPD arrived (Officer Silva) and LE turned    over to her. HPD Silva interviewed all present as to their view of
                                                             the event.    reported that she wanted medical due to her arm hurting. RS called Supervisor Rolanda Massey to inform of situation. Officer Silva
                                                            stated that    was not under arrest.     was transported by ambulance to UT Henderson Hospital. AP went to hospital to supervise.Henderson PD
                                                          Case 22-03-625. Update:             bruises were examined by medical personnel and determined that no treatment nor medications were necessary.
                                                                                                 She was discharged and returned to the child watch location (same day).




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Region   Child Name   Date of Incident      Location                                                                             Description


                                                              At approximately 9:10 pm, Lakeisha Young, was attempting to give another youth,                            , her medication, and           refused her
                                                           medication and threw a cup of Kool-Aid at a worker.                got a countdown toy and threw it at            and attacked           by rushing
                                                             knocking her to the ground and began punching                 multiple times on the face, and head.            was attempting to fight back but
                                                         continue to punch                       then began to impede                 breath by choking her. During this time, staff attempted to intervene by trying to
                                                         get           off of           The officer on duty also intervened. Took all 3 staff and the officer to get          off of         They were separated after
                                                          about 45 seconds to a minute. Staff member Michael Roberts went outside to call 911 to report the incident. While on the call with dispatch, Michael
                                                          walked back into the church to witness              grab the fire extinguisher and throw it at           who was in the corner. The fire extinguisher did not
                                                           hit          and            once again began charging               Officer on duty intervened, restrained          by putting her into handcuffs and into a
                                                         chair.            while in the corner, was attempting to grab the chairs that were in the corner and throw them but was unsuccessful. After                was
                                                         restrained,            went to her room. Law enforcement responded and took a report, report #H2203662 – family violence. Henderson PD responded,
  4                     5/15/2022
                                                            officer Diosurgo badge #219. EMS was called out to assess the children.                 refused treatment by EMS. No arrests were made due to
                                                               being 16 and juvenile refused to detain her.            refused EMS services as well. EMS reported that they were able to do a quick preliminary
                                                         assessment on               but          refused for her vitals to be taken, refused to be transported to the hospital to be assessed.            reported that
                                                           her mouth hurt, and EMS reported that                had what appeared to be a small cut on her lip. EMS reported that               had a scratches on her
                                                             face.          complained about a tooth hurting and that her back hurt. EMS was concerned with her demeanor when talking with                       with
                                                                       demeanor being their primary concern and reasoning for her being assessed at the hospital. EMS and staff attempted a couple of times,
                                                           using different approaches each time, encouraging                 to be evaluated at the hospital and           expressed loudly no, she didn’t want to go.
                                                                   expressed concerns for going to the hospital and not wanting to go back into a “mental hospital” and that no one cares about her there. After
                                                           speaking with on call supervisor, staff was directed to sign that              and          refused.         remained in her room and fell asleep.
                                                                                                        and           remained in the living room the rest of the evening.




                                                              At approximately 9:10 pm, Lakeisha Young, was attempting to give another youth,                              her medication, and           refused her
                                                           medication and threw a cup of Kool-Aid at a worker.                got a countdown toy and threw it at            and attacked           by rushing
                                                             knocking her to the ground and began punching                 multiple times on the face, and head.            was attempting to fight back but
                                                         continue to punch                       then began to impede                 breath by choking her. During this time, staff attempted to intervene by trying to
                                                         get           off of           The officer on duty also intervened. Took all 3 staff and the officer to get          off of         They were separated after
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                                                           hit          and            once again began charging               Officer on duty intervened, restrained          by putting her into handcuffs and into a
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                                                               being 16 and juvenile refused to detain her.            refused EMS services as well. EMS reported that they were able to do a quick preliminary
                                                         assessment on               but          refused for her vitals to be taken, refused to be transported to the hospital to be assessed.            reported that
                                                           her mouth hurt, and EMS reported that                had what appeared to be a small cut on her lip. EMS reported that               had a scratches on her
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                                                           using different approaches each time, encouraging                 to be evaluated at the hospital and           expressed loudly no, she didn’t want to go.
                                                                   expressed concerns for going to the hospital and not wanting to go back into a “mental hospital” and that no one cares about her there. After
                                                           speaking with on call supervisor, staff was directed to sign that              and          refused.         remained in her room and fell asleep.
                                                                                                        and           remained in the living room the rest of the evening.




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Region   Child Name   Date of Incident      Location                                                                                Description

                                                           Staff engaged with          at the start of shift as she spoke about her life, CPS court, and where she would like to go after she leaves CWOP. Staff &
                                                                  played Loteria. She called out the cards while staff and Ana played.          started to complain about her arm hurting @ 1:20AM and asked for
                                                          her medication. Staff provided her Acetaminophen @ 1:23AM. She laid down on the couch and staff provided her with an ice pack. She started to cry
                                                           complaining of extreme pain and asked to go to the hospital. Staff asked her if she felt that she needed to go she will call the PD. Staff contacted on
 8A                     5/30/2022                         call PD @ 1:51AM and was directed to call EMS to evaluate her arm and if there are concerns follow the recommendations they give. Staff contacted
                                                         EMS @ 2:03AM, & they arrived between 2:10-2:15AM. When they arrived,                   was already asleep. They checked her blood pressure and evaluated
                                                          her arm. They found no concerns and explained to              that the pain from an IV is normal as well as the swelling. She will be able to identify more
                                                          concerns if the area turns colors and that if the pain increases to go back to the children's hospital. She said okay and went back to sleep. Staff called
                                                                                                                 PD @ 2:22AM and notified her what EMS said.

                                                               was having continued vaginal bleeding, and he was taken to Dell Children’s Hospital, 4900 Mueller, Austin, TX via staff transport (no emergency
                                                           services called).    expressed dizziness, cramping, leg pain & weakness.       was evaluated in the emergency room and released by the treating
  7                     5/30/2022
                                                            physician in a few hours with the recommendation that if       had continued severe pain, passing blood clots, or other concerns to return to the
                                                                                                                           emergency room.
                                                         This involves 2 youth:               ( ), 14y, TMC, from Psych;                    ( ), 16y, TMC, from Psych. At approximately 2:45 pm on May 31,
                                                          2022, clients    and    started fighting in the Master bedroom behind closed door.Worker Melissa Macias called for help from the Law Officer and
                                                          me from outside the house due to another client engaging in potentially harmful behaviors. The Officer and I entered the home; he and Ms. Macias
  7                     5/31/2022                         went into the master bedroom. The officer broke the two apart. I was standing to the side of the doorway when Client       exited the bedroom.
                                                           pushed me then stiffed armed me by putting his open hand on my chest and shoving me forcefully causing me to fall.       was arrested on scene for
                                                          Assault and taken to Juvenile Detention and released back to child watch within the hour. Neither child had any injuries as a result of their physical
                                                                                                                              altercation.

                                                                  woke up at approximately 12pm when shift started. It was reported that                    arrived back from run at about 4am, and the SI wanted to speak
                                                            to her when she was awake.               refused.           listened to music then called a female on the phone and told her she went with a boy last night
                                                          and he gave her $20.             asked if the females grandmother can pick her up so they can smoke weed and buy liquor. The female ordered                      an
                                                         Uber and            left the building around 1PM. At this point, the officer told me that I needed to make statements about everything                   said and call
                                                          SAPD. Worker noted that she has been in contact with her SI and has been texting her all of the statements made. All three of us (officer and 2 staff)
                                                         followed           out. The officer then made the Uber driver get out of his car and said something to him, it is unclear what it was but                 stated that
                                                           he told him he was going to be arrested for harboring a runaway. The uber left, and                     was upset with the cop. She was upset saying that other
                                                           workers just call her in as a runaway, but she did not show signs of physical aggression. The officer then pulled out his taser and pointed it at
                                                            She was visibly scared and put her hands out in front of her, and the officer sparked the taser.                  started running away as she was scared. The
                                                             officer yelled at her to get on the ground and               did not follow, again, visibly scared. He sparked his taser again and yelled at her to get on the
                                                              ground. At this point          threw herself on the ground and the officer grabbed her arm and said she was 17. The other staff recorded in entire
                                                          incident.           then got up and went inside. In the hotel hallway,              told the officer that he is homophobic for pointing the taser at a gay person
                                                           for no reason. The cop escalated the situation by yelling back and saying he is from California and has gay family. They had a verbal argument in the
                                                           hallway about the incident and              insisted on getting his name and supervisor info. Back in the room,              called another female he called
 8A                     5/28/2022
                                                             over Instagram video chat and told her of the situation.              advised         to get his info and said something along the lines of “and his address,
                                                             social, wife’s name, etc.” The cop was upset and told                he was going to file charges against the person on the phone for threatening a public
                                                                servant. When the officer gave              his information, she showed it to the person on the phone and asked her to make a report. The officer
                                                          continued to say that he now needed the person on the phones info as she has his information.                       gave the cop an obviously fake name and DOB
                                                            and the cop continued to escalate the situation by saying that he was going to call someone at the station to run the name, and if it is fake, he was
                                                           going to press charges on             for falsifying information to a cop. He then continued to say that he studies the law, that’s why he’s a cop and that
                                                         she needs to learn it.            was upset because he was not respecting her pronouns while he talked about all the law degrees he has. The officer then
                                                            stepped out of the room and made a phone call to another officer and asked him to run the name. I am not sure what the rest of the conversation
                                                             was, but he continued to say “he needs to learn the law man”-referring to                   . When the officer came inside,        asked to speak to Gus and
                                                          asked that that officer not be in her room anymore. Gus explained that it is not illegal for the officer to spark his taser at her, but that he would try to
                                                         not put him in her room. The officer then left his number and said he was going to be in his car for the rest of his shift. I made                an omelette then
                                                          we walked around the hotel. She then calmed down and we went inside for shift change. RD follow up: I am going to email Gus this morning and ask
                                                         him to follow up with the officer in regard to the verbal exchange and suggest other means of communication. It appears as if the officer engaged in a
                                                                                      power struggle with            . Information received from Caseworker on shift- Beatriz Sanchez via email.




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Region   Child Name   Date of Incident      Location                                                                            Description


                                                          Caseworker Jennifer Castillo arrived at CWOP shift with        Thornton D.O.B. 12/09/07.          was asleep in his bed.        Caseworker Ryan Herrera
                                                           was present attempting to wake up          to complete an intake assessment for therapy.         did not want to get up and became upset and starting
                                                            yelling for his Caseworker to leave him alone and shut the fuck up. Mr. Herrera continued to tell        he needed to get up and do assessment and
                                                             clean his room. He told him he was not going to allow him to sleep all day and be up all night.       continued to tell him to get the fuck out of his
                                                          room and leave him alone he was sleeping and went to bed at 7am. Mr. Herrera started pulling blankets off             get him up.       got out of bed and
                                                           was upset and still cursing and walked out of the room to the lobby and went to where computer was.              attempted to get on Computer and Mr.
                                                           Herrera told him he was not going to get on computer.         was really upset and starting crying and cursing. Office on Duty J. Alejos came to where
                                                         incident was occurring and told        to get up and go back to room.       refused and officer Alejos grabber         and escorted him to the room.
 8A                     5/23/2022
                                                           was on his bed crying and cursing and stated he wanted to kill himself and wanted everyone to leave him alone. Officer Alejos asked him if he really
                                                          wanted to kill himself and        stated yes and again stated he wanted to Kill himself. Officer Alejos asked        to laydown and put his hands behind
                                                           his back and cuffed him and asked me to call Program Director and police to have          ED and transported to a facility. Caseworker Jennifer Castillo
                                                           called on call PD and Coordinator on call, but phone call was not answered. I then called my Program Director Ida Pierce to inform her of the incident
                                                           that was taken place at the hotel. Ms. Pierce advised me to call 911 to get a report and have         ED for his safety. Caseworker called 911 to report
                                                          incident. San Antonio Police officer S. Martinez badge number 1670 arrived and talked to           to calm him down and allowed him to change clothes
                                                                  and cuffed him and stated they would be transporting him to San Antonio Behavioral Center. Police provided report with case number
                                                                     SAP022109257. Caseworker called PD on Call Monica Mata to inform her of incident and was instructed to fill out Incident Report.



                                                           When caseworker, Christina Hernandez, arrived on CWOP shift it was asked to accompany the primary worker at the pool area for                         was
                                                             sitting at the ladder area yelling and crying. The primary worker explained that there was a placement in Dallas that she did not want to go. The
                                                         primary worker stated that they placement has fallen through since they couldn’t make it on time. The primary worker had not yet told                that she
                                                           would not be going and stated she was going to go by the office. Once the primary worker left,           got up to sit at the table and started screaming
                                                           and yelled out she wanted to kill herself. At that time, I called for backup from another worker, Donna Davis-Clay. Caseworker Donna came out with
 8A                     5/23/2022                          the police officer on duty and tried talking to      .      was defiant and would not come out. The police officer called SAPD and when they arrived
                                                         they too tried talking to her and Faith refused still to get out. The Police officer explained to the caseworkers there is nothing they could do since
                                                         stated she was not going to harm herself. Once SAPD left caseworker Hernandez asked the on-duty police officer to go inside and provide his number
                                                          incase we needed him in which he did.            remained in the pool while both caseworks Hernandez and Davis-Clay sat in the rain watching her. After
                                                            about 30 minutes         got out and told the caseworkers that she is going to jump in the pool one more time and she will be ready to get out.
                                                                              along with the caseworker returned to the hotel room.           changed and was in good spirits the rest of the shift.


                                                           CVS CW Christopher Brown, CVS Protégé Abigail Ramirez Hernandez and Officer Esplana from Cibolo PD was on duty during the incident. At 4:50 pm
                                                                  ran out of the hotel room after going to the restroom for a couple of minutes.         was not experiencing any precursor behaviors prior to him
                                                           running out of the room. He stated that he wanted to go home and did not want to be in a hotel anymore. CW Chris Brown and Officer Esplana from
                                                           Cibolo PD followed        down the hallway as he was running, asking him to calm down and stop. Once at the end of the hallway,           began banging
                                                          his fist against the a/c unit, yelling, "get away from me."         then stood up and began motioning towards the fire alarm. Both CW Brown and Officer
                                                          Esplana advised        not to pull the fire alarm, but he did anyway. Once the alarm went off,        ran back to the hotel room because he didn't like the
 8B                     5/15/2022                           sound of the alarm.        hid under the table in the hotel room and covered his ears.        asked to speak to his caseworker. CW Brown told        he
                                                           would call his caseworker and told          to put his headphones on to block the sound of the fire alarm. After putting his headphones on,      calmed
                                                               down and began watching his tablet. CW Brown called               caseworker, but the phone went to voicemail. CW Brown then called the on call
                                                           supervisor Christy Doerr to notify her of what occurred. New Braunfels Fire Department responded to the hotel. The hotel manager called the room
                                                           and stated that he understood           was considered special needs, but it would become an issue if he continued to pull the fire alarms. The manager
                                                          also said $450 would be charged to the hotel room every time there was a false alarm. During the incident, Protege Abigail Ramirez Hernandez stayed
                                                                                                                     in the room with         to supervise him.




                                                              This involves two youth:                   17y, TMC, from psychiatric hospital, and                  , 14y, TMC, from emergency shelter. On
  7                      5/4/2022                         05/04/2022 around 8pm Jazmin informed staff that           and      were planning on leaving the home without permission. Staff and security were
                                                             made aware and security placed themselves at the front door in effort to stop the youth from leaving. Around 8pm,        and      pushed the
                                                            security out of the way and they immediately ran out the front door and jumped in a vehicle. Local Law Enforcement was contacted regarding the
                                                            youth running away; however, they did not respond to the home prior to the youth returning at 12:30AM. Around 12:20AM both            and
                                                           returned to the home. Both appeared to be under the influence of marijuana, were giggling, and had an odor of marijuana to them. They were also




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Region   Child Name   Date of Incident      Location       etu ed to t e o e. Bot appea ed to be u de t e ue ce o marijuana,  Descriptionwe e g gg g, a d ad a odo o a jua a to t e . ey we e a so
                                                          both wearing different clothing than what the left the house in.       admitted to using marijuana and stated that she and       left to ‘meet some
                                                          boys’ and      had intercourse with another youth similar in age (~17-18y). She reported the boys picked them up around the corner from the home
                                                          and returned them to the home.          and        reported that they were fine, were under the influence of marijuana wanted to be left alone.
  7                      5/4/2022                          took her nightly medications as there was not concern for adverse effects as she has done this multiple times prior,     refused her medications
                                                                                                                 and both went to bed without incident.




                                                          It’s Sunday and all the boys are bored. They have walked around the block, played basketball and paced nonstop. At 6pm,                                were
                                                          on the roof. CW told them to get down and they said no. Since it was 6pm, there was a shift change for the police. Officer Wright told the boys to get
                                                            off the roof,      said no to the officer while getting down off the roof. When I made it to the back yard the officer had        in cuffs and      was
  5                     5/15/2022                           sitting quietly on the patio chair. The officer called Lufkin PD to come out and see if they would press charges.       sat in the chair respectful and
                                                           asking for a second chance. When Lufkin PD arrived, he spoke with           and the officers and no charges were filed. I explained to all the boys once
                                                            again they are not allowed on the roof not only because they could get seriously hurt but because it can cause damage to the house.             said he
                                                                                            didn’t know they were not allowed on the roof and said he would not get on it again.


                                                                  asked for his PM medications at approximately 6:15 PM. I and Keflyn Wilridge began preparing medication. It was discovered that                had
                                                          been given his morning medication twice. It was documented in the medication log that               received medication at 7:45AM and 10:23AM. It was
                                                         also documented in shift documentation that each shift (4:00AM-8:00AM and 8:00AM-12:00PM) had administered medication.                       was not able to
                                                           remember if he had received his medication twice.             became very frustrated and went outside. Security and Keflyn followed             outside.
                                                                  punched the shed which caused his already scabbed knuckles to bleed.                refused medical treatment. On call Supervisor Joni Yount and
                                                          on-call PD Beth Mohan were contacted regarding the medication error. PD Mohan requested that a call be made to Kinghaven Counseling if and the
  5                      5/5/2022
                                                           medication be counted. I did count the medication and there were 32 pills remaining. However, the medication logs in binder did not go back al the
                                                          way to 04/15/2022 as to when prescription was filled. Supervisor Yount then called and I was instructed to call Superior Health Nurses Line. I contact
                                                              Superior Health Nurses line who then transferred me to Poison Control-Case ID-32726182. It was stated by Poison Control that it would not be
                                                          harmful for          to receive an additional dose of his medication. It was strictly up to what was best for the child. Poison control stated they would
                                                          call back to check on         in a couple of hours. Emily Pillows contact information was provided.           was not provided the additional dose of his
                                                                                       divalproex 500MG on the 4:00PM-8:00PM shift.              was provided the rest of his PM meds.




                                                            On 5/17/2022 CW’s Christine Scott and Mayra Morales Sosa were on shift with                and another female child at Sure Stay in room 231. The girls
                                                             were listening to music and watching videos on           tablet. The girls asked to go downstairs to get fresh air and be outside for a little bit. While
                                                          heading downstairs CW Mayra Morales Sosa asked               to leave her tablet in the room but she refused. Additionally, CW Morales Sosa told her that
                                                         she did not want any funny business going on with the tablet. CW Morales Sosa explained that                cannot be messaging guys to pick her up or meet
                                                           with her.        stated that she was not doing anything like this, and she was not planning to run away. After about 15 minutes,              told staff that
                                                             she had to use the restroom. CW’s and children were headed upstairs but              decided to go to the restroom downstairs in the hotel lobby. CW
                                                            Christine Scott ordered Dominoes pizza for the girls because there was only one tray of St. PJ’s delivered. CW’s Christine Scott and Mayra Morales
                                                           Sosa along with other youth on CWOP waited by the lobby for             to come out of the restroom and for the pizza to arrive. After about 15 minutes,
                                                           caseworker Mayra Morales Sosa went to the restroom to ask if             was ok. At this point CW realized that the restroom was a single stall restroom
                                                         and CW could not go inside. CW asked             if she was doing ok.        then reported to CW that her stomach was hurting, and she was almost done.
                                                          CW continuously went to ask          if everything was ok and          continued to state that her stomach was hurting, and she was almost done. CW’s,
                                                          police officer Melton, and other CWOP youth waited right outside the restroom for               to come out. Again, CW Mayra Morales Sosa asked              if
 8B                     5/17/2022                        she was ok and if she was doing something inappropriate in the restroom because she was taking very long to come out.                  continued to state that
                                                          her stomach was hurting, and she was using the restroom. CW then told               that if she did not come out soon, CW would ask the staff to open the
                                                          door because we needed to make sure she was ok.              came out of the restroom and told CW’s that she got her tablet wet and she was not happy
                                                             about it. CW’s,        other CWOP youth, and the Officer Melton all went upstairs. Later in the evening,             primary CW Stephanie called CW
                                                         Christine Scott and Mayra Morales Sosa and informed then that she received a photo of                 with her boyfriend taken during our shift. We informed
                                                            her that we did not see the boy and         did go to the restroom downstairs during the shift but CW’s Mayra Morales Sosa and Christine Scott nor
                                                         Officer Melton saw anyone besides            go in and out of the restroom. If there was anyone in the restroom with her, we were not aware of it nor did
                                                         we physically see it. Additionally, CW’s found out that          was on probation and she had certain rules to follow. The probation documents were not
                                                            in her CWOP child binder and no additional information was provided about               and her boyfriend. Caseworker Stephanie did inform CW’s that
                                                                 was messaging with her boyfriend through her tablet about him going to pick her up from the hotel, but she was going to pick up the tablet the
                                                          following day. CW Stephanie decided to pick up the tablet on 5/17/2022. While CW Stephanie was speaking to                 , the other foster youth reported
                                                            to CW’s and police officer that        told her that she          had sex with her boyfriend. Alexis did not report this to any caseworkers during the
                                                                                                                                       shift.




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                                                                 was reported to take the screen off the window and proceed to climb out of the window on to the roof. He did this twice, on the second time
 6B                     5/25/2022                            he was banging on the a/c units with a stick. Once back inside he told workers he injured his leg. He was asked if he needed medical attention or
                                                                                                                 mental health services and he declined.

                                                              LE incident number: XX-XXXXXXX. At 10PM,           voiced that he was feeling suicidal and wanted to speak with a mental health professional. CW
                                                          Beckmann contacted MCOT at 10:05PM and requested a mental health professional to come to the hotel and speak with                  . While CW Mae was on
                                                          the phone with MCOT,          was laying on the bed watching tv. At 10:24PM, MCOT informed CW Beckmann that they would send a professional soon.
                                                             At 10:25P, APD arrived at the hotel and evaluated         . APD left at 10:45PM and provided a phone number for       to call if he wants to talk with
                                                            someone (512-974-HELP) The incident number is XX-XXXXXXX. Once APD left,              went to the closet and grabbed a hanger and voiced that he was
                                                          going to kill himself. Security officer Olivia attempted to retrieve the hanger from      . When doing so, the hanger broke, and        kept a portion of it
                                                        ,
  7                      6/2/2022                             and refused to allow the workers to have it.       was observed to hide it under his bottom. Security guard Oliva continued to try to retrieve the
                                                             hanger from       , however, he refused to give it to the security guard. The security guard and      began to struggle for the hanger.       became
                                                           upset when he lost the hanger and began to take apart his spiral notebook in efforts to be able to use the wire to cut himself. CW Johnson contact LE
                                                             again at 11:10PM and requested for officers to return to the hotel. At 11:13PM, CW Johnson was informed that officers were on their way to the
                                                          hotel. The same officers arrived and monitored          as CW Johnson spoke with Team Lead Melisse Fabian outside. MCOT/LE stated that that             has
                                                              a pattern of doing this and didn’t need emergency services as the behaviors were nowhere near life threatening and it appeared to be more for
                                                                                                  attention. APD left at 11:35PM and voiced that they could return, if needed.



                                                          This incident involves 2 youth:                     , 17y, PMC, from Emergency Shelter;                  , 14y, TMC, from RTC. The two youth had left to a
  7                      6/4/2022                          gas station prior to this shift coming on.           returned shortly upon arrival and went in with the other youth in the house. She slammed the door
                                                          and was alleging that          left her. She alleged that she was approached by a van with a lot of males. She advised she was afraid that she was going
                                                            to be kidnapped. When telling this story, the other youth in the home began to get escalated. Another youth was texting              that the girls were
                                                          going to fight her when she got home.             came in and was yelling. She went to the room to clarify the story that was being told. There were some
                                                             differences with the stories and             began to change her story.        became upset about the inconsistencies. The discussion moved to the
                                                            kitchen. They were speaking and clarifying some of the facts.             slapped her hand on the table and this triggered       and she slammed her
                                                          hand on the counter.              then lifted the wooden table in the kitchen and pushed it towards the med cabinet. She then picked up a wooden chair
                                                          and it hit the security guard. It was reported by one of the youths that when the security guard deflected the chair it hit another youth. However, the
  7                      6/4/2022
                                                           staff did not see the chair hit the other youth.          then contacted the cops, case # 22001235, and they arrived spoke with everyone. The security
                                                             guard was asked several times if she was injured and she advised she was not. The cops asked if anyone wanted to press charges, and all parties
                                                                                                                                     declined.




                                                           This incident involves 2 youth:                 , 17y, PMC, from Runaway;                , 16y, TMC, from Emergency Shelter. At 8:41pm,                and
  7                      6/4/2022
                                                                   were in the living room arguing over a movie to watch. Their argument escalated and             threw a water bottle at           .         stated
                                                            she was calling the police and pressing charges for assault. CWs did not ask off duty officer working security to call as no one was injured.
                                                          walked to the kitchen with CW Royce Aarhus while security stepped in front of Iisjagh to keep her from going after              . Security stayed in front of
                                                                    as she approached           and stayed in between the two the entire time.             called LE herself and said she wanted to press charges.
                                                                   walked out of the house and CW White and Security Guard Tucker followed her. 2 patrol cars arrived and              returned to the house on her
                                                          own stating she didn’t want them to say she was fleeing. LE spoke with both girls and issued a citation for Class C Assault to          . LE advised
  7                      6/4/2022                         to try to separate herself from        for the rest of the night and suggested locking herself in the bathroom if she needs to get away. A picture of the
                                                                                                                 citation was sent to        primary worker.




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                                                          At the beginning of the 4pm to 8pm CWOP shift for                         at the Holiday Inn, in Pearsall, the previous shift caseworker’s reported       had
                                                          mentioned she was talking about running. Soon after I heard              on the phone giving someone the directions to the hotel. I asked her about it. She
                                                           stated she was talking with her family who were in the area for a funeral. I explained the need for approval to visit with her family. She stated they
                                                           were only coming to bring her food. She then stated her mother already spoke with the caseworker and supervisor about it. I explained I needed to
                                                         talk with them first. I contacted the on-call supervisor to inquire of this. A few minutes later          came out of her room and said they were here, and I
                                                           could follow her down. I turned to the protégé Damien Gutierrez and the police officer to follow me and to get the room key. I then turned to               ,
                                                          but she was already gone. I ran down the stairs to find her. I went out the front door and my co-worker went out the side door. As I got out the front
                                                          door, I saw a white car which appeared to be a Crown Victoria or another car like it. There was a male getting in after someone whom I assumed was
                                                                . I ran to the car to get the license plate and the car sped off. The license plate was a paper plate so I was unable to see the numbers. The officer
                                                           at the hotel called local LE at 4:32pm. They responded within minutes to take a report; Case #202206-00036 by Officer Lindsey Montgomery Badge
                                                            #754. At 5:15pm I received a phone call from Officer Montgomery 830-200-7823 stating Divine PD found                  at Amigo’s in Devine off exit 122 (IH
                                                         35N). They will hold her until we get there. Protégé, Damien Gutierrez and me, left the Holiday Inn in Pearsall at approximately 5:20pm and arrived at
                                                             the Amigo’s just before 6pm. There were 4 or 5 police cars there and 2 EMS vehicles.             was inside a police car. I spoke CWOP Serious Incident
 8B                      6/4/2022
                                                             Report with Deputy Sheriff, Mark Trevino, phone; 830-665-8000/830-741-6153 Case #22-01316. He stated he spotted the car that reported
                                                                   missing and pulled it over. One person was in possession of marijuana, one person in possession of Xanax, and another in possession of
                                                          methamphetamine. That person also had a handgun. There was also another 15-year-old girl in the car along with                    The 3 others’ were arrested.
                                                                initially agreed to drive back to the hotel with me and Damien. However, once the officer took the cuffs off her and allowed her out of his vehicle
                                                             she refuse to get in my car unless we gave her, her phone back. Initially we were hesitant however there was a large crowd observing the whole
                                                         incident and standing around watching.               behavior was becoming aggressive. I agreed for her to have her phone and then asked her again to get
                                                          in the car for us to leave however she refused and began calling people to come pick her up. At that point she also appeared to be having an allergic
                                                           reaction. She was yelling and crying about her eyes and her skin burning. A paramedic who was there was trying to assist                , though      began
                                                          hyperventilating and yelling about pain. I asked them to take her to the hospital, they agreed and took her to Westover Children’s hospital. Once she
                                                          got there, they refused to treat her due to believing she ingested something so she was then brought to the adult ER. By 8pm when my shift ended,
                                                                had calmed down a lot due to being given what I believe they said was 25g’s of Benadryl. The 8pm shift caseworker appeared, I briefed her of all
                                                         this and then left. Throughout this whole shift, I was in contact through text and phone calls with the on-call supervisor Julie Rosario, who was helpful
                                                                                                                              in providing direction.



                                                          At 10:30 am          requested to go outside. Both myself and the other shift worker supervised              as he walked around outside. He stated that
                                                          he was looking for cigarette butts to smoke.            continued to walk off the premises towards SE Military. Caseworkers made multiple attempts to
                                                             ask         to come back to the hotel, but he continued to state that he would be right back and wanted to take a walk. Caseworker lead filed a
                                                         runaway report with SAPD and alerted on call PD and supervisor.              returned at 11:06 am. Caseworker asked where              went, and he stated
                                                             that he went to Dollar Tree.           initially appeared okay and was able to have a conversation with workers and eat cereal. Around 11:30 am
                                                                     was shaking his head and was incoherent. Caseworkers attempted to ask if he took anything during his walk, but               would not come
 8A                      6/6/2022                        forward with any information.            attempted to talk but was unable to make a proper sentence.               began to have a seizure and was shaking,
                                                          he slid from the couch to the floor. As a shift worker called EMS, the security guard and I put          on his side where he then threw up. EMS arrived
                                                           at around 11:40 am.           was disoriented throughout the time that EMS worked on him. I went with                in the ambulance to the Children’s
                                                         Hospital. In the ambulance            continued to twitch and jerk his body. EMS stated that it appeared to be a toxic injection of synthetic marijuana. At
                                                               the hospital,        was given a benzodiazepine in his IV to relax. He continued to twitch and would attempt to get up occasionally. He was
                                                           responsive to sound and direction but did not talk.           did not want to provide a urine sample and kept fighting his sleep.           caseworker
                                                                                                    Georgiana O’Reilly arrived at the hospital to take over and relieve me.



                                                           10:50pm 6/08/2022 Incident for                     Received a text from the worker on shift, Kendra Leazer. She stated that            took her shower
                                                          and showed them marks on her left leg.            informed the workers that the marks were recent, and this was the first time she was telling anyone.
                                                                    informed them that she did not want to hurt herself or go to the hospital . they placed band aids and ointment on the marks. The workers
                                                            provided photos of the marks. The workers were asked if she needed to speak with a counselor. Also, that some of the marks appeared older. The
                                                             workers stated they would have her call and speak with a counselor.            agreed to do that and spoke with someone at the suicide crisis line.
                                                              According to the case worker,           spoke with a counselor for about 30 minutes.            reported hearing voices. When asked what their
 8A                      6/8/2022                         suggestions was, informed they just talked with her. She continued to state the voices were telling her to hurt herself. The workers were asked to call
                                                           the counselor back. They called NAMI hotline and the message stated it was now closed. They called the local MHMR in Pearsall, it was also closed.
                                                          They allowed          to call her primary worker. She continued to pace back and forth and reported seeing shadows. Workers were instructed to call
                                                             Local LE to come out and ED her. Workers would not have been able to transport her safely. 12:29am 6/9/2022 caseworker Nancy Ledsman Frio
                                                           County Sheriff sent out a deputy to assist with the mental health situation. LE assisted with the transport for          to the local hospital where she
                                                            stated overnight until medically cleared and the hospital arranged for her to be taken to a psychiatric facility. Pearsall Police Department Officer’s
                                                                          Name: C. Chavez badge number 748 Case number: 202206-00078Details of Incident (including follow-up actions taken)




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                                                            This incident involves two youth                         , 13y, PMC, from RTC;              , 17y, PMC, from RTC. Workers arrived on time for their shift.
                                                         CW Torres brought groceries for the boys. CW Kessler asked                to come assist with the groceries and put them away.              grumbled and yelled
                                                               at previous staff and stated “he was on the fucking phone”.              was vaping on the bed while scrolling on his phone. Peer JL assisted with all
                                                         groceries and put them away. At 4:44pm, CW Torres went into the bathroom because                       and peer were in the bathroom vaping with the door
                                                             shut.          became verbally aggressive, yelling “bitch you look stupid, get out of here”. Cw Torres stated the bathroom door needed to be open.
                                                                     pushed the door open and ended the phone call he was on.               was upset because he “had to get off the phone”. CW’s explained that he
                                                         could call the person back, we just needed to be able to see both of them in the bathroom.                became aggressive towards CW Torres and told her
  7                     6/17/2022                          to “move out of the fucking way”.            opened the door and walked out of the room. CW Torres followed him. CW Kessler asked peer to put his
                                                               shows on so we could go outside.            was in the common room of the hotel and stated he just needed a moment to cool down. CW Torres
                                                             apologized and explained that we thought he was going to run.               explained he wasn’t a runner but he shouldn’t have been so aggressive. He
                                                              stated he just needs time to cool down and he will be good. On the way back to the hotel, from going out to eat,               stated he was going into
                                                            Target. Cw’s stated we had to head back to the hotel.            laid in front of the entrance of Target and stated “this was fucking stupid and we were
                                                             bitches”. I tried to negotiate with         about Target and giving him a few minutes in Target and then returning to the room or coming to Target
                                                         later to no avail as he repeatedly said “fuck you, youre not going to control me”. After a few minutes               got up and ran into the store.         was
                                                         punching basketballs and footballs and when staff tried to talk to him about being respectful in the store and not damaging items or disrupting others,
                                                                    told CW’s “to stop following him and they didn’t know us” “fuck you guys, I don’t know you”. Store associates and store manager came to the
                                                            section of the store we were in and asked            and peer about what was going on.                got verbally aggressive and stated “he was going to
                                                                   buy things in the store”. Store associates told        to stop throwing items in the store and they needed to leave.              began talking
                                                              disrespectfully to Target staff and stated “fuck off he was not leaving, he was going to throw the ball if he wanted to”. Target staff told           he
                                                         needed to leave.            threw the basketball at CW Kessler and hit in the leg. Target associates and manager asked CW’s if we were with the kids. CW
                                                             Torres stated that we work for CPS and are with them.              was yelling “fuck us and why do we keep telling his business. They are in CPS care”.
                                                           Target staff told CW’s to let the kids cool down and do what they want. CW Torres and Target staff walked out with                   and peer . Target staff
                                                           pulled CW Kessler aside and stated we need to make sure we are not taking kids into places that we can’t control them. Staff stated we need to take
                                                              care of these kids and prevent incidents like this from happening. Target staff advised that they had already called the local police who would be
                                                          responding. We requested that they respond to the hotel rather than Target to help de-escalate the situation. Upon arrival back to the hotel,
                                                            was still very upset and when trying to enter the room,            pushed through the door and locked staff out of the room and put the deadbolt and
  7                     6/17/2022                        emergency lock on the room door.               was continuing to yell and scream at staff but would not respond to opening the door. In effort to continue
                                                          to de-escalate            we contacted his advocates to assist. AAL Pedley talked to staff and reported that            is sensitive to being in DFPS custody,
                                                            he does better with male staff, police should not be called due to his prior trauma, and that staff should get him out more to do things. Ultimately,
                                                          local police arrived due to the prior call from Target regarding             and were about to calm          down and gain entry into the room.            and
                                                                          peer were watching TV and calmed down at time of shift change. CW Torres stated she would upload the incident report.




                                                          At 5:30pm,           came back to the hotel room from swimming and going to the gym.                told staff is wasn’t fair we bring food to the hotel. CW
                                                           Kessler explained           that I did take him out for food because of the incident that occurred on 6/17/2022 with myself and CW Torres I would not
                                                         be taking him out but we would go and bring it back.               began arguing with Lea Harris about going to ‘IN And Out Burger’.              stated that ‘hes
                                                         just going to be a bitch all day then and act up until you do what I want’. Lea Harris told          to “sit down and stop talking the mess he was”.
                                                          got up from the bed and called lea Harris a “fat bitch and that’s why she wont do anything”.               stood up and stood behind Lea Harris. Lea got up
                                                           from the chair and stood up.             got in Lea Harris face and began bumping up against her with his chest yelling disrespectful things to her a few
                                                          times.          pushed Lea Harris and she pushed him off of her after he pushed her into the corner of the area where she could not move away from
                                                             the situation.         took the rolling chair and threw it across the room. Lea Harris requested LE be called following this as               continued to
                                                          posture against her and deliberately step on her feet and refuse to move.              continued to cuss and yell “he didn’t do anything. This is CPS lying”.
                                                                  got in Lea Harris’s face again and was stepping on her foot. Lea Harris told him he was stepping on her foot and needed to move. After
  7                     6/19/2022                         heard CW Kessler was actually on the phone with LE he got off of her foot and walked towards CW Kessler. CW Kessler was explaining the incident to
                                                          dispatch and dispatch asked for               full name and date of birth. CW Kessler attempted to look at her computer for his exact date of bith.
                                                          grabbed the computer from CW Kessler’s hands and slammed the screen down flat.                    then took the computer from the table and was messing
                                                           around with it.           stated “that wasn’t his real name, its but you’re too fucking stupid”. CW Kessler continued to give information to dispatch
                                                         and           continued to yell and cuss.            grabbed Lea Harris soda and threw it on the table, spilling it all over the table and floor.        grabbed
                                                            the office chair that was in the room and threw it across the room.            attempted to pick up the ottoman in the room to throw it but it was too
                                                          heavy for him.           stated “go ahead and call the 12’s because you lying anyway”. CW Kessler got off the phone with LE and was advised an officer
                                                         was on the way.            threw CW Kessler’s computer into the soda he spilled on the table.             grabbed a few clothing items and walked out of the
                                                         room. CW Kessler followed him and he sat in the lobby until LE arrived. CW Kessler advised LE of the incident that occurred. LE advised that this would
                                                           be a class c misdemeanor and comparable to speeding ticket. Lea Harris decided to press charges and LE advised they were not arresting                      for
                                                                                                                                   the incident.




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                                                             This incident involves 2 youth:                          , 16y, PMC, from Detention.                       , 16y, TMC, from Emergency Shelter. At
                                                           5:09pm CW Joseph observed            laying on the couch and        was laying on the floor next to her. CW observed          touch       on the breast
  7                     6/19/2022                         area and CW told them to stop. As the CW walked into the living room (from a few feet away)             reached up and touched          on her breast as
                                                               well as to be defiant with the worker. CW informed them to stop as this was completely unacceptable.            stated that they were not being
                                                          inappropriate, and they were just “tickling each other’s titties” as a game and that CW Joseph did not understand because he is male. CW Joseph as
                                                          well as the other CW (female) present informed them that it was inappropriate for them to do that. The youth both denied that there was anything
                                                            inappropriate or sexual and were angry that staff viewed it as such. Both youth were separated from one another moving               to another child
                                                          watch location. **Noted that the youth did this in plan view of staff and security where staff were less than 5 feet away and the youth were actively
  7                     6/19/2022                                                                                      being watched and listened to.




                                                           During the 8am shift, CW Tomlinson asked            if she was ready to take her medication.          told CW Tomlinson to shut up and go to hell. After
                                                          approximately an hour, CW Tomlinson asked her again if she would like to take her medication.               again told CW Tomlinson to go to hell and that
                                                          she was not taking her medication and for CW Tomlinson to stop asking her because she stated that she would take it if she wanted and that she did
                                                            not want to take it anymore.          turned around and kicked the trash can, which hit CW Tomlinson.             left the building and went under the
                                                              Gazebo, where she began to throw the furniture and knock the tables upside-down. CW Tomlinson, LE Bowman and SO Tucker went outside to
                                                           straighten the furniture and supervise.          picked up some rocks and threatened to throw them at LE Bowman’s truck. Another girl came out of
                                                         the house and came and sat with CW Tomlinson, LE Bowman and SO Tucker under the Gazebo.                     began to call the other girl a fat “N***r”.
                                                          began throwing rocks at LE Bowman’s truck and spit on him. CW Tomlinson turned around and went back inside to call MF to have an officer (mental
                                                           health) come to the residence and assist in de-escalation and address property damage and spitting on the LE officer present. While CW Tomlinson
                                                             was on the phone with dispatch, CW Tomlinson watched SO Tucker and LE Bowman restrain                   and get her back up to the house as she was
                                                          picking up a glass bottle from the street cutting herself and attempting to swallow the glass.          kept yelling, spitting on and kicking at LE Bowman
  7                     6/20/2022                          and SO Tucker. LE Bowman try and get handcuffs on               while SO Tucker was trying to get the glass out of           mouth, which she stated she
                                                          was going to swallow. SO Tucker was finally able to get the glass out of her mouth.           threw herself onto the porch floor and started to bang her
                                                             head on the ground. LE Bowman tried to get her to stop fighting and threatened to tase her. LE Bowman had the taser in one hand while holding
                                                                  with the other trying to protect her from banging her head anymore. SO Tucker was also trying to help protect               from banging her head
                                                           anymore because she was beginning to bleed on her forehead. LE Bowman told her again to stop fighting or he would have to tase her. LE Bowman
                                                           and SO Tucker were finally able to restrain          so that        could not hurt herself anymore and hold her until local law enforcement got there.
                                                           CW Tomlinson, while standing in the doorway never heard the taser go off or see             hit the ground like she had been tased. CW Tomlinson then
                                                         called dispatch back to have them get EMS in route as well since her forehead was bleeding and because                had threatened to swallow glass and it
                                                         was unsure if she had managed to swallow any during the incident. Marble Falls police arrived and took over and the 3 officers that came to the scene
                                                            got her in the patrol car. She was taken to the hospital. Follow Up:         was taken to the local hospital for evaluation for scratches to her arms,
                                                         forehead, and suicidal behaviors. Upon evaluation,             did not need physical medical treatment to any scratches and was released stating this was
                                                                                                          behavioral and she was not a danger to herself or others.




                                                         This incident involves two youth:                      , 16y, TMC, from Psych;                       , 17y, PMC, from Detention. At approximately 6:44 pm,
                                                             left the Marriott Residence Inn on foot following an incident with               (CWOP youth) around 6:30 pm after              starting yelling profanities,
  7                     6/22/2022                         making verbal physical threats, and took all of          food from the refrigerator and threw the food across and on the floor. When worker Bandy tried
                                                         to place the items back in refrigerator,           threw the items back out, started opening containers, and emptying them into the trash.               returned
                                                             to the room with worker Wiley after walking to the front desk and sat down in the hallway after she saw her food on the floor and                     yelling
                                                            verbal threats to      Around 6:40 pm,        rolled up in a ball in the hall floor and started yelling, scratching her arms, banging her head on the wall
                                                           and stated, “She made me relapse.” Workers Bandy and Wiley continued to try to deescalate the situation.                 refused to return to the hotel room.
                                                                   stated she could not stand to be in the hotel any longer with             l, felt threatened and the only way to get out of the situation was to kill
                                                           herself by walking into traffic. Worker Bandy followed         down University Parks Drive on foot while dialing 911 at 6:45 pm. When               was a block
                                                          from the interstate access/frontage road, she stopped and responded to worker’s voice. Worker advised 911 that youth had returned and was going
                                                            to contact emergency mental health services and would call back if anything further was needed. Worker contacted MCOT at 6:56 pm. At 7:15 pm,
                                                         screener informed worker           responses did warrant an assessor to come out and sent the referral. Gaylon Thompson with MCOT arrived at hotel at
  7                     6/22/2022                         8:25 pm and conducted a screening with          in her hotel room with worker.             advised she had been feeling suicidal, hopeless and depressed more
                                                          since being moved into a hotel room with              and the volatile environment was a trigger for her. Mr. Thompson completed an EDO and provided
                                                           to worker to take to Providence ER. Worker was allowed to transport              to ER without LE being called. Worker arrived at ER at 9:30 pm where
                                                                                           received a Psychiatric Eval for Suicide. She was admitted and given a room at 10:45 pm.




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                                                                  left the room when the other youths attorney came for a visit.       was being loud and disrespectful, when asked to quiet down he told CW
                                                          Hensley to shut up and called me a whore. He said he was going to beat my ass and to get away from him. I stepped away and told him to stop being
                                                           disrespectful. He calmed down and started playing pool with security. However, he continued to curse loudly and bang the pool stick on the table. I
                                                          asked him to stop and be quiet, which he ignored. Then the hotel manager came out and told him that he would have to stop cursing or he wouldn’t
                                                           be allowed to be in the lobby area.       was again disrespectful to hotel staff and CW. When CW reminded him that he told his PO he wanted to
  7                     6/23/2022
                                                          stay at the hotel he got mad and asked who I was talking to. He then ran towards me multiple times saying that he was going to beat my ass like he
                                                          did with the RTC staff. Law Enforcement was contacted as he continued to threaten me and come toward me aggressively. He also attempted to run
                                                             at the hotel manager. LE showed up while security was calming him down. Hotel staff initially said that      could no longer stay at the hotel,
                                                            however they stated that if we can keep him calm and/or remove him from the public area if he is acting out then he can stay. After LE left, we all
                                                                                                              returned to the hotel room. Call #22063202




  7                     6/23/2022
                                                           This report involves three youth:                 , 17y, PMC, from Detention;                               16y, TMC, from Shelter;                    , 17y,
                                                           PMC, from Psych.             was seated on the couch next to peer,        .       was watching t.v.             took the remote and changed the channel.
                                                                 got upset and was egged on by            to unplug the t.v.     unplugged the t.v.            and         started arguing with each other. Toni (staff)
                                                            had         sit next to her on the couch to give them some space. They continue to yell at each other and got up in each other’s faces.               took
  7                     6/23/2022                                 cell phone and walked outside. CW Ybarra followed her and asked her to give her the phone.                   sat the phone down on the driveway and
                                                         almost stepped on it. She gave CW Ybarra the phone and stated that she just wanted to show                  that she could damage her property if she wanted
                                                             to.         went back inside and continued to argue with          .        cornered          into the wall. Security officer got in between them. They
                                                           separated then           h got     a next to the kitchen table and put her hands on        , trying to choke her. Security officer separated them. While
                                                          security officer was in-between the girls,            reached under security officer’s arms and slapped           . Belton PD responded. Officer Ravizee #59
                                                         (case ID B2216720) spoke with the girls. He told CWs that if they are called out again              will go to juvenile detention. Following the police leaving
  7                     6/23/2022                                                           the girls were calmed down and avoided one another. There have been no other issues.




  7                     6/27/2022                           6/27/22 incident occurred on the 4pm–8pm shift; Youth involved are:                        17y, PMC from Psych;                         16y, TMC, from
                                                          emergency shelter.                    , 17y, PMC, from Detention. At start of shift,      was with         listening to music on Angie’s phone at the table
                                                           in the common area. A few minutes later            walked into the common area and           made a comment that there was a smell of fish and that it
                                                            was in the common area, and            indicated she was referring to       .       and      began arguing and taunting each other with            in the
  7                     6/27/2022                          background instigating         .        then threw a full bottle of a Gatorade drink toward       and it hit her.       then grabbed it and threw it back
                                                           her way and it spilled all over the table and floor. Staff attempted to de-escalate the situation but          and       continued to yell and insult each
                                                            other.       then went into the kitchen and grabbed the fire extinguisher and sprayed it at          . Law Enforcement was contacted and they took
                                                           statements from staff and the girls.          and        were assessed by EMS as a result of their fight and the fire extinguisher being deployed. Police
                                                           arrested       and transported her to juvenile detention. Off. Menix obtained the caseworker’s name and number for both                 and       . Belton
  7                     6/27/2022                                                                                PD report #22001435 by Off. J. Menix (ID#69).




                                                            Note that is low functioning, has minimal verbal skills, and has high needs due to autism spectrum disorder. Caseworker Candie Ware and Keith
                                                           Thayer were on CWOP duty. had vomited four times after eating multiple hotdogs. He had to also be changed due to diarrhea. He became upset
                                                         when staff would not allow him to enter the kitchen area where vomit was being cleaned. Once the area was clean was allowed in the kitchen area.
                                                            He became upset when staff would not allow him to eat additional hotdogs. He then wanted to drink milk, which he cannot have due being lactose
                                                           intolerant. He became upset and started hitting his head on the refrigerator door (3X)-there was no injury, swelling, or marks. He then became very
  7                     6/27/2022                          irate although staff was trying to offer him other food options. He then lashed out and starting hitting staff. Security stepped in to help and then DJ
                                                         reached out and grabbed the security and bit her nipple area. He also threw his tablet hitting the wall. He knocked several items off of the dining room
                                                         table. Caseworkers then tried escorting to the living room area where he was not happy. He then became abusive to both caseworkers, hitting and
                                                           kicking at them. After a few moments calmed down when staff offered him a sandwich or other food due to his vomiting after hotdogs. Later on
                                                          after his tablet had died from him not charging it, he became upset at staff for trying to explain he needed to charge it. He hit caseworker Ware in the
                                                                                                      back of the head. No serious injury occurred to either DJ or staff.



                                                             This incident involves 3 youth at the Penelope House but mainly in relation to        and       .               , 17y, PMC, from Psych;
  7                     6/30/2022                                      , 16y, TMC, from Emergency Shelter;                , 17y, PMC, from Detention. Around 11:00pm,                       and       had gone
                                                             into          bedroom to confront her on her [      ] being in a bad mood. CW Robyn had followed them into the bedroom as there was already
                                                           tension.        began to instigate       as she was laying on her bed in the conversation of why she was upset with her.       began to express her
                                                            f li      f i             i D       C R                       i                              D            i      i               D          D




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                                                          4a to 8a shift on 6/30/2022:           was sleeping in the room with                  belongings and             was sleeping in the room where            left her
                                                           things. At shift change,         woke up screaming and cussing at                  to get out of her things.        stated            got into her bag and took
                                                           her clothes out. Staff attempted to address the situation.                  cussed back at          and then laid on the floor in a ball. She scooted under the
                                                           twin bed in the room when staff attempted to help her calm down.                   was asked to leave the room and allow staff to talk to               assuring
                                                                    that no one would allow               to touch her things.           screamed but did leave the room.              curled up in a ball and refused to
  4                     6/30/2022
                                                          engage with me.            moved the twin bed and dragged                   into the living room, while yelling at her to, "Get the Fuck out of her room!" Staff
                                                           asked          several times to stop and advised other worker to contact law enforcement immediately. Law enforcement did not intervene but told
                                                                    to calm down.          left            in the floor in the living room.          yelled at worker stating worker was acting like she did something
                                                          wrong. She stated, "It is not like I hit her." Worker advised            it was not okay for anyone to put their hands on anyone else.             called worker a
                                                                 bitch and walked off. One worker went outside with                 as she calmed down and the other sat with                to help her calm down.


                                                            On June 19, 2022, I arrived at the Hawthorn Suites by Wyndham in Corpus Christi Texas for my scheduled CWOP shift with                       During his
                                                          lunch feeding, he urinated on himself which overflowed from his diaper and ran all over the chair he was sitting in. We cleaned him up and the chair.
                                                           One hour later he did the same thing while standing and urinated all down his leg and onto the floor. CW Joe Avila and I put           into the bath and
 11                     6/19/2022
                                                            clean him up. During this bath,       tried to strike me and just grazed my right eye and nose. I did not think anything of it at the time. Later after
                                                             getting home I noticed that I had busted blood vessels in that eye and a scratch on the bridge of my nose. The on-call supervisor was contacted
                                                                                    numerous times during this shift by CW Joe Avila in order for her to be aware of what was going on.



                                                          Upon arrival,           was sitting on her bed talking to day watch staff, Clevell Young.          had expressed that she was sad and upset that she and
                                                         her boyfriend was caught by police. Ms. Young and I expressed the importance of being safe and the risk that follows running away. When Ms. Young
                                                           left the room, casework, Ashlii Williams, asked            if she wanted to go down to the pool. Initially,        stated No she wasn’t in the mood but
                                                         changed her mind.             informed the worker that she was having a hard time holding a conversation without crying. Ms. Williams suggested going
                                                          to the pool to get some air and it may make her feel better. As             proceeded to get ready for the pool, she showed the caseworker that she was
                                                         cutting her arm. Ms. Williams asked             was the cuts new and when did she cut herself.             stated that the she had just cut herself during the
                                                            time she was placed at the hotel. Ms.Williams asked              if she had mentioned it to the daywatch staff and she stated “No”.           stated she
                                                           was tired and could not take this anymore. Ms. Williams asked Rosario if she would like to speak with the MCOT team. Rosario stated “Yes” but she
                                                            would like to do so while we sit by the pool. Ms. Williams contacted MCOT and spoke with a representative name Kelly.                 spoke to Kelly and
 6A                      6/9/2022
                                                         disclosed that she was having suicidal ideations and her history of hospitalization.            stated two weeks ago a friend had provided her with a hand
                                                            full gabapentin and she overdosed and was taking to the hospital. She was not able to provide the name of the hospital. The MCOT representative
                                                          suggested sending the mobile team out but,               refused and stated she wanted to go the hospital evaluation.            stated she needed a break
                                                             and wanted to go to the hospital. Kelly made the recommendation to transport                to Ben Taub, Neuropsychiatric Crisis Center. Ms. Williams
                                                          contacted on-call PD, Kimley Meredith to inform her of the situation and the recommendation made by MCOT. 8:00pm, Ms. Williams was relieved by
                                                            the on-call staff. Once Ms. Williams and           arrived at Ben Taub, we were informed that they were not taking minors at the time and provided
                                                          with a list of locations. Ms. Williams contacted Ms. Kimley and was instructed to head to Texas Children’s ER. 9:30pm,               intake was completed,
                                                         and she was placed in triage room 34, assigned to Nurse Kathryn. 10:30pm, Nurse Kathryn came in to draw                   blood. 11:00pm, Dr. Noory came in
                                                                                                      to speak with             Ms.Williams was relieved by Sindy Mendez.



                                                                 was in her restroom. When she came out it smelled like she was smoking marijuana. She denied it stating it’s from my clothes from yesterday.
                                                             At 9:40am:        asked to come back up from eating breakfast as she needed to use the restroom.       has been in the restroom for about 10
                                                             minutes. 10am:         continues to be inside the restroom. 10:05am: Worker began to smell marijuana odor coming from the restroom, worker
 03E                    6/19/2022                          knocked on her door and         reported she was doing her hair.      opened her door and worker noticed a stronger odor of weed coming out of
                                                          her restroom. Worker asked her if she was smoking in there and she acknowledged she was smoking yesterday afternoon and the smell stayed in her
                                                            restroom. However, worker reported it didn’t smell like weed when worker arrived at 6am.       reported all her clothes smell like weed and she
                                                                hasn’t gotten a chance to wash all her clothes yet. Worker asked      where she received weed from.           stated “im not telling you”.




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                                                                      was in her room at the Holiday Inn. She made threats of hurting herself.                  wrote in her sketch book that she wanted to harm herself.
                                                                       stated that she wanted to go to mental health hospital.                then started packing up her things saying that she was leaving. Security in
                                                              the room was sitting between the desk and the bed. When                     passed by security, she hit his chair.            then asked why he had to be
                                                          standing in the way.                 attempted to put purple fingernail polish in her water bottle. The fingernail polish would not come out fast enough, so
                                                          she poured it on the floor of her room.                 then threatened to choke herself with the sting from her sweatpants.                  yelled at staff saying
                                                         that they did not care about her. Staff called the shift lead to let them know what was going on. Shift lead stated to call the crisis hotline. Staff made a
                                                                call to the crisis line. Crisis line took            information and stated that they were going to try to get ahold of the Mobile Crisis Unit but if
                                                          something more serious happened to call the police. During the call,                   stated that she was going to go jump in front of a car.               left the
                                                           room and was followed by security and a staff member.                      made her way over to the LaQuinta. Other staff member joined them after giving
                                                             information to the crisis unit. Other staff member headed over to the LaQuinta.                     was in the lobby of the LaQuinta behind the front desk
                                                             eating a snack.               then stated that she was going to jump in front of a car. Three staff members and security followed                    out to the
                                                         road.              said that she was going to go stand in the road in front of a car.              stated that staff did not care if she killed herself because they
 03E                    6/19/2022                          were not chasing after her into the street. The staff members told                  that they could not chase after her.              then headed back into the
                                                          LaQuinta. On the way back into the LaQuinta,                    picked up a big rock from the flower bed. Once inside, security managed to get the rock from
                                                                         and took it back outside.              sat down at one of the tables.            then started sliding her drink down the table hard enough it
                                                             bounced off the wall.                 continued doing this, one of the times, the drink bounced off the wall and hit one of the staff in the arm.
                                                           apologized for that, stating she did not mean to hit the staff.                then saw          standing in the hallway.            went over to where
                                                               was standing and started yelling at                       then put her sketch book down and started tying her hair back. Security moved in between
                                                                      and where           was standing.             started charging at        and the security grabbed              from behind by the neck and stomach.
                                                            Another person stood in the way of                       then left and went to their room.             stood behind the front desk again. A little while later,
                                                                  came back to the hallway. Security moved into the hallway between                     and          A staff member walked to the hallway, and
                                                           told them not to go over to see her.                 then called the police and told them that she was going to kick this girl’s ass.             told the police
                                                            that she was at the LaQuinta and that the other girl was 13 and she was 17. After                    hung up the phone, she started lunging at             again.
                                                         Staff tried to hold           back. Security grabbed              again. Security asked the staff if they wanted him to handcuff                The staff stated that
                                                                                     they did. The security handcuffed              and took her back to her room at the Holiday Inn in handcuffs.


                                                            7:50 pm- I, Cortney Tiffany, Daniel Pineda and assigned officer walked down to the pool. Again                  stopped once seeing the other children
                                                                playing in the pool. We were informed that they were all going in because it was sprinkling.                said that he would wait in the lobby.
                                                                         watched as the other youth walked into the lobby and he then went to the pool.                  was in the pool with two children that were
                                                          not on Child and Youth Pending Placement.                   spent most of his time in the pool walking near the wall and smiling at me.                asked
                                                         me to teach him how to dive into the pool and we talked about how it’s too shallow but he could jump in. I taught him how to jump off the side and he
                                                                eventually jumped into the pool. He wanted to learn to swim and I demonstrated how to swim from the side of the pool. Daniel went to get
                                                                        his snacks and entered into the building. I was still with            and the assigned officer. 8:20 pm-               got out of the pool and
                                                                 put his shirt back on. He told me he was ready to go back up. I asked if he was sure and he said yes. We walked towards the door and I told
                                                                        that we do not have a key and we waved at a CPS worker Kennitra Griffin. She came to let us in.                  said “oh no not her”. I asked
                                                                how he was feeling and told him that he did not have to talk to anyone. He did not answer how he was feeling but said ok. We walked in and
                                                                           walked past the elevator and started to run out of the hotel. CPS worker Kennitra Griffin and I ran after him.                ran directly
                                                         through the parking lot and towards the freeway. We ran down the side of the hill and waved down traffic on the on ramp to stop. The cars stopped. I
                                                         threw my bag off and got out my cell phone out. CPS Tamika said she would run after him while I dialed 911. I called 911 and requested assistance and
                                                          then continued running. The officer was at the top of the hill thinking that                 was coming back towards the hotels.                was slowing
                                                           down and become obviously tired CPS worker Kennitra Griffin continued running after                     He changed direction once he saw the officer at
 03E                    6/17/2022
                                                           the top of the hill and started to run back to the highway on the access ramp. CPS Worker Kennitra Griffin grabbed                    and he sat down on
                                                          the pavement with no struggle. He was breathing heavy. I informed dispatch that we still wanted law enforcement to come out and see
                                                          Assigned Officer used his hand cuffs and placed them on                   and walked him back into the hotel.               sat at the front couch. Within a
                                                              few minutes. He kicked over the table in front of him. We waited for law enforcement to arrive. CPS Worker Daniel came to assist in the lobby. I
                                                             informed Shift Lead Jazminee White what was going on. Shift lead began calling on call supervision. Law Enforcement Officers Guzman and Bixby
                                                           arrived. They talked briefly to              and gathered information. They said that they would write an incident report and provided me with case
                                                            number 109252-2022. Officers said that they could not take him to be evaluated because he does not appear to be wanting to hurt himself but run
                                                          away. We asked that officers accompany                    to his room after we took the handcuffs off. We all walked to the room and he said that he was
                                                           feeling fine. Officers left. He went to the bathroom to change. Assigned officer sat in front of the door. CPS Worker Daniel went to get
                                                          medication and socks from the lobby. 9:15 PM-                    came to sit by me on the couch as I got my computer out to document. I encouraged him
                                                            to eat some food and asked if I could help make him anything to eat and he refused. He asked if he could go downstairs to see his friend. I told him
                                                              that he could not and we were going to spend the rest of the evening in his room. He said ok. I let                 know that Daniel went to get his
                                                             medications and said that it was time to take his medications.                said ‘no’. A few minutes later, he asked again and I explained again. He
                                                            quickly flipped over the table and I stood up. The assigned officer came over. He asked                to pick up the items and we picked up the table
                                                          and the items                  calmly picked up the items He sat back on the couch I moved my computer and bag against the opposite wall and stood




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                                                                    was in good spirits and sweet. He played Roblox on the computer for about an hour then he asked if he could go swimming. I watched him
                                                           while he swam, and he was having a great time. About 30 minutes later,           came to swim too. They were getting along and having a good time
                                                          swimming. Then, I noticed             getting upset.         wanted him to swim in the deep end and             didn’t want to.          tried swimming
                                                             away from him, but        kept at it. I went over to pull         out of the pool.          swung at        and then        started hitting
                                                         multiple times. I leaned in the pool and wrapped my arms around                but      didn’t stop. I was able to pull          out. He started crying and
 06B                     6/4/2022                         I consoled him. During this time,         got out of the pool and came around to fight           He was threatening him, and I placed myself between
                                                         them to keep             from getting hurt.        seemed to have lost reason. He purposely shoved me into the water.               was very shaken. I did
                                                         not see any security officers during this incident by the pool.       was being very aggressive toward Mrs. Adams and he had to be calmed down and
                                                          lead away by the lead and other adults not CPS workers in the pool area. Law enforcement was notified and officer Johnson and Martin helped the
                                                         situation. Officer Martin tried to catch        before he left the property and Law Enforcement brought           back. There was no official police report
                                                               however they took down the names of the workers and they provided their names. Officer Genovesi, Gehravan, and officer Bauer helped.



                                                           Lead, Kassie Sauer was notified by worker assigned to          Viar at 9:34PM via text “We started walking down the he hall and he started stumbling
                                                           and tipping over. He went back to the room to lay down because he can’t stand up straight.” Lead immediately drove over to the Homewood Suites
                                                         hotel to assess situation.       was asleep in the bed when lead arrived at approximately 9:45PM. Lead attempted to wake                up, he was difficult to
                                                          obtain a response from. Within 30 seconds to a minute,           opened his eyes and stated “he was just tired.” Lead encouraged Brian to drink more of
                                                              his water. Lead inquired if        was feeling ok.      stated he feels fine, just tired. Lead inquired if     took his medications today and if he
                                                            remembers what time. Brian reports he took his medication after the pool (Lead obtained information from previous lead that Brian took his PM
                                                         medications at 6:08PM which consisted of Hydroxyzine 50MG, Trazadone 50MG, Divalproex 500MG). On-Call Supervisor Latasha Allen was notified by
                                                         lead; it was determined          needed to be seen in the ER to be checked out. Lead instructed worker to contact LE on site and have them assisted her
 06B                     6/4/2022                          to get       downstairs to be transported by lead to the ER. At 10:07PM,            refused to get out of the bed to go to the ER, Brian yell “Fuck no. I’m
                                                         sleepy. I’m not going.” Officer Johnson and Sgt. Martin tried to get        up and he said he was not going. Officer Johnson was able to get           up and
                                                          had him walk to Sgt. Martin. At this time, he was walking steady and she checked his eyes. Both officers stated since he is refusing to go, the best bet
                                                         would be to have EMS come here and check him out. Both officers stated if they forced him to go, it would be a fight because he is adamant about not
                                                           going. Lead notified on-call supervisor and it was determined that EMS needed to be called to assess            at the hotel. Lead called 911 at 10:45PM
                                                         and stayed on the phone with them for 8 minutes until EMS arrived at the hotel at 10:53PM. EMS assessed                 and received information from Lead.
                                                                     heart rate is 105 as he is sleep and EMS stated this is abnormal for a 12year that is asleep. EMS stated he needed to be evaluated at the
                                                            emergency room.           tried to fight with the EMS about going but they were able to get him onto the stretcher.           was transported to Texas
                                                                                             Children’s Hospital via ambulance. Worker Ashley Prescott met EMS at the hospital.


                                                           About 10:30 this morning I was informed by staff that          was saying he was having thoughts of hurting himself or others. I asked what prompted
                                                           this because I had just been in the room and he was watching the other youth play a video game and he was eating popcorn. Staff informed me that
                                                           when housekeeping came, and            was asked to pick up his things he became defiant. I called and staffed with the on-call supervisor from here up
                                                             to the point        was taken to the hospital. Shortly after that I got a text from staff that    went to the pool to try to calm down.        then
 06B                    6/11/2022                         started saying he was wanting hospitalization. Staff contacted the MHMR hotline number and were told they could bring him to Ben Taub Hospital to
                                                            be evaluated.         then said that he did not want to go there. Staff called 911. About 11:45 Pearland police officer spoke to       but said it was
                                                           CPS’s call if he was taken to the hospital based on his history. Pearland fire department also arrived and eventually took him to Southeast Memorial
                                                          Hospital to be evaluated. He was assessed by the hospital and released. He told the hospital he was just upset about not being allowed to do what he
                                                                                                                                      wants.




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Region   Child Name   Date of Incident      Location                                                                              Description

                                                         Worker Jessica Fritz and Kimberly Sanchez arrived for their shift with                       Worker Fritz was told that the children could not go into the pool
                                                              but have been allowed to go to the splash pad. The workers that worker Fritz and Worker Sanchez relieved told them that they did not have any
                                                            incidents with                  during their shift. Worker Fritz called lead Robert King and asked if                  can go the splash pad. Lead Robert
                                                           King told worker Fritz it was up to her discretion and to watch         closely since he has run in the past. Worker Fritz thanked him and said she would
                                                          let       know they can only go to the splash pad if he can listen to the workers and stay close to them. 8:15pm: Worker Fritz and worker Sanchez had
                                                                go down to the stairs to get to the splash pad area. When they arrived at the splash pad area,           started taking off his shows and was messing
                                                             with his shorts. Worker Fritz observed his shorts seemed big and offered to tighten the draw string on the shorts for him.             walked away from
                                                           worker Fritz and started walking circles around the splash pad.           started pointing to the pool and saying “pool.” Worker Fritz told him no and that
                                                            he can only play in the splash pad at that time.        started walking around the splash again and worker Fritz noticed he was walking towards the
                                                           fence where the gate to the parking lot was. Worker Fritz stood in front of that gate while worker Sanchez stood to block                path to the gate. In
                                                          an instant,       took of his clothing and ran to the pool. Worker Sanchez attempted to stop him by going after him and trying to get in front of him to
                                                             stop him. Worker Fritz started to run after him as well to try to stop him. Worker Sanchez and worker Fritz could not get to            in time before he
                                                         jumped into the pool naked. There were other guests at the hotel that witnessed the incident and other children in the pool at the time                 jumped
                                                           in naked. Worker Fritz jumped into the pool after,          and was able to get him out of the pool. Worker Sanchez wrapped towels around               once
 06B                    6/11/2022
                                                           he was out of the pool to cover him up. Worker Fritz attempted to get             to stand up to go the room, but        started to scream and try to hit the
                                                           worker.       got away from worker Fritz and worker Sanchez a second time and jumped into the pool again. Worker Fritz jumped into the pool after
                                                                   again and was able to get him back out. Worker Fritz and worker Sanchez attempted to wrap                 in towels again and get him to go to the
                                                           room.        started trying to get away from workers again by twisting, screaming, kicking and hitting workers as an attempt to get away from them.
                                                         Worker Sanchez went into the hotel to get LE. While worker Sanchez went to get LE. Worker Fritz stayed with                   and attempted to keep him away
                                                              from the pool and keep the towels covering him.            started to scream, kick and hit worker Fritz. LE tried to calm        down, but just kicked,
                                                             screamed, and hit more. Officer Johnson and Officer Rodriguez had to both grab onto Briar’s arms to get him off the ground and escort him to his
                                                            room. 9:00pm: LE brought          into his room and he was still upset. Officers kept encouraging him to calm down and placed him on his bed. When
                                                                 calmed down enough, worker Fritz gave him his Nintendo Switch and LE released their hold on him.                got off his bed and started banging his
                                                         switch on the tables. LE and workers told          to stop what he was doing and that he would break the Nintendo Switch.              stopped and then sat on
                                                         the couch next to worker Sanchez while playing on his Nintendo Switch. Worker Fritz contacted Robert King and asked him to bring                    medication.
                                                          9:15pm: Robert King brought            medication and         took his medication.         started to calm down and LE left the room at about 9:30pm.
                                                                        did not get injured during this incident. LE and workers did not get injured either. No charges have been filed. Worker Fritz and worker
                                                                                                Sanchez do not feel the incident warranted charges to be filed in this instance.



                                                         On Wednesday June 8,2022 I, Tiffany Thomas (HST) was assigned to day watch with                            along with CVS worker Kuuleinakili Prince (Kili). Kili
                                                             suggested we take          for a walk along with LE Officer Flores. We escorted         down to the lobby and out of the front entrance.        became
                                                          excited when he saw the pool. We informed              that he was unable to get in the gate because it was locked.        began to walk toward the street.
                                                             Kili grabbed his hand and began to walk with him as Officer Flores followed. We made it to the Burlington and began to redirect            back to the
                                                          hotel.        began to scream and become combative. He started punching and kicking and head butting at staff and LE. He made several attempts to
                                                           get away. Office Flores stood behind          to prevent him from hitting his head on the ground. Kili grabbed both of his legs and I grabbed both arms
                                                            and we moved him to the grassy shaded area. I instructed             to feel the cool grass and he began to calm down. He got up grabbed my hand but
                                                           again laid on the ground. We tried carrying him again, but it was causing a seen as shoppers were in the parking lot. We finally got           back to the
                                                            hotel, but he wanted to be carried and refused to walk so Kili and I both attempted to carry him, but he was heavy. We finally got           back to the
                                                         room and Kili left to go make sandwiches for CWOP kids. While she was making lunch                 and I remained in the hotel room. He then got off the floor
                                                          and headed to his suitcase which was at the door and appeared to be trying to get it open at that moment, he snatched the door open and ran down
 06B                     6/8/2022                         the stairs. I chased after him and my foot missed 2 steps, but I was able to grab the railing. I chased him in the stairwell while trying to call contact LE.
                                                                 ran through the lobby out of the door at the end of the hallway. Officer Flores and I went out the side door and met him in the back of the hotel.
                                                         He began to run but I told him to come let’s get in the pool. He then met me at the gate and that’s when I grabbed him. Officer Flores opened the door
                                                          and I guided         into the lobby, he then dropped to the floor while I was holding him and began to crawl through the lobby. He then jumped up and
                                                            tried to run but I was able to grab his shirt. Officer Flores and I guided him to the elevator just as KDW Faith Bishop Smith and her assigned kid was
                                                           coming in. We all got on the elevator where            became combative again. I then grabbed him in my arms and began to rock in the direction of his
                                                          body as he tried to get off the elevator. Once we made it back to the room, we noticed we were locked out. Faith remained with me while LE went to
                                                         get the hotel staff to open the door. While waiting           continued to try and getaway but I had him pinned against the door with my body because we
                                                          were across from the stairs. He got free and started running down the hallway, but I was able to grab the back of his shirt. I once again placed him at
                                                            the room door and held him there with my body until we were able to get in the room. This entire incident went on from possible 10:50 -12:10pm.
                                                          After my day watch shift which was from 8am until 12:45 , I noticed the pain and burning in my lower back, mid back and shoulders. I took Ibuprofen,
                                                                                                 but the pain continued so I informed KDW Supervisor Christa Veal at 6:55pm.




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                                                                was in the pool with three other foster children. The four girls were swimming around in the pool and playing well together.         went a stood
                                                            alone alongside the pool away from the other girls.            came up to          and the two girls started talking. Then,       put her hands on
                                                                  around her shoulder/neck area. She had her hands on             for a few seconds, then walked away to the left of       about 3-4 feet.
 06B                     6/9/2022
                                                          immediately turned around, came towards               and put her hands around                neck for a few seconds in the same manner. I told the girls
                                                         to stop putting their hands on each other and to apologize to each other. It was more of a soft stroke around the neck. It did not appear it was done in
                                                                                                                           an aggressive manner.

                                                         I, Caseworker Aurora Salazar, was not assigned to                I was assigned to          While walking        outside,            (in lobby) asked
                                                                     to call 911 because she was going to show us all and walk in front of a car. I followed       and                     begged             not to
                                                         because she cared about her and didn’t want her to die. Security was close behind.                 went into the road and I, Worker Salazar, yelled at her to
                                                          turn back while still following her. Security went in the street and tried waving cars. One car barely missed them both. Caseworker Salazar turned her
                                                            flashlight on to signal other cars. Security was able to get           out of the road. Security was able to get             back to front doors of hotel.
                                                                       asked if 911 was still coming. She said she didn’t need them anymore. Staff LaTonya let 911 know that they were no longer needed. Then
 06B                    6/12/2022                         Pearland PD arrived. Emmetria was very upset that the police still came. Officers took Emmetria to lobby to talk to her. They asked the other children
                                                              to please give her some privacy. I, Caseworker Salazar, was not present for this next part, but was told this by the Officers.             was calmly
                                                          talking to the police in the lobby. When they discussed her running into the road and wanting to get hit by a car they told her that they would have to
                                                            take her to hospital to get evaluated.             didn’t want to go so she attempted to run. It took all 4 officers to hold her down and handcuff her.
                                                            They were transporting her to HCA about ½ a mile from the hotel to get evaluated. Caseworker Aurora Salazar was pulled from another child to go
                                                         with              as a Caseworker needed to go. So LaTonya & I switched. 9:59pm–                 was transported to HCA Hospital. Caseworker Salazar went
                                                                                        with. HCA–Houston Healthcare – 11100 Shadow Creek Pkwy, Pearland, TX 77584 ER Hallway 3.


                                                           While on shift         reported discomfort from feminine area.            was asked about her symptoms. She reported unable to sit, burning, vaginal
                                                         discharge (thick white) and odor. CW asked if she wanted to go to ER. She stated she would wait and see how she feels.             walked and talked with
                                                         staff during shift. She ate breakfast (waffle, egg, sausage, muffin, apple juice and milk). At approximately 7:15am          asked CW if a clinic was open
                                                            because she could not bear the discomfort.           told CW she had a feminine pad on, but it was not helping. CW called on-call PD to discuss next
 08A                    6/18/2022
                                                         steps. CW transported           to Mission Trail Hospital for a medical check.        was checked into hospital at 7:30AM.          had an opportunity to
                                                           discuss with the doctor in private about her symptoms and any sexual contact she may encountered. CW was brought back into the room. CW was
                                                           told by ER Doctor a urinary test was going to be taken. The findings of the urinary test were she has a UTI. Antibiotics prescribed and Rocephin shot
                                                                       was given for infection. Prescribed Sulfamethoxazole-trimethoprim (Bactrim DS oral tablet) 1-tab oral twice daily for 7 days.


                                                         This morning during the shift        was putting on make-up, and when she was looking for more make-up, she found two bullets and showed them to
                                                             myself and the officer on duty. I contacted the on-call PD Natasha Bussey, and she gave me directives to have        belongings searched for
 08A                    6/19/2022                         additional concerns. The search was completed by the on-site officer and there were no additional concerns found.        stated that she did not put
                                                           the bullets in her bags and believed they came from her friend           house because her belongings were there a week ago before she entered
                                                                                 CWOP (according to her story). She denied having any other bullets or harmful items in her possession.



                                                                  was fine at the beginning of the shift. She was getting her hair done by roommate. She wanted to take pictures of herself on her laptop. After
                                                           she took pictures, she said that she was going to finish her amazon list as she had $2,000 to spend within two weeks. She talked about the things
                                                          planned on getting. She then started to get frustrated as she sat on the bed. She said that she wanted to yell. Staff asked if she wanted her meds as
                                                          she refused the morning doses. She denied her medication. She then went to her room and got out her gel pens. She started to take apart her pens
                                                         and was breaking them. She then would break the pieces in her month. She was gridding the pieces in her mouth and would not give broken pieces to
                                                          the worker. After asking several times, she did but she had more pieces in her hand. She put them in her mouth. She gave up several long pieces, all
                                                          but one. She chewed up that piece and would not spit it out. She then took off into the hallway. I asked her several times to give it up. Officer would
 08A                    6/18/2022
                                                           not stop her. She swallowed the pieces.            said that these pieces would not hurt her because they would just pass through her. At this time,
                                                           caseworker called supervisor on call. Supervisor told me I needed to call PD. PD instructed worker to call EMS and have them assess her. EMS was
                                                          called and they transported her to the local ER in Pearsall. The doctors examined her and cleared her as they stated the pieces will just pass through
                                                          her system. The mental health provider assessed her and found her to be stabled. However, he did ask for medication and medication was given to
                                                         her by the doctor at 7:35 pm. We were discharged from the hospital and returned to the hotel right at 8pm. At this time, she was acting up again and
                                                         would not listen. She walked out to the bank parking lot and would not listen to staff to come back. The officer went downstairs and maintained to get
                                                                   her back inside the room. Gel pens were taken away due to safety concerns. Gel pens were placed in the locked locker in the room.


                                                          Child had an incident earlier during the day where she was cutting herself and she had an assessment with Camino Real. Camino Real recommended
                                                              that she be sent to SA Behavioral health and transported by law enforcement (is what was told to me by the staff on the previous shift). Law
 08A                    6/20/2022                        enforcement was supposed to pick her up and transport her to San Antonio Behavioral Health prior to our shift, but had not shown up. Officer Jeremy
                                                         Martinez arrived at around 6:30 p.m. to pick up and transport           He provided me with his phone number (830) 261-1919 and called me to let me
                                                                                                       know she arrived safely to SA Behavioral health at 7:53 p.m.




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Region   Child Name   Date of Incident      Location                                                                             Description


                                                             On 6/29/2022 4pm-8pm CWOP. DFPS Workers-Annette Loy and Wanda Borrego worked Quality Inn room 125 for the 4pm-8pm shift. At 5:12pm,
                                                                       walked outside (back of hotel) and worker-Annette Loy followed her. She picked up pieces of glass and worker asked her repeatedly to put
                                                          the glass on the ground. She told worker “Mind your own business.” At 5:17pm, Worker-Annette Loy told officers in room #121 that                    picked
                                                              up glass. Worker then entered room #125 and               was washing pieces of glass in the sink. Worker-Annette Loy informed Worker-Wanda
                                                              Borrego.            walked over to her bed and laid on her stomach with her elbows up and worker-Annette Loy observed her cutting her inner
                                                         forearm of her left arm. Worker-Annette Loy informed Worker-Wanda Borrego. Worker-Annette Loy went to room #121 and informed the officers on
                                                              duty. Officer Pareminter #473 and SAPD Park Police Officer E. Sanchez #9870 entered room #125 and officer Sanchez started his body cam. The
                                                           officers asked for compliance from her and she refused. The officers then laid hands on her to secure her and handcuffed her face down on her bed.
                                                             Several pieces of glass were obtained. At 5:27pm, Worker-Annette Loy called PD-Janisa Harris and informed her of the situation. Worker-Wanda
                                                          Borrego contacted Non-Emergency PD. At 5:34pm,                 asked for Worker-Wanda Borrego and approached the child.                   gave her a piece
 08A                    6/29/2022                          of glass from her mouth. Officer Sanchez inspected the inside of her mouth with a flashlight. No cuts were noted. She denied swallowing any items.
                                                         She also denied having any other pieces of glass and denied giving any to          that is also assigned to room #125. At 5:38pm, Worker-Wanda Borrego
                                                         contacted Anastasia’s caseworker–Toby David Tripp and left a message. At 6:00pm, Office T. Fox Bexar PCT 3 Constable #1328 and Officer M. Espinosa
                                                            SAISD #1116 shift change. Officer Sanchez removed his handcuffs from                and Officer Fox placed his handcuffs on her. At 6:03pm, Officer S.
                                                             Hilliard #540 SAPD arrived at 3602 SE Military Dr., San Antonio, TX (Quality Inn) #125. She refused to transport. At 6:26pm, Officer S. Hilliard #540
                                                         SAPD came back into hotel and discussed with Officer Fox & Espinosa. At 6:32pm, Officer S. Hilliard (Female) was asked to pat down                    During
                                                              this, another piece of glass was discovered. At 6:36pm, SAFD EMS Officer L. Latka #3015 & D. Waller #3825 arrived to room #125 and assessed
                                                                       Report# 0620351. No medical needs identified. At 6:40pm, SAPD Sargent M. Charles with SA Park Police arrived at room #125. At 6:42pm,
                                                             SAPD Park Police F. Perez #9517 & R. Mangum #9891 arrived and transported.                   will be taken to Clarity. Worker-Annette Loy and Wanda
                                                         Borrego asked her several times if she wanted to take clothing or other personal items with her and she said no. At 6:48pm, SAPD Park Police F. Perez
                                                           #9517 and R. Mangum #9891 left room #125 with                          Officer were informed that worker-Erika Rodriguez would meet them at Clarity.


                                                                   was sitting in Room 203 with Cw Jackie Garcia and Cw Janet Graige during their 4 am to 8 am shift. Office Thomas was also sitting in the room.
                                                                        was sleeping in Room 201.              had sent a message to her boyfriend and he had responded back that he was not able to talk to her
                                                          because he was working extra shifts that day.              was upset by this because she was looking forward to chatting with him at 5 am and for him to
                                                           see her makeover. Cw told            not to be too upset by her boyfriend working since he’d get back to her when he was free.               sat silently on
                                                            the bed and then walked into the restroom. Next thing everyone heard was a loud smash of glass something and all 3 adults ran to the restroom to
                                                         see what had happened.              was standing by the shower stall and hiding something behind her back. All that was seen on the floor was the silver
                                                           cap of a perfume bottle. Cw asked             to show her what she was holding behind her back.              brought a glass bottle up to her lips and said
                                                           she was just wanted to feel pain. Officer Thomas said that there were other ways to express her emotions and that they could take a walk or talk or
                                                             something besides hurting herself.             said she’d take a walk. She put the glass bottle in her pocket and walked out the door. Cw Garcia and
                                                            officer Thomas followed her outside the hotel room.               got a cinnamon roll from the lobby dining area then walked outside. She yelled behind
                                                          her at Cw that she was going to walk, as in leave. Cw Garcia called on call supervisor Desiree Flores and told her of what had gone on. Desiree said to
                                                           have the officer called PD and that way they could determine what to do. Cw shared that information with officer and he asked for Cw to call police.
                                                            Cw called Pearsall PD and officers arrived soon.            had continued to walk around the parking lot and officer Thomas said she’d thrown out the
                                                            glass bottle but he saw her picking something else up.              was surprised police were called and spoke to them alone. Afterwards police officer
                                                            spoke with Cw Garcia and stated they couldn’t be taking her anywhere because she had told them she was going to hurt herself or anyone. Officer
 08B                    6/20/2022
                                                            began to question Cw about why she was in care at age 19 and Cw explained that she was in extended care. Officer stated that Pearsall’s resources
                                                          were limited, and they had met              about 4 to 5 times during this past week. He questioned if she couldn’t be taken to a psychiatric hospital like
                                                           Laurel Ridge and SA behavioral health in San Antonio to address her issues. Cw said they were in a placement crisis time and at this time they hadn’t
                                                           been able to secure a place for           at this time. Police said she had promised nothing else would happen that day and she wasn’t hurting herself
                                                           or anyone so they’d take off.           then walked up to her room. She gave Cw her bottle cap that she’d picked up outside. She then sat on the bed
                                                         with Cw Garcia and Graige and Officer Thomas in the room. At 6:15 am, she went to the restroom and said she needed a band aid. Cw asked why and
                                                         she showed Cw 4 new fresh cuts she’d made on her arm. They each had one small dot of blood. Cw asked                      how she’d gotten these new cuts as
                                                               Cw had seen           on Sunday and been with her all night and none of her previous cuts had been bleeding.               said “I don’t know” and
                                                          resumed to walk out again from the room. Officer had just come in at 6 am and followed Cw Garcia to go with                   He spoke with her and stated
                                                          that she didn’t have to cut herself when she felt upset. He said they could talk or go for walks.            said she just wanted to talk to her Cw. Cw said
                                                           they could go back to the room and call her.             said fine and gave Cw the piece of glass she’d used for the new cuts.          said she’d found it
                                                            on the floor of the bathroom. Cw walked              to the room and she called her Cw around 7 am. Cw did not respond phone but texted she was at
                                                             CWOP and would call            later.           asked to speak to           and         spoke with her, advised her to take her meds and go to sleep.
                                                                     agreed.         was given her meds and she laid down. At 7:45 am,                got up and walked out of the room again. Cw Janet and officer
                                                          followed so Cw Garcia could write up the report and share with supervisor Colleen coming up on next shift the events of that morning                   came




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                                                           Added by Shaquinta Living: Caseworker was in the common area talking to Ms. Nina Baker letting her know what was going on. Mrs. Heather heard
                                                          that her relief came in and she left out the room to leave. After briefing Mrs. Nina, she reported that she was going to go to the bedroom to take Mrs.
                                                          heather seat in the room in from the window where she saw             jumping out the window. The officer was able to run down the stairs and was able
  5                      7/4/2022                           to recover       trying to jump the fence. When         was recovered staff found that he had marijuana in a saltshaker, roll papers and a lighter. LE
                                                           was notified and reported that they will send an officer. Added by Mark Bradley: Officer Trahan with the police department called me at 10:10 pm. I
                                                           was informed that the police could not do anything because it was less than 4oz of marijuana. All that can do is give me an event number. Officer J.
                                                                                                                        Trahan- Event# 2022-0129372

                                                                 exited the bathroom and informed me that his urine is yellow.           stated to       that he is weird.        responded with what did you say
                                                          to which         stated he was joking and then told         to shut the fuck up,        responded that he may be 17 and does not care that            is 13
                                                         and will go to jail for beating him.        stood up from the couch and          and        begin to step toward each other making statements to fight. I
                                                           was able to get         to step outside to calm       down.          went outside with me to the back yard. The back door was closed and there was a
                                                          crashing sound at the back door. I came back inside and asked Ms. Marion to step outside with             as the security officers on duty we're wrestling
  5                     7/13/2022
                                                         with          The officers were attempting to keep          from coming outside to fight         The officers placed         in handcuffs. During this time,
                                                         I asked Ms. Vanessa to contact on call supervisor and I contacted local law enforcement Lufkin PD. I also attempted contact with on call supervisor and
                                                            PD and ended up calling PA to update the situation. Lufkin PD interviewed both boys and no arrest made, and no citations issued.             laid back
                                                               down on the couch and maintained his distance from                    went to his room to lay down and take a nap. Both boys contacted their
                                                                                                                         Caseworkers via telephone.

                                                                                   was sitting on the couch watching tv at the start of the shift.       was talking to staff and one of the officers about the
                                                          disagreement that happened between             and        earlier in the day and about how she felt           was being rude to her. This upset          and
                                                            he asked       to shut up because he did not want to hear it. He stated that           was being one sided and that it was not his fault everybody was
                                                          messing with him. He said he had already had to deal with a “wanna be thug”.             walked around the kitchen and stopped talking.            started to
                                                          watch tv again.         came out of his room and walked to the door and opened it. He told             to come outside so that they could solve the issue.
  5                     7/13/2022
                                                            He stated that he felt        had something on his chest because he heard what he said.             began to get upset and curse and yell. The officers
                                                          came into the living room and got between the boys.           tried to get to        while he was standing by the door and pushed the officer to get by.
                                                           The officers pushed        down onto the couch and handcuffed him. Staff called Lufkin PD.             laid on the couch and was still upset, he began to
                                                           cry because he felt that everyone was only blaming him for what happened. Lufkin PD arrived and arrested                for Assault. Police report number:
                                                                                                                                  22-19103

                                                                 exited the bathroom and informed me that his urine is yellow.           stated to       that he is weird.        responded with what did you say
                                                          to which         stated he was joking and then told         to shut the fuck up,        responded that he may be 17 and does not care that            is 13
                                                         and will go to jail for beating him.        stood up from the couch and          and        begin to step toward each other making statements to fight. I
                                                           was able to get         to step outside to calm       down.          went outside with me to the back yard. The back door was closed and there was a
                                                          crashing sound at the back door. I came back inside and asked Ms. Marion to step outside with             as the security officers on duty we're wrestling
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                                                               down on the couch and maintained his distance from                    went to his room to lay down and take a nap. Both boys contacted their
                                                                                                                         Caseworkers via telephone.


                                                                                   was sitting on the couch watching tv at the start of the shift.      was talking to staff and one of the officers about the
                                                            disagreement that happened between             and        earlier in the day and how she felt         was being rude to her. This upset           and he
                                                             asked        to shut up because he did not want to hear it. He stated that Fendi was being one sided and that it was not his fault everybody was
                                                          messing with him. He said he had already had to deal with a “wanna be thug”.             walked around the kitchen and stopped talking.           started to
                                                          watch tv again.         came out of his room and walked to the door and opened it. He told            to come outside so that they could solve the issue.
  5                     7/13/2022                           He stated that he felt        had something on his chest because he heard what he said.            began to get upset and curse and yell. The officers
                                                          came into the living room and got between the boys.           tried to get to        while he was standing by the door and pushed the officer to get by.
                                                          The officers pushed         down onto the couch and handcuffed him. Staff called Lufkin PD.            laid on the couch and was still upset, he began to
                                                           cry because he felt that everyone was only blaming him for what happened. Lufkin PD arrived and arrested               for Assault. Police report number:
                                                             22-19103.         was arrested during this ongoing incident for fighting and assaulting an officer after this altercation with another youth in child
                                                                                                         watch. He was kept overnight and released on 07/14/2022.




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                         During the duration of this CWOP shift on July 18, 2022,          would occasionally get upset and yell at staff. Around 11 AM          was bathing, and CW
                                                              was intermittently draining the tub to prevent overflowing. Caseworker (CW) Ryan Harris attempted to drain the tub once again as he had done
                                                           multiple times without incident. However, during this instance           grabbed CW Ryan by the hair and scratched his face and tore off his glasses. CW
                                                            Ryan then had AA Janice take his glasses as he told         that bath time was over,          said sorry and CW allowed him to bath and play in the bath
                                                           for more time draining the tub intermittently again without further incident. After the bath            became upset because he wanted to go to the pool
                                                             and CW told him not until later.        then grabbed CW’s arm and began scratching at it. CW was able to calm              down and CW’s arm began to
                                                         bleed. After about 15 minutes            then jumped on the AC unit and it began to crack. CW then assisted           in getting down from the AC unit.
                                                          then began to kick CW and lunge for his glasses again. In the process of tearing the glasses off           scratched CW and he began to bleed from a small
 11                     7/18/2022
                                                          scratch to his lower left nostril area.       continued to scratch at CW’s arm causing more injuries. After CW calmed Jacob down, he began eating and
                                                           requested the remote from AA Janice. As AA Janice brought it to him, he began to get upset once again and he threw it directly at Janice’s face which
                                                          struck her on the left side of her cheek and eye area. CW then got in between them and as CW looked away to AA Janice,                screamed and latched
                                                          onto CW’s back neck area scratching it in the process. After calming          down again CW then ended his shift at 12:30 PM. CW Ryan Harris sustained
                                                         injuries to his left arm and hand in the form of various scratches in varying sizes that bled. 2 Scratches to his face that bled and scratches to the back of
                                                             his neck. RD follow Up         is a diagnosed with severe intellectual disability. He is not potty trained and he is non-verbal.      can be physically
                                                            aggressive and not medication compliant. We have staffed              CWOP situation with state office placement as of yest and they are aware of the
                                                                                                                            dire need for placement.

                                                          Child,       was agitated and scratched Caseworker’s arm in several spots. Child,     threw the television remote at Caseworker’s head and then
 11                     7/17/2022                        threw his tablet at Caseworker’s head. Each item missed the Caseworker. Both items were removed from child’s reach. No serious injuries obtain. Law
                                                                                                              Enforcement officer helped to calm child.
                                                         At 7:32 PM, Caseworker Ryan Harris notified on call Supervisor Burger of              behaviors. CW Harris stated           was very upset over the fact he
                                                         was not allowed to continue to call his mother, as his CWOP bio specifically states he is to call 1 time, at 7 PM, and if there is no answer, a voicemail is
                                                          to be left. However,        continued to try to call despite knowing the rules as he had grabbed CW Harris phone.                then began to punch the
                                                           wall and window numerous times. Supervisor Burger spoke with                via facetime and explained the rules to him. Around 10 minutes after the
 11                      7/3/2022                           facetime call,        began to punch the wall and window. At shift change at 8PM, CW Natalie Rincon relieved CW Harris who called Supervisor
                                                             Burger. CW Rincon stated           hit one of the officers, continued to punch the wall and window. CW Rincon stated the officers placed him in
                                                          handcuffs to help de-escalate the situation. He was administered his night medications by CW Rincon prior to him being released from handcuffs. He
                                                         was handcuffed roughly 20 minutes under the supervision of staff and officer who spoke to him and helped calm him down. No charges were filed by
                                                                                                                                   officer.



                                                         At about 1:30pm when                was on her away to the room, she wanted snacks. I spoke with her in the hall and she wanted to know if she could go
                                                         put her feet in the pool. I explained again she was to be in her room. She asked me what she should do and I told her explained the rules and want her
                                                          to make good choices. She asked when I would be back, and I told her Monday. She asked if she could make a deal with me and proceed to say she is
                                                          good the weekend would I give her $5 or would I go to Burlington to buy her some nails. I explained to her I could not do that. She asked if she could
                                                          call her grandmother who was on her call list and I explained I was informed she could call her attorney, CASA and caseworker. She said I was pissing
                                                           her off. About 15 minutes later she came the room saying she was hallucinating and need and mental health assessment. I told her Floater Rosalind
                                                         McCray gave her some snacks and encouraged her to go to her room. About 2pm, Floater Rosalind McCray was leaving to take meds to another room.
                                                          She returned to the lead room stating             was in the hallway in handcuffs. I walked down the hall and observed              being combative and
                                                             cursing at law enforcement. Officer Estrada continually asked her to calm down and she stated she was going to break her wrists. Officer Estrada
                                                          asked me to call Conroe Police Department. While waiting for Conroe Police Department to arrive. I observed                 screaming at the two officers
                                                         and refused to go back in her room. I observed her banging the back of her head again the hotel room door as well as the wall on at least 3 occasions.
                                                          Officer Estrada and Martin would move her away from the door/wall into the middle of the hallway so she could not hit her head any longer. Conroe
 06B                    07/30/022
                                                               PD arrived and said they delt with the her the day prior. They stated she tells staff she needs a mental health evaluation but when the ask the
                                                         questions “are you a threat to yourself or others; do you want to harm to self she says no.” They said they would call their mental health officer to see
                                                         about and Emergency Detention Order but did not know if they had enough to get one. Once                   was transported to the hospital, I asked Officer
                                                            Estrada what happened, and he stated he was making rounds and stopped in room 423. He and                    talked for about 2-3 minutes. In the that
                                                           time            informed her she was seeing “shadows” and needed medication. She stated she wanted to be admitted to the psych hospital. Officer
                                                            Estrada explained to her you cannot just be admitted to a psych hospital if there is no medical emergency. He stated things have not changed from
                                                           when they talked at 12:30am and 3:03am that morning (7/30/2022). She began hitting her head on the wall. That is when he put her in handcuffs to
                                                         prevent her from leaving and injuring herself. While in handcuffs, he observed her take her right hand and was pinching her left forearm to the point it
                                                                began to bleed. He separated her hands and sat her on the floor. This was at the point I walked up to see what was going on. Conroe Police
                                                            Department came back to advise me they did not have enough for them to transport her for and mental health evaluation but as her guardian, we
                                                          could call EMS and have them transport her to Texas Children’s Hospital in the Woodlands for and evaluation and have her admitted. Permission was
                                                                                      given to contact EMS and have her transport to the hospital by on call Supervisor Carlos Delgado.




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                                 In preparation for shift change from CWOP to day watch, I asked               to clean up items placed on the desk by her. This was following a
                                                            conversation I had with             about boundaries.            began yelling “no, no, no” and threw all the items that was on the desk towards Mrs.
                                                           Creshia and myself.             after she was verbally redirected, ran out of the room into the hallway screaming “stupid bitch.”            then entered
                                                          the staircase and I proceeded to follow her.             then attempted to hit me in the face with an open hand, which I blocked with my hand that was
                                                         also open.            started screaming and ran down the stairs and entered the third floor. I immediate followed                and Mrs. Creshia was behind
                                                          me.            began hitting the walls, various room doors, while yelling “stupid bitch,” “leave me alone,” and “get away from me.”              attempted
                                                          while going down the hallway, to hit me a few times which I blocked with my arm. Once on the on the other end of the hallway, I pulled my cellphone
                                                            out to record her behaviors as hotel guest and staff observed some of the aggression she was exhibiting.                sat in the window of the hotel’s
                                                         third floor pulling on the cord of the window shade. I asked              to get out of the window area and she responded by telling me to “go to hell” and
                                                           calling me “stupid bitch.” I then told            the police and her previous caseworker, Mrs. Kari, would be contacted to inform her of her actions. At
                                                           this time, I was standing in the doorway of the staircase and Mrs. Creshia was in the hallway.              charged towards me and attempted to hit me
                                                         again. While doing so,             hit her right elbow on the metal doorframe of the staircase as I was telling her to be careful.          began crying and
                                                          returned to the window.              was asked to refrain from sitting in the window. After a minute or two,            began running down the third floor
                                                            hallway towards Mrs. Creshia. Mrs. Creshia tried to engage with                however,           continued to run down the hallway and say “fuck you,
 06B                    7/28/2022
                                                          stupid bitch.”            upon reaching the end of the hallway, turned around and attempted to run however, she ran into Mrs. Creshia and they both
                                                          fell onto the floor.           immediately began hitting and kicking, staff attempted to deescalate and engage with                She screamed and yelled
                                                                “mommy” and “let me go” as we (Mrs. Creshia and I) attempted to calm her down. Hotel guests began entering the hallway to observe the
                                                           occurrence as            was quite loud and disruptive. Due to             continuously hitting and kicking,          wrist was held by Mrs. Creshia and
                                                            myself to avoid injury to ourselves and              After several minutes, the contracted law enforcement intervened and the lead, Angela Akabusi,
                                                         joined us. Bryanna was carried down the third-floor hallway by law enforcement to the elevator area where                   was placed down on the ground.
                                                           At this time, a hotel staff member did observe the engagement and vacated the area. Officer Garza told                 she needed to return to her room.
                                                                      proceeded to yell and cry.            stated she was not going back to her room.            was picked up after several attempts to calm and
                                                             engage her. Bryanna was taken in the elevator, to the fourth floor, and then carried to her room. Once Bryanna was placed in her room, Bryanna
                                                         began throwing various items throughout the room.                  did enter the window area after a few minutes and was asked to get down several times
                                                          by law enforcement and staff.               after destroying her room, did eventually calm down once day watch staff, Gabrielle Duffy, arrived. Follow up
                                                              actions taken: Staff attempted to contact Kari Adams four times and sent one text message requesting call back. Staff was informed by lead, to
                                                            complete serious incident reports. I initiated contact with my immediate supervisor to inform of incident. Immediate directives were to complete
                                                                                                    serious incident report and email to appropriate parties, copy supervisor.



                                                          At 1:30 pm,            was asked by CW Akabusi to turn the TV down a little bit because it was too loud. She said no and was asked again. The CW also
                                                          explained the reason for the TV needing to be turned down.                said no and began pulling her bedding off of her bed. She also dumped all of her
                                                             toys and threw her clothing around the room. CWs Akabusi and Faith Gainer did not intervene as that seemed to increase                    agitation, but
                                                            both CWs watched              closely to be sure she wasn’t doing anything that would put her in danger. At one point,             was hiding behind the
                                                            curtains quietly and staff from another room knocked on the door to ask for the lead room key.                engaged briefly with another youth but did
                                                           not come out of her hiding place. After the other staff and youth left,             remained quiet for a few minutes and then darted toward the door to
                                                         the hall. This was just before 2 pm. She ran out the door and to the stairs. CW Akabusi ran out of the room to follow her and CW Gainer followed while
                                                              she attempted to locate an officer on her phone.             said “don’t follow me you stupid bitch!” to CW Akabusi. She also gave CW Akabusi the
                                                         middle finger several times and said “fuck you.” As she made her way down to the first floor, she repeatedly called CW Akabusi a bitch and kept telling
                                                               the CW not to follow her. CW Gainer was attempting to locate a police officer and was texting the day watch supervisor during this time. When
                                                                     reached the first floor she tried to run out the door to the parking lot. CW Akabusi had to grab her around her torso as she pushed halfway
 06B                    7/27/2022
                                                         out the door to the parking lot. The CW only grabbed                long enough to pull her inside and block the door. Bryanna screamed “you stupid bitch!
                                                          Fuck you!” multiple times and began slapping and punching CW Akabusi.                   was asked to stop hitting the CW but she continued.            went
                                                           into the stairwell again and would intermittently call the CW a stupid bitch, give the CW the middle finger saying “fuck you” and would slap or punch
                                                          the CW on the arm or chest even though the CW was not engaging with her. CW Akabusi continued to block the door and occasionally asked
                                                          to keep her hands to herself while CW Gainer continued to locate a police officer. Staff from room 325 arrived and youth Aaliyah attempted to talk to
                                                                                     was friendly with Aaliyah but did not comply with requests to go back to her room. Contracted Officer Garza arrived at
                                                           approximately 2:30 pm.             began running up and down the halls on the first floor but did not attempt to elope into the parking lot, did not use
                                                             any more foul language and did not hit the CW after the officer arrived. Officer Watkins arrived at about 2:55 pm and seemed to have a very good
                                                             rapport with           She convinced            to return to the room and promised to buy              a Sprite. At 3 pm,         returned to the room
                                                          acting as if nothing happened. CW Gainer and               partially cleaned the room together and             is watching YouTube videos as CW Akabusi is
                                                                                                                          writing this report at 4:33 pm.




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Region   Child Name   Date of Incident      Location                                                                                Description

                                                         Our shift began at 8PM and          reported having a continuing headache. We offered          if she wanted chicken and mash potatoes but refused to
                                                            eat. We asked          on more than one occasion to eat but she kept refusing.         continued with a headache and was offered a Tylenol but
                                                             refused.        reported still having a headache and stomach cramps. The On-call supervisor was notified and advised us to take          to the
 11                      7/2/2022                         hospital.       was tested for COVID, blood was drawn, and urine analysis.         was positive for Influenza B.       was given Tylenol, Ibuprofen,
                                                             and Oseltamivir (Tamiflu 75mg oral capsule) at the hospital.       was prescribed the following take home medications (pending to be filled):
                                                          Comtrex Cold and Flu Maximum Strength oral table, 1 tablet oral every 4 hours as needed for cold symptoms, Motrin IB 200 mg oral capsule 3 Caps
                                                               Oral Every 6 hours for 3 days, and Tamiflu 75mg oral capsule 1 Caps Oral 2 times a day for 5 days.       was discharged from the hospital.

                                                                      became upset because he wanted to go to Skateland West with his friends and was not permitted to go .          became upset and went
                                                         outside and threatened to break car windows but did not.          ran into the room before the workers and locked himself in. Worker was able to open
                                                         the door a crack to speak with         who was by the door talking to his girlfriend and staff.     stated he was upset because he asked his worker if
 08A                    7/30/2022                        he could go to his sister gender reveal party for over a week and never heard back from her.         finally opened the door after 5 min and spoke with
                                                          his girlfriend on the phone and told her about what happened. While still de-escalating         he became very fidgety when he spoke about some of
                                                          his behaviors form over the week and broke the safety the latch off of the door in the hotel room. Workers were able to deescalate           and there
                                                                                                                    were no more incidents that night.
                                                                  reported that she had a sore throat and had been with someone who was sick when she was on run. Staff took her to urgent care where she
 08A                     7/9/2022
                                                                                            was tested for COVID-19 and she was POSITIVE. She was prescribed medication.

                                                           7/3/22 – 12am–4am Shift: When the shift started, I was advised to sit in front of the door by the caseworker who was on the shift before because
                                                           earlier      had run off. I was sitting in that chair and watched                   was asleep.     was hyper and watching cartoons when he then
                                                           walked up to me and kicked his foot towards the side of my head but stopped it before it made contact with me. He laughed about it and I told him
                                                         that was not okay. Then he went to sit down and continued watching his cartoons while eating a cookie with milk at the table. I went over to sit at the
                                                         table because        and I were having a conversation over a painting that was on the table with the other worker on shift, Katarina O’Neill. After a few
                                                           minutes       got up and was moving around his things where then he came up to me again and ripped the glasses out of my head which ended up
 08B                     7/3/2022
                                                             breaking one of the arms. He put them on while the other worker and I told him to stop and give them back. He then returned them to me. Time
                                                           passed and while I was walking up to move my things, he went over to me and touched my hair, asking if he could braid it. I said no, to respect my
                                                          boundaries and personal space. While letting go of my hair he asked the other worker if he could braid her hair as well, but she let him know it is not
                                                          allowed and we have boundaries set in place. We did not contact the officer on shift because        listened to us after telling him to stop and respect
                                                             our personal space. After he settled down and just watched his cartoons at around 1:30 a.m. he said he was tired and wanted to go to sleep. He
                                                                                                                       turned off the TV and laid down.


                                                         6:52pm-Caseworker Evita arrived with youth                        and police escort.           is escorted into room. aylon walks in and likes the room said it
                                                             was nice, worker LaToya introduced herself to               Evita asked           to go and shower. 7-8pm-            come out of the shower Caseworker
                                                         Evita asked            if he had cleaned the tattoo off his neck and back, he said no. Evita asked him to get back in the shower to clean it,                 said no
                                                         that his mom is okay with him having it and he’s not taking it off.               then got up and moved towards the door, workers asked                  to close the
                                                          door and come back in.               said no and ran out the room, down the hall. Workers followed, and caught up with                 outside, asked             to
                                                          come back inside.              became upset and irate and started charging towards Caseworker trying to hit her, worker LaToya grabbed                      around
                                                           his arms in a bear hug to stop him from hitting Evita,             then started kicking Evita kicked her once, and again kicked her phone out of her hand.
                                                                       got away and ran again. Workers called Lead and asked for security. Workers searched hotel for                   as he was going in and out, and
                                                          finally after searching and searching, workers went to look for                Workers Evita and LaToya went to Walmart to look for                 walked around
                                                               Walmart and didn’t see him. Workers headed to Buckner to get binder, saw                    crossing Buckner towards QuikTrip with a Walmart buggy.
                                                           Workers went into QT parking lot and called 911 to make a report. Workers then called Lead to ask if security could come and help.                       crossing
                                                           back across Buckner going back towards Walmart/Fairfield Hotel. Workers communicated with Security Enrique where                          was, Waylon stopped
                                                             to talk to strange male. Security Enrique pulled up on                       took off running into Sam’s Club parking lot, Evita and Security tried cutting
                                                                    off with vehicles, finally able to cut        off and corner him. Worker LaToya got out and snuck behind                  and grabbed him into a bear
 03E                    7/19/2022
                                                         hug and put him in the back of the car.              was kicking, hitting, and cursing. Security Enrique got in the back seat on the other side of               with
                                                            worker LaToya and took over with holding               down. Caseworker Evita is driving              to Perimeter.          continues to hit, kick and curse.
                                                            Caseworker Evita asked worker LaToya to record, LaToya starts recording                  kicked the phone out her hands, and the phone hits her in the left
                                                          eye on the corner. Security Enrique has               arms and LaToya secured his legs, by putting her leg over his.              continues to scuffle and try to
                                                           hit and kick. Security Enrique is finally able to calm          down and talks to him, and asks if he let his hands free, will he behave.               complies.
                                                          8:45-10:45 Arrived at Perimeter to check              in. Caseworker Evita is filling out intake paperwork. Worker LaToya and Security Enrique are present
                                                          and supervising             Workers, security and            are escorted to intake room to complete paperwork and process                  with Perimeter staff.
                                                                        begins to act up again, with verbal assaults to workers and Perimeter staff.              takes Evita’s badge and tries to rip it, security has to
                                                          retrieve badge, he then grabs the pen and will not give it back, security has to get it out of his hands, as he will not let it go voluntarily. Perimeter staff
                                                            Emily witness these incidents. Emily asks            to come and get his height and weight,               walks out the room and is verbally disrespectful to
                                                         her. Another Perimeter staff comes into to finish processing,                is being uncooperative, verbally disrespectful, continues to push table as workers
                                                              and Perimeter staff are filling out paperwork. Perimeter staff escorts workers Evita and LaToya to another room as security supervises
                                                                      is processed, Perimeter is admitting him and staff Emily gives caseworker documents and                     code. We will address the behavior of
                                                                                                                                staff. This youth is 10.




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Region   Child Name   Date of Incident      Location                                                                          Description


                                                                     was in a good mood at the start of the 8PM-12AM shift, and we went for a walk around the hotel. We returned to the room and she entered
                                                          the bathroom at 8:46PM, I (Treysi Diaz Deleon) and Cynthia Narvaiz informed her that she could not be in the bathroom longer than 5 minutes due to
                                                          safety concerns. She stated that was fine. She went into the bathroom for a few minutes then came out stating that she needed a band-aid. She was
                                                           asked for what, and we requested to see the area that needed a band-aid. She refused to show us. We continued to insist and asked what was used.
                                                            She went into the bathroom and came back a few seconds later and handed me a small piece of glass. We requested to get the rest of it and asked
                                                         when she got it from. She continued to resist and would not share any additional information. She then entered the bathroom again and brought out a
                                                         broken screen from her black MP3 player that she owned and stated that she used that. A picture was taken of this item and has been attached in the
                                                           email. She was asked why she harmed herself, she stated that her mind would not be quiet and that she did not have the medication she needed for
                                                          her anxiety, so she just had the urge to cut. The LEO on shift, Martin Ramos, came into the room and spoke with             He along with Cynthia and I
                                                           were able to calm her down. I asked CW Narvaiz if we needed to call this into the Gulf Bend Center (the mental health authority in Victoria, TX). CW
                                                           Narvaiz reported that due to her being calm and no longer having the item that was used, we did not have to. At this time, Denisse Longoria entered
                                                          the hotel room to finish off the 9PM-12AM shift and CW Narvaiz left. Kadie Johnson then entered the hotel room to give             her medication. CW
                                                         Johnson was informed of the incident and stated that we needed to take pictures of the wounds and recommended to call this in to Gulf Bend Center.
 08B                     7/6/2022
                                                           CW Longoria and I were agreeable. CW Johnson gave               her medication, which she took. LEO Ramos convinced her to let us see the areas that
                                                            needed a band-aid. She then pulled her left sleeve up and I observed two fresh cuts on her arm. Two horizontal cuts, about an inch long, one which
                                                           was actively bleeding, and a few wounds from scratching that did not break skin. CW Johnson requested to let me take a picture of the cuts,
                                                         was agreeable. These pictures have been attached in the email. The wounds were then properly cleaned, but she refused new band-aids.                 then
                                                           requested to go for a walk, we were agreeable and followed her downstairs. CW Longoria called Gulf Bend Center to report the incident, 1-877-723-
                                                          3422. Staff from GBC did not provide a name, they reported that             would have to be in agreement for them to come and speak and assess her.
                                                          CW Longoria asked            is she would agree,          refused and stated that she did not want to end up at a hospital. CW Longoria spoke with her
                                                             in attempts to convince her, yet she refused.           came up with an agreement with me and CW Longoria stating that she would not be in the
                                                         bathroom for long amounts of time, and she would allow us to be shown that she was not taking any objects in the bathroom with her.               agreed
                                                            that if she does bring something in the bathroom with her, that we would have to call the crisis hotline. We then returned to the room and she laid
                                                          down in bed. She wrote a journal entry and we encouraged her to write down things that she could use as a coping skill instead of self-harm. She was
                                                         agreeable. On her list, she included listening to music, cleaning, yoga, walking, swimming, going to the park, playing basketball/soccer/volleyball, word
                                                                                 searches, drawing, writing music/poetry/stories. A picture was taken of her list and attached on the email.


                                                             At approximately 9:50 PM,           was laying in her bed watching videos on her phone. She got up screaming and stated she needed help. She
                                                         grabbed my hand and put it on her chest. I was able to observe that she had a rapid heart rate and her hands were clammy. I immediately called 911. I
                                                          instructed         to sit down and breath. She took off running out the hall. She came back and grabbed my arm and rushed me downstairs with her.
 06B                    7/30/2022                             The officer on duty met us in the hall and escorted us downstairs. EMS arrived at approximately 10:02PM.         was transported to St Lukes
                                                            Emergency room at approximately 10:16 PM. EMS reported that               had a blood pressure of 80/45 momentarily. It has since come up. Krystal
                                                         informed medical staff at St Lukes that she believes it was a panic attack and wanted to have her meds increased. St Lukes staff reported that they will
                                                                                                                         run some tests on




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Region   Child Name   Date of Incident      Location                                                                            Description
                                                          asked me, Tomlinson, what did I want to do. I was not hurt and told the officer if           was calm, I would not file charges. The officers went upstairs
                                                          and spoke with           and then left. At about an hour later I received a phone call from Bell County Mobile Mental Health officer. I informed him that
                                                                  was calm and went to get his hair cut. During the afternoon             continued to act out, walking up on me, acting like he was going to hug me
                                                          or hit me. I received a message from security after his shift ended. His tire was punctured sometime this morning. There is suspicion that            may
  7                      8/3/2022                         have damaged the tire but no evidence at this time to support this outside his previous threats. There is graffiti written on the front porch pillar “13s”.
                                                                         This is written in gang style lettering. I asked       if he did it and he began to scream at me and acknowledge writing it.




  7                      8/4/2022                           This incident involves two youth:                 17y from RTC, PMC and                          , 14y from Psych, PMC.         was upset because
                                                                     was eating his ramen noodles and had eaten his ice cream sandwiches (Note these are house food items that             calls his own).
                                                             tried to fight with        in the kitchen as he was trying to heat up his soup.        went upstairs, he ran down the stairs with his shirt off and
                                                            began throwing punches at the             which they then fell to the around. LE jumped on           and placed him in handcuffs. He was sat on the
                                                          couch and LE asked KDW Robledo to contact Killeen PD. No physical injuries on either youth. KDW Robledo called and made a report at 4:56am. They
                                                           responded at approximately 6am. Officer Denton #158 and Officer Jones #290, Incident report number given K22093722. They attempted to talk to
                                                                     but he was sleeping and refused to speak to them. LE talked to          and he told them that           had been bothering him all day long
  7                      8/4/2022                         and he finally had enough so he went at            LE did not make any arrests but asked that Killeen PD be contacted again if things become physical.
                                                                          LE gave       a stern warning and informed him that if they come out here due to his actions again, he will be arrested.




                                                         On 8/17/22             was arrested for pushing a minor peer at the Atlanta CWOP Location.             and         had a verbal disagreement over yogurt.
                                                                    asked to speak to Tommie Rivers outside. Tommie Rivers stated, “Of course do you want to go, on the porch and talk?”              replied, “Yes,
                                                           because I am tired of Katelynn bullying me! She has pushed me and no one did anything about it, and she just threaten to, “Lay Hands” on me.“ As,
                                                                    was exiting the doorway of the kitchen with Tommie Rivers behind her,                came through the doorway.            looked at         and
  4                     8/17/2022                         said,” If I was going to, “Lay Hands” on you, I would!” At this time          lifted her left arm and pushed          with her arm and body. The force of
                                                          the push caused            to stumble almost falling to the floor.      remained calm and said she wanted to press charges.              remained in the
                                                         kitchen and stated, “I barely pushed you.” L.E. followed and explained to            what pressing charges meant. She stated she was certain she wanted
                                                           to press charges. L.E. stated he was going to call a unit.          was arrested and transported to jail by Atlanta P.D. She was later released back to
                                                                                          CWOP.         was moved out of the bedroom she shared with                for safety reasons.



                                                            There have been a few issues since the shift started today. All incidents occurred from 12:30PM to 1:30PM. The first incident occurred while
                                                             was outside with staff, (Tommie Rivers) and another child. All were on the porch.          asked if she could swing on the hammock. She was told,
                                                           “Yes.” Staff was walking back and forth between the two children to maintain, “Line of Sight.” As staff was walking back to the porch to check on the
                                                           other child,        got off the hammock and was out of sight for about 4 minutes. ran around the house and sat down on the outside of the fence in
                                                          the front yard. Staff began calling her name. The other child and staff went in the house to look for her. As         had been talking about, “Pranking”
                                                           people earlier.         was not located in the home. Staff and LE located her a few seconds later sitting outside of the front of the fence. She had her
                                                           head in her lap. She stated she didn’t feel safe because she had seen her mother drive by.          was assured her mother did not know her location.
                                                              Staff spoke with         regarding sitting outside of the fence and how it was a major safety issue.         got up with no issues and came in the
  4                     8/16/2022                            house. A few seconds later,         got a butter knife and tried to unlock the back door located in the kitchen. She was stopped by LE.          then
                                                               went in her room and while she was moving her bed from the wall, she took her right arm and slammed it into the window causing it to break.
                                                           Tommie Rivers was sitting outside of            room and saw her use her arm to break the window.            was very shocked when the widow actually
                                                            broke.         began to apologize and pick up the glass. She was instructed by Tommie Rivers and LE to leave the glass alone and exit the bedroom.
                                                                   then exited the bedroom and ran out the front door. She was followed by LE and Staff Breanna Evans. Tommie Rivers immediately cleaned up
                                                          the glass and took it to the outside trash. After throwing the glass away Tommie Rivers asked Breanna Evans to go inside with other children. Tommie
                                                            Rivers and LE spoke with                   admitted to breaking the window. No injuries occurred. She was argumentative with CW but calmed down
                                                          and later apologized.          stated she is tired of being in CWOP and wants out ASAP. The glass has been cleaned up and tossed outside. The window
                                                                                  has been covered with cardboard and taped with duct tape for security. The Church has been contacted.




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                                                           At 11:00 pm the hotel staff asked         to get off the computer, but he refused to. The staff told           staff that he needed to go to his room and
                                                         could not get back on the computer because he was holding it up from another guest to use.              finally got off the computer to let other guest use it
                                                           and he apologize to the hotel staff. Officer Larry James and the Lead came to talk to          and told him it was time for him to go to his room and he
                                                             stated no. He then walked back to the front desk to speak to the hotel staff again and apologized again. She stated that he could get back on the
                                                              computer but since his actions caused a commotion maybe it would be a good idea if he did not get back on the computer.                got upset and
                                                          walked outside. Officer Larry James went after him along with his CWOP staff. Officer Larry James talked to              and got him to come inside and go
                                                          to his room. Officer Cao accompanied them to the room. Once in the room,              kept throwing small objects. The CWOP staff and the officer asked
                                                                  to stop but he would not. At 11:50p he stated that he wanted to talk to Officer Larry James again, so he left the room and went back down to
                                                            the lobby. The hotel staff and Officer Cao were talking, and the CWOP staff told Davin that he could get back on the computer but only for 1 hour.
 06B                    8/16/2022                         After the hour         was told that it was time to get off the computer and go upstairs.         became mad and started pleading his case to the hotel
                                                            staff member. He was told again that it was time to go to bed and he said no he did not want to go to bed.              then walked outside and walked
                                                          towards the road and the officer and staff followed him.          then ran down the ditch and started walking around the hotel. Once he came back to
                                                          the front of the hotel, Officer Cao asked him to go inside and he refused. Officer Cao escorted Davin back inside the building and to his room. Once in
                                                           the room,        became very aggressive with the officer. Officer Cao tried standing in front of the door to the room and            tried to move him by
                                                          pushing him with his body. Once he saw that he could not move the officer,            tried to go open the hotel window so he could get out of it. Officer
                                                           Cao then restrained Davin telling him to stop.         continued to wrestle with the officer until the officer had to place him in handcuffs. Officer Cao
                                                          told         he would take them off as soon as he calmed down.           still would not calm down. He got up on the bed and tried running to the other
                                                         bed trying to go towards the door. The officer placed          back on the bed.        continued this behavior until Officer Larry James entered the room.
                                                                                          Once Officer Larry James came in and talked to          for a few minutes he calmed down.


                                                          Details of Incident (including follow-up actions taken): At 9:15pm,            took his shower and came out the shower saying he was having rectum
                                                          bleeding and needing to go to the hospital. CW contacted on call supervisor who stated to call EMS. EMS came to hotel to check                 vitals and
  6                     8/27/2022
                                                            bleeding, EMS stated              vitals were great and to try using wet wipes and that his bleeding was not life threatening. EMS left hotel around
                                                                                                     10:10pm. On Call supervisor stated to submit serious incident report.

                                                           On 08/14/2022,         was at the home playing on his phone when local police arrived at the residence to follow up on a runaway report for another
                                                              youth. While police were at the home,       contacted 911 dispatch to complain that the police came to the home and stated he wanted to hurt
                                                         himself. (He had not expressed this prior to his call via tablet). EMS was then also dispatched and      was combative with EMS and police refusing to
  7                     8/14/2022
                                                            follow directions, threatening harm to himself as well as emergency personnel. As a result of the statements,      was taken to Advent Hospital in
                                                         Killeen for evaluation. As of 08/15/2022,      remains at Advent Hospital pending psychiatric hospitalization. He has threatened to harm hospital staff,
                                                                 DFPS staff, and himself. He has been throwing items, attempting to hit staff, pulling emergency alarms, and banging his head into the wall.

                                                            On 08/18/2022, when attempting to get             up for school he cursed at staff, punched a hole in the bedroom wall, slammed doors and left the
  7                     8/16/2022
                                                                        home without permission.              returned inside the home less than 15 minutes later still yelling and cursing at staff.

                                                          On 08/15/2022,           and another youth were wrestling with one another and were asked to stop by staff on shift. The other youth complied and
                                                          went to his room.         proceeded to pick up a water bottle and throw it at CPS Caseworker A. Hill. The water bottle hit her on the back/side of her
  7                     8/15/2022
                                                           neck leaving a raised red mark. Local Police and           probation officer were contacted. A few hours later, local police responded to the home,
                                                                        reported to the police that CPS worker Hill ‘was in the way’ and ‘they are just kids’. No arrests were made KPD Case #-22-009028




                                                           On 08/20/2022, shortly after lunch the air conditioning unit went out at the home. While staff were trying to determine if the unit could be fixed this
                                                         day or make plans to move the youth,             was spoken to regarding a TEP Shelter placement in San Antonio (Aidee).           refused placement and
  7                     8/20/2022                          was yelling profanities at staff, threatening staff, and left the home without permission when staff tried to explain he could not leave. Upon
                                                         returning,         was angry that he was not permitted to move to Stratford House in Temple as he requested.                     learned of this he blamed
                                                            another youth in the home,                           and went up to                      and punched him in the face and temple. Staff and security
                                                         were able to separate the boys.               was spoken to and stated that while this hurt, he was fine and other than immediate pain, he was fine and
                                                         did not need medical attention.               was offered ice and continuously monitored and he had no signs of injury.              was taken to another
                                                          location Staff talked to         abo t moving temporarily to another location d e to the AC being o t and Jayden ref sed to leave nless he co ld go




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                         This involves 2 youth:                       , 14y, PMC, from Psych;                                , 16y, PMC, From foster home. On 8/30/2022, in the late
                                                         afternoon          became angry with another youth,                                 , at the home. As            was in the kitchen making food,         ran
  7                     8/30/2022                          up behind him and smashed his head into the cabinets causing a large bruise and swelling to the other youth’s forehead.                requested not to
                                                          press charges and though reported pain he did not react toward            at this time. After a period of time, both          and          verbally argued
                                                           several times as          destroyed some of his personal belongings and would not respect his space by barging into his room. Later in this evening,
                                                                 asked to use             bathroom to take a bath (master bath) to which                agreed. After       left the bathroom it was discovered that
                                                                    broke the pipes to the toilet, destroyed           personal belongings in the room, and flooded the master bathroom which had flooding
                                                          water moving through the walls to other rooms. Around 9pm              left the residence without permission and his laptop was found with him being
                                                          currently active in different chat rooms, one being called “Amigo”. As a result,             laptop was confiscated and locked in a cabinet. When
                                                            returned and found his laptop missing he began cursing at staff, damaging locked cabinets to get to his computer and eventually around midnight
  7                     8/30/2022
                                                         after repeatedly trying to break cabinets, he was able to break the cabinet and push security out of the way, took his laptop to his room and would not
                                                                                                                        have interaction with staff.



                                                           This incident involves two youth:                     , 17y, PMC, from                             , 17y, PMC, from RTC.           was pestering
                                                              after         clipped his toenails.        told him to stop or he would stab him.             continued to bother him, and           reached for his
  7                     8/28/2022
                                                          pocket, pulled out a knife and ran after                     went to his room and slammed the door shut. Staff and Security attempted to immediately
                                                          intervene, and a third staff contacted 911.         continued to try to get into the room with the knife before listening to staff and threw the knife on
                                                          his bed in the next bedroom. The knife was confiscated and locked up. When               realized his knife was gone, staff informed it where was and that
                                                             it would remain locked up he responded saying that it was fine, he had more knives hidden around the neighborhood and would get them. Staff
                                                             watched him walk to a neighboring building and he returned with a notebook. As he and staff were talking outside,               opened the notebook
                                                           which had a cut out and a small hatchet inside. He refused to give it to staff telling them they were disrespectful for taking his other knife today and
  7                     8/28/2022                         other staff previously. Eventually Marble Falls PD and Officer Matt Horner arrived and was informed of what had occurred. He talked to the boys and
                                                              was able to get         to give up the hatchet. A picture of the hatchet was taken, and it was locked up in the medicine cabinet. Officer Horner
                                                                                                                       provided incident #:22MF11050.




                                                            This incident involves 2 youth:                    , 17, PMC from Runaway;                    , 17y PMC from RTC. At approximately 3:15am,
                                                         began spraying Lysol in the house because he wanted to disinfect everything and make the house smell good.                   sprayed the Lysol on the dining
  7                     8/28/2022
                                                          room table, interior of both doors, fridge, freezer, and in the kitchen area.          was in the kitchen at the time and asked            to stop spraying
                                                           because he was allergic to Lemon Lysol.             continued to spray the house with the Lysol stating that it wasn’t the lemon scented one.
                                                         became aggravated with               and stepped outside to get air because the smell was bothering him.             propped the door open with the bench
                                                         belonging to the dining table. At 3:30,         was still outside. Worker Allyssa Hill stepped outside to ask          if was okay and if he believed he was
                                                         having an allergic reaction (noted outside of agitation he had no signs of reaction).           said yes and he needed EMS. 3:35am–Marble Falls EMS and
                                                          Fire assessed          on the front porch. EMS and Fire stated that           vitals were clear and that while he showed no signs of anaphylactic shock
                                                          or allergic reaction and they say no need to go to an emergency room.             stated he wanted to be taken to the hospital because he feared of his
  7                     8/28/2022                             throat closing overnight. 4:50am–          and Worker McAfee arrived back at the home.               was given Benadryl at the hospital at 4:23am.




                                                          On 08/31/2022,          left without permission on his bike. Upon his return, he was smoking and was agitated when staff told him to stop and would
                                                          not allow him in the home smoking. After being in the home a few minutes he demanded his items confiscated earlier that day to be returned. Staff
                                                           denied they would be returned as there were safety concerns along with several items that were not his items and were stolen.                 then began
                                                          pushing his way to the locked metal storage cabinet to get his items and was unable to be redirected by staff. Ultimately, he was able to get into the
                                                           locked cabinet by breaking it and taking out a large knife and lighter. Staff continued to try and get the items back from him and he refused stating
  7                     8/31/2022
                                                          that they were his and staff ‘cannot do anything’ to him. Staff contacted Killeen PD to assist in getting the knife back for safety. After contacting law
                                                          enforcement,          returned the knife to staff to be locked up.         also reported to the police that staff are stealing his personal items and KPD
                                                         asked if he wanted to press theft charges. Ultimately,         declined to press charges on DFPS staff for “stealing” his items which are noted to locked
                                                          up in metal cabinets. The items were as follows: 1.Laptop (Which is not his/stolen); 2.Hunting Knife; 3.Multiple lighters; 4.Cigarettes & Cigars; 5.Toy
                                                                                                Gun (which looks real); 6.Name Tags and IDs from unknown HEB Employee




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                                    was playing on the luggage rack when she fell backwards and hit the back of her head on the air conditioner at 5:30pm. She was fine and
                                                           proceeded to laugh. At 7:30pm she started complaining of pain on the back of her head, so I called the on-call PD Monica Mata and asked what she
                                                          would like me to do and Monica stated for me to call EMS and have             evaluated. EMS was called but they did not find reason to go to the hotel to
                                                               evaluate her and instead did a virtual evaluation, EMS stated that she will need to be observed for the rest of the night and if she experiences
                                                          dizziness, vomiting, or nausea to call back and she would be transported by EMS to the hospital.           went swimming at 9:00pm and at 10:00pm she
 08A                     8/1/2022                         got out of the pool complaining of an intense pain on the back of her head. I called Monica back and let her know that it would be best for         to go
                                                           to the hospital due to the intense pain that she was experiencing. I left at 10:00pm and the other caseworkers took over. Monica notified me after I
                                                         left that the on-call CWOP reserve would be taking          to the hospital. I called Ciara’s caseworker Jessica and notified her.     was taken to Baptist
                                                             Neighborhood Hospital, located at 8230 North 1604 West San Antonio TX 78249. Final Diagnosis: contusion of scalp, initial encounter. Additional
                                                            Diagnosis: Concussion without loss of consciousness, initial encounter. Treated by: Physician Davids MD Neil B. Follow up: contact PCP in 2-3 days,
                                                                                   unless feeling better. Prescription: ibuprofen 400 mg ORAL, every 6hrs. Zofram 4mg ORAL, every 4hrs.

                                                          CWOP staff and LE reported that         appeared lethargic and he admitted that he had taken some “bars.” LE reported that           had a lot of energy
                                                          early in the day and they became worried to see          as he was. EMS was called and when they arrived,         refused to allow them to assess him.
 08A                     8/7/2022                          Therefore, they left. Staff was advised to inventory his belongings and he refused and stated that he took the last “bar” that he had.        became
                                                               aggressive when staff attempted to inventory his belongings and reported that staff were “infringing on his rights.” His belongings were not
                                                                                                                                inventoried.

                                                            On Saturday August 6, 2022 16 yr. old                  went into the bathroom to take a shower, Investigator Lizbeth Starr and I were sitting on the
                                                           couch talking while          was taking a shower. Me (Dawn Polk) was sitting on one corner of the couch facing the bathroom door area and Lizbeth
                                                             Starr was on the opposite end of the couch with her back towards the bathroom door area, Lizbeth and I were facing each other as we sat on the
                                                             couch, about 2-3 minutes after                   walked into the bathroom I heard what I thought was the bathroom door sliding open and when I
  08A                    8/6/2022
                                                          looked up to see what the noise was I saw                   standing in the bathroom with the door cracked, the door was cracked open about 2ft wide
                                                           and          had his head sticking out, I could see        clearly in the mirror of the bathroom masturbating as he was standing with his head poked
                                                            out of the 2ft opening of the bathroom door. The bathroom mirror is a large mirror and anyone standing in front of that mirror can be clearly seen
                                                                                         when the light is on and when the door is open, I clearly saw               masturbating.


                                                                            went into the bathroom to take a shower at 6:19 PM. Maria Molina (HST) and I, Clara Garza were sitting on the couch. Maria and I
                                                            observed          looking at the mirror with the door open. I asked       to close the door when he is in the bathroom and he closed it. He began
                                                          looking out of the bathroom door and Maria and I observed him masturbating. Maria and I, Clara Garza got up from the couch and then             went
 08A                     8/7/2022
                                                           into the shower. When he got out of the shower and I heard the water turned off he continued the behavior and Maria and I, Clara Garza got up and
                                                          moved from the couch. I, Clara Garza contacted supervisor, Misty Fields and she told me to call her when he gets out of the bathroom. When
                                                                                  got out of the shower, I handed him the landline phone from the motel so he could talk to Misty Fields.

                                                            Caseworker called      to let her know that she was going to placement in Arkansas.      was adamant that she was not going to placement and
 08A                    8/16/2022                         told caseworker she was going to show her how. CWOP staff reported        went to the restroom and cut herself with an unknown piece of medal. LE
                                                                                  was called and it was decided for      to be emergency detained at the psychiatric hospital Clarity.

                                                          On August 1, 2022, a 9-1-1 call was made for Emergency Services to the Tru Hotel at about 7:32PM. Youth,                   was agitated and wanted to
                                                           hurt herself.       grabbed a clear plastic top from a Victoria Secret Body Spray and used the top to attempt to cut herself on her arms. There was
 11                      8/1/2022                             obvious redness to her skin. She kept voicing she wanted to die. Ambulance Services and Laredo Police Department responded to the call and
                                                           transported youth,                 to the hospital due to the crisis. A full assessment will be conducted at Laredo Medical Center. Caseworker Jesus
                                                                          Gallardo rode in the ambulance and took CWOP binder and medication back pack to the hospital to provide history.

                                                           9:00 pm lead Robert King came into room;                 grew upset and went to bathroom. Lead worker left and Jessica Sheffield replaced the lead
                                                          Robert King. Worker Lisa Olsen went to bathroom door and began trying to talk to           I heard what sounded like a plastic bag or object and noises
                                                         coming from the room. I text the shift group chat 9:04pm “Can an officer come to room 226 please” 9:04 pm “I need help in room 226 please” 9:05 pm
                                                            lead worker called, I quickly informed lead of situation 9:09 pm “Calling 911” Activated my Safe Signal and called 911 9:10 pm. Jessica Sheffield, a
 06B                     8/6/2022
                                                           worker came into the room and when          opened the door, she reported         had a shower curtain tied around her neck. I was on the phone with
                                                           911 and did not visibly see       The two on duty officers arrived in the room at approximately 9:22 pm and 911 call was ended. Shenandoah police
                                                            officer arrived, and lead went to meet the EMS drivers. EMS arrived and         was transported to Memorial Herman. Worker rode with          at her
                                                                                                                                   request.

                                                         Mental Health responded by phone. Staff-Jacob Rodriguez and Jalibys Cruz.            said he wants to be referred as “she” and called “            indicated
                                                           to staff that he did not want to be at hotel and wanted to go to Intracare North. Her Caseworker attempted to speak to her, but she asked to be left
                                                            alone. The other worker, Ms. Cruz, indicated that she had spoken to the lead and that she had heard        make a reference to suicide. At this point,
                                                         Jacob called Tri-County Mental Health Services at 6:35pm and they indicated that they would have to call back as they did not make site visits and they
 06B                    8/21/2022
                                                            would advise. Colleen called back at 7:06pm and asked that he be brought to their facility in Conroe for an in-person assessment.         at this point
                                                           began saying she did not want to go anywhere but was taken to be assessed. Within about five minutes at the facility, Colleen came out and stated
                                                                 did not meet the criteria for admission to a mental health hospital in the area.    was met by the 8pm staff at the facility, but his caseworker
                                                                                                                drove him back to the hotel in Shenendoah.




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                                                            At around 10:00 we left the room so that housekeeping could clean the room. While downstairs,               dumped out the cigarette disposal that was
                                                          outside and began to pick up cigarettes, light them with a teal-colored lighter, and smoke them. The worker contacted Officer Trea who came and sat
                                                         outside with them since          stated that she was going to run away. When the officer arrived, he stated that a similar situation happened during the
                                                         previous shift. The worker and Officer explained multiple times the dangers associated with smoking cigarette from the ground, viruses, bacteria, bug,
                                                            and animal waste.        continued to pick up the cigarette butts from the ground, light, and smoke them.             would crouch down with her back
                                                            turned to the worker as she lit the cigarettes and then deny having a lighter.         smoked about 5 cigarette butts. The officer asked for the lighter
                                                          but        denied having one. The worker contacted the Day Shift Supervisor by phone and email. She was advised to advise                 of the health risks.
                                                          We continued to sit outside until around 11:30. We came back upstairs to the room.              stated that she needed to go to the rest room. The worker
                                                            stated that she cannot smoke in the room.          went into the restroom, turned on the water, sat on the toilet with her pants down, and began to
                                                           smoke. The worker and the officer smelled the smoke and saw the light from the lighter. Despite multiple requests from the worker and the officer,
 06B                    8/22/2022
                                                                 would not stop smoking. The worker contacted the Supervisor by phone who stated that she would come to hotel.                   flushed the toilet and
                                                         came out of the restroom at around 11:50.           sat on the couch beside the worker and was quiet. The hotel manager came to the room and asked if
                                                         someone smoked in the room. The worker stated that unfortunately                did in the restroom. The manager reminded the worker that it was smoke-
                                                           free room. The worker stated that she was on the phone with the supervisor determining how to address the situation and that she would keep him
                                                          updated. The worker asked           if there was any family, friends, previous placements that she would like to be placed with.           just shrugged her
                                                         shoulders. She sat on the couch wrapped in a blanket and quiet. Officer Trea remained in the room.              had a flat affect. She had an affect like what
                                                           the worker would describe as being under the influence of a substance.             was unable to give her birthday, where she lived prior to the hotel, or
                                                          the name of any family members. At one point she changed shoes and then later argues that the original shoes were not hers and that she has never
                                                          worn them. She would start to braid her hair and then stop, look off dazed, and then decide not to braid her hair, and then start again like she hadn’t
                                                                                                                                 done it before.



                                                            APS worker Leticia Winbush was sitting in the lobby of the hotel with      while he was listing to music.        then asked worker to buy him candy
                                                          and the worker denied nicely.        became upset and said that’s why he wants to kill himself.        informed him don’t make those kinds of threats
                                                             if he doesn’t mean because he not getting his way because she will call for him some help if he feels like that. Brian then walked out the building
                                                           towards 45 freeway at 8:05PM. Worker called his name several times to come back in the room and he ran across the street. Worker recorded
                                                         and kept asking him to come back. Worker told him to come back and he kept walking towards ongoing traffic on the side in the grass then decided to
 06B                    8/23/2022
                                                           run back across the street while cars was coming. He started walking next door and wouldn’t come back. Worker spoke with Lead Kisha Douglas and
                                                         she informed her to call 911 .911 called 8:17PM, Law Enforcement arrived and          came from around the building after being gone 20-30 min around
                                                           8:13PM,. Officer J. Genovesi spoke with Brian and he denied wanting to harm himself and others and spoke with             to not run off because he not
                                                            getting his way and for him to go his room and lay down. She did provided any documentation of a police report. At 8:37PM            came back to the
                                                                                room and laid down and Sargent straight came and set in the room the remains of the shift.          is sleeping


                                                           CPS worker Rosalind McCray and APS worker Leticia Winbush was sitting in the hotel room 104 with                             was in the sleeping area of
                                                         the room.         began to go through her things and running the water in the bathroom. She closed the room door and staff ask her if she would leave
                                                           the door cracked. After officer Stanford check in at room 104 at 6:43pm            appeared to be agitated. She began to shout and said not to say that
                                                             name.         began moving around the room and sorting through her things. Staff asked Julicia is she wanted Mac & Cheese dinner provided for
                                                           tonight        replied NO!         asked staff if she could have pizza Staff shared with her that pizza was not available tonight. Worker Faith brought
                                                                water, Ravioli, popcorn and some snacks. At 8:01pm             came out of the sleeping area with blue backpack and a black/gray duffel bag. Staff
                                                            Rosalind was sitting by the door and tried to intervene and talked           out of leaving the hotel.      pushed pass Rosalind and went down the
 06B                    8/25/2022
                                                          hallway at a fast pace. Staff kept asking her to come back. Staff followed her down the hallway and out the hotel trying to talk to her.         shouted
                                                          that she didn’t want to talk. Staff reported to Lead Gabrielle Duffy and Law enforcement was called.           walked out to the service road and sat on
                                                          the curve.        began to pace back and forth she then headed north on the south bound service road. About 3mins later she was heading south on
                                                           the south bound service lane. Staff called her name several times to come back to the hotel. Law Enforcement arrived around 8:14pm worker gave
                                                           them information including what she was wearing (burgundy sweater, that was about to knees, shorts and a tee shirt, black slides on her feet. Law
                                                             Enforcement left immediately to search for her. Law Enforcement did provided any documentation of a police report. At 9:17pm                has not
                                                                                                                                   returned.




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Region   Child Name   Date of Incident      Location                                                                          Description

                                                           CWOP supervisor Chris Vien was contacted by lead worker Charnyce Thompson for the 8am-2pm shift today, to let me know that Davin had pushed
                                                         and shoved caseworker Nicole Adams in his efforts to get out of his room without permission. Staff were instructed by CWOP supervisor to sit in front
                                                         of the door of the hotel room to serve as a barrier to Davin continually escaping his room and roaming around the hotel etc. Caseworker Nicole Adams
                                                           was sitting in front of the door this morning. Worker Nicole Adams stated that Davin began touching her computer and her and telling her to move
                                                         because staff are holding him hostage and then he began trying to pull her arm get her out of the chair and the other worker. Alexus McClenndon was
                                                         trying to redirect Davin’s his behavior along with Nicole when redirection did not work and caseworker Nicole was not moving Davin then acted like he
 06B                    8/28/2022                          was going to go out the window to get outside however he did not. Davin approached caseworker Nicole Adams again and was tapping on her head
                                                            and pulling on her to get out of his way so he could get out of the door and Davin was not responding to any efforts of redirection. Davin got past
                                                          caseworker Nicole Adams and got out of the room and was in a conference room when the on-duty officer responded to try to de-escalate Davin and
                                                           his behavior. Pearland police were called and took a report from caseworker Nicole Adams about the events that transpired. Davin was arrested for
                                                            assault be physical contact. Caseworker Nicole Adams reports she has no injuries that were sustained in the incident and that it all occurred very
                                                          quickly. This incident happened at 9:45am this Sunday morning 8/28/2022. The case # is 22-008591 Assault by physical contact the charges were not
                                                                                                  accepted and Davin is being returned to CWOP as of 12:03pm. Thank you,


                                                         Youth Tiana Dupree informed floater, Stephanie Helton, that she was feeling depressed and suicidal at 7:39 PM. Stephanie notified the lead worker at
                                                          7:45 PM that Tiana reported to feel suicidal and requested to go to the hospital. Admin Phylicia Singleton was the worker assigned to Tiana. Phylicia
                                                            contacted the mobile crisis hotline. The mobile crisis rep instructed to have Tiana taken to the nearest ER to be evaluated. CWOP supervisor was
                                                          notified and Tiana was taken to HCA hospital by worker Stephanie Helton. When Tiana arrived at the hospital, she was asked to change into a paper
                                                         gown to be evaluated, but she refused. Tiana then requested to leave the hospital. Officers at the hospital tried talking to Tiana to ask her to comply.
 06B                    8/24/2022
                                                              Tiana was informed that if she didn’t comply, she would have to be sedated. Tiana refused to change into a paper gown and refused medical
                                                          treatment. At this point, the CWOP supervisor was contacted. Stephanie Helton informed Lead worker and CWOP supervisor that per the hospital, it
                                                         was up to the guardian to determine whether or not Tiana had to stay and be evaluated. CWOP supervisor instructed staff to take Tiana to West Oaks
                                                         Hospital to be evaluated. Tiana was transported to West oaks by Stephanie Helton. Next shift staff was contacted and instructed to meet Stephanie at
                                                                                                                             West oaks Hospital.

                                                         Since the start of the shift        was distant and not happy. We tried to engage her by going for a walk, watch a movie or different things. When we
                                                            came back to the room, she spent time in the bathroom and was checked on every 10 mins. She came out of the room and went towards the staff
                                                         room. She was just walking around and found the safe unlocked and grabbed her meds. The case worker tried to grab them back from her and she had
 08A                     8/4/2022                          taken one bottle and put them in her mouth the officer was called to assist. She was able to talk to           and she spit them all out and there was
                                                          nothing left in her mouth. It was her guanfacine. The pills were put back in the bottle. The officer was writing with her and          said she would be
                                                             happy if she got Ice cream. The worker and contractor took            though the drive through for Dairy Queen an got her a blizzard. She happily
                                                                                                              returned to the room and helped pick a movie.




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Region   Child Name   Date of Incident      Location                                                                              Description


                                                         On August 4, 2022, caseworker, Morgan Shields arrived at the Holiday Inn Express in Greenville, TX that houses                  at approximately 6:40 p.m.
                                                          Caseworker read her child watch documentation logs, regarding an issue where she locked the doctors out of the room. When caseworker, Morgan
                                                         Shields knocked on the door and was allowed entry. A caseworker observed pieces of trash on the bedroom carpet floor.                was sitting on her bed
                                                              and all of belongings were spread all over her bed.         appeared angry, caseworker Shields attempted to engage with her, but she appeared
                                                          agitated. Caseworker Shields introduced herself to the shift workers, they informed me that there was an incident today regarding              with staff.
                                                                 had locked the shift workers out of the room.           was getting agitated even more, she made statements regarding doing what she wanted to
                                                             do, etc. She stated she did not like the officer, Lonnie Hider, and would hurt him. She decided, she wanted to read her bible and read the “Lord's
                                                             Prayer”. She seemed to have calmed down but was upset that her bible was different then her other bibles she's read.             was encouraged to
                                                             choose positive behavior, but she stated she didn’t care too.          got up and went to grab a bowl of cereal and started eating in her bed.
                                                            proceeded to throw the cereal out of the container. She proceeded to destroy her papers and her other belongings. Morgan Shields instructed the
                                                         shift workers to pack their belongings and leave the room. Officer Hider was sitting next to the door,          continued to get upset with the officer and
                                                              making verbal threats towards him stating, leave me alone with your stupid self” , “you smell”, “I'll hit you with my brush” and “ill beat his ass”.
  3                      8/4/2022                            Morgan Shields attempted to redirect            by making better choices and not speaking to the officer. She then proceeded to throw items in his
                                                         direction. Morgan Shields instructed the officer to leave the room, as           negative behavior was geared towards him. When he left the room,
                                                         proceeded to destroy her own items and threw personal items (shampoo bottle, pencils, papers) at the door area. She tore up her food in the room by
                                                               opening the packages and emptying the contents of the product. Morgan Shields did not engage in any negative communication with
                                                           Caseworker was able to speak to her about her actions and convinced her to go outside. At 8:43 p.m., we walked outside and sat on the bench, and
                                                          we discussed the bunnies in the area. We walked around the hotel a few times and was able to locate a bunny.              was very happy to see one and
                                                         discussed wanting to get one. The other shift worker, Tanner Berogan came around the hotel and walked with us as well. We walked back to the hotel
                                                          room and caseworker Tanner Berogan was using the restroom.                 was convinced she needed to clean her bedroom, so she agreed to do so. She
                                                         didn't want caseworkers to see her room like that.            took approximately 40 minutes to clean up the room area. The officer, Lonnie, was able to sit
                                                           in the room, but         was not happy with him.           appeared to be less agitated. The primary worker, Stephanie Filing was contacted to call the
                                                             Crisi line, due to worker, Morgan Shields dealing with youth,               . The CRISIS mobile hotline was contacted at 8:35 p.m., they stated they
                                                          would come out to do an evaluation on her. They will setup an appointment with metro care for medication management and see If she qualifiers for
                                                                                             IDD services. They reported contacting 911, should issues arise with youth,




                                                         When CW Vasquez arrived at the beginning of the shift,              was up and throwing objects around both rooms. CW Vasquez was told by previous shift
                                                         lead, CW Pena, that          had refused his medication and if he refused them it is not going to look good. CW Pena explained he already spoke with on-
                                                           call PD about it and they are attempting to find new placement for Justin. CW Vasquez and contractor, Christina Norris, attempted to assist                  in
                                                              changing his diaper.        had wet the bed and had feces in his diaper that CW Vasquez, Ms. Norris, and the officer could see and smell.
                                                           continued to run around both rooms and pick up objects to throw around. CW Vasquez and Ms. Norris were able to lead Justin to his main bedroom
                                                         and block all doors. The officer was in the room with CW Vasquez and Ms. Norris.                then went to the sink, turned it on, and was spraying water all
                                                            over the restroom area. CW Vasquez attempted to get Justin to turn off the sink verbally, but he did not. CW Vasquez then reached to turn off the
                                                          sink, but         would shove CW Vasquez.          stated he wanted to take a bath but could not due to him locking the restroom door during previous
                                                          shift. CW Vasquez asked Ms. Norris to call maintenance again to ask how long they will be. After                turned off the sink, he started to roll around in
                                                            his sheets that were soaked with urine and were on the floor.            then moved to the bed where Ms. Norris and the officer both observed
                                                          stick his hand in his diaper and gather some of his feces. Ms. Norris and the officer both stated to Justin he needs to stop, and Ms. Norris got a Clorox
                                                           wipe for him.         was attempting to stick his finger, that had feces on it, in his mouth. It is at this point the officer excused himself to the officer’s
 08A                    8/13/2022                        room. The officer came back to the room briefly to tell CW Vasquez and Ms. Norris that he spoke with his supervisor and they agreed they are going to
                                                         ED him. The officer stated when Justin attempted to eat his own feces, he become a danger to himself for health reasons. CW Vasquez then called the
                                                          non-emergency number to SAPD. CW Vasquez called on-call PD, to let them know that is happening with                      While waiting for the officer to come,
                                                                 began to rub his feces on the mattress.         again sat on the urine-soaked sheets and began to peel at this diaper and attempt to eat the lining
                                                          of his diaper and feces again. CW Vasquez and Ms. Norris were able to help              changed into new clothing and his diaper.            began eating food
                                                            off the floor that he had thrown and crushed with his shoes. CW Vasquez and Ms. Norris attempted to clean up the room, but                     would throw
                                                           more food on the floor. The officer arrived at approx. 3:00 PM. The officer put            in handcuffs and escorted him out of the building. CW Vasquez
                                                         followed both officers to Clarity. Follow up from the RD: Here is some additional information regarding Justin being handcuffed. The officer handcuffed
                                                                   because they could not stop the erratic behavior and he was eating the lining of his diaper and trying to eat his own feces. The staff tried to
                                                           verbally deescalate him but could not without physically putting his hands on him; they did not put their hand on him, the officer instead handcuffed
                                                          while the on-duty officer made the site to ED         Justin is also a runner and is autistic, if he ran out of the room or out the hotel, he could have been
                                                            hurt. That is the reason he came into care because he crawled out the window of his moms’ house and was found wandering in a county road. The
                                                                                                 officer doing CWOP security handcuffed to stop him from eating his feces.




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                          Upon arrival of my 08/25/2022, 12AM-4AM shift I was informed by the officer on duty that he searched                 room and items since she ran away.
                                                          The officer found illegal narcotic which the officer stated was crystal meth. Staff was directed by the officer to contact the non-emergency police to
 08A                    8/25/2022
                                                         confiscate the drugs. Staff did contact the non-emergency police and they arrived to the room and confiscated the drugs. SAPD Incident number: 2022-
                                                           1110553. Staff contacted the on-call PD and informed of the situation as well. Staff sent a picture of the illegal substance to the on-call PD as well.




                                                           Upon arrival to 4AM-8AM shift youth was sitting next to staff. Prior shift staff 12am-4am informed me that               had self-harmed during the 8pm-
                                                           12am shift. Prior staff stated that they wrapped her arm during her shift. There were bloody towels outside the hotel room. During the shift
                                                              went into the bathroom for several minutes. Staff knocked on the door and asked               if she was okay, and she replied yes. After a few more
                                                          minutes Caseworker Daymai Coronado knocked on the bathroom door and told                     to come out of the bathroom. Other staff completed a check
                                                             of the bathroom and it was found that Victoria was using fake nails to inflict cuts on her forearm. Staff removed the fake nails. Caseworker Daymai
                                                             Coronado explained to            that her cuts were bleeding and that CW would call EMS to have them assess her wounds.                 said she did not
                                                          want to go to the hospital. Caseworker explained that EMS would be call nonetheless and that it would be best if she was compliant.                  agreed.
                                                          EMS showed up and her wounds were assessed and determines not to be life threatening. EMS changed her bandage. EMS fire department informed
                                                             Caseworker that Policy Department would need to be called and have her emergency detained and taken into the hospital. Caseworker informed
                                                                     that we would have to have her go to the hospital and have her assessed by a mental health provider.               said she did not need to go to
                                                               the hospital. Caseworkers explained that we were not mental health experts and because she was self-harming it would be best to have her be
                                                         assessed by the hospital staff.            became angry and stated she felt like throwing things. She then got up and started pacing back and forth in the
 08A                    8/24/2022
                                                              room and covered her ears.            then started throwing items around the room and became disruptive. She then tried to pull one of the hotel
                                                           lamps off the wall. Staff tried to de-escalate, and Victoria appeared receptive to some feedback and redirection. She sat down for a while and stayed
                                                          silent.          then stood up again and tried to open the window and push the mesh out. She tried to climb on the window and staff and police office
                                                            on site stopped her. She then sat on the window ledge and pushed the air conditioner plastic part with her feet and then tried to pull it out with her
                                                              hands. Police officer instructed her to stop her behavior or she would be placed in handcuffs.            did not appear to be de-escalating and she
                                                            continued to look for various items to throw or self-harm. She stated she should have kept it a secret. Police Office Charles #45 showed up on scene
                                                           and knocked on the door. He tried to reason and de-escalate Victoria. She spoke with him. Police officer then spoke with Caseworker and went back
                                                         into the room and explained to              that she would need to go with him and be emergency detained because she was a threat to herself or others.
                                                                    refused arrest and battle with the officers. They were able to quickly place her on handcuff and another officer that had just arrived to replace
                                                          the CWOP officer spoke to her calmly and told her that it was going to be okay and to just breath.              was crying. Staff reassured her and told her
                                                              to take deep breaths and that she would be okay and get some help. Caseworker walked with                  and officer to the patrol car and obtained
                                                                information about her transport and case number.            was transported to San Antonio Behavioral Hospital. Her case # is SAPD 22182812.




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Region   Child Name   Date of Incident      Location                                                                            Description


                                                         This incident involves 2 youth:                    , 17y, PMC, from Psych.                      , 17y, PMC, from Runaway. The girls were in their bedroom
                                                          doing their makeup and were checked up on every 5-10 minutes to ensure they were still in their rooms. At one point they turned up their music very
                                                           loudly, and then a few minutes later we went to check on them and both               and        were gone. Staff left the building to look down the street
                                                          and saw         and         about a block away carrying several bags. We yelled after them to return home and they did not respond and kept moving.
  7                      9/4/2022                            As staff on shift were contacting Belton Police to Report them as runaways, it began to rain, and the girls returned home and stated they “forgot
                                                          something” and would be leaving again. They were dropped off by a red pick-up truck, and the security officer on duty captured a photo of the license
                                                            plate (was provided to police). We told them to stay inside and not to leave, stating that the storm was going to get worse. They did not respond. A
                                                              few minutes later          and       came out from their room, and            was holding a cup that smelled strongly of alcohol. We then had the
                                                         caseworker on duty and security officer search their room, and they discovered and empty bottle of liquor and two Four Loko drinks. It was when that
                                                            we suspected that the girls had been carrying the bags in order to sneak the alcohol into the house- presumably purchased by the driver of the red
                                                            truck. The drinks were confiscated and placed in the locked medicine cabinet and then poured out, but it was clear that                and     had been
                                                         drinking as they were slurring their speech, stumbling, and smelled of alcohol. After the liquor was confiscated,                    and the workers were in
                                                         the living room. It was then that Jayla leaned down to whisper in the staff members ear “I’m going to kill myself tonight. I’m going to slit my throat and
                                                         sacrifice myself to Satan. That sounds like fun, doesn’t it?”. Because of the suicidal threats made by         staff feared she would take medications and
                                                             overdose on purpose. Due to this fear, staff barricaded the doorway with her body as they were trying to get back to their room from the kitchen
                                                           (where the medicine cabinet is). It was then that Jayla reached up with her hand and grabbed the staff members neck (around throat). The staff told
                                                               her not to touch me, and she removed her hand and laughed saying she was “just kidding”. At this point a worker was standing in front of the
                                                             medicine cabinet to prevent anyone from taking medications from the cabinet while the lock was being repaired. As all of this was happening, the
  7                      9/4/2022                           Police were called and arriving on scene. Due to the suicidal threats made Jayla was detained and transported to McLane’s Hospital in Temple for a
                                                             mental health evaluation.          was searched, but did not have anything on her person, and then received a citation for Minor in Consumption.
                                                                   then complained about feeling very sick, and Emergency Medical Services was called on her behalf. They did not discover anything other than
                                                          alcohol consumption that could be the cause of            feeling unwell. Shortly after evaluation at the hospital,       was released stating that she was
                                                                                      not a danger to herself or others and her verbal suicide threats were attention seeking behavior.




                                                         At 3:30              therapist came and seen her and she had 10 minutes before her session ended she returned inside and her therapist stated she was
                                                          going to walk her upstairs and they would talk privately. I advised her therapist she’s been trying to get to              room, and she can’t be there. The
                                                           therapist said okay, and she would bring her too me. She got in the elevator with her therapist and went to level two and ran to                room. The
                                                            therapist yelled downstairs to staff and staff went to the second level, staff at           door and CW Kelsey asked Brooklyn repeatedly to go to her
                                                           room and she would not listen ,               stated she needed some chocolate out of             room. Therapist intervened and asked              to talk
                                                         and             continued to be verbally combative with CW Kelsey. CW Christi closed the door and Brooklyn asked the therapist to talk and she said she
                                                         needed to stop being hostile, Brooklyn told CW Kelsey that she needed to leave, CW told her she could go to therapist and she’d wait at the room. On
                                                          the way to elevator              got mad at therapist pressed the elevator button for therapist and ran to stairs CW followed her she ran to the room as
                                                          she ran in, she slammed the door and locked it in CW face. Caseworker knocked and asked                     to please open the door, she said No. CW asked
                                                                    if she was doing any self-harm and                said no. Caseworker expressed it was better to talk about how she felt because she had a bunch
 06B                     9/5/2022                        of misplaced anger and the staff didn’t do anything to her. She started crying and said I was right, I asked her to open the door and she did. When then
                                                             went to the hallway to talk.           disclosed that she is angry about a lot of things. She is depressed, she is angry, and she is just mad. She also
                                                           stated it is just easier to be upset than it is to listen to anybody which is why she’s been acting the way she has. She said that it’s hard to talk about
                                                          things to people. CW advised her to write her feelings out and if she has someone safe to talk to discuss her feelings with them. I also expressed she
                                                            has a therapist and she is here to help her as well. We are all here to help her.            stated she was sorry, and she would do better. We walked
                                                             back to the hotel room and she sat down and talked with                          asked           if she did any self-harm and           was hesitant to
                                                           answer, staff intervened and told her she needed to say something if she did because she told staff she didn’t. She told               go to the bathroom
                                                           and staff followed them and she then showed staff the cut on her lower right arm. We called the proper channels to get the next steps on what we
                                                         should do as the cuts were superficial and the child was calmed. I then called the therapist, because she asked me to call in case we had any problems
                                                           and she recommended Brooklyn be placed in a psych hospital due to her disclosing she would runaway later, her hostile behavior towards staff, and
                                                                         her intentional self-harm. At 5:40 CW got permission to take              to West Oaks and we proceeded to go to west oaks.




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                                   started the shift playing loud music. She eventually went to sleep around 9:30.            woke up at 11:29PM.               became oppositional
                                                             at 12:03 AM when she was asked by staff and law enforcement to turn down her television as it was loud.                 showered approximately 20
                                                             minutes later and stated she needed to talk to lead.           reported to lead at 12:55 AM, she has intrusive thoughts and no suicidal ideations.
                                                              Supervisor Carranza was notified at 12:56AM. Lead contacted mental health line immediately. During the screening,                  stated she was
                                                              unaware/unsure if she wants to harm herself at this time.            denied homicidal ideations. Upon being asked about drug and alcohol use,
                                                                     reported she was “on everything” during her most recent runaway status. Per Elizabeth she consumed alcohol, marijuana, cocaine, meth,
 06B                     9/6/2022                          and nicotine while she was gone.            reported her last date of use on September 1, 2022.             then admitted to being hurt but would not
                                                         indicate by who or how. The mental health representative requested that                be transported to the Psychiatric Emergency Treatment Center/Tri
                                                         County in Conroe, TX. This information was subsequently communicated to the supervisor. At 1:23 AM, lead received call from mental health line who
                                                          informed            needs to be transported to TX Children’s due to the drugs she admitted to as they need to determine what, if any drugs, remain in
                                                            her system and the amount. They also want to determine if              is pregnant as placement requires all of the information beforehand. Per the
                                                           representative, a telehealth assessment can be completed once               is screened at the hospital and Tri County is activated. The supervisor was
                                                                                                                                  notified.


                                                          I, Alexandra Stewart arrived at the CWOP location (Candlewood Suites) at 5PM. Caylah Brooks (Temp), Kayla Davis (Caseworker), and
                                                          (child) were all sitting in the lobby. I greeted       and noticed that he had a 1inch gash on the left side of his cheek. I     Joseph what happened
                                                          and Caylah Brooks (temp) informed me that during the daywatch shift,                threw a glass cup at          face which caused the gash.       did
                                                         inform me and his staff that he wanted to press charges. I contacted the on-call supervisor, Nickolas Clark and informed him of what had transpired. A
 06B                     9/7/2022
                                                          picture of            injury was taken and sent to Nickolas. I informed Mr. Clark that Joseph wanted to press charges. I contacted Pearland Police Dept
                                                          non-emergency line. I was transferred to dispatch. EMS and Law enforcement was dispatched out to our location. EMS arrived and assessed
                                                            They cleaned his wound and put a band aid over the wound.             was asked if he was hurt anywhere else and he stated he wasn’t.          and I
                                                                                         wrote a written statement and provided it to the police.          was arrested for the injury.

                                                         On 9/7/2022, about 11:15PM, Caseworker Mendez informed Supervisor Burger that                          returned from runaway and was at the hotel.
                                                            Caseworker Mendez stated              appeared to be high, and he reported he had smoked marijuana. Supervisor Burger requested Caseworker
                                                            Mendez to call for EMS to assess him to ensure he is stable. Caseworker Mendez informed Supervisor Burger she called, and Corpus Christi Police
 11                      9/7/2022
                                                          Department stated they would send an officer. It was reported             was stable and was high from marijuana. Law enforcement did a pat down
                                                         of          to ensure there were no drug paraphernalia on his person; it was reported there was none. Law enforcement          Alexander would be
                                                                                                                 okay and would most likely sleep it off.

                                                           Caseworker Perez called Supervisor Burger to inform her            sounded wheezy and was continuing to cough. She stated she talked to the previous
                                                            worker, who stated           had a history of asthma and seizures. Supervisor Burger advised Caseworker Perez to go ahead and call for EMS to come
                                                         evaluate. Caseworker Perez advised that EMS was administering a breathing treatment;                 other vitals were stable. Caseworker Perez stated EMS
                                                           was going to        Kasia via ambulance to Driscoll for further evaluation due to the asthma attack. Caseworker Perez stated she was going to ride in
                                                         the ambulance with             while the contractor followed in her car. Supervisor Burger notified on call PD Gloria Almanza of the events regarding
                                                          Supervisor Burger stated she was routing Child Without Placement (CWOP) staff to Driscoll for              as opposed to bringing in on call.     was seen
 11                      9/7/2022                          by Julie Willis FNP. Julie reported that         lungs were clear and that her throat appeared to be fine. She did not feel the need to have a strep test
                                                           done. Caseworker Rios advised the doctor that Kasia was given 2 puffs of Proair at 7:20PM. The doctor advised that 2 puffs is not enough for a child
                                                          this age. While at the hospital,         was given 6 puffs of albuterol. The inhaler used was given to Caseworker Rios to take with us.       is to inhale 4
                                                         puffs into the lungs every 4 hours as needed for wheezing, shortness of breath, cough. There are 54 puffs left in that inhaler. A spacer was provided as
                                                            well. Caseworker Rios was advised that the spacer should be used each time the inhaler is used. The spacer allows for the albuterol to travel to her
                                                          lungs. When used without the spacer, the medicine will not make its way to the lungs where she needs it most.               was discharged on 9/8/2022 at
                                                                                                                                     12:30AM.


                                                            On 9/9/22, around 2PM,          was in her bedroom. Staff was notified by the other kids in the room that       needed help.       was observed
                                                           passed out, on her back on the floor. 911 was called.      initially seemed as though she was unresponsive but began to open her eyes.         was
                                                         slightly bleeding from her nose, and had coughed up a small amount of blood due to her laying on her back with a nosebleed. The other children were
                                                          asked what         was doing right before she passed out, but they only described her to have been having a “panic attack.” EMS arrived on scene and
  7                      9/9/2022
                                                          the other child eventually came clean and informed staff and EMS, that         had used a hidden vape too hard, about “10-17 times.” The other child
                                                           noted that there were not drugs in the vape. EMS medically cleared         and noted all her vitals and responses were normal.       did not report
                                                         any pain on her body. EMS had no concerns for a narcotics, and left the scene within minutes and determined a trip to the hospital was not warranted.
                                                                reported feeling fine within minutes of coming to and EMS leaving the residence. The vape was confiscated and discarded of after the incident.




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Region   Child Name   Date of Incident      Location                                                                             Description
                                                         Workers Sarah Allen and Kili Prince were assigned day watch to                  He refused school today, he woke for breakfast around 7:30AM, then
                                                          returned to his room at 8AM. He stayed asleep until 10AM, then started to look out of the window. Around 10:15AM,           opened the window to
                                                          his room and slowly maneuvered both legs and his head, to where he was hanging outside, looking like he wanted to jump. Officer Trey was alerted
 06B                    9/13/2022                          and LE and workers attempted to verball redirect him to come back inside the room for approximately 10 minutes before calling 911. 911 was then
                                                           called and officers, EMS responded, and 3 officers had to pull     off of the window and he was briefly handcuffed due to resisting. He was then
                                                         transported via ambulance to TCH-Woodlands and is currently in room 14. Incident report from Montgomery County Constable is 22D041373, Officer
                                                                                                                              Crabtree.
                                                         11:30         left the room without authorization. He stated that he just lost someone and needed some space. 11:42–               told the caseworkers he
                                                             does not need to follow and procced to sit on a bench outside. 11:51-          was taken into custody by DPD under the case #162024-2022. The
 03E                     9/6/2022
                                                           officer’s names and badge numbers are as follows: J. Oates 10224 and Muler 1066. Please see previous incident report for the reasons              was
                                                                                   taken into custody for terroristic threats to the caseworker assigned to his room on the previous shift.

                                                                reported that she felt her glucose levels were elevated at the beginning of shift. Caseworker attempted to have          check her level however,
                                                         there were no strips in the room in order to check glucose level. Caseworker contacted on-call supervisor Rachel Martinez. She advised she would get
                                                          in contact with her PD for further instruction. Rachel advised caseworker to transport        to Urgent Care. Upon arrival at Urgent Care Caseworker
                                                         was notified by staff that they are not equipped to treat high glucose and referred for        to be treated at a hospital. Caseworker contacted Rachel
  8                     9/10/2022                        advised of issue at Urgent Care, Rachel advised for         to be transported to Methodist children’s hospital.       was treated Methodist Children’s
                                                           Hospital for high glucose. At the hospital Andre admitted to hospital staff that she had attempted to hurt herself earlier that morning. Caseworker
                                                          notified Rachel obtained photo of Andres left forearm and sent to Rachel via text message. Blood and urine samples were obtained from Andre. EKG
                                                         was performed prior to her being discharged. Contact was made with an Endocrinologist in order to adjust insulin orders.           was discharged from
                                                                                                Methodist Children’s Hospital with adjustments made to her insulin intake.

                                                                     was released to CPS custody on Deferred Adjudication with 6-month probation period on 9/7/22 at about 11:30AM. She was provided with
                                                          her property from the Harris County Juvenile Detention instead of to this worker, Karina Cruz.              did not share she had a cell phone; this worker
                                                          purposely went through all her belongings and sorted them out but no cell phone was found. Evidently                  had hidden the cell phone.            is
                                                         aware that because of her runaway history and endangering behaviors she is not allowed to have a cell phone; her CASA, Allyson Buckner, has made it
                                                            clear not to approve of          having a cell phone. On top of the new policy that has recently became effective that no CWOP youth is allowed to
                                                           have a cell phone. At about 3:37PM worker, Karina Cruz, went to check on Jazmine and noticed she was in an odd position with her blanket and this
                                                           worker took the blanket off the bed and there was nothing.                came out about 20 minutes later trying to excuse her odd position saying that’s
                                                         how she slept and had been surprised by this worker opening the door. She proceeded to ask about when the CWOP staff would arrive and what time
                                                         shifts change; this worker let her know shift would change at 6PM. Then she went on to say how she was bored and had nothing to do and this worker
                                                         suggested she go take a nap if that’s what she was doing earlier or watch TV instead of listening to music on the TV. Before she went back to her room
                                                             this worker went over the CWOP Rules and                signed on the bottom of the document. She then went back to her room. At 6:05PM worker,
                                                           Karina Cruz, made her way to the bedroom to let                know one of the staff for CWOP had arrived when worker caught              on a cell phone.
                                                         Worker, Karina Cruz, requested Jazmine hand over the cell phone and she refused. Jazmine put it under the covers and this worker was able to grab it.
                                                                    then tried to snatch the phone from this worker’s hands, but worker did not release the phone to her.               became extremely upset and
                                                         began screaming and yelling “Bitch give me my phone” “Bitch that shit is mine” while pushing this worker away from the door; worker Cruz kept trying
 06A                     9/7/2022
                                                          to keep           away. Jazmine grabbed a hold of this workers arms and worker Cruz put her arms on                   shoulders to keep her from attacking
                                                         her. Jazmine then blocked the door saying “Bitch ain’t nobody leaving this hoe, we can starve here but I will get my phone back” worker attempted to
                                                         de-escalate the situation by explaining to             about the new policy that was effective and that its for all CWOP youth not just her but she needs to
                                                          understand that people around her need to be able to trust her in order for her to get things that she would like to have.              was not listening to
                                                          anything this worker was saying. Worker, Karina Cruz, kept attempting to open the room door and give                   space to calm down but she refused
                                                         to move.            kept grabbing worker Cruz’s arms trying to attack and worker Cruz kept trying to get              away and had her at arm’s length with
                                                         hand on shoulders. The CWOP worker, Helen Gamboa, that had arrived, knocked on the bedroom door and this distracted                       enough for worker,
                                                             Karina Cruz, to open the door. Worker Cruz immediately told worker Gamboa to call the cops.                 became even more upset and was coming
                                                           towards worker Cruz; worker Cruz pushed                 away, trying to get        away. In the hallway between the room and living room once worker
                                                          Cruz got away from              she dropped this worker by grabbing her foot this worker grabbed               as worker was trying to reach for something
                                                            trying to prevent the fall and both fell to the floor. Worker Cruz attempted to keep Jazmine calm on the ground to no avail.             was still yelling
                                                         “Bitch give me my shit” and realized worker Gamboa had contacted Law Enforcement,                     began threatening worker Gamboa “Bitch I’m going to
                                                              fuck you up” “You stupid Bitch stop calling the cops.”            began to calm down and worker Cruz let her know the officers would decide if she
                                                          would have her phone back. Jazmine said, “give me my phone” and worker Cruz repeated her previous statement. Worker was then able to sit down,
                                                         when             grabbed worker Cruz backpack and worker went after                to retrieve it and while worker Cruz obtained the backpack it was ripped




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Region   Child Name   Date of Incident      Location                                                                             Description

                                                          After speaking to         regarding his injury, Law enforcement and EMS arrived at 6:15 PM. EMS was assessing                 Officer L. Trevino and I went
                                                         upstairs to room 305.            was on the phone when we got into the room. His staff Latoya Mangum was also in the room with him. Officer Trevino
                                                          asked           who he was on the phone with and                responded, “Don’t worry about it bitch.”             proceeded to hang up the phone. He
                                                         then started yelling at the officer and said “if you’re going to take me to jail, take me now. I don’t care. I’d rather be there then here.” Officer Trevino
                                                           asked           repeatedly to sit down on the bed.              refused and continued to curse and be belligerent towards the officer. Officer Trevino
 06A                     9/7/2022                        called for backup.           walked up to Officer Trevino very fast and was in his face cursing saying, “he didn’t give a fuck about going to jail.” Officer
                                                         Trevino pulled out his taser due to           being very aggressive. I asked            to please sit down and follow the officer’s directives. At this point,
                                                                    sat down and back up officer B. Arnwine arrived.             begin to be verbally aggressive towards the officers and stood up again. He was
                                                           then turned and placed in handcuffs.             struggled and resisted. The officers finally were able to place him in handcuffs.            was told to
                                                         walk downstairs, and he resisted. Both officers had to pull him downstairs.              was placed in the back of the police car. A statement was written
                                                                           and given to the police.            was taken to Brazoria County Juvenile center and remains in there as of 8:06 PM.




                                                                    appeared agitated upon my arrival to CWOP. As I entered the building,               was walking down the hallway. The CW told me that I needed
                                                         to follow           because she was getting agitated because she was looking for a paper clip.              then walked into Rm 119. I told the worker that
                                                              I was in room 123 and was told that there was another kid here. The worker explained that the other kid is in the room with the contractor, but
                                                                      came at 7pm. The CW told me that             was hanging out in Rm 119. I asked the CW and the contractor if they wanted me to sit in the
                                                           room as            was in there lying on the couch. They told me I did not need to. I went between both rooms checking on                Around 8:30pm
                                                                    started walking the halls and going outside. The other CW followed her as I was getting the other child’s medication.             had picked up a
                                                          big rock and was trying to run into the restroom. She grabbed an ink pen on the way into the restroom. I stopped her from shutting the door and the
                                                            officer asked her to for the rock and the pen.          wrestled a while and the other kid tried to talk to her.         gave the kid the rock and the
                                                           pen.           kept trying to stick things down her pants. She then ran out of the back door and picked up a cigarette that someone had half smoked
                                                         and started smoking it. I attempted to tell her to put it down, but she just laughed and walked around the building smoking it.               then went into
                                                           the lobby, eating sugar packets and grabbed a bunch of coffee straws and ran into Rm 119. About 10-15mins later the CW told me that                   was
 08A                     9/9/2022
                                                              bleeding from the mouth. I went to check on her. She was in the middle of the lobby on the floor with blood dripping out of her mouth. She was
                                                            spitting blood on the floor and acting as if she was about to faint. I asked her if she swallowed something. She just ignored me. She then got up and
                                                            walked back to the room. The officer and I tried to ask her if she swallowed something and what was going on. I called EMS because I did not know
                                                         what was causing the bleeding. Fire/EMS showed up first, as                was starting to walk away from the hotel. She came back and they evaluated her
                                                         outside. The EMS said that it looked as if she bit her tongue. Amanda then went back into the side door and began punching the glass door. The officer
                                                          and I attempted to talk to her again to see what was making her upset. We tried to calm her down, but she continued to get riled up. The police came
                                                           and put her in cuffs. She flopped on the floor and started screaming. She said she wanted to talk to her caseworker. I called the caseworker and told
                                                                    that she would check on her at the hospital, but she was at CWOP at another location.              continued to try and fight, spit and scream at
                                                          the officers, so they put her in the police wagon. After she continued fighting with them, they ended up calling EMS to transport her to Mission Trails
                                                              Hospital instead of transporting to Laurel Ridge at 11pm. The on-call worker met them at the hospital and after my relief showed up, I dropped
                                                                                                                        medication and slides off at the hospital.




                                                          Leading up to the Incident:                    began getting dressed around 6:20p.m. The caseworkers interpreted this as an indication that she was
                                                          about to run.                     then began to walk to her room door, opening her closet door to conceal herself from the caseworker. Based on our
                                                              observations, we alerted the lead caseworker.                      was standing at the door, when one caseworker asked, are you trying to go
                                                          downstairs, to which                     replied yes. The caseworkers, and                    used the elevator to the first floor. Once on the first floor
                                                          the caseworkers were greeted on the first floor by the floater, who brought                      medication and dinner.                     refused both
                                                         her medication and dinner. As the caseworkers signed paper worker,                          appeared to pace the floor and turn the corner, as if she were
                                                           going to the restroom. The floater kept an eye on                     while the other caseworkers completed paper worker.                         is now
                                                           standing at the end of the hallway, doing what appeared to be pretending to put on a show, while telling the caseworkers. “I am not about to run”
 06B                     9/9/2022                                           appeared to have walked out the side door of the location, running toward the pool. The caseworkers searched for
                                                         but were unable to located her. She was thought to be hiding. When the on-duty officer arrived and walked around the premises looking for
                                                                  she was still nowhere to be found. The lead caseworker was contacted, Pearland Police Department was called.                           is currently
                                                           being treated at Texas Children’s Hospital, located at 6621 Fannin Street Houston, after fleeing, stealing a car, and then wrecking the car. Pearland
                                                               Police Officer: Christian Lopez respond, to the accident, and took the report. At 12 a.m. Pearland Police Officer: Christian Lopez contact the
                                                          caseworker, stating that                     physically hit someone, stole their vehicle, wrecked it and injured the individual. Law enforcement stated
                                                                     is being charged with aggravated assault, and unauthorized use of a vehicle, a warrant is being issued for arrest.                      will be
                                                         taken into custody once she leaves Texas Children’s Hospital. (Pearland PD Case 4, 22-008997). Child was released and required to follow up with her
                                                                                                                              PCP. No injuries




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Region   Child Name   Date of Incident      Location                                                                               Description
                                                           On 9/1/22         was speaking with clinical coordinator and became overwhelmed regarding                          Asia stated multiple times that she no longer
                                                               cares and wanted to end her life, the clinical coordinator advised workers to contact mobile crisis to assess               Worker called the mobile crisis
  3                      9/1/2022                            hotline, they spoke with              stated that she became overwhelmed and started saying things,                had no plan or means of harming herself.
                                                          Mobile crisis then spoke back to the worker and stated to keep an eye on               and ensure she has the ability to use her coping skills such as watching
                                                                                         tv. Mobile crisis reported that if needed, workers could call back and ask for them to come out.
                                                             Caseworker arrived at the hotel at 1:30pm and went to the pool area due to the previous day watch shift was there.                       was sitting under the
                                                               pavilion with her legs open on one chair and her but in another chair. Caseworker spoke to                    child didn’t speak back.          then asked
                                                            contractor what time was it? Contractor stated it was 1:49pm and                  stated, “It’s almost 3:00pm and that’s what time he gets off.” At 1:54pm
                                                                    got behind caseworkers back where caseworker couldn’t see her. (Caseworker couldn’t see her doing inappropriate gestures behind back.) At
                                                          1:55pm she poured her whole bottle of water on ground under the pavilion at the pool. At 2:00pm                        then stated she was going to the store and
                                                                walked to the door that enters the hotel and stated she was ready to go upstairs, as caseworker was gathering her belongings, she asked the
                                                         contractor was caseworker moving so slow? Once caseworker got to the door to unlock the door,                         states I hope you didn’t get those chips from
                                                          the room. Caseworker lets her know that caseworker bought these chips with me to shift and walked up to the room.                           changed her clothes in
                                                            front of the staff once inside the room.            then states look at her ugly shoes they glitter on them. At 2:05pm caseworker walked outside to be
                                                         sure what protocol was for when a youth in about to leave the room and not be under adult supervision. Caseworker reiterated to supervisor what the
                                                            protocol was, which is, that their picture should be taken, and they should go down to the front to see what way they are going to update the shift
                                                             report? While caseworker was walking back into the room from the hallway                     locked caseworker out. Caseworker knocked on the door and
                                                            contractor let caseworker in.             youth advocate from Atlantic knocked on the door at 2:10pm and caseworker let her in. The youth advocate
                                                          waited for her, and at 2:18pm the contractor called                  name twice while she was in the restroom and                 stated yes and opened the door.
                                                               The youth advocate introduced herself and asked Armani was she familiar with youth advocates and did she know what a youth advocate was?
 06A                    9/12/2022
                                                                    didn’t answer her questions. The youth advocate asked was this not a good day and would she like for her to come back another time?
                                                            stated yes. Youth advocate then left the room.              started to pack her little black backpack and caseworker asked her was she leaving.
                                                         stated yes. Caseworker stated that’s fine caseworker just wanted to take her picture and go to the front of the hotel to see which was you’re going. As
                                                             she was leaving, she told caseworker come on dog since you follow me everywhere, she told caseworker that she didn’t wanted her picture taken
                                                               either.         walked out of the room and ran down the stairs. Caseworker went out of the pool door exit and                     went to the front doors.
                                                                        was hiding behind the cars and this is how caseworker passed her up. As                  is walking towards caseworker in the front of the hotel
                                                             caseworker takes               picture.         states delete that picture, I’m going to get them people to come shoot you”.                 goes back to the
                                                              room through the front door of the hotel. Caseworker goes back to the room through the pool door entrance.                        gets back to the room and
                                                             throws caseworkers planner, DFPS computer, DFPS work satchel, DFPS computer charger, caseworkers’ planner, and jacket out of the door of the
                                                         hotel room into the hallway. While caseworker proceeds to pick up her belongings,                     is going into the dishwasher to get a boiling pot stating that
                                                            she is going to hit caseworker in her face with it while the contractor is holding her another arm. Caseworker then calls (On-Call Supervisor) Andrea
                                                                Kelley to explain the situation. Andrea Kelly calls the police while caseworker is explaining the situation. Caseworker then walks down into the
                                                           stairwell and is followed by           who continues to tell worker to delete the picture of her. Caseworker takes it to the lobby and then sits down on
                                                         the couch while still on the phone with supervisor.               is sitting on the arm of the other couch stating that she is going to punch caseworker in her
                                                         face and get her boyfriend to come up her and beat caseworker’s ass if caseworker does not delete the picture of her because she stated that she was


                                                            This incident involves 2 youth:                        , 14y, PMC, from Psych.                   , 17y, PMC, from Runaway.          and       left on
                                                              bikes from Verbena House at 2:15PM on 9/18/2022 without permission. Runaway report was attempted to be filed with the police department;
  7                     9/18/2022                         however, they stated we must go in person to file runaways on child watch youth as they are not going to respond to our home for this purpose. Staff
                                                           were able to locate the youth’s bikes outside Walmart and observed the youth exit the store on bikes and head to Academy Sports. While following
                                                          the youth, CW Macias reported that             had pulled out a BB gun several times pointed it at     and put it back under his hoodie. The youth then
                                                          went into Academy and left with stolen merchandise fleeing quickly on bikes. Academy representatives attempted to stop the youth but were unable
                                                         to do so. They reported they believed the youth stole another BB gun. Police were contacted and found the youth hiding at dumpsters behind the First
                                                           Texas Bank, next to the Baptist Church in Killeen. LE located the youth who were trying to hide in a dumpster. They may have tossed their BB guns in
                                                             the dumpster. Academy staff believe the boys stole the bikes from the store “a few days ago,” and they are reporting those as stolen as well. CW
                                                             Macias stayed onsite until the youth were transported back to Verbena (CWOP). LE transported the youth back to Verbena (police car #3154). No
  7                     9/18/2022
                                                            citations were made. The BB guns were no longer in the youth’s possession and LE reported they would be returning stolen items to Academy. The
                                                                               police also confiscated a lighter and a vape pin from        The case numbers are K22114282 and K22114279.



                                                           Staff on CWOP Shift: Victoria Martinez and Gloria Aguero. Shift Hours: 5pm to       Ivan was playing with his laptop and started to take pictures of
                                                          the other CWOP youth and staff on shift.     was asked multiple times to stop doing so and he did not listen. CW removed laptop from           and he
  9                     9/15/2022                           was very upset.      cornered CW against the table and Security Officers intervened. Officers asked several times for      to stop but he did not.
                                                          Officers then restrained     and handcuff him. He continued to resist and kick. 911 was contacted as well as the CIT unit. Officers were able to calm
                                                                                                   down and de-escalate the situation. LE did not respond nor the CIT unit.




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                           Hotel location-8690 E R L Thornton, FWY, Dallas, Texas, 75228. Incidence Report date-09/14/2022:             was picked up from school by 6am-12pm
                                                           staff due to being violent and aggressive towards staff at school. During the altercation,        yelled she was going to kill herself and was banging
                                                          her head on the floor. When           arrived to the hotel, she went to her room with 12pm-6pm workers.             called her mom and talked to her on
                                                         her tablet. At 1:00pm,          walked out the room and went downstairs to the lobby and sat down.             `s caseworker arrived to the hotel around
 03E                    9/14/2022
                                                            1:30pm and tried speaking with her.           begin to yell and become upset at caseworker.          `s caseworker reported that she had called the
                                                         police and was waiting for them to arrive. The police arrived at 2:45pm while          was in the restroom. When            came out of the restroom, the
                                                          police handcuffed her and transported her to Dallas Behavioral HealthCare Hospital due to concerns about self-injurious behavior and suicidal threat
                                                                     at the school.        `s caseworker reported she will be going to the hospital to admit                  left the premises at 3pm.


                                                           LPS worker Kenya Runnels went to Sonic to get some lunch before arriving to her shift and to let know she would be picking her up today. When
                                                         worker Runnels arrived, an Ambulance was seen and personnel were inside of the Sonic location. Worker Runnels went to the front of the Sonic and a
                                                         male manager answered the closed door. Worker Runnels asked if was there and okay and he waved worker Runnels into the store and lead her to
                                                            the EMS personnel. was seen to be sitting on a barstool and her head was bobbing back and forth as if she is were very sleeps and hard to stay
                                                             alert. was able to answer most questions posed to her from the EMS personnel. alerted that while being in the hospital that a medication
                                                          change took place and she was able to tell what the change was and stated she was fine this morning. Vitals were taken and no concerns were noted.
                                                               blood sugar was taken as well, and it was within normal range. EMS felt that she was not needing to be taken back to the hospital and noted that
 03E                    9/11/2022
                                                           they are very close by if a further need is presented. aperwork was completed through voice commands and one signature announcing that we are
                                                             the legal guardian. EMS assisted with putting in the worker’s car as she is not able to walk on her own due to being so sleepy and tired. EMS
                                                          recommended that she may need a few days to get the medication change in her body and system and that her PCP needs to also be made aware of
                                                         the situation today, Phone calls and texts were exchanged with Summer Massingill, Callas Anderson and Jacquita King before arriving back to the hotel
                                                         with         had to be assisted with getting out of the car and into the hotel due to posing the same signs of being very tired and sleepy. was able to
                                                          go to the restroom on her own upon entering room 315 and she ate her Chicken slinger and drank some of her Ocean Water before falling asleep and
                                                                                she is now snoring while she sleeps at 1:36PM. Temperature was taken and logged as well and it was 96.4.




                                                             Around 3:20pm, Joseph, Officer Brown, Specialist Archie and Caseworker Hanson were in the pool area with                  Officer Brown and Specialist
                                                              Archie were at one table and           and Caseworker Hanson were at the table next to them.              was talking with Caseworker Hanson and
                                                            randomly slapped the iron table between them. Caseworker Hanson told                  to not to that again.        continued to ask caseworker Hanson
                                                         questions and then slapped the table again. Caseworker Hanson told                not to do that anymore as he knows better and it’s very loud. Caseworker
                                                         Hanson then got up to go to the bathroom. When Caseworker Hanson came back,                      was standing talking to Officer Brown and Specialist Archie.
                                                                       went and sat in Caseworker Hanson’s seat, so caseworker Hanson walked across the room to another table.                 then started saying
                                                           “Nigger” to Caseworker Hanson and Caseworker Hanson realized Joseph was calling her that. Caseworker ignored the continued usage until
                                                          said, “I’m talking to you!” Caseworker Hanson said she wasn’t going to engage with that type of behavior or word choice.                then started calling
                                                             Officer Brown and Specialist Archie “Nigger”.           then started calling caseworker a white biscuit or cracker and Caseworker Hanson wouldn’t
                                                             engage.           said caseworker called him that and Caseworker Hanson said she didn’t as she doesn’t like that word and doesn’t use that word.
 03E                    9/10/2022                                  tried to argue that caseworker did say it, and Caseworker Hanson said there are two other people there who can say she didn’t use that word
                                                             and wouldn’t use that word about anyone.              then said, “Well what if that was my name?” Caseworker told him that she would call him Mr.
                                                           Williams then.           then said, “What if I don’t have a last name? Would you call me N?” Caseworker Hanson told him no because she doesn’t like
                                                          that word and she wasn’t going to engage in this conversation.             then stood up and charged Caseworker Hanson. He stood over her and wound
                                                           up like he was going to hit Caseworker Hanson. Officer Brown then got between Caseworker Hanson and                             went to sit in his seat and
                                                              Officer Brown sat between them. Joseph then glared at Caseworker Hanson for approximately 5 minutes and then asked to go upstairs. While
                                                          Caseworker Hanson stayed in the lobby,              locked the door so Caseworker Hanson wouldn’t be allowed back into the room. Caseworker Hanson
                                                            called the PD on Call Summer Massingill, Supervisor Stephanie Bogacki, and PD Shannon Roberson. Caseworker Hanson was instructed to call the
                                                         police and document an incident report. Caseworker Hanson sat in the medication room and the floater from another hotel was instructed to come sit
                                                          with Specialist Archie and security. Caseworker Hanson called the non-emergency police number and is currently waiting on DPD to arrive. At around
                                                                          9:12PM, Caseworker Hanson spoke with the police at her apartment and was given incident report number 166474-2022.




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Region   Child Name   Date of Incident      Location                                                                             Description


                                                         Approximately at 5:39PM                           got up from the bed to find her some food to eat.            went in the fridge and freezer and slammed
                                                         it. Shatekia Thierry informed the youth she may have her Panda Express since there were limited food items in the fridge.                  jovially accepted,
                                                          turned on the kitchen faucet, and grabbed a white plate as if she was going to warm up her food. Katherine then threw the plate on the ground with
                                                         force and it shattered into several pieces.             picked up several pieces of the broken plate and scurried to the bathroom as she yelled “I can’t! I
                                                         can’t do this no more”.              locked herself into the restroom with the glass and started screaming. CW LaKeisha Charles asked for HST Thierry to
                                                            contact 911 while she engaged with the youth.                was observed yelling, screaming and crying that she couldn’t do it anymore. CW Charles
                                                         asked              what was she unable to do, and asked if she wanted to hurt herself. CW attempted to negotiate with                  to give her the sharp
                                                           object. CW Charles then contacted 911 herself as she asked HST Thierry to contact the on call PD/Supervisors at 5:45PM. CW Charles called 911 and
                                                          engaged the youth until she asked HST to speak with                to keep her talking while on the phone with 9-1-1.              stopped responding and
                                                              CW Charles returned to ask her to open the door and take a walk to help me understand how she was feeling. CW Charles then heard her say
                                                             “Katherine is no longer here. I can’t do this anymore” and she began to bang her head against the bathroom door. HST Thierry attempted to talk
                                                                     into opening the door and tried to unlock the door but was unable to successfully. CW Charles continued to ask youth to slide her the pieces
 06A                    9/17/2022                         of glass under the door so they can talk and know they will be safe doing so.              broke of a piece of glass and slide it under the bathroom door
                                                           and kept the rest. CW Charles and HST Thierry continued to engage the youth until law enforcement arrived and then CW Charles hung up with 911
                                                         dispatch about 5:58PM. Yolanda Henderson arrived about the same time, she was not scheduled for this shift and is due to report on 9/18/22 at 1pm.
                                                          HST Thierry did get in contact with PD Dalen Dileto to notify of the situation. HPD gave the youth several chances to open the door and told her they
                                                              would break down the door if she didn’t open it. HPD did not break the door down as she was standing in front of the door and an officer was
                                                         eventually able to talk her to opening the door.              continued to refuse to come out and asked officers to let CW Charles come in the bathroom
                                                          with her. CW Charles advised that could not happen and we could all have a seat and talked about the situation if she exited the restroom. Once she
                                                            opened the door CW Charles observed blood on the shower curtain and several superficial cuts on her forearms. Due to HPD advising staff to stay
                                                         back due to                erratic behaviors, images of her arm were not able to be taken in the moment. HPD cuffed her while she fought and searched
                                                         her for sharper objected. HST Thierry swept up glass shards to prevent further injury as the youth did not have on shoes. Law enforcement sat her in a
                                                           chair to talk with her to de-escalate but she tired to get a pen, open the window to get out, slip out her handcuffs and pull things out of the drawers
                                                          with her feet. The officers then put her in the back of their cruiser and stated they will be transferring her to either NPC or Texas Children’s Hospital.
                                                                                              was transferred by EMT special unit Kingwood Pines children’s psychiatric center at 6:39 PM.



                                                          On 09/11/2022, at approximately 3:15am                complained of head pains and feeling faint.              stated she felt severe pain in the front of her
                                                             head.            had not been able to sleep due to this head pain.             stated that the pain in her head had been there since she went to the
                                                           hospital 2 weeks ago for her concussion.             stated she did not tell anyone because she did not want to complain.               initially stated she
 03E                    9/11/2022                            would see if it got better with time but it did not. We offered her the prescription pain meds she had but she stated they did not work.
                                                            started crying.           advised she had a doctors visit on Monday but could not wait until then.               requested she be taken to the ER to be
                                                          evaluated. Staffed transported her. Lead was notified. Caseworker Marroquin transported                    to Children’s Medical in Dallas. Caseworker and
                                                                                                      security followed.          is still waiting in the lobby to be seen.
                                                         7:00PM is sitting in bed ripping up her paperwork. is asking has staff been able to reach anyone. 7:13 Liz has started to destroy the room. has
                                                             started to throw her food, a crate, Misc of hard items. called the staffout of their name. Officer Lonnie stated to not to hurt herself. is
                                                         frustrated because her caseworker and Program Director are not answering the phone. has broken the TV off the wall. is attempting to remove
 03E                    9/10/2022                          the TV completely. went to the closet in the room and grabbed the iron. takes the iron and banged it against the TVSI. is crying and angry.
                                                         Officer Lonnie is trying to assist Liz and deescalate her. Officer Lonnie is attempting to calm   7:17 pm sat down on the bed and calmed down.
                                                           asked Officer Lonnie to place items back in their places. stated it is not fair her phone was taken, and the other children still has her phone. is
                                                                                                               asking why she is getting her phone taken away.

                                                         On 09/22/2022, Christopher made an outcry of suicidal ideations to the security guard on duty.                 stated that he wants to kill himself and he
                                                           has a plan to do it today by jumping off a building.             stated he was upset that his brother won’t let him stay with him and stated that his
                                                            father will be in prison by the time he turns 18 and this is what lead him to having these feelings. Marble Falls PD was called for a mental health
                                                          evaluation. Marble Falls PD responded and advised that a mental health officer would be coming from Burnet County Sherriff’s Office. BCSO Mental
  7                     9/22/2022
                                                          Health Deputy responded to the home and spoke with                                 was in good spirits with the officer and apologized several times for
                                                           BCSO having to respond, he was never suicidal, just really angry and upset with his family. He denied any feelings of SI and stated that he was just
                                                         talking out of frustration but realizes everyone must take his words seriously. After evaluation, Mental Health Deputies reported they did not feel like
                                                                                          he was a danger to himself or a danger to others but rather was expressing frustration.




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                                                          At 05:45pm             asked to talk to her mother. The caseworker informed           that she is only allowed to talk CASA and her attorney as per the
                                                           email.          then asked to talk to her caseworker or to her caseworker’s supervisor. The caseworker attempted to make contact with
                                                         caseworker or caseworker’s supervisor but there was no response.              stated that she will give us until 6pm or she will act up. At 6pm         got
                                                          up from the kitchen table and grabbed the phone from Care Cottage.              called her sister. The caseworker asked             to hang up the phone.
                                                                   ignored the caseworker and kept talking. The case worker disconnected the phone from the wall.               got upset and threw the phone to
 11                     9/22/2022
                                                           the floor. The phone from Care Cottage is not working anymore, there is a flip phone available.             then walked out of Care Cottage and then
                                                         came back inside.           requested to call the ON CALL Supervisor. The ON CALL supervisor informed              that she is only allowed to call CASA or
                                                            her attorney. The ON CALL Supervisor asked             to wait until tomorrow so that she could talk to her caseworker or caseworker’s supervisor.
                                                                  reported that we are the reason that she will “act the fuck up”.          then sat down in the living room.           left to her room and started
                                                                             listening to music.         reported that she was going to clean because that is what she does when she is mad.

                                                              Caseworker Leslie Carion transported             to South Texas Health System ER Mission; 900 E. Interstate Hwy.2, Mission, TX. 78572.            was
                                                              observed and evaluated at the hospital but ultimately not admitted and returned to CWOP location. On September 23, 2022, at approximately
                                                           4:45pm, Caseworker Amencio A. Almanza arrived for CWOP duty at Buckner RGV Children’s, 5:00pm-10:00pm shift. Caseworker Almanza observed
                                                                                   sitting at the dining table, watching a show on her laptop. At approximately 5:00pm,             began to express to Caseworker
                                                            Amencio Almanza that she did not want to be housed at Buckner and no longer wanted to be under the care of the Department and that she was
                                                              contemplating running away, even though she admitted she might get in trouble. Caseworker reviewed the consequences of such actions and
                                                           attempted to de-escalate              mood.          would not listen to Caseworker’s advice and she continued to say that she would run away the first
                                                          chance she got or when her brother was released from incarceration, as he would surely pick her up.                 expressed that this was no way for a child
                                                            to live and even stated she would be better off dead. Caseworker asked              what she meant but she did not elaborate. Caseworker tried to talk
                                                                     thru her feelings and asked her if she had a plan on how she would harm herself, but she would not go into detail, instead she stated she
                                                           wanted to go live with her mother in Mexico and not go to another RTC.              added that she would also rather go to a hospital than to continue to
                                                         stay at Buckner.         became upset, sad, and began to cry as she stopped watching her show, put her laptop up and walked to her room. Caseworker
                                                         Almanza followed            to her room and observed her going into her bathroom. Caseworker Almanza knocked on                    bathroom door and asked if
                                                         she was ok and she said she was fine. Caseworker told Angie he would check on her in a few minutes but that he was available to her, should she want
                                                          to continue talking. CVS CWA was also present during this shift. Caseworker text On Call Supervisor Ashley Montemayor, via CWOP 9/23/2022 group
 11                     9/23/2022
                                                              chat about what had transpired. 5:25pm:              comes out of her room and informs Caseworker Almanza that she wants to go to the hospital.
                                                           Caseworker Almanza walked towards her and asked why she wanted to go to the hospital and                      said because she had cut herself. Caseworker
                                                           asked Angie where and Angie showed Caseworker Almanza both of her forearms. Caseworker Almanza observed several superficial cuts on
                                                          forearms.         was not in a panic nor upset as she talked with Caseworker Almanza. Caseworker Almanza asked                   why she had cut herself and
                                                          she said because she wanted to go to a hospital and because she no longer wanted to live. Caseworker asked                   what she used to cut herself and
                                                            what she did with it.         said she used a mirror she had and that it was in her bathroom. Caseworker walked in the bathroom and removed two
                                                           small pieces of a mirror. Caseworker asked             if she was in any pain and she said, “no”. Caseworker Almanza contacted 911 and requested EMS
                                                            support at Buckner. Caseworker Almanza also contacted On-Call Supervisor Ashley Montemayor to inform of what occurred. Caseworker Almanza
                                                          observed          making two bean and ham sandwiches. Caseworker Almanza asked                    if she was in any pain and she reiterated that she was not.
                                                           5:45pm: EMS and LE (Hidalgo County Sherriff’s Office) show up to Buckner and assess                   medical condition. EMS clean          wounds and ask
                                                           her questions.          tells EMS and LE that she cut herself because she wants to go to the hospital. She stated she just needs some time away from
                                                              Buckner and from CPS.            added that she had not contemplated suicide nor had feelings of harming herself in the past. EMS states that the
                                                              wounds were superficial and that for safety reasons, they would only transfer             to the hospital if an adult female accompanied them in the
                                                         ambulance. Caseworker Almanza contacted Supervisor Montemayor about EMS request, and also provided an update on Angie’s condition. Supervisor
                                                         Montemayor informed Caseworker Almanza that she would reach out to the nearest On Call caseworker to assist as there is another child in the home




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Region   Child Name   Date of Incident      Location                                                                              Description

                                                           On 09/22/2022 at 5:45PM,             was playing basketball outside with staff.        was seen walking towards Regal Cinema and saw a glass bottle.
                                                                  was asked by CW Gadea to drop the glass bottle. CW Gadea and CW Alvarez continued to follow                        continued to walk towards the
                                                            back of the hotel and was seen throwing the glass bottle on to the ground.           was seen grabbing pieces of glass and placing inside her mouth.
                                                                   was asked to take glass out of mouth.             declined and walked towards KFC on left side of hotel. CW Gadea and CW Alvarez continued to
                                                         follow          until she walked behind the Courtyard hotel. CW Gadea and CW Alvarez asked               multiple times to return to hotel property.
                                                          was unresponsive and continued to walk towards the Courtyard Hotel. 911 was called. PDs and Oncalls were notfified. Law Enforcement arrived and
                                                         stated they had seen her at the other hotels are were to check in on her. Once Officer Rivas returned, he stated they were unable to do anything since
 08A                    9/22/2022                        she didn’t have any thoughts of hurting herself. Officer Rivas stated he would go to          and attempt to return her to the premise.            was seen
                                                         walking towards Marriott Residence Inn.              saw CW Gadea and CW Alvarez and turned back towards the two officers. CW Gadea and CW Alvarez
                                                         observed            being detained and proceeded to walk towards the officers. Once near Officer Rivas informed CW Gadea and CW Alvarez that
                                                           has reopened her scars, attempted to cut her wrists with the glass piece, and stated she wanted to self-harm and didn’t care what happened to her.
                                                            Officer Rivas stated per the new remarks of SI he was going to emergency detain her. Officer Rivas stated he would be taking             to Clarity. CW
                                                         Gadea and CW Alvarez followed Officers Rivas to Clarity where she was admitted. During the admission staff pulled CW Gadea aside and informed CW
                                                          that         still had glass in her mouth. Clarity Staff informed CW Gadea they would be doing a full body search to see if she has other pieces of glass
                                                                                                        or sharp bjects. SAPD # SAPD22206558. Officer: T. Rivas #1640



                                                         At 5:59PM, Caseworker Jose Avila notified on call Supervisor Melissa Hernandez about                   behaviors.           was being defiant to staff, trying to
                                                          destroy property and hitting the glass window. Mrs. Hernandez staffed with On Call PD Cynthia Vera and advised what was going with                       at the
                                                                hotel. Mrs. Hernandez informed CW Avila to have officers restrain            if         tried to hurt himself or others. LE assisted CW Avila with
                                                         attempting to help deescalate              with no success. CW Avila notified Mrs. Hernandez again as              began punching the window trying to break
                                                         it. Mrs. Hernandez instructed CW Avila to request LE to restrain                       was restrained. While being restrained,            attempted to hurt LE
                                                         as well as saying he was going to kill “everyone in here” when he got out of the cuffs.             began throwing his head back, while sitting on the couch
 11                     9/12/2022
                                                          trying to harm himself. Mrs. Hernandez advised CW to call CCPD and request                 to be taken to Driscoll. CW Avila stepped out of the room for a
                                                         brief moment to make a report, upon returning to the room, Contractor stated                 tried banging his head on the table and stated he was going to
                                                           kill himself and it would be “all of yalls fault.” CCPD showed up to the room where they asked               if he wanted to kill himself. He replied, “yes.”
                                                            CCPD asked if he had a plan. He stated, “yes I want to choke myself.” CCPD requested CPS to meet them at Driscoll as they transported                     to
                                                            Driscoll. CW notified Mrs. Hernandez. On Call worker Vanessa Test was called to meet CCPD and                    at Driscoll. Around 9:25 PM,          was
                                                                                                                        released and returned to hotel.



                                                                left the Beaumont Child Watch located at 5380 Clearwater Court, Beaumont Tx Room 321 at approximately 12:50 am without authorization. He
                                                         was followed by DFPS staff and on duty contracted law enforcement officers. It was reported that            was observed jumping the fence that houses
                                                          the hotel’s pool. DFPS staff and officers were on foot and followed him keeping him in line of site and momentarily lost sight of him. Shortly after he
                                                          was observed at a nearby hotel (Home 2).             then showed DFPS staff and law enforcement officer a debit card that he claimed to have found on
                                                         the ground. He was asked by both DFPS and LE officer to give them the and he declined to do so. He stated that he was going to see if it works.
                                                         proceeded to the Shell gas station and attempted to use the card and was declined service, he then went the Petro Stopping Center across the street
  5                     9/25/2022
                                                                and purchased two vapes totaling $16.76; receipt #41000646 and went to another Shell gas station where he bought a Bic lighter totaling
                                                          $2.70–Transaction number 1018285, and purchased gas for someone totaling $40.00, transaction number 1018287. LE officer retrieved copies of the
                                                           receipts from the store clerk. The last four digits of the debit card used are 7175. BIPD was contacted and a report was made report #2022-018953.
                                                         DFPS staff was informed to call and inform BIPD law enforcement is and when he returns. As of 7:52am 9/25/2022,               had not return to the hotel.
                                                                  was last seen wearing a dark colored blue/black knee length ball shorts, black and grey t-shirt, black socks, and black flip flops. A report was
                                                                called in to the Child Abuse Hotline-Reference #76763704 and the National Center for Missing & Exploited Children–Reference #1461530




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Region   Child Name   Date of Incident      Location                                                                            Description


                                                            CPS Caseworker(s), Ryan Santos and Brittany Chadwick, arrived for shift change at 6:00PM.             and previous shift were outside on the bench in
                                                         front of the hotel with security, Officer David Patterson, present.          was unsatisfied with the options available to him as previous shift reported his
                                                               Primary Caseworker, Ms. Stepney, was at Levines outlet but             wanted to be present to select his own clothing. Caseworker Stepney and
                                                         Caseworker Santos held phone conversation at 6:13PM. Caseworker Stepney was on her way to N. Stemmons CPS Office to pick up                      clothing she
                                                             already had purchased him.           became frustrated Caseworker Stepney was not present and stormed off to the side of the building at 6:13PM
                                                            while Caseworker was on the phone, security followed                     returned at 6:15PM outraged and picked up a rock from the front of the hotel
                                                            and threw it into the dirt.        was told not to pick up rocks and his behavior escalated by picking up another rock and threatening to kill himself
                                                            before using the rock by banging his head with it. Security intervened by removing the rock from           hands and restrained him while talking him
                                                         down.           did not bleed and retained conscious as further injury was able to be prevented due to security’s interventions. Caseworker Santos called
                                                         9-1-1 for further assistance at 9:16PM. 6:30PM Shift Lead was called, and a voicemail was left.The fire department arrived at approximately 6:25PM to
  3                     9/23/2022                            assess the situation and collect a report, police arrived shortly afterwards then finally the ambulance. Caseworker provided a statement as to the
                                                             events to police and the fire department. Caseworker was provided a police incident report Case #173475-2022. Caseworker called acting PD Kim
                                                           Bailey at 6:32PM and again at 6:42PM. Initially, Caseworker Santos informed PD Bailey of the incident, then in the second call requested permission
                                                          for        to be taken to the hospital as he had been refusing to be assessed or treated. Security informed Caseworker and police at 6:32PM after the
                                                           phone conversation with PD Baily that           was suspected to have had another incident earlier today in the bathroom where he had turned on the
                                                           hair dryer, locked himself into the bathroom refusing to allow others inside then turned on the running water. It’s assumed            may have tried to
                                                            electrocute himself earlier today and was repeating the self-harming behavior again this time by using a blunt object, a rock, to do so. Caseworker
                                                              provided information to previous incident report history, etc. to both the police officer and later the physicians assessing        at the hospital.
                                                          Caseworker provided update to Shift Lead at 7:00PM of events when called back. 9-26-22 Staff have been instructed to remove all portable electrical
                                                          items from his room upon his return to CWOP to avoid any other instances of him locking himself in the bathroom with those items. This information
                                                                                                                         was added by Kimberely Carter.




                                                         2:06PM-        was sitting on the couch attempting to read a book. She got up from the couch and stated she was leaving. She went to her room. When
                                                          she returned to the common area, she said I have my shoes and use the back door to go outside. When she went outside, I followed her. She went to
                                                           the house and the shed attempting to open both. I tried to convince her to come back inside the house. I told her not to do anything to prolong her
                                                           being on restriction. She ignored me. I called the Shift Lead to come and assist me because         was becoming agitated. Officer Cody came outside
                                                            with Sharlene Jones. Shift Lead attempted to talk to              said not to think about getting too close to her.        attempted to open the storm
                                                           shed and officer Cody Paulson told her not to open the storm shed.           told Officer Cody Paulson to shut the fuck up before she spit on him.
                                                         walked to the side of the house and left. She walked north on S. Tennessee street towards the festival. 2:09PM-Law Enforcement was called. 2:13PM-
                                                         Outgoing call to Morgan Shields 903-461-9778. Officer Cody requested that I call the CWOP Coordinator to ask her if she would like him to go and do a
 3E                     9/24/2022
                                                           visual on her. Morgan said no. 2:21PM-Phone contact with Supervisor Wesley Harris. Wesley Harris requested that one of us go and search for
                                                             because it is known that she runs out in a busy street. 2:30PM Officer A. Copeland from McKinney Police Department arrived. Officer Cody and I
                                                              updated him of what happened. A picture of what           was wearing and a photo of her face was given to Officer Copeland. Shift Lead left and
                                                           attempted to locate the Youth and was not successful. Officer Copeland sent a picture and a description of what             was wearing to all the officers
                                                         that are on duty. Incident #22-008431. 3:15PM-Shift Lead returned and stated she was unable to locate the Youth. 3:30PM Zamia and Lauren Butcher
                                                             went to look for        3:57PM-Zamia,         and Lauren Butcher returned to the house. 4:00PM-          is sitting at the table eating spicey chicken
                                                            nuggets and drinking a shake that she received from a stranger. 4:12PM-Officer McCluskey arrived. He asked               where she went. She stated she
                                                                                                         was not talking. 4:45PM-No other incidents to be reported.




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Region   Child Name   Date of Incident      Location                                                                             Description


                                                          At approximately 4:00PM,          was sitting in the front room with workers/Francese and Estep. Worker Francese and             were beginning to play a
                                                          game, but        became upset because worker Francese was reading the directions of the game, because she “already knew the rules”. She grabbed
                                                           her books and walked out of the room and through the back door. She sat down against the house and read her book. Upon re-entering the home,
                                                                walked back to the front of the house. She and the other girl in the home exchanged words, resulting in          giving the middle finger and lifting
                                                         her shirt, exposing her breasts to the other child. Staff redirected      into the room and the other child into her bedroom upstairs.         was agitated
                                                           and began throwing small objects (jewelry and flowers from a decorative vase) at worker Francese.            picked up the tin container for the SkipBo
                                                          game and threatened worker Francese that she would throw it at her. Worker Francese stood up and removed herself from the room and informed
                                                            the officer that she was throwing things. Worker Estep also walked out of the room. Both workers remained in the doorway observing                She
                                                            threw the glass decorative vase, causing it to shatter. At this time, Officer Cody Paulsen got up and informed         that she needed to stop.
 03E                    9/25/2022                          responded by removing all of her clothing and cursing. Worker Butcher was on the phone with law enforcement, which encouraged                 to get her
                                                            clothes back on. She walked around the room and grabbed water bottles and dumped them on the floor then threw them. She grabbed pens and
                                                           threw them. She attempted to grab any item that she could. Worker Francese began sweeping up the glass. Officer Paulsen remained in the room.
                                                                  behaviors continued and began to escalate. Officer Paulsen attempted to restrain            however she was forcefully resisting. They struggled
                                                          due to       thrashing, hitting him in the face and kicking forcefully. He was able to get her to the ground and laid her in a prone position to place her
                                                             in handcuffs. She banged her face and head into the floor aggressively. Worker Francese placed a blanket under her head to prevent any injury.
                                                          Worker Francese attempted to move objects away from the immediate area to create a safe area for the restraint. Officer Paulsen was able to apply
                                                           handcuffs. At this time, McKinney PD arrived to the scene and intervened.           was screaming hysterically stating that she wanted her “mommy”.
                                                           McKinney PD were able to get          up and out to the car, where they informed CPS that they would be transporting her to Medical City McKinney.
                                                                                                                Worker Butcher followed them to the hospital.




                                                                  woke up around 7:00am and stated she was going to school.                 got dressed and asked CW Palmer to take her downstairs to use restroom.
                                                            When we returned to the room              asked staff to ask                  to get out of the bathroom because she needs to brush her teeth.
                                                          was asked to be mindful of her time in the bathroom because                needed to use the bathroom as well.           went back to her room to lay down
                                                             around 7:35am.             came out of the bathroom around 7:40am. CW Palmer informed                 the bathroom is free and she can proceed to get
                                                          ready for school.           stated she is not going to school. CW Palmer contacted day watch staff at 7:55am to inform her she will need to come to day
                                                              watch as          will not be attending school today. Day Watch staff Charlie Esie and CW Palmer tried to convince             to go to school.
                                                         continued to refuse. Around 8:00am                asked CW Palmer to take down her downstairs for breakfast. We returned around 8:07am and CW Bernal
                                                           was leaving with                    to transport her to school. Around 8:20am            grabbed the medication box and opened it. CW Palmer asked her
                                                         how she knew the code and               stated she’s been aware of the code and the last workers knew that she had the code. CW Palmer asked                to
                                                               close the box and put it down.           stated she was going to open her medication. CW Palmer told              she could not administer her own
                                                            medication. CW Palmer took the box from               but        still had the lock.        opened the box again and tried breaking the box that has the
                                                          key to her                 Around 8:25am supervisor Yolanda Jenkins was contacted and made aware that                 knew the code for the medication box
  6                     9/23/2022
                                                           and she was trying to break the combination box for her medication. Ms. Jenkins stated she knows                 has the code but she does not know why
                                                           the code was not changed. Ms. Jenkins tried talking to            but          took            medication and ran into the bathroom and locked the door.
                                                                      medication was not stored in a separate locked bag like                medication. CW Palmer told Ms. Jenkins the call needed to end and EMS
                                                            would be contacted. At 8:26am CW Palmer called 911. While on the phone with 911,                   came out of the bathroom with a hand full of pills and
                                                              swallowed them.            continued going into the medication box. She got a knife out and went back into the bathroom.              came out of the
                                                            bathroom and started to cut her arm.             grabbed more of              medication but CW Palmer took the medication back from               Around
                                                         8:40am           left the room to go downstairs.           walked down the hall with the knife then threw it on the floor by the elevator. While CW Palmer
                                                         and           were getting off the elevator EMS was getting on another elevator. CW Palmer informed them they were at the hotel for                  .EMS was
                                                          informed that           swallowed several pills that consist of Paliperidone ER 6mg, Amantadine HCL 100mg, Escitalopram 10mg and Famotidine 10mg.
                                                            EMS stated they would be taking              to Hermann Memorial Children’s Hospital. Supervisor Jenkins and day watch staff Liz Leon were informed
                                                                    will be transported to Hermann Memorial Children’s Hospital. CW Palmer followed EMS to the hospital and arrived around 9:14am. CW Liz
                                                                                         Leon stated she arrived at the hospital around the same time and stated she would take over.




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Region   Child Name   Date of Incident      Location                                                                            Description


                                                         On 9/27/2022, I had arrived at shift at 4:00pm, the previous shift was informing me that staff has been on the phone with the doctor and the child CW
                                                          to talk to them about            insulin because earlier this morning, she had refused her insulin and was eating a bunch of carbs. When I arrived, she
                                                          was reporting that she was feeling, dizzy, urinating a lot, having a hard time breathing and she reported that she wants to go to Children Methodist
                                                           Hospital to be checked out. Prior to my shift, her insulin was taken and the numbers the first time was so high that it would not read, then again at
                                                         1:00 pm it was 400 something, then on my shift at 3:45 it was 256. The Supervisor on call Veronica statedthat we could call EMS to have her assessed.
                                                          During this time she was laughing, talking with staff and seemed fine. EMS arrived, they took her vitals, blood sugar was 172 and her heart rate was
                                                          slightly elevated, although it was not concerning. EMS denied to transport her to the hospital.            was still adamant that she wanted to go. The
                                                          Supervisor, PD and PA agreed to take her to Methodist Children Hospital. I had transported her and she was fine the entire car ride. Lillianna stated
                                                           that she wanted to see a Security Guard that worked there that was there last time. I had asked her if we are going because she truly is not feeling
                                                       ,
 08A                    9/28/2022                        well or if it was because she wanted to see this male.           laughed. We got her checked in at the hospital and we were waiting. She made multiple
                                                           comments about this security officer that worked here that she wanted to see.               denied that she was feeling any symptoms and stated that
                                                          she felt great. I told her that we do not need to be here if that is the case because there are other children here who are actually very sick and need
                                                            the attention. When back in the room,            told the RN that she refused to take her medication and that is why we are here. Her levels were
                                                         checked and it was 157. The DR was upset and lectured her about her taking her medication and the importance of doing it. She was discharged from
                                                         the room and refused to leave the room due to her wanting to see this security guard. There was more staff that came to the room and administered
                                                         a shot of Zyprexa. Eventually after about a hour she was willing to go out back where the EMS pulls through and she started banging her head on the
                                                          wall. The hospital staff stated that they were going to contact SAPD to have her transported back to the hotel. When we got outside, they asked us
                                                             where the car was. We informed them that they just stated that they were going to have SAPD transport due to her behaviors. It was agreed up
                                                                     eventually that SAPD transport and that staff ride with her. I rode with her in the SAPD vehicle and we returned to the hotel room.




                                                         At the start of the 8pm-12 am shift, we were told            was upset because he was not given a knife to cut his cantaloupe. The worker offered to cut
                                                           the fruit for him, but         insisted that he be given a knife. When he was told no,            became more upset and left the CWOP home with the
                                                           cantaloupe. He was found in the trailer right behind the CWOP trailer and refused to return. This occurred at approximately 7:45pm. During our shift
                                                             at approximately 8:30pm, Worker Cheyenne attempted to locate the child where he was last known to be and did not find him. She staffed with
                                                           Supervisor On-call Carla Zizumbo-Robbins who told her to attempt to locate the child once again and after the 9:30 if the child has not been located,
                                                             we needed to follow runaway protocols.             was not located in the allotted time and Cheyenne called Marble Falls PD to report the child as a
                                                         runaway. During this time Law enforcement advised Cheyenne that they had                  in their possession as he was found trying to eat out of trashcans
  7                     9/26/2022                             and was barefoot. Due to their only being two worker and no security or law enforcement at the CWOP location, Law enforcement transported
                                                                      to the CWOP location. At arrival, law enforcement officers spoke to us and reported on the way to the location he made suicidal ideations
                                                            with statements such as he wanted to die, take him to the worst place but CWOP, and I’ll do anything but stay here (CWOP). Officers reported they
                                                         have a mental health officer on the way to evaluate his mental health but stated that he would most likely need to be admitted to a facility as
                                                            tried to jump into traffic when they tried to detain him.         was evaluated by a mental health officer and it was determined that he needed to
                                                          admit for his ideations. Due to limited staff at the CWOP location, officers transported            to Cross Creek behavioral health and on call Supervisor
                                                          Zizumbo-Robbins arranged for the on-call worker to meet them at Cross Creek to have the child admitted.                 was subsequently admitted to the
                                                                                                                        psychiatric hospital on 9/26/22




 06B                    9/27/2022                          At 7:37pm Brianny Butler (floater for the shift) called me to notify me that the three boys at Homewood Suites had run away. She said that LE had
                                                          been notified. I was already on my way to Homewood with medications. When I arrived LE was there and the boys were walking up the hotel drive
                                                           toward the hotel. After speaking to staff the boys had been on the hotel computers and in the hotel pool since the shift started. None of the boys
                                                          would return to their rooms when asked by staff. At one point prior to 7:37         had gone to his room to change clothes, then returned to get into
                                                         the pool. The boys then set out on foot to walk around to the front of the hotel. When I arrived at Homewood at approximately 7:45 I spoke to LE and
                                                           was told they could do nothing about the boys “taking a walk”. The boys and the staff walked into the hotel lobby where the boys approached the
                                                         back door leading to the pool area again. The boys stopped at the door talking to staff and each other. I sat at a table to speak to staff and try to figure
 06B                    9/27/2022
                                                         out what had happened.          shouted that he was going to “kick my ass” and “mess me up”. I had my back to the boys speaking to Shannon Sanders
                                                          when        approached me from behind and hit over the head several times with a large pool noodle approximately 5 inches in diameter. I asked LE
                                                         Jerome Jacks if he saw       hit me and he told me to call 911 if I wanted to press charges. I did not want to press charges, but I did expect the officer
                                                                                  to speak to       about his behavior as I was under the impression that’s why we have them on site.
 06B                    9/27/2022




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Region   Child Name   Date of Incident      Location                                                                             Description

                                                             Around 9pm,           was outside with the rest of the house members enjoying the cool weather. When everyone came back inside around 9:15,
                                                                     did not. Caseworker went outside around 9:25 to check on him. He was not anywhere to be found. Caseworker and another youth walked
                                                         around the neighborhood and to the park nearby and could not locate                Caseworker was calling out “                   in an attempt to find him,
                                                               and a neighbor overheard this. This neighbor is a Temple police officer. Also present with this officer was an on-duty officer. The police officer
                                                         informed the caseworker that they called EMS for              because he reported to the officer that he was not feeling well, and felt like he was floating.
                                                         The police officer contacted EMS and they transported Ramon to McLane’s Children’s hospital. Caseworker expressed frustration to the officers about
                                                            not notifying staff that this occurred, as the officer knew that Ramon was in CPS custody and where he lived. Worker did not obtain the names of
                                                           these individuals. Worker returned to the CWOP house and called CWOP team lead Regena Robinson who advised to make sure                       was at the
  7                     9/27/2022                        hospital. Worker called and confirmed he was at the hospital and reported back to Supervisor Robinson                 location. Supervisor then told worker
                                                         to fill out the forms and email the respective parties. On-call supervisor Mia London was contacted and stated they will get a worker to the hospital to
                                                            sit with         as CWOP staff could not leave the house due to ratio. Per on-call sup. London, on-call worker was on the way to the hospital when
                                                         they got a call that         had already left the hospital and was headed back to Stratford House.            returned to the residence at 11:00pm stating
                                                              that the hospital said he was “good” and he stated he asked if he could leave and they said yes. He stated he ran from the hospital back to the
                                                           residence.           was talked to by staff about the seriousness of leaving the hospital without an adult. Staff reported that they were not informed
                                                              why he left the ER other than what he told staff. Primary caseworker has requested medical records from McLane Children’s Hospital. Primary
                                                         caseworker has also spoken to             about this incident. The name and contact information of the off-duty officer who called EMS is unknown to the
                                                                                                                   caseworker so no follow up could be made.



                                                           Caseworker was contacted by the school resource officer for Temple High School. The caseworker was advised that              had gone into a rental
                                                          agency across the street from Chick-fil-a in Temple as he was feeling out of his body. It was reported that         was with other individuals in a car
                                                         and that he smoked something. It was reported that they were unsure what                had smoked and that he was being taken to McLane’s Children’s
                                                          Hospital to be evaluated.          was evaluated at McLane’s and sent home after 2 hours of being there.           asked to be drug tested due to not
                                                         knowing what he smoked, however the drug test was negative.               was transported home by CPS staff. While at the hospital,         was talking
  7                     9/26/2022
                                                             slow and processing information slow and he was showing symptoms of being under the influence of drugs.               did not exhibit any other
                                                         symptoms while there.            was kept for observation to make sure there was no negative interactions from the substance use or any other issues.
                                                          The hospital ran his vitals and did a urine sample, which did not return positive for any substances. A CPS staff member went to the hospital and sat
                                                           with          The hospital medically cleared him for discharge. When           was discharged, he was transported back to the Stratford House. The
                                                                      following day,          reported to CWOP staff that he smoked K2. It is unknown where or whom he got this substance from.



                                                           On 9/22/2022,          arrived at the CWOP location around 5:15pm, and he became upset as soon as he arrived and kept mentioning a visit with his
                                                          mother. Primary worker arrived (Amado Vera) to the hotel room and was talking to               Primary worker told         that his visit was not happening
                                                              due to his mother not sending him an address nor confirming.          then walked out upset and yelling towards the main lobby area.               then
                                                         stopped outside of the pool area and stayed there. Primary worker followed along with CWOP staff. Amado then told                  to calm down and that he
                                                           would see what he could do, however            stated “get the fuck away. I’m tired of your shit, get the fuck out of my way, or I’m gonna fucking punch
                                                          your fucking face. I’m gonna fucking kill you. I can “ Amado told him “you’re not going to hit me”.          then became more upset and started shoving
                                                                and pushing Amado, and he Amado almost lost balance.            asked him “what are you going to do” and Amado stated “I’m not going to do
                                                          anything”. CWOP staff then redirected           and advised him to stop with the pushing and shoving towards Amado. Amado stepped away and when
                                                         he returned he informed           that he spoke with his supervisor, Debbie Cantu, and that she approved for him to go to his grandmother’s and pick up
 11                     9/22/2022
                                                          his clothes and visit his mother for 30 min. We arrived back to the hotel and         was advised that his football game was also canceled. At this time,
                                                                 started saying that he wanted to “kill” himself and appeared very anxious. He wanted to hurt himself and that he wanted to run away – this was
                                                            all advised to the on call supervisor and she provided the number to the crisis hotline, suicide line and advised to call EMS if         didn’t feel well. I
                                                              asked        if he wanted us to call EMS, and he stated yes.       continued to repeat that he wanted to kill himself and wanted to slit his wrist.
                                                          Paramedics arrived and explained the nature of the issue, and          continued to voice that he wanted to get something sharp and slit his wrist. EMS
                                                          arrived and         was transported to South Texas Health Systems ER. Around 12:45 am on 09/23/2022                was given psychiatric clearance and was
                                                             being sent to South Texas Health System Behavioral for an evaluation and or inpatient treatment. The ER ambulance arrived around 1:10 am and
                                                         transported Jesus to South Texas Health System Behavioral located at 2102 W Trenton Rd Edinburg Tx 78539.                 was being admitted voluntary and
                                                                                  would be seeing a doctor and therapist in the morning.         currently remains at the behavioral hospital.




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Region   Child Name   Date of Incident      Location                                                                          Description

                                                                 was taken to Dallas Behavioral Health by Latoya Williams CVS and Barrie Davis-CON. Caseworker LaTonya Williams texted me at 6:45PM and
                                                           said “ really needs to talk to you.” She then called me at 6:50 PM and asked that I come down. She did not explain what needed. Barrie Davis
                                                          (floater) agreed to go to     room to see what she needed. Barrie Davis returned a few minutes later and reported that told her she was having
                                                          “suicidal thoughts,” I immediately went to       room to speak with her. She wanted to talk with me and Barrie Davis in the hall and not in the room
 03E                    9/25/2022                        with her CWOP staff and the security officer. She asked if she could go to Dallas Behavioral Health for an evaluation. She said she did not want to go to
                                                          Children’s Hospital. Plans were made to take her to Dallas Behavior Health. At approximately 7:15 PM, staff left with in route to Dallas Behavioral
                                                         Health. At 10:10 PM, I received a call from Barrie Davis. She informed me that would be admitted into the hospital. was upset and crying. did
                                                          not want to remain at the hospital. I spoke with and explained that she needed to stay there so they can make sure she is safe. I was able to calm
                                                                her down. I let her know that I would be informing her worker that she was in the hospital. I told her that I would check on her tomorrow.

                                                         Staff Casas stayed late from 6am-12pm CWOP shift covering for Shift Lead because the oncoming shift lead for 12pm-6pm sent email
                                                         saying they were running late. Staff Casas was the floater for 6am-12pm CWOP shift. Staff, Mary Macias arrived for 12pm shift and was
                                                         in the MED room with Staff Casas. Protégé, Dolores had also arrived at the MED room saying she was going to be present for the shift
                                                         with her mentor, Latosha Cotton who was the oncoming Shift Lead for 12pm shift around 12:20pm, there was a knock at the door of the
                                                         MED room (317), Staff Casas looked through the peep hole to see who it was. Staff Casas seen it was youth,                       (Youth
                                                         walked away from assigned staff without permission and they were searching for him.) Staff Casas opened the door and                was
                                                         upset saying someone took his tablet from where it was left. He did not specify where it was left.          said a caseworker took it and
                                                         he wanted it back. Staff Casas informed           that staff had no knowledge about his tablet being taken by anyone and staff did not
                                                         know where it was.          said he was leaving and walked off headed down the hall towards his room (326). Staff Casas noticed that
                                                                 was unaccompanied by staff and Security assigned to him when he came knocking at the MED room. Staff Casas went back in to
                                                         the MED room to get work phone to call staff, Mary Macias that was supposed to be with              to ask where they were because youth
                                                         was alone on the 3rd floor. Staff Casas walked out to the hallway and           was nowhere in sight. Staff Macias said they were
                                                         downstairs in the lobby with primary worker, Lamonica Thomas. Staff Macias said they were coming up to the 3rd floor. Staff Casas
 03E                    9/20/2022                        informed Staff Macias that          must have left down the stairwell from the 3rd floor and to go outside to look for him. Staff Casas
                                                         went back into the MED room and observed room the window that Security was in the back of the hotel building looking for                but
                                                         youth was nowhere in sight. Around 12:30pm, Staff Casas received a call from Staff Macias asking for assistance. Staff Macias was
                                                         outside the door to the MED Room. Staff Casas opened the door and stepped out the doorway and observed Security was trying to get
                                                         into           room. Primary Worker, Lamonica Thomas and staff, Sharbra Massey were also near                 room. The door was closed
                                                         and locked from the inside. Staff Macias informed Staff Casas that           was locked inside the room. Staff Casas asked how          was
                                                         able to get into his room alone, but no one was sure thinking he had a room key. Staff Macias mentioned that the Security had left his
                                                         bag inside the room and it had things in it that Joseph should not have access to. Staff Casas and Protégé Dolores walked down the hall
                                                         towards            room. Staff Casas was handed a room key to              room that was not working. The Security mentioned when he
                                                         tried to use the key it showed red on the lock pad. Staff Casas went downstairs to the front desk to re-active the room key. Staff Casas
                                                         came back to Joseph’s room and observed Security still trying to gain entry to the room by using Housekeeping’s Master Room Key. The
                                                         re-activated room key was given to Staff Massey.             had the door guard on from inside the room tied with a black cord reventing
                                                         the door to be opened. Primary Worker, Lamonica Thomas asked for a pen to try to use to undo the cord. Staff Casas went to the MED
                                                         room to get a pen and came back and handed it to Ms. Thomas the Security tried to use the pen and other items to undo the cord on the

                                                                  seemed upset upon my arrival, she was sitting on her laptop at the table with staff and then went into the restroom. After about
                                                         5 minutes, I called out to           through the restroom door about three times and there was no response. I got up and stood right
                                                         outside the door and noticed it was not completely shut. I knocked and asked if                was okay she still did not answer. I gave a
                                                         warning that I was going to be opening the door.              was sitting on the floor right by the restroom door. I asked Victoria what was
                                                         wrong and she said nothing. I asked             if she would like to come out and sit with staff and talk and she nodded no. I stated she
                                                         could sit in the restroom but the door needed to remain open to where I could what she was doing.                   agreed. A few minutes later,
                                                                  got out of the restroom and asked me to go down with her and get her laundry. On the elevator,                  told me that she told
 08A                    9/29/2022
                                                         the previous worker that she was hearing voices and these voices were telling her to hurt herself. After retrieving her clothing,
                                                         asked if she could speak to the deputy next door. I let her know that if the deputy was comfortable she could.                spoke to the
                                                         deputy for about an hour. Deputy convinced               to call the Crisis Hotline.         and I walked back into her room and I contacted
                                                         the Crisis Hotline.         then spoke to them for about 5 minutes pacing back and forth in the hallway.                gave me the phone and
                                                         the crisis hotline representative recommended               be transported to a crisis center and stated they would be contacting the on call
                                                         unit to transport          to a crisis center. As soon as I hung up the phone,            stated she was not going to be transported
                                                         anywhere and would not leave.              got in bed and went to sleep shortly after. CW relayed this information to the on call PD.




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                                                               wanted to talk to her dad, Caseworker dialed the phone for her and handed it to her. She wanted to talk to him in private and said
                                                         that she was allowed to. Worker explained to her that we had to monitor so that she was not calling anyone else.              insisted on going
                                                         outside to talk on the phone. Worker Haynie followed.          came back inside and said she wanted to call her CASA. Worker typed the
                                                         number in for her and she went back outside.         was observed pacing the yard waiting on the phone. She went around the corner;
                                                         worker went outside, and         went back from around the corner. I informed her to stay in eyesight. She said it is her right to talk to
                                                         CASA unsupervised, I tried explaining to her that I was not trying to listen to her call, she just had to stay in my sight. She talked for
                                                         about 20 minutes. I watched carefully to make sure she did not dial another number, but when she handed the phone back she deleted
                                                         whatever number she called. I asked her, and she got defensive. I looked in the phone, and she called her casa but the call duration was
                                                         only 1 minute and 55 seconds, so it is evident she was talking to someone else during that time. About 15 minutes later she wanted to
  7                     9/27/2022
                                                         call her CASA again. When she handed the phone back there was another number listed in the recent calls (206-383-7081), and no calls
                                                         to her casa. She then said that she would just text her casa. She sent him a text, and then went to take a shower. 20 minutes later
                                                         Worker Meyer went to check on            The water in the bathroom was running. I knocked, there was no answer. I checked her bedroom
                                                         and noticed the window open. I knocked on the bathroom door again, and said if she did not answer I would be coming in. I knocked
                                                         again, and then walked in. The water was running but no one was in the bathroom. I called the Primary worker, CWOP shift lead, and LE
                                                         to follow the runaway protocol. LE arrived and took a report. About an hour after leaving,           returned to the CWOP house and went
                                                         straight in her room. Primary caseworker Jalisa Taylor call the phone number that           called before she ran away. A male with a deep
                                                         voice answered. CW Taylor asked if he knew           He asked if CW Taylor was from Texas. She answered yes. He stated he didn't know
                                                                CW Taylor believes this is possibly someone        met on the internet.


                                                         Caseworker Ochoa and Caseworker Sanchez called PD Patricia Magadaleno and stated that the child             was under the influence of an
                                                         unknown substance. He was slurring his words, had a blank affect, barely holding himself up, and was just starring out into a blank
                                                         space.        stated to Caseworker Remi Garza when he showed up to drop off another youth, that he had half of an edible and that he
                                                         had 1 gram on him and that he also had a dap pen with wax of marijuana and had resin. Caseworker Garza Stated that            was slurring
                                                         his words and was not sure if       knew what he was telling worker. PD Magdaleno advised for Caseworker to call 911 to see if EMS
  8                     10/2/2022
                                                         could test or evaluate the child. She also stated for Caseworkers to make the child empty out his pockets to see what he had and to
                                                         check his belongings. Caseworkers checked the belongings of the child with Lt. Ortiz the officer that was on duty. Caseworkers were not
                                                         able to find anything and believe that         has the substance on him. Caseworker Ochoa called 911 at 6:15pm and stated that she was
                                                         needing EMS to come out and check on a 14-year-old in their custody due to           inappropriate behaviors. EMS arrived at 6:30pm and
                                                         checked         vitals and stated that he is high and will need to sleep it off.

                                                         During the 5PM-9PM shift foster youth             become verbally aggressive toward                    at first was handling the
                                                         situation well and trying to remain calm.          called        a “N-word” and “bitch”.         grabbed a decoration off of the wall
                                                         and from another room continued being verbally aggressive.                told      to hit her if      was going to threaten it.
                                                                 rushed toward          and staff tried to de-escalate both girls and stood in between them.             pushed past staff and
  3                     10/5/2022                        security got in between the two girls.          started to run upstairs and threatened to touch            belongings. Zamia was
                                                         verbally aggressive back to          and became more physically aggressive trying to push passed security. Security restrained
                                                                 and she bumped his gun during the “tussle”. Security let go of            once the gun was bumped and               ran
                                                         upstairs.        grabbed         by the hair and held onto her ripping her shirt off. Staff attempted to pull the girls off of each
                                                         other but were not able until         let go. Police were called and           was arrested. Staff each wrote statements.

                                                         Taken to North Central Baptist due to seizure.           refused to take the seizure medication prescribed to her. EMS was
  8                     10/24/2022
                                                         called and took her to the emergency room.
                                                         PD Natasha came into room to check on complaint of roaches.                   woke up when the PD turned on the lights.
                                                                    immediately started stating that she was not staying at the hotel because there were roaches.               got
                                                         dressed very quickly.            went to the front desk of the hotel and told them about the roaches. The staff told her that
                                                         they did not have any more rooms, but that they would have someone come spray the room.                     then walked outside
                                                         and said she was going to go get coffee and come back. Then                  asked for the Case Worker to call PD Molly Henry.
                                                         CVS Worker Allison Boroda called Molly and told her               said she was going to leave if we didn’t move her to another
  8                     10/31/2022                       hotel because her room has cockroaches.                asked to speak to Molly. Ms. Boroda put Molly on speaker and
                                                         spoke to Molly.           then hung up on Molly.             went back to the room and grabbed her backpack.
                                                         walked out of the room and out of the hotel and turned left on Prue Road. Ms. Boroda called SAPD. SAPD arrived back at
                                                         the hotel at 1:57 with           SAPD stated that they found              sitting at the bus stop down the street with an African
                                                         American man that it looked like she knew. (SAPD picked up                 but did not talk to the man.) Upon her return to the
                                                         hotel, Officer Sanchez from Texas A&M University Police Department searched                      backpack for any contraband.
                                                         Incident ID: SAPD-2022-1435643.




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                         Child had stolen DFPS property including a wifi router as well as stolen SIM cards and vape pens. Previous staff took vape pens before the end of their
                                                             shift and placed them in the vault in the room with the off duty officers after         was told to hand them over. Caseworker contacted law
                                                          enforcement at around 830 pm and they did not arrive until 1130 pm. Upon arrival caseworker informed SAPD of stolen items and                 denied
  8                     10/27/2022
                                                          stealing the objects before handing over the WIFI router.            did not provide the cord as well as the SIM cards to the worker but was adamant
                                                         she did not steal them although previous employees saw them in her possession. Darianne was not detained and a report number was provided SAPD-
                                                                                  2022-1417764. Caseworker broke and properly disposed of the vape pens before the end of the shift.


                                                                   had a seizure this evening. Earlier in the evening         was asking for staff to buy her food or order take-out. Staff told her no and she could
                                                            eat the food that was provided in the room. On call PD was called and reinforced that food would not be ordered and she could eat the food in the
                                                          room. Youth also called and spoke with her Aunt. After getting off of the phone she was upset. At 7:28pm Lanisha told caseworker, Monica Camacho,
                                                         that she could feel a seizure coming on and she wanted to go to the hospital. CW, Monica Camacho, immediately called PD on call and informed her of
                                                              what the child said. PD told CW to call EMS immediately and she would have on call start heading that way. CW, Monica Camacho called EMS at
  8                     10/30/2022                         7:32pm. Selma dispatch stated they would be sending someone out. While waiting for EMS to arrive,                 was laying on bed with her head in the
                                                            pillow. She began to have a seizure. CW and Officer tried to get her to respond, however, she was not responding to the officer or the caseworker.
                                                             EMS arrived at 7:40pm. They provided checked her sugar levels which were ok and put her on oxygen and she was then transported her to North
                                                         Central Baptist which had the closes pediatric facility. PD on call was contacted and informed of what occurred. PD on call stated on call staff would be
                                                              sent to the hospital to be with           *Information was provided to on CVS on call PA to complete this SIR. CW that provided information was
                                                                                                                Monica Camacho, Kinship Development Worker

                                                                was found to have a vape pen containing marijuana. He appeared to be high as well. On site LE attempted to confiscate the vape pen however,
                                                                began to approach the cop in a defensive manner.           also began to use profanities against on site LE. He was handcuffed to allow him time
                                                          to calm down however, he continued to escalate. On site LE searched Isaiah as he had the vape pen hidden in his buttocks area. A male CWOP staff
  8                     10/4/2022                         was asked to be a witness as SAPD was contacted and had not arrived after 2 hours of waiting. On site LE located the vape pen and removed if from
                                                                 person. Isaiah continued to escalate so staff and on site LE awaited SAPD’s arrival.       was assessed and did not meet criteria for an ED. He
                                                          had finally calmed down when SAPD arrived.            caseworker was contacted about this incident as well as PD, Viki Hinson.           vape pen was
                                                                                                                            secured in the safe.

                                                          While attempting to make Nacho’s for lunch at 2:38 pm this afternoon             attempted to open a can of food. She was having trouble getting the
                                                         top of the can off and attempted to use a knife to pull the top up. She then grabbed the top of the can with her right hand and the can slipped causing
                                                          a small cut to her middle and pointer fingers and a 1–2-inch laceration at the base of her thumb. Caseworkers responded immediately by grabbing a
                                                          wet washcloth and wrapping the injury and applying pressure to stop the bleeding. Caseworker also directed             in breathing techniques to calm
  4                     10/6/2022                           her as she was shaking and extremely upset. Caseworker proceeded to put              and Grace in the car and transporting them to Christus Good
                                                          Shepherd ER. Grace came with the worker to maintain supervision ratios until additional staff could arrive. Treatment:           received 6 stitches at
                                                           the emergency room and was given Tylenol and Motrin for pain. Stitches will need to be removed in 14 days at the emergency room.                 was
                                                         counseled on how to care for the injury and what the signs of infection were. She was transported back to the child watch location. Caseworker picked
                                                                                                         up Band-Aids and Neosporin per Dr’s recommendations.


                                                         On October 03, 2022           ran away approximately at 06:20pm after becoming upset that there was nothing to eat that he wanted.              stated that
                                                         he was “out of here.”          reported that he needed to take some air and that he was going to be back in an hour or two then proceeded to leave the
                                                            hotel. The staff tried to get him to calm down and stay in the room but he left anyway.         was gone from the hotel for about 10 minutes. Law
                                                           enforcement had already been contacted as part of the runaway protocol. They brought              back to the hotel and informed staff that         had
                                                             been arrested due to having spit on an officers face and having pushed him. Law enforcement officer reported that            is being charged with
                                                            resisting arrest. The Law enforcement officer then stated that the Department needed to pick up            from Jail. The KIN/FAD Specialist and the
 11                     10/3/2022
                                                           contractor, Areli followed the law enforcement officer to jail. The law enforcement officer stated that they were going to put          in a cell and to
                                                           come pick him up around 09:30pm. Below information is from CW Juan Zuniga:              was released from detention and returned to hotel room at
                                                          approximately 10:15 pm. Upon entering, he stated that he was feeling depressed and having suicidal ideations, though did not elaborate. CW tried
                                                             speaking with him but          did not respond. He was encouraged to rest, listen to music or watch TV to distract himself, he did not want to and
                                                            instead asked to speak with his mother via telephone. CW informed on-call supervisor and           was later picked up by CVS staff and taken for a
                                                                                mental health evaluation. He did not return to CWOP location as he was admitted to the behavioral hospital.


                                                                   was sitting in a chair while she was hanging out with                  got up from the chair and then suddenly fell to the floor. She reported
                                                          that her left knee was in pain and stated that she could not get up. EMS was called to the scene. EMS medically cleared           and requested for her
                                                         to have a follow up with her PCP the next day. When EMS picked up              she was unable to straighten her left leg. Due to this, EMS recommended
  8                     10/7/2022                        she be transported to the hospital. Staff reported that they believe         began to get tired after taking her night time meds and she appeared to be
                                                          fighting her tiredness, so she can hang out with           This is what caused her to fall as soon as she got up from the chair.        was transported
                                                          to CHOSA hospital for a medical evaluation.           was discharged from the hospital. She was given Ibuprofen and a RX for Naproxen. Her knee was
                                                                              bruised so it was wrapped and she was given crutches. She was also given a school note with listed restrictions.




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                                                            On 10/06/2022 upon arrival of caseworkers for 4pm-8pn shift          was on the run. Lead shift called supervisor and a report was made to SAPD.
                                                            Caseworkers waited until        was brought back. Upon           being brought back by SAPD she was asked to go up to her room by the officers.
                                                                  became verbally aggressive stating she would not go up. The Officers began to handcuff her and           became physically aggressive kicking
                                                              and attempting to get away.         finally was brought up to the room and was notified she was unable to close her room door per on-call’s
  8                     10/6/2022
                                                          instructions.      then became aggressive screaming cuss words at the officer’s face. After this           then walked to the restroom and slammed
                                                          the door. Upon        coming out of the restroom she ran to the wall attempting to get a staple from the stabled papers in an attempt to self harm.
                                                             At this moment SAPD stopped            but she continued to be physically aggressive and SAPD decided to ED her. Lilliella was transported to a
                                                                                                behavioral San Antonio Behavioral Health and lead-shift went with her.


                                                             At 9:50PM         became upset after being reminded of the rules regarding the computer use.           stood up, balled his fist up, and threw cream
                                                          cheese at worker. Worker moved and requested law enforcements assistance.              then began to follow worker around the hotel lobby calling her a
                                                           “bitch” with his fist balled up. Both officers intervened and stood between        and the worker.         continued to try to push past officers.
                                                          became more aggressive and calling officers “bitches” and screaming and spitting.          was put into hand cuffs.        continued to scream, spit, kick
                                                         the cabinets, and attempted to bite officers. Tri-County Crisis linewas contacted at 10:05AM by worker, Meredith. Tri-County stated Brian would have
 06B                    10/10/2022
                                                          to be de-escalated first then officers present would have to call and make referral. Tri-County also stated       would have to be medically evaluated
                                                            for any injuries at the hospital. Officers uncuffed      after he calmed down however         continuedto lay on the hotel floor in the kitchen area.
                                                         Third officer arrived and requested EMS to check          out. EMS arrived and decided it was best if Brian be examined at the hospital.         transported
                                                             to Texas Children’s Hospital via ambulance at 11:20AM.          was admitted into Room 15 in the ER. Emergency Detention Order completed. Day
                                                                                  Watch Supervisor, Chris Vien was notified and provided updates throughout the entirety of the situation.


                                                         During this shift,     showed worker a large jar of marijuana that he has, and he keeps talking about smoking it.         left the room with his phone
                                                         speaker and a large joint that he wants to smoke.        started bragging about going and smoking his joints and he showed the caseworkers his joint
                                                         as he was walking out the doorat about 9AM. Caseworker staffed with supervisor and decided to call LE regarding the marijuana            had. CW called
                                                           Waco PD and they are sending out an officer. Outcome: LE arrived at the hotel with          at approximately 10:30AM. LE had picked up         after
  7                     10/5/2022
                                                           another call had come in, in regard to him attempting to steal beer from a local gas station. That incident happened somewhere between nine and
                                                          10:30AM (the exact time is unknown because law-enforcement dealt with that issue before staff were notified).           was offered a chance by law
                                                            enforcement to give up the remaining marijuana that he had, and he would only get a ticket for the theft of the beer.         was ticketed for the
                                                                                                attempted theft of beer and must follow-up with Waco PD within 10 days.


                                                               Date of the incidence-10/4/2022; Shift-6pm-12am. Time-7:30 PM. Location: 203 W Parks AVE, Waxahachie, Texas, 75165. At around 7:30PM,
                                                                                 -        (child goes by G’Q), PID:75860000, was wrapping up eating chicken nuggets and only had one chicken nugget left in his
                                                         plate.                                stood up and started talking about how another youth was in a psychiatric hospital. Workers Ngugi and Beason, and
                                                            security officer Smith were sitting on the table and requested him to abstain from that conversation since it was unnecessary.
                                                                   then got off the dining table and went to his room. Workers Ngugi and Beason could hear him punch something but both workers and security
                                                          officer Smith agreed to give him time to cool down. In a few minutes,                                         came out of the room and stated he was, “pissed”.
                                                         At 7:45PM-Caseworker Beason called                 primary caseworker for          to speak with him.       stated that he felt like he wanted to hurt someone and
                                                         needed additional help. The caseworker told               to take a time out and chill out for a minute.       stated no that would not help.       stated if he had
                                                         a gun, he would hurt someone. Worker Ngugi asked                 if he had a gun.       stated, “no I cannot find one”. At that point      stated that he wanted to
                                                             go to the            G’Q case worker asked what the closest hospital was to the caseworkers? The caseworkers looked up and Dallas Behavioral in
                                                            Desoto is the closest hospital. 8:00PM Waxahachie Team Lead Ngugi called the acting supervisor and informed of the current state of                     Worker
                                                          Ngugi was advised to follow protocol by calling Waxahachie PD so they can transport                   to the hospital.    was informed about the direction from
                                                          acting supervisor.       then stated, “I do not want to go to the hospital now, and I do not want to be transported by the law”. Team Lead advised
  3                     10/4/2022                        he will have to talk to Law enforcement and then they can make professional determination if he needs to be transported.                      then stated, “I am not
                                                            going to harm anyone miss”. Worker Ngugi let               know we have to follow protocol. At that point security officer Smith called Waxahachie PD and
                                                            they arrived at about 8:18PM. Waxahachie Police spoke to                and he stated that he didn’t state he was going to harm someone. Workers Ngugi,
                                                           Beason and security officer Smith were outside with                   stated he needed additional help that he wasn’t getting at the residence. Waxahachie
                                                         PD stated they cannot transport           since they do not have enough for an emergency detention and since he did not have a clear plan of harming self
                                                             or anyone. Ambulance arrived at the residence in about 8:22PM. EMT checked                   out and then placed him in the ambulance to transport him to
                                                              Baylor Scott and White located at 2400 North Interstate Highway 35 East, Waxahachie, Texas 75165 to be assessed. Worker Ngugi, Beason and
                                                              security officer Smith agreed to follow the ambulance to the hospital. Workers Ngugi and Beason stayed in consistent communication with
                                                          primary worker. 8:30PM the ambulance departed the residence and caseworkers and security followed behind them. 8:48PM-The ambulance arrived
                                                         at the hospital and took him to be assessed. Workers Ngugi, Beason and security officer Smith are sitting in the room with                   At about 9:48PM when
                                                           this report is being generated,        is still at the hospital, after an assessment was completed, he became agitated that he has to stay until morning.
                                                         Workers Ngugi, Beason and security officer Smith are all watching him while talking to staff trying to calm the situation. Hospital law enforcement is at
                                                                 door since he alleged, he will run. 10/4/2022 6pm-12am acting supervisor and G’Q primary caseworker have been informed of this incidence. No
                                                                                                                              Police call report at this point.




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Region   Child Name   Date of Incident      Location                                                                             Description

                                                            During the 5PM-9PM shift foster youth         become verbally aggressive toward                     at first was handling the situation well and trying to
                                                           remain calm.        called Zamia a “N-word” and “bitch”.         grabbed a decoration off of the wall and from another room continued being verbally
                                                         aggressive.         told      to hit her if     was going to threaten it.        rushed toward          and staff tried to de-escalate both girls and stood in
                                                             between them.           pushed past staff and security got in between the two girls.         started to run upstairs and threatened to touch
                                                            belongings.        was verbally aggressive back to        and became more physically aggressive trying to push passed security. Security restrained
                                                                 and she bumped his gun during the “tussle”. Security let go of         once the gun was bumped and               ran upstairs.       grabbed        by
  3                     10/5/2022
                                                          the hair and held onto her ripping her shirt off. Staff attempted to pull the girls off of each other but were not able until         let go.       then left
                                                         the room and went downstairs.           had her shirt off and was then kept saying I want to go to a hotel. She was instructed to put on her shirt, and she
                                                           did. She then she opened the window, caseworker then got between her and the window and asked her to move back and she did. She then stated
                                                           that she wanted to kill herself and that        wanted her dead, so she will kill herself. She was redirected and went to her room. Crisis Team was in
                                                         the home assessing another child and they assessed           as well. She was assessed by Crisis Team of Lifepath MCOT Emily Cooling and Muriam Monir
                                                                      and it was determined for her to remain in the home. Police were called and             was arrested. Staff each wrote statements.


                                                         Date of the incidence -10/9/2022; Shift-12pm-6pm; Time-1:45PM. Location: 203 W Parks, AVE, Waxahachie, Texas, 75165. 1:00pm-                  requested to go
                                                             to the park to play basketball. Lead gave approval for    to go to the park.Security guard and       were playing basketball. 1:45pm-GQ got upset
                                                          because he was losing the basketball game against the security guard.        started cursing and yelling toward the security guard.        left the park and
                                                            headed to the house.       made it to the house before the staff and he locked the door, therefore the staff and security guard were not able to get
                                                         back into the house. Eventually       unlocked the door. Once staff and security guard enter the home,         stated calling the security guard “little pussy
  3                     10/9/2022
                                                          nigga, if you are going to use your gun you better shoot to kill because I am not scared of you”.      continued cursing and yelling toward the security
                                                         guard. Staff tried to calm     down and he continued to curse and yell toward the security guard.         left the premises without the staff’s permission.
                                                               was not in eyesight. At 2:08pm Waxahachie Police Department was called. The police officers spoke to           about making better choices and the
                                                           impact of negative behaviors.       was able to calm down.      apologized to the staff and security guard for his verbal aggressive behaviors. Primary
                                                                                               Worker and On-call Supervisor were notified. No Police call report at this point.




                                                              At about 4:20PM                        became upset and started screaming that he was going to kill us after he was told multiple times to choose a
                                                         different movie as he was not allowed to watch a Rated R movie. The police officers on duty had to restrain                 and placed handcuffs on him, due
                                                              to him refusing to move away from the television, screaming and saying he was going to kill us and that he was going to kill himself.              was
                                                              handcuffed for approximately 10 minutes. After a while he stated he was calm and asked for the handcuffs to be removed. Once removed he ran
                                                             outside of his hotel room. Officer ran after him and he was at the lobby/breakfast area. He was standing near tables and chairs and I asked him to
                                                           come to the room and he said no. I asked the officers to take him back to the room and                grabbed a chair and raised it up as to throw it at the
                                                           officers. The officer got her taser and told          to put the chair down.          said “no, I want to be tased.” Officer was able to get the chair away
                                                            from            without tasing and restrained him and transported him back to the hotel room. He was upset and saying he wanted to kill himself. He
                                                           calmed down after a while. He spoke to on call supervisor Richard and to Supervisor McKenna who explained why he could not watch those type of
                                                               movies. He informed them that he would listen and see something else.               then proceeded to listen to music on YouTube which contained
                                                         messages about suicide, death, pain and killing. He was asked to change it and he ignored that request. I asked him if he needed to go to the hospital if
                                                              he was not feeling well. He said no. I manually turned off the television and he attempted to turn it back on. He became upset and went into the
 11                     10/8/2022
                                                               closet in his room which is missing a door. He got a backpack and started to remove the cords to the backpack which he placed one of the cords
                                                          around his two hands making a line, he then unwrapped the cord and placed it on his neck, he then gets the other cord and makes a noose and looks
                                                         at the top of the closet. During this time, the 2 police officers and I were standing by the closet talking to him and asking him to talk about how he was
                                                             feeling. The police officers were about to get the cords away from him after having tried multiple times to reason with him.              was upset and
                                                            yelling that he is going to bang his head on the wall until it explodes. The officers got him out of the closet, and he yells to leave him alone.
                                                         walks to the kitchen and is upset and yelling, he gets restrained again with handcuffs. He was in handcuffs for approximately 6 minutes. There is a shift
                                                          change in police officers and new police officer asks him to calm down to which he does, and handcuffs are removed. I staffed with on-call supervisor
                                                               and informed him of what occurred as it was occurring. It was recommended that he go to Driscoll.              l took his Latuda and Hydroxyzine at
                                                          7:00PM. He refused his meds several times earlier.               spoke to his Counselor on the phone and was a bit calmer. Local police were contacted to
                                                          transport             to Driscoll and on-call case worker Virginia Buentello followed behind the unit. The decision to place          in handcuffs was made
                                                            by the police officers as their form of restraint and not at the Department’s request.            was admitted to Canyon Creek Behavioral Hospital on
                                                                                                                   Sunday 10/9 after being evaluated at Driscoll.




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Region   Child Name   Date of Incident      Location                                                                             Description

                                                            The evening of 10/13/22 approximately at 7:40pm            got upset when the case worker Hernandez suggested for him to be on his best behavior
                                                           because his worker stated if he were to get in trouble he would have to go back to Juvenile Detention for over a year. When this was spoken about
                                                                got very upset and started packing all his electronics and chargers in a small bag.      was stating he was leaving because he wanted to go see
                                                           his girlfriend and that he needs to have a life outside of CPS.      also mentioned that he was going to go get stitches because the workers on duty
                                                          were not helping him.        did not have any injuries that required stitches. Caseworker Hernandez and the police officer tried to calm him down, but
  8                     10/13/2022                        he was not having it.       left the room and the workers along with the police office followed him to the edge of the property of La Quinta.     was
                                                          stating he was going to go to Wal-Mart to steal. The entire time,         was cussing and using derogatory names. The worker Hernandez called the PD
                                                         on-call which was Ms. McCabe. Ms. McCabe agreed with the worker to give him 15 minutes to see if he returned and if not to call in a runaway report.
                                                           Worker Hernandez ended up calling in a report. Around 8:30pm,            returned with a stolen Roblox Nerf Gun, Ace bandages, and writing pens. The
                                                          caseworker did not see if any other items were taken. At 8:45pm the SAPD arrived and he explained there is nothing they can do if Wal-Mart did not
                                                                                               report the items stolen. The office gave the worker an incident number and left.


                                                          Previous worker and security found a bag of weed in the bathroom of the hotel and smelled the marijuana as well. Law enforcement was called, and
                                                         the Marijuana was given to Officer Murphy.       stated that he wanted to talk with the officer and walked out with the officer and worker and did not
  4                     10/14/2022
                                                         return. Worker reported that       walked off the property heading in the direction of Walmart. Around 4:50 staff walked around outside with security
                                                          and around the lobby to see if     had come back onto the property. LE was called, the arrived and took the report. Runaway protocol was initiated.


                                                         At the start of the shift, day watch staff reported that     was AWOL and that he had been reported as a runaway. At 8:42pm, Law Enforcement was
  6                     10/12/2022                        accompanied with           and had indicated      was hit/bumped by a car resulting in his falling and hitting his head. The officer stated that was
                                                              examined by the EMT and determined to be medically cleared. He was brought to hospital as             indicated he wanted to be seen by doctor.


                                                           Previous to Markayla taking              to urgent care she was outside with Worker Sally engaging in physical activity.             came inside saying her
                                                           chest hurts and that it felt like someone was stabbing her and her throat was closing. Markayla was in the front room with               and           came
                                                         into the front room, laid on the couch and watch TV saying her chest hurts and she needs her asthma pump. Markayla got                      a cold towel to put
                                                         on her forehead while she laid on the couch. Shift lead Andres called Sara Oakes and the on-call supervisor.                 began to cry on the ground and It
                                                            was decided to take              to urgent care at 7:30 pm: Staff Markayla will be taking             to Urgent care in McKinney. 7:45 pm: Markayla and
                                                                       arrived at Urgent care McKinney 8:00 pm: Markayla and                  were redirected to another medical location as the receptionist advised
                                                           they are not in network with                insurance, Superior Health Medicaid insurance. The receptionist advised that Children’s Health PM Pediatric
  3                     10/12/2022                       Urgent Care will take her insurance. 8:15 pm: Markayla and                   arrive at Children’s Health PM Pediatric Urgent Care will take her insurance. And
                                                          get checked in. 8:30 pm: Markayla and               are waiting in the lobby to be called in to speak with a doctor. Markayla asked Alicianna if her chest is
                                                           still hurting.           advised not as much but it feels tight. 8:45 pm:             was called back into a room. The nurse took her weight and led them
                                                           to a room. The nurse asked               what brought her in today and she advised that her chest feels like she is being stabbed and her throat is tight.
                                                            The nurse asked what her medical history is and what medications she is taking. Markayla advised the medications that are in her med log. And her
                                                           previous diagnosis.             advised she is hungry. Markayla advised she will bring her a snack once the other worker comes. 9:00 pm: Shift Change.
                                                            Worker Sharese arrived and relieved Markayla. Markayla went to get                   a snack.           at a mango fruit bar, and she also had a blueberry
                                                                                                                               fruit bar given to her.


                                                                           was playing in the street and throwing his football in the air and on top of a building. He was also walking away where staff could not
                                                          see him. Off- duty Officer Martinez asked        not to go into the street with his ball and to only play in a nearby field.              became upset and
                                                             told the officer that he cannot tell him what to do.                 then got in Officers Martinez’s face and pushed him.                   continue to
                                                           wrestle with officer Martinez as he tried to calm                  down. In the middle of the physical altercation while                 was trying to pull
                                                              officer Martinez into his room they ran into the door while tussling and the door is now loose. Law enforcement was contacted by caseworker
  3                     10/10/2022
                                                            Rodnesha Collins and one officer arrived on scene.                     then began to fight with that officer and 4 additional officers arrived on scene.
                                                                           began to fight with those officers as well.                 was placed in handcuffs and sat at the table while officers tried to talk with
                                                          them.                   told officers that they could not hold him down and taunted them about not being able to handle him.                      continued
                                                         to use profanity and racial slurs to officers.                 also continued to be disrespectful to CPS staff while sitting in handcuffs.                 was
                                                                                                                  transported to Ellis County Juvenile Center.




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Region   Child Name   Date of Incident      Location                                                                             Description


                                                           On October 7, 2022, Advocate Coleman arrived at the hotel for the 4am -8am shift working with Frankie Smith. When I arrived,                   was watching
                                                          television and it was very loud. I relieved n Worker Jones and asked her how things were going. She said                was on run away status and they put
                                                           the knives up because            was cutting on his arm. Jordan began yelling and cursing saying, “she was a lying fat bitch, he hoped she die in a wreck
                                                         on her way home”. Worker Jones left the room.Around 4:10am, I asked                  to turn the television down. He began talking loud saying the television
                                                         was not loud and he did not know where the remote was. I saw the remote on the floor and turned the television down. For a few seconds                      was
                                                         quiet, then he began yelling saying the television was too low he couldn’t hear. We informed him the television should not be on that it was a privilege
                                                          and it was disturbing the people next door. He began cursing Worker Frankie Smith and she began to redirect him, and he turned his focus on her and
                                                         he began cursing at her. He told her he was talking to me. She informed him he was not going to be disrespectful to neither staff and the television will
                                                          be turned off. I continued to try to calm him down, but he was still focused on Worker Smith cursing her and constantly telling her to shut up. He was
                                                             redirected but he continued. Worker Smith walked towards the television to turn it off, and              jumped off the bed in an aggressive manner to
                                                            block her from turning the television off. Officer Kyle Wilson walked towards them. She couldn’t turn the television off, so she attempted to unplug
  5                     10/7/2022                           the television and          attempted to get the cord. We told           to stop several times but insisted he was getting the cord. He pushed his body
                                                            against Worker Smith, and she went backwards, fell against the lamp and wall. I walked towards them and at this time Officer Wilson attempted to
                                                          take a hold of            arm to move him away from Worker Smith, but               pushed his body against him and pulled away from him. He attempted
                                                         to placed          on the bed, but he kept yelling, cursing and resisting and they fell to the floor. I placed my hand on             back and told him to calm
                                                         down. Officer Wilson placed him in handcuffs and told him he assaulted public servant. He began to apologize and stated, “I am good dog”. The officer
                                                               took him in the hallway to calm down.            stated he was calm, and he was going to bed. He stated he did not want any more problems. He
                                                         apologized to Worker Smith and stated, “it was all his fault, and he blew things out of proportion, and he was sorry”. Worker Smith stated, she did not
                                                          want to file charges against           The officer removed the handcuffs and he walked away. As he walked away the officer notice a red bruise on the
                                                         right lower back area of             back. He asked Jordan to let him see his back and pictures were taken by myself and the officer. We don’t know if the
                                                           bruises were there before or after the restraint. He also had scratched on the right side of his neck are which he was complaining about that when I
                                                             arrived on shift. He got in the bed talked to staff and officer about the incident and he fell asleep. I called on call supervisor Chaitra Dangerfield on
                                                                                                     4095046380 at 5:10 am and texted her at 5:13 am, Pictures attached.




                                                           On 10/14/22, upon the start of the shift another child,                 was on run, as he has left the previous shift. He was escorted back her by SAPD
                                                             and the SAPD officer that brought him back stated that           had told the officer that he was scared to come back here because             had been
                                                           bullying him.        had taken his gold ring, his pecos and his coin holder.        also said to SAPD that       has been hitting him and making him do
                                                         things that he does not want to do because they got arrested together when they ran from Townplace and burglarized a house. We have tried to keep
                                                                    and        separated by keeping          upstairs and       was downstairs on the computer with another worker.               and          went
                                                         downstairs and wanted to go outside and smoke.              had made threats that he was going to beat up          prior to going downstairs and we told him
                                                          not to and that he is not going to go outside if he does that.        also had on          red jacket and was instructed multiple times to take it off.
                                                         refused. I continued to instruct him to take it off and he finally did and when he did, he went into           room and put the jacket in the toilet. I took it
  8                     10/14/2022                        out of the toilet. When we went downstairs and they were outside, we had talked with the on-call supervisor and it was decided that he was going to
                                                           be moved to a different hotel. When we sat down and talked              about it and talked to him about packing up his belongings and moving him, he
                                                          became upset and took off of running around the building and stated that he was going beat up               I told the officer to go in the back door so that
                                                              he could beat        into the hotel.        ran into the hotel and        tried to hit      and he continued to walk around and then grabbed the
                                                         highchair and the officer looked at me and asked me what I wanted him to do. I told him to detain him. The officer wrestled                to the ground.
                                                            was resisting arrest and the officer had to call for back up. When SAPD came they had talked to            outside and then came back and talked with
                                                                   SAPD told        to give back his ring that he had on his finger. When          was searched, they found a Vape THC pen that was in his pocket.
                                                                stated that he found the vape pen outside on the ground.            was arrested and taken to Juvenile. SAPD stated that if the vape tested positive
                                                                 that he was going to be charged with a felony-controlled substance and resisting arrest. Case Number: SAPD 22224570 Officer: V.R. 1036


                                                                 came out of room at 2:41am stating that she needed the EMS to be called as she could not breathe. She started wheezing and yawning. Staff
                                                           asked her to sit down while 911 was called. EMS arrived at 2:58am and completed a breathing treatment on her. During breathing treatments EMS
  4                     10/18/2022                          looked at her vitals and stated they were good the entire treatment time. Oxygen was at 100% and CO2 was at normal. EMS stated that they are
                                                           closing the call as treatment/no transport and did not recommend transporting her to hospital as all her vitals were stable. EMS left at 3:23am and
                                                                                                                       went to bed stating she felt better.




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Region   Child Name   Date of Incident      Location                                                                            Description

                                                                     came back with caseworker Ms. Markayla Muccular and officer Hubbard from her outpatient services. When                     walked in the home
                                                              she greeted the caseworkers and gave them a hug. Ms. Hawthorne asked how the outpatient class went she said it was boring. Ms. Hawthorne
                                                         advised there was Raising Canes in the microwave for her for dinner. Ms. Hawthorne told                  that she needed to take her medication and take a
                                                            shower.            stated she was hungry, but she would take her shower.                went in her room and saw it was clean and started yelling and
                                                         cursing.            was throwing things in her room yelling and cursing at staff. She stated she wanted her F***ing things back. She said she wanted to
                                                              call Morgan Shields.           asked who the f*** took all her things Ms. Shields said she did. Ms. Shields stated she had to clean the room and
                                                          organize it.           then hung up on Morgan and threw the state phone but she didn’t break it.                then broke the bin in her room that all her
                                                         clothes were in.            then began throwing all of her clothes on the floor and threw all her spirals and school supplies.           then threw her bin
                                                           towards Ms. Hawthorne but didn’t hit her.             then started banging her head on the wall, Ms. Natalie Zapata her acting caseworker called Ms.
                                                          Kim from the mobile crisis unit who worker with              on yesterday.            started to calm down a little once she spoke to Ms. Kim. Tracy Pike
                                                          came at 9pm, and she also tried to help calm her down. Ms. Pike helped her warmup her raising canes. She then got her food off the pan and cut her
                                                             finger on the corner on the metal pan the food was in. It barely broke the skin and no medical treatment was needed. Ms. Pike told                she
                                                             would assist her cleaning her room. Ms. Hawthorne gave              her medication at 9:39pm. At roughly 10pm Alicianna original caseworker Ms.
                                                             Sarah Oakes, came to bring              updated medication. Ms. Oakes also tried to stay to help calm              down as well. Ms. Oakes
  3                     10/18/2022
                                                             calmed down and agreed to take her shower at 10:06pm. 10:15pm                  still has not calmed down and was making outburst about killing her
                                                             caseworker and Ms. Shields. Ms. Hawthorne called the mobile crisis unit. They advised that someone would call us back within 30 mins and let us
                                                         know who they will be sending out. Ms. Kim called Ms. Hawthorne at 10:34pm, she asked to speak to                     Ms. Kim told           that she would
                                                            come back out tomorrow and check on her. Ms. Kim let               know that if mobile crisis kept getting phone calls they would look at putting her
                                                         inpatient instead of outpatient services.            then said she would lay down but she wanted to switch out some of her clothes.                then said
                                                               she would lay down and go to sleep. She began to get aggressive with Ms. Natalie Zapata and Ms. Pike.                began to try to destroy more
                                                            property in the home and Ms. Hawthorne called law enforcement at 10:49pm. Ms. Hawthorne advised she has been banging her head on the wall
                                                          destroying property and she also threw a bin at Ms. Hawthorne but didn’t hit her. Law enforcement arrived at the home at 11:05pm. Officer Owens #
                                                         201 and Officer Krieger # 370. Officer Owens and Krieger asked what happened and Ms. Hawthorne and Ms. Pike explained to them the situation. The
                                                           officers went to the room with             and talked to her. Law Enforcement said they will APAL her and send her to Medical City of McKinney for a
                                                               Psychological evaluation. Ms. Pike told Law Enforcement that            said she didn’t want to live and wanted to die She also said she wanted
                                                          everyone to die. Law Enforcement Officer Owens stated they will transport her to Medical City of McKinney for her evaluation. Ms. Hawthorne called
                                                            caseworker Ms. Zapata who is her acting CVS worker. Ms. Zapata stated she would meet law enforcement at the hospital for medical consent. Ms.
                                                                                       Hawthorne and Ms. Pike then wrote a statement about what happened during tonight events.

                                                                  returned at 7pm. I asked staff to have the off-duty officer or for him to watch them search his backpack when he arrived. They found a mason
                                                          jar that had marijuana gummies in the backpack. Staff was directed to lock the substance up in the medication safe box. I called the SI PD on-call Mr.
                                                         Enriquez that advised to call SAPD to come out and even if they did nothing as far as          was concern, they would be able to take the gummies with
  8                     10/20/2022
                                                         them. We are unsure if Isaiah is on probation, and if so, would this violate his conditions for release. When asked where he got the gummies, he stated
                                                            his girlfriend Alaina makes them. SAPD arrived and also found 2 vape pipes. Isaiah was handcuffed but not arrested. He was given a citation. SAPD
                                                                                                             incident #2022-1383221 (for Narcotic Law reports).

                                                         On 10/18/2022 around 9:00am                called her caseworker (CW) Jeremy Ryan to give him updates. During the conversation CW mentioned he was
                                                           working on her placement paperwork to go to Colorado.               immediately became upset with her CW and told him she was going to kill herself.
                                                                    then hung up on her CW and threw the phone at the wall. She stated approximately three times that she was going to kill herself.
                                                         got up and went to the restroom, officer Dvalos (Badge No: 9519) asked her what she was doing she stated “what I said I was going to do” insinuating
                                                         she was going to kill herself. The officer was able to confiscate a small safety pin from                     then continued to attempt lock herself in the
  8                     10/18/2022                        restroom. The officer put on restraints to prevent             from harming herself.           was put on the floor and she immediately started banging
                                                         her head against the wall.           hit her head at least 20 times on the wall, floor, and couch. Caseworker Jessica Jarboe and Protégé Jacki Williamson
                                                          assisted helping keep           from injuring herself any further. During this time CW Jessica called 911 and police and ems were sent to the location.
                                                             Upon arrival EMS attempted to get vitals but             refused. At this time the police officer on scene contacted Medcom and directed them to
                                                          transport          to Clarity Child Guidance Center in San Antonio. CW Jessica contacted                 CW and he stated he would meet police there for
                                                                                                                                    intake.




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Region   Child Name   Date of Incident      Location                                                                              Description


                                                         I was the caseworker covering the 5:00PM to 10:00PM shift with                      . Upon arrival         was in the lobby on the computer. As per
                                                         schedule created by his caseworker Julie Martinez,             is allowed to select an activity to do and has to be back in his hotel room by 8:00PM.
                                                          was on the lobby computer from 5:00PM to roughly about 7:00PM.                  then went to sit down on the lobby chair for the remainder of the time. At
                                                            about 7:58PM, I addressed            by stating per his schedule we should be reporting back to his room.             then said no, and I was the only one
                                                         that always tried to follow his schedule. I redirected          once more and he proceeded to say, “other case workers allow me to be out until 2:00AM.
                                                               Why are you acting like the schedule means anything?” I then stated to              I was just following his schedule as put in place by his primary
                                                             caseworker.           then stated I should not show up to my shift the following day.            stated, in front of Protégé Monica Gomez and Officer
 11                     10/14/2022                           Amanda Guerra, that I should not show up to my shift tomorrow because “he will do something to me” and stated he threatened to have people
                                                          shoot his previous case worker Dina. I then notified on call supervisor Jacqueline Jordan of the issue and was directed to call the Corpus Christi Police
                                                          Department. As I was calling law enforcement,              threw his middle finger at me and walked out of the lobby entrance doors and ran away. I had
                                                           shown Protégé Monica Gomez the message I sent to Mrs. Jordan stating what                   had said to me and she verified she heard him say that. When
                                                             police arrived, I stated exactly ehat         said to me and Officer Amanda Guerra stated she did not hear him say that although both myself and
                                                             Protégé Monica Gomez heard his statement. Officer Amanda Guerra was not compliant on assisting me redirect                      Law Enforcement stated
                                                               since         did not say what he was going to do to me, a report for terroristic threat could not be filed. A runaway report was filed with Law
                                                                             Enforcement. Caseworker Alicia Lopez then completed runaway protocol once Law Enforcement left the premises.


                                                                    was transported to North Central Baptist Hospital in Stone Oak (520 Madison Oak Dr., San Antonio, TX 78258), due to suicidal and homicidal
                                                          threats. He ran across the busy highway, police located him in a nearby neighborhood (he claims he was kicked in the chest by a deer, no marks were
  8                     10/23/2022
                                                              visible). Officer in room could be heard trying to calm him down, he kept threatening to cut himself by breaking an item. Selma police arrived but
                                                                                          unable to transport, EMS was called out and he was taken to be assessed at the nearby hospital.
                                                          Upon the start of the shift,               was listening to music talking to                             occasionally got up to talk to the officers in the other
                                                         room.                wanted to go outside so staff followed             outside, when the youth realized it was cold they came back into the room.
                                                          and             continued to listen to music.             called CW into the corner of their room and requested to be taken to get food at 1:30AM because
                                                         there was only canned food and they did not want to eat that.                   stated that nobody came to collect their grocery list that day. I explained that
                                                         it was 1:30AM and she would not be taking them to get food, but I would text the PD their grocery list right then and there so they could have food by
                                                            tomorrow.                 asked me for money so they could go get food and come back and I explained that I was not going to give her money, but that
                                                         she could provide me with a grocery list.                complained that other staff buys her food and I explained that it is 1:30AM and would not be buying
                                                          them food.                 got annoyed and walked into security room and I followed her.               ran past me and shut the door that conjoins the rooms
                                                            locking both girls in the room by themselves. The officers and I got a key for the room and attempted to open the door but the privacy latch was on
                                                         the front door to the room. Staff and officers attempted to get the door open for 30 minutes while                     and          were in the room refusing to
                                                                open the door. I called the on call PD and explained the situation, I was instructed to call the SAPD non-emergency number to attempt to get
                                                         assistance. I called and they sent SAPD and the fire department. DFPS staff and security officers continued attempting to open the door. SAPD and the
                                                          fire department showed up they were discussing how to get the door open when an SAPD officer announced himself and                            automatically got
                                                           up to open the door.                was extremely upset and began yelling about there being so many people in her room.                   stated that she was
                                                             tired of dealing with DFPS staff and did not want to be around them. SAPD got my information and I entered the room.                      began telling the
  8                     10/25/2022
                                                             officers that if I did not get out of the room something would happen to me and officers told her that I was going to sit in the room no matter what
                                                           because she locked us out for an hour. The security officer set a chair in between the rooms so that I could sit.                 got very aggravated and did
                                                          not want me to sit in the room.                 got the chair and attempted to throw the chair out of the window in attempt to keep me from sitting in her
                                                           room. The security officer stopped her and put the chair back where it was.                  began walking in and out of the hotel and the other DFPS staff
                                                           accompanied them along with the security officers. I stayed in the room with                  I was instructed by the on call PD to remove the speaker from
                                                             their bedroom due to them blasting loud music close to 3AM. Once the speaker was removed from the room                        walked out of the room and I
                                                          followed her.               went over to           who was sitting in the Papadeaux parking lot. On call PD instructed me to call SAPD and wait for them in
                                                           the room due to it being unsafe. As I was walking back to the hotel                got in front of me and stood less than a foot away and asked about her
                                                              speaker. I explained that it was 3AM and I was instructed to remove the speaker from her room for the night and she could get it first thing in the
                                                             morning.               asked why I was grabbing her stuff and grabbing my lanyard and keys that hang around my neck and yanked on them asking if I
                                                          liked her touching my stuff. The security officer intervened and told                to take a step back away from me.                began yelling asking why I
                                                            touched her stuff and I explained again she could get it as soon as she woke up.                 once again grabbed my lanyard and badge and yanked on
                                                           them. The officer grabbed her arm and instructed her to let go of my belongings and she did.                   walked back upstairs and attempted to move
                                                              the chair that was in between the rooms out of the way. I stood behind the chair and told                 that the chair would not be moving.
                                                           began pushing the chair against me in an attempt to get the chair out of the doorway The officer instructed                    to stop and that the chair was




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                                                         At approximately 4:00pm on Saturday, October 1, 2022,                 began banging the back of his head against the headboard of the bed. CW redirected
                                                          him several times and asked him to discontinue the action as he could possibly injure himself.              laughed at CW and continued the action while
                                                         stating, “no”. CW then informed             he would be placed in time-out if his behavior continued. He again continued his behavior and laughed while
                                                           saying, “no”. CW asked           to come to the middle of the room to a safe area away from objects to sit in time-out.             moved to the area on
                                                           the carpet and sat for about 1 minute and then began to move his way to the fresser in the room. He then began to bang the dresser drawers open
                                                           and closed and laughed while doing it. CW asked              to return to the time-out area and he continued with the activities on the drawer and was
                                                          intensifying. CW slowly moved towards               and he moved to the time-out spot. CW squatted down to speak to               at his level and he began
                                                         to laugh and then hit CW with left closed fist on the side of head and then CW blocked his second attempt to strike with his right and. CW was holding
                                                                     hands and speaking to him calmly asking him to stop the behaviors and to talk about why he was upset.                then began kicking CW. CW
 11                     10/1/2022
                                                          then had to hold on to            feet as he was trying to kick and hit her at the same time. Contract worker was present and was asked to obtain CW
                                                           phone so on-call supervisor could be called for directive on how to move forward with this situation. CW was advised to phone Corpus Christi Police
                                                           Department (CCPD) and ask for assistance.              then climbed onto bed and began humming, laughing and staring at CW and contractor.
                                                            was informed officers were on the way to assist with him as this behavior was not acceptable.               continued to laugh and hum. When officers
                                                            arrived,         admitted to his behavior and CCPD was informed of prior incident earlier in the week when he displayed such towards of his foster
                                                         parent. CCPD assisted CW in transporting              to Driscoll Children’s Hospital (CW rode in patrol car with Bradley in back seat) for evaluation. While
                                                         awaiting triage, Bradley stated something to CW through his mask (CCPD present) and when CW leaned down to ask what he said, Bradley attempted
                                                              to again strike CW and then attempted to kick CW. Bradley then stated, “this is bullshit”. He was then taken back for triage and assessment by
                                                            hospital staff. He was later admitted to a facility outside the area. CW did not sustain any cuts, scrapes or bruising as a result of this hits and kicks.



                                                           On 10/12/2022,          was ill and vomiting.         reporting his stomach hurt and that he had ‘worms’ in his vomit. Staff contacted multiple Urgent
                                                          Care facilities and non were able to see         this day therefore staff took him to Seton Hospital Emergency Room. Medical reported that          had
                                                          pinworms which he could have contracted anywhere as they are contagious. He was given medication and staff were given directions on how to clean
                                                          his items and the home. Medical also provided information on an over the counter medication staff could take if they had been in contact with
  7                     10/12/2022                           over the last few days or next few and are concerned for having pinworms. Follow Up:             was given prescription medication and despite the
                                                           emergency room talking to            about isolating himself for at least 12 hours, upon returning home he refused. All youth in the home were tested
                                                             and negative for pinworms. A deep cleaning was done to the entire home 24 hours later following the instructions from the emergency room to
                                                         include washing all of the youth’s clothing in very hot water with color safe bleach. Additionally all DFPS staff who were exposed self monitored and/or
                                                                                              tested for pinworms if concerned. No staff or youth have contracted pin worms.


                                                               was sitting on the couch and then went into the kitchen to get a snack. We went into the kitchen area to sign the logs and came back to the living
                                                         room area where staff noticed she had taken the laptop. Staff went to           room and knocked on the door. She had the door locked, was disrespectful
                                                            and told me to unlock the door myself. I unlocked the door and asked her to come into the living room with her laptop. I informed her she must be
                                                           supervised with her laptop and needed to come into the Living room. She yelled “no, get the fuck out”.         became increasingly verbally aggressive
                                                              stating we needed to “leave her the fuck alone, telling us to get out of her room, and that us bitches did not buy the laptop”. To deescalate the
                                                             situation Robin volunteered to get a chair and sat in her room with her.        got up and went and closed the door, blocking the door, not allowing
                                                           either of us to exit the room. The security guard and police officer knocked on the door asking that she let them in. After a few minutes she opened
  7                     10/21/2022                        the door insisting we leave the room and leave the laptop in the room. As staff member (C. Grimes) attempted to leave the room she pushed her, cut
                                                          the light off to the room, and blocked her from leaving again. The security guard placed herself in between        and staff to protect the staff member.
                                                                   pushed security into the wall causing her wrist to hit the wall and hand it the door.          threw a chair, a fan, and her brownies at staff
                                                           members. She continued to be verbally aggressive and pushed past us and stormed outside the residence.            returned to the residence less than 5
                                                             minutes later with a staff member a fair distance behind her for safety.       went into her bedroom and sat behind the door blocking from anyone
                                                             opening the door.       sat in her room and for a few minutes then returned to the living room looking for her laptop. She went up to investigator
                                                          Grimes and asked where her laptop was. LE stepped in between and            left into her room again. When law enforcement arrived,       was arrested for
                                                                                                         assaulting both the security guard and DFPS staff member.




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                                                           locked it. Staff requested law enforcement for a quick response and explained that            was now in the room with           with the door locked and a
                                                           butter knife. Workers were asking them to come out and open the door. After a few seconds, the door was opened and                    came out.       gave
                                                              Villegas the butter knife and stated she just wanted it to open the door and was never going to do anything with it. While they were in the room
                                                           together, workers could hear           and       yelling over each other. When they came out, staff immediately went into the room to check on
                                                                  stated        did not harm her but she was shaken up and stated that            told her she was going to kick her in the stomach to hurt her baby.
                                                             Law enforcement responded as CW Saenz was speaking to                      exited her room and proceeded to tell law enforcement what happened. 3
                                                         officers took         outside and 2 others went into          room to speak to her. Officers spoke to         and        individually for about 45 minutes. At
                                                             2:12am,          was placed under arrest for threatening (terroristic threat) to harm       despite        retreating to her room and locking herself in
  7                     10/20/2022                        there and escorted out.          informed officers multiple times that she wanted to press charges and get a protective order. Once Draco was escorted
                                                            out of the room,         came back in and told staff that on          way out        told       this incident “wasn’t over”. Law enforcement heard this
                                                            threat as well. Report number 22-1020-0001; Round Rock Police Department responding officers:N. Nimmo, J. Taylor, O. Nwachuku, Aware, Braun.
                                                              Follow Up Completed:             remains incarcerated at this time and will not be permitted to return to the same location. Although          has an
                                                          identified placement at Annunciation Maternity Home, it is unclear when she will be able to go other than ‘within a week or two’ as they are awaiting
                                                                                      a room to open up.        and        will not have further contact or residing together in child watch.




                                                          At approximately 9pm, staff was talking with another youth about her responsibility to clean the dishes from dinner. She became upset stating she
                                                           already washed the dinner dishes and those dishes were added after;              and some of the other girls kept saying to her that it’s her job. She
                                                            responded that she is tired of these ‘fat, ugly girls’ telling her what to do.      became angry feeling that her words were directed at her and
  4                     10/22/2022                       punched the wall in the hallway several times putting one hole in the wall in the hall. Sarah Gipson went to talk with         in the other room to calm
                                                           her down. I was told later by Sarah that           also punched the wall by the back door as they were going outside to talk about what happened.
                                                                   denied any treatment to her right hand. She was able to move all her fingers, there was some swelling and redness to her right knuckles.
                                                                                        only asked for some Neosporin before bed on a small area of broken skin over her pinky knuckle.


                                                           I was the caseworker on shift from 5:00PM to 10:00PM with                        and                          . At around 8:20PM           got upset and
                                                         told the Caseworker he did not want to be laying down and began to jump on the bed. I asked                to stop and          then stated, “shut up bitch”
                                                          and threw the middle finger at contractor Laura Villarreal.         then got off the bed and kicked a dresser and was throwing his middle finger to me
                                                          and sticking his tongue out. At 8:40PM            began to jump on the bed once again and the Contractor Villarreal asked            to stop.         then
                                                           punched me on the stomach and punched Ms. Villarreal on the side of her stomach. The Law Enforcement Officer who was on duty and assigned to
 11                     10/20/2022                                intervened by holding him in an attempt to calm him so he would not cause further harm to himself or staff on duty.               continued to kick
                                                         and hit the officer, so he requested assistance from another officer who was on duty with another child on CWOP at the same hotel. On call Supervisor
                                                            April Hebert advised me that she had contacted the Corpus Christi Police Department for assistance for transport so              could be assessed at
                                                         Driscoll Children’s Hospital. About 9:40PM an officer with the Corpus Christi Police Department arrived to the hotel room and said that they would not
                                                            transport due to his age. On Call Caseworker Christina Easley later arrived to the hotel as per on call Supervisor April Hebert’s request to transport
                                                                               to Driscoll for further assessment.        was admitting into the psychiatric hospital after evaluation was completed.

                                                                 and peer woke up around 3:00, watched TV for a minute. They then walked outside, no shirt and no shoes, with a blanket. Staff and officers
                                                          followed them and found them in the back yard with cigarettes, 2 were just lit and 1 was unlit. The officers took the cigarettes and crushed them in
  5                     10/5/2022                          the ground. They would not say how they lit the cigarettes, they told us they held them against the metal building. We searched but did not find a
                                                          lighter. The boys said they found the 3 cigarettes on the side of the road when they ran away. After searching around the yard, there was no lighter
                                                                                                        found but there was pack pf cigarettes found by the fence.
                                                                   and peer woke up around 3:00, watched TV for a minute. They then walked outside, no shirt and no shoes, with a blanket. Staff and officers
                                                          followed them and found them in the back yard with cigarettes, 2 were just lit and 1 was unlit. The officers took the cigarettes and crushed them in
  5                     10/5/2022                          the ground. They would not say how they lit the cigarettes, they told us they held them against the metal building. We searched but did not find a
                                                          lighter. The boys said they found the 3 cigarettes on the side of the road when they ran away. After searching around the yard, there was no lighter
                                                                                                        found but there was pack pf cigarettes found by the fence.

                                                          Caseworker, Bettina Taylor, arrived for CWOP shift-Red Worker (8am-12pm) on Wednesday, October 26, 2022 at 8:00 am. While                  was eating
                                                         breakfast downstairs, I observed what appeared to be healing cigarette burns on the back of his left hand. Upon my questioning             regarding his
                                                         hand injury,         reported that       age 16 years, accidently burned him with a light while rolling him up a cigarette while they were on runaway
  5                     10/26/2022
                                                          together.         further reported that      gave him a cell phone. Upon request by staff,          gave the cell phone to staff without incident. It is
                                                         noted that I provided a photo to Supervisor, Kelsey Ady. It is noted that       voiced concerns that        may get mad at him for “snitching” on him.
                                                                            Follow Up:       was separated from            Also, placements were located and they were moved from CWOP.




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                                                          Shift lead T. Thomas arrived at the hotel and             was standing in the hallway asking to get the phone from the med room 207 so she can call her
                                                         mother. The lead gave the phone to the caseworker Harris to give to                 The previous shift lead informed the caseworker that                have not
                                                             taken her morning medication. The shift lead read the medications off the bottle that was to be administered. Guanfacine 1mg-Take 1 tablet by
                                                            mouth daily, Pantoprazaole 40mg-Take 1 tablet by mouth daily, Loratadine10mg- Take 1 tablet by mouth daily, Oxcarbazepine150mg- take half a
                                                           tablet by mouth 2 times a day. The shift lead entered room 206 and informed                  that she has her medication.           noticed she had more
                                                           medication than she usually takes, and said she normally takes 2 medications not four. The Lead told her to hand her the medication back while she
                                                         reviewed her binder. Lead stated she went by what was on the medication bottle.                   refused to give lead the medication back and demanded to
                                                           use the phone to talk to her mother. Worker told her that worker Perla had the phone and that she was in the restroom at the time.                      then
                                                            went to stand by the medication room door waiting on worker Perla. She then started knocking on the door. Worker Harris tried to calm
                                                             down and asked for the medication. She stated she was not giving no one the medication until she speaks with her mother. Worker Harris tried
  3                     10/19/2022
                                                         reasoning with her, but she was not listening. She asked worker Harris to stop talking to her. She then went back into her room and the lead asked her
                                                              for the medication again.            started yelling at her and told her to stop talking to her. Lead tried reasoning with her, but           became
                                                          belligerent. She told her “Stop talking to me stupid ass bitch.” Lead asked if she could stop being disrespectful.            told her to stop talking to her
                                                         and that she needed to read the binder. She told lead that she does not like being talked to while she’s upset. She then grabbed the binder and threw
                                                            it on the bed next to the lead. Lead tried talking to           to see if she could give her the meds.           started screaming and told lead, “Stop
                                                          talking to me stupid ass bitch before I beat your fucking ass.” She also told lead, “Bitch stop talking to me I will slap the shit out of you, I will fuck you
                                                          up”.           stated that she does not care if she gets another charge. The lead explained to              that she does not need to take this harassment,
                                                              and asked caseworker Harris where is the security guard.               then stormed out of the room and went downstairs. Worker Harris followed
                                                                    downstairs. The shift lead called the shift supervisor and shift PD to inform them what was going on. The shift PD was able to talk to
                                                                                                     to calm her down and give the medication back to caseworker Harris.



                                                           At 1:35am; Dallas Police Officer Gonzalez dropped                      at Buckner Cottage in handcuffs. I opened the door and asked the child her
                                                          name before allowing them to enter the cottage. The child stated that her name is “                Officer Gonzalez was given permission to take the
                                                          handcuffs off             Caseworker Jennifer Gonzalez asked              if she was hungry or if she needed anything at this time.           stated
                                                           “no”. Officer Gonzalez stated that            was found in a situation where she could have been exploited. He stated that she was with another
  3                     10/21/2022                         unknown person in a home where he picked her up from. Officer Gonzalez gave me Case #141173-2022 and Case #191175-2022. Officer Gonzalez
                                                           advised that            was interviewed by the detectives. Around 2:00am;              informed Caseworker Jennifer Gonzalez that she had been
                                                           smoking marijuana and doing “Ice”.             informed me that she does not have an appetite right now because she had been doing some bad
                                                         things.           informed me that she had told Caseworker Jennifer Gonzalez what she had been doing while she was on runaway. Around 2:11am;
                                                                                         was transported to Children’s Hospital by Caseworker Jennifer Gonzalez and HST Mandee Taylor.


                                                           When I arrived,            is in her room with the door closed, I opened her room door to check on her and she approached the door and stated that
                                                         she needed a minute to herself. I explained to her that I am going to go check in with the other staff and will be back to check on her, but the door will
                                                          need to remain open. Shift lead Konnie Critton reports that             was ok but a few moments ago she went into her room and slammed the door.
                                                         At 06:04PM,            is throwing rice crispy from the kitchen into the hallway. Marquitta explained to              that she would not go to the library if
                                                         she continued to have those behaviors.              began to pick up the food off the floor. She is also rolling around on the floor.        is in her room
                                                          processing with Shift Lead Hawthorne. She is being explained that she cannot go to the library if she continues to have behaviors.               began to
  3                     10/17/2022                         yell, curse and scream, I Jamiqua Wilson sat outside of              door, and she became upset stating she did not want me watching her. 06:31PM
                                                                        walked out of the backdoor slamming it. Outside she began to throw things on top of the roof while yelling and screaming.
                                                          processed with worker Natalie Zapata outside. At 07:03PM Mobile Crisis Line is called for assistance with               (972)4225939). At 07:31PM called
                                                           received from Mobile Crisis unit. She reported that she is currently in route. At 07:52PM Mobile crisis personnel arrived at the pink house.
                                                         processed with Mobile Crisis personnel in the kitchen area. At 08:44PM A Safety plan was created with mobile crisis personnel and Natalie Zapata. Her
                                                         email information was given for follow up information. The Mobile crisis personnel gave Jordan her contact for use when in crisis only and left the pink
                                                                                                                                    house.


                                                           During shift,         began to get upset and cry by herself and say she wanted to die. The other child in the room talked to her and helped her calm
                                                         down. After a few minutes,             began to shuffle through her belongings and throw everything around her. She then went to the other child’s bed
                                                           and began to grab and throw her belongings as well. When the child asked            if she could help her find something and to not throw her things,
  8                     10/30/2022                                began to curse at her and staff. The officer was then asked to come into the room to help deescalate the argument.            began to jump on
                                                         the bed and throw things towards the other child and officer.           then grabbed the lamp and throw it towards the other child. The lamp landed on
                                                            the other child’s bed. The officer asked          to get down and stop throwing things and asked the other child to leave the room. PD on call was
                                                                                 called and asked to call LE to assess         She was ultimately, taken to Clarity for further assessment.




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Region   Child Name   Date of Incident      Location                                                                              Description

                                                          At approximately 8:10p.m.                  walked out of the hotel room 321 and worker Sydney Lang followed him down the stairs.           then ran out
                                                            of the side door of the hotel and ran out of sight outside by the time Ms. Lang made it to the exit door.       ran out of the room due to Jennifer
                                                          Freeman (yellow worker) advising him not to pierce             ear as it was not safe nor appropriate.      got aggravated at Ms. Freemen’s directives
                                                           and left the building. When workers arrived for 8PM shift we noticed              ear pierced and asked when this happened;          reported earlier
                                                           during the day “       pierced it”. Ms. Lang walked around the property twice with the law enforcement officer on duty, before coming back to the
  5                     10/22/2022                         room to call and report       as a runaway at approximately 8:20PM. Ms. Lang then made a phone call to Beaumont Police Department and asked
                                                           them to send an officer as we need to report a runaway. At approximately 8:50PM Ms. Lang noticed                       came back up to the room and
                                                          walked inside. Ms. Lang called Beaumont Police Department and notified them that             had returned as an officer had not responded to her initial
                                                           call before       returned. Once        walked back into the hotel room 321, the law enforcement officer on security duty searched           pockets.
                                                          There was an MP3 player found on Sean with naked photos on it and access to the internet. It was confiscated and given to primary worker Jennifer
                                                                                                    Freeman. Lacy Salinas ON CALL SUPERVISOR was notified of incident.


                                                               left the room with another child client and went down stairs without permission. Staff and the CWOP officer went down stairs to see           Sean
                                                          and the other child client went, they were found at the side door.         was asked to return to the room and refused by walking away and went out
                                                          the front door of the hotel,      was seen by the officer heading west of the hotel. Beaumont PD was called and a report was made.           returned
  5                     10/12/2022                        approx. 2:30 PM with a dog, Beaumont PD was called again to cancel the run way call.          was told that he could not have the dog in the hotel and
                                                          refused to remove the dog. Staff, officer, and      walked down stairs to take the dog outside.          bag was searched where a half of coke bottle
                                                         filled with alcohol was found;       reported the bottle is not his. While outside Beaumont PD arrived with the owner of the dog and the dog left with
                                                                         the owner and took the bag as well. Beaumont PD pulled          aside and spoke with him. There were no further incidents.

                                                                was found to have a vape pen containing marijuana. He appeared to be high as well. On site LE attempted to confiscate the vape pen however,
                                                                began to approach the cop in a defensive manner.          also began to use profanities against on site LE. He was handcuffed to allow him time
                                                          to calm down however, he continued to escalate. On site LE searched           as he had the vape pen hidden in his buttocks area. A male CWOP staff
  8                     10/4/2022                         was asked to be a witness as SAPD was contacted and had not arrived after 2 hours of waiting. On site LE located the vape pen and removed if from
                                                                 person.       continued to escalate so staff and on site LE awaited SAPD’s arrival.       was assessed and did not meet criteria for an ED. He
                                                          had finally calmed down when SAPD arrived.           caseworker was contacted about this incident as well as PD, Viki Hinson.           vape pen was
                                                                                                                           secured in the safe.

                                                                   was okay at the start of the shift. He interacted with security and went outside for a while. He did not get along with the older children in the
                                                         home.         found a lizard outside and picked it up. He took it inside to showed           and                got the lizard and brought it back outside. He
                                                         stated that he was letting the lizard go.        asked for it back and        did not give it to him. Staff asked        to give the lizard back, he still did not
                                                            give it back.       stated that he was going to go take something from             room. He went inside and got             toy gun from the table in the
                                                           living room.        stated that he was going to Kill him if he touched his things or went into his room without his permission.           got up and walked
  5                     10/5/2022                        toward           bedroom.           picked up an ink pen and walked toward his room behind             saying he was going to kill him. Security got           and
                                                            took him outside. They tried talking to him to calm him down, but his behavior continued to escalate. He tried cutting his hand with an object that
                                                          security took from him. He continued to walk in and out of the house. He stated that he wanted to die. Security put him in handcuffs when he began
                                                         to hit and kick him. He began yelling, screaming and, and hitting his head on the wall. He continued to say that he wanted to die. Security called Lufkin
                                                              PD to come out to transport          to Woodland Heights Medical Center so that he could be evaluated. One of the staff went with                 to the
                                                                      hospital.        was evaluated at the local emergency room and then admitted into West Oaks Hospital in Houston on 10/06/22.


                                                         Child was complaining of a stomach ache since 5:30pm but insisted she did not want to go to the hospital and wanted to eat to see if it would go away.
                                                          The caseworker asked the child why she thought her stomach was hurting, which the child stated that she “didn’t know,” but told the caseworker it
                                                          had been hurting since Friday, October 28th, 2022, after smoking a vape pen at school. (This is the first time she has informed anyone of vaping)The
                                                         caseworker fed the child and continued to ask her if she was feeling better, in which she reported that she was feeling better and the food helped her.
                                                          During the shift the child would say under her breath that her stomach hurt prompting the caseworker to ask her “on a scale of 1-10 how much pain
 11                     10/31/2022
                                                         are you in?, which the child stated “7/10.” The caseworker called the on-call supervisor, Ashley Montemayor at 9:26PM, and informed her that
                                                          continued to say “my stomach hurts,” during the shift; Ms. Montemayor advised the caseworker to take               to the hospital and if she refused, to
                                                          call EMS; the child refused to go to the ER, prompting the caseworker to call EMS at 9:31PM. EMS arrived at approximately 9:40PM and checked the
                                                         child’s vitals and reported that her vitals were normal and she did not need to be seen by a doctor. Primary Supervisor was advised on this day of what
                                                                                                                        occurred and of the vaping.




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                                                            Primary CW Katie Tackett,                CW Alexis Randel and Officer Daniel Gibson attempted to transport                back to the hotel. However, a few
                                                          minutes after departing the school,               began to argue with CW Tackett, when CW Tackett stated she did not want to continue the conversation
                                                          about her returning to school this afternoon. Once on the highway,                   repeatedly stated, “Bet you I won’t jump out of this car.”          made
                                                          additional comments about being upset. CW Tackett pulled over to the barrier on the right side of the highway. All Staff and Officer Gibson exited the
                                                              car. CW Tackett requested for               to step out of the car and move to a seat in the backseat but             refused. CW Tackett contacted PD
                                                         Kimberly Bailey, who attempted to deescalate the situation by speaking with                    on speaker phone. About 5 minutes later,            moved to the
                                                          back seat. All staff returned to the car, then             began punching the door, hitting the windows and stating she would find a way to get out of the
                                                         car. Staff Randles spoke with               about why she was upset and how this situation could be resolved.                stated CW Tackett routinely tries to
                                                               get her admitted to a mental health hospital by agitating her. CW Tackett remained outside of the vehicle and contacted law enforcement for
                                                           assistance. Law Enforcement arrived and stated they would escort all staff and                   to a nearby location for further assessment and assistance.
                                                             Kayliyah informed Staff Randel she would remain calm and agreed to speak to law enforcement at the next destination. CW Tackett drove to the
                                                                    destination, which was a local business by the exit ramp, while being followed by law enforcement. Law Enforcement spoke with Kayliyah and
                                                           confirmed she was not suicidal.               stated she has calmed down and never intended to jump out of the car while it was moving. She stated she
  3                     10/21/2022                             would like to return to the hotel and sleep. She stated she will no longer be communicating with CW Tackett. CW Tackett the spoke with law
                                                             enforcement and a completed incident report with reference # 2022-200918. Afterward Law Enforcement Escorted Staff and                         back to the
                                                            hotel. Law Enforcement briefly followed up with CW Tackett and confirmed no additional assistance was needed.                       Staff Randel and Officer
                                                            Daniels returned to RM 206. Housekeeping was cleaning the room.                     stated she wanted to immediately call her attorney and mother. Staff
                                                           Randle asked her to wait for 10 minutes, in order to retrieve belongings and update shift lead.                  became more agitated and stated her rights
                                                         were being violated because she wasn’t being allowed to make phone calls. Shift Lead arrived a few minutes later and provided the CWOP cell phone.
                                                                     Staff Randel’s and Officer Daniels went to the downstairs lobby.               was permitted to call her attorney, who encouraged              to not
                                                         make statements which she doesn’t mean. The attorney instructed her to contact Ms. Diana @ (469) 994-7926 if she had additional concerns.
                                                          next attempted to reach Ms. Diana and her mother but received no answer. Staff Randles and Officer Daniels returned to the second-floor hallway to
                                                             wait for housekeeping to finish cleaning the room.                asked to call the Foster Care Ombudsmen @ (844) 286-0769. Staff Randles dialed the
                                                         number and kept               in line of sight as she walked up and down the hallway.               stated the call was taking too long then returned the phone
                                                         to staff. Shift Lead briefly joined us in the hallway and was asked by                why she couldn’t know the new med room #. Shift Lead explained how it
                                                         is to ensure no youth have contact with the meds, to which                  stated “she’ll find the number out or can just follow her to the room.” 10 minutes
                                                                later,           Staff Randel and Officer Daniel returned to her hotel room.               calmed down and shortly after wen to sleep in her bed.



                                                            At 6:45pm,         was complaining that she was hungry and refused to eat what was at the hotel. She was given many food options by Worker
                                                         Shaunte Blake and Shift Lead Calla Anderson.           still refused.       begin to cry and stated that she was going to bed. Worker Blake asked
                                                         when she wanted to take her medication.            refused to take her medication. Lizeth got in her bed and went to sleep around 7:00pm.             was in
                                                          her bed sleeping. At 7:58pm, workers noticed that             was shaking. Worker’s and Off Duty Officer, Deputy Hill went to          bed. We saw that
                                                                 eyes were rolling back in her head, she was foaming at the mouth, her body was stiff, and shaking. Worker Blake called Shift Lead Anderson,
  3                     10/24/2022
                                                         while worker Aliajha called 9-1-1. Shift Lead Anderson came to assist with           Workers put         on the floor and laid her on the side as instructed
                                                           by 9-1-1 and         seizure information form.             seizure ended at 8:04pm. Shift Lead contacted           primary worker and left a message.
                                                          Worker Aliajha left a message and text message for primary supervisor, Shannon Cole. Dallas Fire Rescue came at 8:07pm and assisted with
                                                                  was transported to Children’s Medical Center Dallas by Dallas Fire Rescue. Worker Aliajha rode with            in the ambulance, while Worker
                                                                                                      Blake and Deputy Hill drove to Children’s Medical Center Dallas.




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Region   Child Name   Date of Incident      Location                                                                            Description


                                                           At approximately 4:30pm, shift lead Alvina Starks came to              room requesting that she review and sign paperwork that             primary worker
                                                         had dropped off for her to sign.         asked if her worker was at the hotel, where she is currently in CWOP, and when             was notified that she was
                                                                    fled her room and was found to be in the downstairs lobby. Worker Doreen McGarrett went downstairs along with shift lead Ms. Starks to
                                                         discuss with         that she should come back upstairs.          stated that she would not come upstairs until she spoke to her primary worker, who was
                                                         then located in the medication room of the hotel. Security for another child was contacted due to no security being assigned for Lizeth. Security officer
                                                             Smith came downstairs to speak to           in an attempt to de-escalate the situation, allowing            primary worker to be able to exit the hotel
                                                               safely. Security officer Smith, worker Mayrell, and worker McGarrett walked with            to the side of the building while shift lead Ms. Starks
                                                           attempted to assist the primary worker in retrieving her car so that she could safely leave.          was able to make contact with her primary worker
                                                           and when her worker attempted to get into the driver’s side of her car,            opened the passenger side door and sat in her vehicle. Both Security
                                                         officer Smith as well as          worker told         several times to exit the worker’s car, however she refused.          then grabbed the worker’s wallet
                                                         from her car and ran from the vehicle. Worker Mayrell began to contact 911 to report the incident and               was observed to run back to her primary
  3                     10/25/2022                        worker’s car and stand in front of the vehicle so that the worker could not drive off.         was then observed to lay on top of the vehicle and pull the
                                                          windshield wipers forward, damaging them.              was asked to stop by both Officer Smith as well as her worker.          them walked to the driver’s
                                                          side of the car and broke part of the driver’s side mirror.        was then placed in handcuffs by officer Smith as worker Mayrell was reporting this to
                                                            law enforcement.           was in handcuffs; however, she was still kicked at officer Smith where his gun was holstered as well as kicking at his face.
                                                          Lizeth then yelled “you’re trying to rape me” making false allegations toward officer Smith.            continued to kick at officer Smith as he walked her
                                                             around to the front of the hotel where she was handcuffed to the             Lizeth continued to kick and scream toward officer Smith. Officer Smith
                                                              contacted law enforcement to prioritize the call due to the nature of            behaviors. At approximately 5:35pm officer Smith requested EMS
                                                          services as         was making suicidal statements (asking security to shoot her in the head as well as wanting to jump in front of cars so that they hit
                                                          her). EMS arrived and received a report regarding why             was in handcuffs as well as the suicidal threats that she was making. It was determined
                                                          that the handcuffs could come off of          and climbed into the back of the ambulance.            will be transported to Children’s Medical Center for a
                                                             mental health evaluation. Law enforcement arrived prior to            leaving with EMS and indicated to worker that no report was made due to the
                                                                                                    security officer that could press charges having already left the scene.



                                                           Prior to worker arriving on shift, youth’s behaviors increase and the police officer on duty, at Quality Inn Rm 119, determined the youth should be
                                                          emergency detained due to safety to herself or others. Worker was briefed that youth threatened to harm her roommate and stated she wanted to
  8                     10/31/2022
                                                           hurt herself. Youth was picked up by an on-call worker and was getting transported to the hospital. The female officer followed the worker to the
                                                                                                      hospital. There was no further incidents reported for the youth.



                                                            At around 7:30PM, shift lead Kymberli Anderson came to           room with some medications and was trying to sort out which medications she takes
                                                         and how much. Kymberli went back up to the medication room and stated she will be right back. At 7:55PM, Liz put on her shoes and said she wanted
                                                          to go to the medication room and talk to Kymberli and her caseworker’s supervisor. She was told by staff Semone Simmons that she is not allowed in
                                                             the medication room and to just wait for Kymberli to come back. then went outside the hotel room door. I, Jessica Gary, opened the door and
                                                          observed to be standing up against it. then took off down the hall to the stairs and went up one floor. I followed her and saw her at the door of
                                                           the medication room. She said she did not knock yet. I told her that she can’t be here and to come back downstairs until Ms. Kymberli is finished.
                                                         continued to knock anyway. Kymberli answered the door and told her to leave. At this time, staff Semone and the security staff Tiffany was there. The
                                                           security guard next door heard what was happening and started talking to him when he opened the door. She got mad because he also told to
                                                         listen to the workers and that she isn’t supposed to be there. took off down the stairs and then went down the halls and up and down the stairs. At
                                                         about 8:12PM, and staff returned to her room. got out Domino’s and wanted to play. She was waiting for security staff, Tiffany to play with her.
                                                           Tiffany had not come back yet as she was in the restroom. When Tiffany came back, she told Liz she doesn’t know how to play and Liz got visibly sad
                                                            and went into the restroom. At 8:30PM, shift lead Kymberli came back to the room with Liz’s medication. Liz was still in the restroom and Kymberli
  3                     10/23/2022                        knocked and tried to speak to her. was heard crying in the restroom and the light was off. She was told that we need to have eyes on her to check
                                                         on her and she refused. The bathroom door was locked. Security staff Tiffany went to see if the front desk has a key and they didn’t. Staff Jessica Gary
                                                         found a nickel and we were able to unlock the door using that. was sitting/pushing against the door and would not allow us to open it. She was told
                                                             that we would have to call the police and then opened the door very hard, pushed passed us, threw some items onto the floor and ran out the
                                                           hotel room. By the time we had gotten to the hall, was gone and it was not apparent which way she went. Staff took the elevator downstairs and
                                                             asked hotel lobby staff to check cameras. He said that could not be seen. Semone and Tiffany walked around the building outside while Jessica
                                                             called the police and LE was to be dispatched. A few moments           Liz was observed to be at the end of the building around the security guard’s
                                                            vehicle. Jessica called the police back to cancel the dispatch. had made vague threats regarding damaging vehicles earlier in the night and would
                                                            not leave the security guards vehicle.      continued to walk around outside the building and inside the building but refused to go back to the room.
                                                          She began walking around picking up items off the ground in the parking lot. Kymberli Anderson went to talk to and ask her to take her medication
                                                          and she agreed. At 9:40PM, staff and arrived back in her hotel room and she went to the restroom immediately. When she came out, she took her
                                                           medication and gave Kymberli the items she had picked up from the parking lot ground including a rusty nail. Liz spoke to security guard Tiffany. She
                                                                                                                      apologized and seemed to feel better.




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                                                              got upset when workers wouldn’t buy him white castle burgers and then came upstairs and got more upset that the air fryer was not cleaned, He
                                                           threw a fork and it broke the knob on the over.        also stated that he was losing it because he hadn’t been on meds or talked to any therapist in
  8                     10/5/2022                        years. He also closed the connecting door and would not follow directions to open it after several workers and officer asked. He eventually opened the
                                                             door and tried to close it on the workers arm he said the door hit his toe but his toe did not appear injured. His caseworker and supervisor were
                                                                             notified that he is having a hard time controlling his anger because he is not on meds and hadn’t seen a doctor.


                                                             On 10/30/22 at 4:30pm, caseworker Monica Salinas and contractor Justin Cropper were assigned to watch                                   , and
                                                                 . Caseworker was in         room while Justin Cropper was watching             and                   and        were watching a movie in
 11                     10/30/2022                       room while Justin was sitting on a chair supervising. Caseworker would get up to check on               and       every 4-5 minutes while Justin continued
                                                          to watch them. While caseworker continued to watch            Justin got up from his chair to make sure           and         were behaving, that’s when I
                                                               heard Justin say, “what are you doing?” Caseworker got up to see, Justin stated to caseworker that he found the girls on top of each other.
                                                          Caseworker stated, “weren’t you able to see them”, he stated “yes, but it happened so fast.” Caseworker spoke to both girls separately-             stated
                                                                      made her kiss her but didn’t kiss her back as she was trying to move away. Caseworker asked            why she didn’t get up and tell either
                                                           Justin as he was sitting right there or myself (Monica),        stated         told her not to tell or she would kill her. Caseworker moved         into
                                                                  room and           remained in her room. Caseworker then notified on call supervisor Maria Fernandez immediately.               caseworker Emily
                                                           Hernandez and               caseworker Cristina Jones were notified via phone call. Once everyone was notified, Caseworker handed out their dinner,
 11                     10/30/2022                                ate her food on the table where caseworker was sitting on          side of the room,       ate her food in her room, and          ate her food in
                                                         her room. Once everyone was done eating,               sat on her couch and watched television,           and     were watching television in         room.
                                                           Once the shift ended at 8pm, on call supervisor Maria Fernandez instructed caseworker to transport             back to her original room located at the
                                                                                                                                Residence Inn.



                                                          On October 31, 2022, I (Shelena Curry, Caseworker) went to get the medication for              Child from the medication lock box.         was trying to
                                                            see the lock box code, but the Ms. Brown, Caseworker started talking to him, so he would get distracted and not see the code. Once I (Ms. Curry)
                                                          removed the medication from the lock box,             snatch the medication (Valproic Acid 250mg) out of my hands and ran into the bathroom with the
                                                             medication then locked the door.           would not allow staff into the bathroom and he kept the door locked for approximately 5 minutes. Ms.
                                                               Brown and I (Shelena Curry) asked           to come out of the bathroom numerous times and give back the medication, which he refused for
                                                         approximately 5 minutes. Finally,          came out of the bathroom and gave the medication (Valproic Acid) to Ms. Brown. I (Shelena Curry) noticed a
                                                           pink substance now in his water bottle.          sat on his bed and referred his water bottles some pink substance as “ lean.” Ms. Curry was not sure
                                                         how much of medication            had poured into the water bottle or if he took some of the medication while in the bathroom. I (Shelena Curry), called
  6                     10/31/2022
                                                         Mr. Bradley, On-call Supervisor to inform him of this medication incident with           Mr. Bradley informed me to monitor            closely to see if his
                                                          behavior changes or if he gets sick. Mr. Bradley called back after about 5 minutes after staffing this incident with Program Director, Sharanda Walker.
                                                          Mr. Bradley informed me that due to not knowing if             may have taken too much medication, EMS needed to be contacted to check                out
                                                         for a possible overdose. HPD arrived around 10:10pm and HPD Officer Casas talked to               in the room with Caseworkers present about how much
                                                         Valproic Acid he took. Walata told Officer Casas that he didn’t take any of the Valproic Acid while in the restroom. Officer Casas told him okay and that
                                                         EMS would check him out to make sure. Both Caseworkers went with the child and EMS outside the hotel to have his vital signs checked.                blood
                                                           pressure and heart were all normal range and EMS said that it didn’t appear that           had taken any of the medication and he was allowed come
                                                                         back into the hotel room. I (Shelena Curry) contacted Mr. Bradley with the information and no further incident to report.



                                                          On 10/31/2022, 17-year-old child                     and I were leaving the Greenwood office. I was taking him to his boxing gym.              and I walked
                                                          out the back of the building through the closest exit to my unit. I specifically told           we would be taking the first exit to avoid seeing anyone as
                                                                    has a bad habit of throwing the middle fingers to others. I was trying my best to keep him from other staff. When we walked out the office
                                                             Myra and another female staff member were at the second exit having a conversation.                  and I walked pass the two female staff members.
                                                                  was walking right behind me and suddenly stopped and said, "hold up". I turned around and asked                   to hurry up and keep walking as we
                                                         needed to leave.             then became upset and said, "hell no she just called me a bitch Madelyn!"              turned back around and asked Myra why
                                                           she would call him a "bitch" as he was a kid.           was instantly triggered as he has vocalized "bitch" being a trigger word for him due to his past.
                                                                   began to shout at Myra and asked once again why she would call him that. I kept telling               to just walk away as we needed to go but he
 11                     10/31/2022
                                                           was already in a different mindset. The other female staff member told                to be respectful and watch himself. I once again told him to let it go
                                                          and keep walking. Myra was also upset and walking towards                  and I. Myra then shouted at           and called         a “bitch” and stated she
                                                             was not afraid of him because he was “just a kid”.            once again turned around and asked who she was calling a bitch.              grabbed her
                                                         glasses from her head and threw them towards the side of the building. One of the lenses flew off and the glasses fell to the floor. After               threw
                                                         the glasses, he told Myra to not call him a bitch and walked off. Myra followed                and I towards the parking lot and said, “fuck you!” as we were
                                                           walking away.             stated that Myra "flicked him off first", so he did it back as he has done that before. He said he didn’t care about the middle
                                                            finger until she called him a “bitch”.         stated he was triggered and reacted as he didn’t call her anything. Note: disciplinary action was taken
                                                                                                               against the CPI employee who use the profanity.




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                                                               6:30pm             requested to go to the pool. She did not get in because it was too cold.             left pool and went towards the elevator. CW
                                                          Greenidge followed behind                and was able to stop the elevator door from closing by placing her arm in the elevator door. CW Greenidge then
                                                           entered the elevator.             got frustrated.            pushed CW Greenidge arm out of the elevator and told her “move out of my way b**ch.” CW
                                                         Greenidge told              not to touch her.           yelled and walked out of the elevator “move b**ch I didn’t touch you h**.”                then ran up the
                                                         stairs to the medication room and started banging on the door demanding the flip phone. Shift lead Beal called CW Greenidge to notify her                       is
                                                           at her door, and that she is not going to open the door as CWOP youth are not allowed access to the medication room. Hotel staff notified CPS staff
                                                           that            is misbehaving and to get her under control.              threw the hall trash can, and broke the second floor exit sign. Hotel staff notified
                                                             CPS staff if they do not call the police, hotel staff will because she is damaging their property.            continued to yell at CPS staff in the hallway
                                                            stating that CW Greenidge is lying saying              hit her.          then went back downstairs. CW Greenidge tried to speak to                and stated
                                                            that she did not say            hit her, and had asked her not to touch her. CW Greenidge tried to de-escalate                             became involved,
  3                     10/26/2022                        instigating the situation. CW Greenidge informed                    she was not going to argue with her.            started yelling in the hotel lobby, and CPS
                                                           staff was instructed to remove her from lobby.                 returned to her room, and stated she wanted to sit in the hallway and write. She stated she
                                                         wanted to use the flip phone and call her aunt.                 spoke to Shift Lead Beal.         used the flip phone to speak to her father. She informed her
                                                         father that she damaged hotel property. The Hotel staff came to the second floor asking for the lead, and stated that the GM wanted to speak to Lead
                                                          Beal. Beal proceeded to go downstairs. Beal contacted supervisor Garza on call (put on speaker), while speaking to the GM on the Hotel staff phone.
                                                         The Lead did apologize for what took place this evening. GM wanted to know has the situation been resolved. Lead stated that the youth is now calm.
                                                            GM wanted to know was the youth trying to harm herself or anyone. Lead stated know, just became upset and threw a trash can and knock a exit
                                                         sign down. Lead asked where they going to press charges. The GM said no, and will have to speak to the owners due to them being present when this
                                                           incident occurred. Law enforcement called CW Greenidge and asked if they were still need. CW Greenidge informed Law enforcement                            has
                                                          calmed down, and their assistance is no longer needed. Law enforcement stated the hotel did not call them and create a report, however they would
                                                                                    follow up with hotel staff to ensure the matter has been resolved. Reference number was not provided.


                                                         I (CW Kimberly Kelly) arrived and                was in her bed on her laptop.           asked workers to go outside so she could take a walk and she seems to
                                                         be a little down. I asked her what was going on and she said she didn’t want to talk about it.                  then begin to tear up and said she wants a better
                                                            life and that she wants a job. She said that she just wants some peace and she knew how to get it. She walked off and staff followed her back to the
                                                           room.              got her lunch kit, wallet and another bag and went to the restroom and locked the door and turned the water on. I asked                   what
                                                          she was doing, she said she just wants to be alone. I heard her crying in the restroom and I asked her to open the door.                   said she wanted to be
                                                                alone. Staff told her that she could open the door and let us see that she was ok. Staff told her that we just wanted to make sure she was good.
                                                                      said no and asked          how to spell her name.        said open the door and I will tell you. I sent text to the lead worker (LaTasha Benson) to
                                                         send law enforcement as                  had locked herself in the bathroom. I went back to the door and knocked again and heard                still crying and she
                                                              said, “go away.” I called Lead worker and told her that             was still locked in the restroom and I was calling 911. Britney opened the door just
                                                               enough to give us her laptop and she had typed a letter saying she was tired of fighting the thoughts and that she keeps trying and no one cares.
                                                                     said she wants a family and someone to love her and she is tired. I notified 911 of what was going on and gave them                    information and
                                                           they sent Law Enforcement, and EMS. Law Enforcement went inside the restroom and asked                         what was going on. They got her bags to search
                                                          them and               got more upset and said they did not have her permission to go into her personal things and that she was not going to hurt herself.
                                                                       told the officers that they didn’t care and no one cares and nothing matters and that she would just go to jail. After they searched
                                                             bags. They found a small white pill in her wallet and she said it was not hers and that’s been in her purse for weeks. She said that she wished it was
  6                     10/26/2022
                                                                 Fentanyl because she would take it. The officer asked her why she would do that and that her saying that makes them very concerned for her
                                                             wellbeing.            asked to go sit on her bed and the officer said ok. The EMS begin to ask             questions and she became even more upset and
                                                            said she was not talking to them and they couldn’t make her.                said she would just go to jail.         threaten to run away and said she would
                                                          just get arrested because she was not going to a mental hospital and she knows the drill. The officers told her that they could do this the easy way, or
                                                           the hard way and Britney said it did not matter to her and she will just go to jail. I talked to            to get her to try to calm down and so did the EMS
                                                            and law enforcement.               agreed to go to the hospital. Law Enforcement transported              to Pearland HCA and they were very busy.
                                                             asked to use the restroom and was handed a cup to urine in and she said she was not going to do it and she was not letting them take her vitals or
                                                              anything.            poured the urine away and said she told you she wasn’t doing anything. The nurse asked to place an id band on                    and she
                                                             refused. She said that she would push staff away so just get ready.               tied her shoes and put her hair in a ponytail and pulled up her pants and
                                                           told officers that she is stronger than she looks. The nurse and officers and I tried to talk with Britney to get her to let them place the id badge on her
                                                         wrist and she refused. The officer called for backup and once he arrived, they tried to put the id band on her wrist and                   began to push, kick and
                                                               fall to the floor. The two officers wrestled          on the ground for about 20 minutes and she did not let them put the handcuffs on her.
                                                           kicked the glass door, but she did not break it.             was on her stomach on the floor and she began to bang her head on the floor and officers had
                                                         to hold her head and she kept fighting and kicking. They turned                 over and tried to pick her up, but she kept fighting and they finally had to wait
                                                         and just let her sit on the floor The officer called another backup for leg restraints They told                that she was going to jail and she said ok




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                                                          I got to the hotel at 5:05 pm.            was in the room, and other staff left. Lakeisha had the key for the room.         was playing cards and showed
                                                         me a card trick. She was happy and seemed to be in good spirits. She asked to call her dad, and I checked to make sure she was allowed. I then put the
                                                            number in for her, but it was not the right number. (I was tricked) While talking the they talked but sponge bob, and just small talk. I looked at the
                                                          number, and noticed it was not the right number. The call ended with I’ll call you back. I told her we would not be calling back as she was not truthful
                                                          and did not call her dad. From here she got agitated and started staring out the window while making noise. I ignored the noise. She then walked out
                                                              of the room, and I followed her. We went down the stairs and back up several times. I found her on the computer downstairs trying to get on
                                                          Instagram. I told her she is not to be on the computer, and she ignored me. She asked again to call the number, and I refused to let her. She said they
                                                         were on their way to the hotel, and she needed to tell them to not come. I dialed the number and had it on speaker. When she did not tell them to not
                                                         come, I did and ended the call. The lead was given the number, and they called the number as well. She again went up and down the stairs. I found her
                                                             outside. She asked to call her caseworker. I called the caseworker but held the phone and had it on speaker. She refused to talk. Then I gave the
                                                           phone to Lakeshia, and she held it. I stepped away. Still in eyesight. She asked her caseworker to call her mom on three-way, and when she refused,
                                                          she hung up. She back in. The floater came with the food and               was on the computer downstairs. While texting the lead in the lobby,          hit
  6                     11/2/2022
                                                             my hand to knock my state cell phone out of my hand. It fell to the floor and she took it. I was able to grab it back.Later while following her in the
                                                           stairway I was on the phone reporting the incidents and she slapped my hand and face to make me dropped the phone again but I had a better grip
                                                         and she did not get the phone this time When she laid her subway next to her she pushed it off the desk towards me. I picked it up and laid it on a side
                                                           table. The floater then laid the Gatorade and chips beside the sandwich. I started signing papers.           then grabbed her food and headed back up
                                                          the stairs. I followed her with the papers in hand. She went to the room. When I’m the room she pushed the chair, she was sitting in front of the only
                                                          chair in the room for me to sit in. So, I sat on the floor and finished signing the papers. When finished and the floater left        crushed her chips up
                                                           and poured water in them. She then poured them on my head. She then saw my yeti style cup and filled it was food and liquids and poured it on my
                                                           head. She poured a bottle of water on me, and a bottle of Gatorade on me and my state cell phone. My state cell phone speaker is now not working
                                                          well. I then stepped into the hallway with the door cracked open. I could hear her talking to              and threatening to do this to the next staff who
                                                           comes too. Note: I reached out to both security at 6:52 pm and Meka Patterson never responded. Officer Philips came over and as                 appeared
                                                            calm, he left. I sent him pictures at 7:49 and he came back to the hotel. Pearland PD was called. I filed a complaint and           was issued a ticket.
                                                                                                              Officer D. Garza responded report number 22010840




                                                           Staff got home with              from school. He went to his room and later came out with his laptop. I asked               what he plans to do with the
                                                         laptop. He said he wants to connect the laptop to the TV to watch a movie. I inform                that he is not allowed to use the laptop for personal use.
                                                                         stated that he was told by his caseworker (Jordyn) that he can use it to connect to the TV to watch a movie. I tried calling Sebastian’s
                                                              caseworker, but he did not answer. I left a voicemail for a call back. Staff went to his room to get              laptop and he refused to give it to
                                                          worker. He said the laptop belongs to him. He was watching a movie on his laptop. I went and disconnected the WIFI in the living room.                   was
                                                         informed again to give the laptop to worker, he refused.                came to the living room, and I asked him to hand over the laptop to me, he refused.
                                                          He went and sat on the couch and began throwing pillows on the floor. He was redirected to stop. He said NO! He later started pulling the blind string
                                                            up and down and when he was redirected to stop, he said No. The lead redirected Sebastian to stop messing with the blinds. He still did not follow
  3                     11/2/2022
                                                             directions. Sebastian went on to bang on the walls of the living area where he was sitting close by.              was asked to do his laundry, but he
                                                              refused.            started pulling the string of the blinds of the window that was close by him.             went to his room and closed the door.
                                                                     came out of the room with his bag pack and walked outside. He was asked where he was going. He said I should leave him alone. He sat on
                                                            the desk outside and began hitting the desk and moving the swing in a manner that kept hitting the wall. The security tried to redirect him several
                                                            times, but he would not listen. He hit nose with a fist several times while seated outside. He started bleeding through his nose, and he rubbed the
                                                             blood on his shirt. He was redirected to stop hitting himself. I called 911 and asked for a medic to be sent to the address. Two Waxahachie police
                                                               arrived. The lead and I went to speak to them. The police asked us to wait inside for them to speak to               while he was seated outside.
                                                                                                was taken to Baylor Scott & White Medical Center in Waxahachie Hospital by Para Medic.




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                                                         On November 11, 2022 at 6:30 PM,               had asked staff, Akyia, to go to the computer room and then asked for Akyia’s state cell phone to make a
                                                             phone call due to the phones in the safe to be dead and no charger.              proceeded to grab Akyia’s state cell phone after being told no and
                                                            attempted to put it to her face.           became severely agitated and walked out of the room.                 then went to the lobby bathroom and
                                                          locked herself in there for 15 minutes. Akyia attempted to talk with             to get out of the bathroom and             proceeded to cuss Aykia out.
                                                            Hotel staff then attempted to unlock the door and             proceeded to hold the door closed.               came out and continued to be severely
                                                          agitated, threatening security, and went to the lobby. Akyia assessed the bathroom and observed                 had used her fingernails to peel the paint
                                                           off the door of the bathroom. Security attempted to redirect             back to the room, however,                behaviors continued to escalate and
                                                          began throwing items down in the lobby, grabbing the carts and attempting to run the carts into the fireplace and doors, and then began threatening
  8                     11/11/2022                         hotel guests and hotel staff.          was yelling and cussing at the front desk clerks.             then proceeded to go to the snack area and began
                                                         throwing items down in there. Security redirected her again. Staff, David, notified On-Call Supervisor, Victoria Flores, via text and phone calls regarding
                                                         situation. Mental Health Crisis was contacted at 7:00 PM by David. While on the phone with crisis,               was banging on the doors and attempting
                                                              to go outside. Mental Health Crisis Worker then contacted David and informed to have                  evaluated at San Antonio Behavioral Health.
                                                                       then proceeded to throw items around in the living room area of the hotel room. San Antonio Police Department Non-Emergency was
                                                          contacted by staff, David, at 7:14 PM, and was also notified by hotel staff that they contacted San Antonio Police Department. MyChelle continued to
                                                          have an outburst and then proceeded to turn the lights off in the hotel room.               eventually calmed down at 7:25 PM. Officer Krok and another
                                                            office responded at 7:55 PM and was informed of the situation. Officer Krok and another officer transported                to San Antonio Behavioral
                                                                             Health at 8:10 PM and staff, David, and Amber followed.               is currently pending admission as of 9:00 PM.



                                                          CW Heather Thompson and HST Amanda McKinney arrived at Walmart for curbside grocery pick up with Tocoby.                      stated that he wanted to go
                                                          inside. CW and HST asked him why. He stated he wanted to look. He was asked to wait. He started pulling car locks. CW Thompson asked him to stop
                                                             before he breaks it. He said he was leaving and got out of the vehicle. HST McKinney followed             inside at 1pm. Staff found him leaving the
                                                          electronics section. He had two small boxes in his hands. He began to run from HST McKinney and yelling “get away from me and stop following me!”
                                                         Law enforcement was contacted. Staff kept line of sight on           until law enforcement arrived. Law enforcement asked if             paid for the items.
                                                            He stated that he did. The item total was $97.24. Walmart Assets Protection Specialists worker pulled the camera footage and reviewed the tapes
  4                     11/14/2022                         with                  put both items in the grocery bag and pretended to insert two $1 bills into the machine. He then grabbed the bags and left the
                                                         store.         admitted to stealing. No citations were given. Walmart did not want to pursue charges. Law enforcement returned                 to the hotel.
                                                           At 2:26PM Tocoby was upset that CW and HST stated that he can no longer have his Nintendo DS and he became upset. CW called security from the
                                                                other room to come in and assist as he refused to give it up.         finally gave the DS to security and HST McKinney locked it up with the
                                                           medications.         barricaded himself in the bathroom and stated he would hit or pee on HST McKinney. Tocoby called HST McKinney many vulgar
                                                               names and then acted like he was going to spit on her. CW Thompson called LE to help calm               and prevent injury. Security was able to
                                                                                                                          deescalate the situation.




                                                           CWOP 11/13/2022 6:15PM Caseworker Ronnie Mitchell was in the hotel room 220 with two officers and Justin Cropper. CW Mitchell got up to check
                                                          on what             was watching on his TV. When the CW entered the room the CW observed                    had “Wrong Turn 2” on. CW asked              several
                                                               times to turn this movie off, and           asked why. The CW stated to              that it has been explained to him that he is not allowed to watch
                                                            movies that involve horror, extreme violence, and murder because it affects him in a negative manner.                  then stated he was not going to turn
                                                         the movie off and the CW proceeded to ask                  to turn it off a few more times in which he did not turn the movie off. The CW then warned
                                                         that if he did not turn the movie off, and change the movie to something more appropriate that he would lose his TV privileges, and                   sat up and
                                                          said “you are not my fucking caseworker”. On 11/09/2022, Supervisor Michelle Mckenna explained to                      that his TV was being removed from his
                                                         room due to his behaviors per the order of Judge Huerta. In addition, according to the primary supervisor, Michelle Mckenna, the county attorney is in
                                                             the process of drafting the order to indicate the Judges request, however the Department does not have a copy of that order at this time. The CW
                                                            then proceeded to unplug the HDMI, and                 got up and walked towards the CW and attempted to reach for the HDMI cord that was in the CW
                                                                hand. The officers, who were standing behind the CW came in the room and restrained                   and told him not to touch the CW.           was
 11                     11/13/2022                          restrained on the bed and the CW pleaded with                  to calm down. After being CWOP Serious Incident Report 2 restrained for 3 minutes Samuel
                                                          said he would calm down and the officers released him.                   then went into the restroom and locked himself inside. The CW asked            to open
                                                           the door several times and the CW began to hear banging. The CW instructed the officers to open the door as the CW stated to the officers he is not
                                                          aware of what             is doing and is in fear he is harming himself. The CW instructed the officers to open the door by any means. The officers both at
                                                           first were struggling to open the door as              was pushing the door. The officers were able to get the door opened and             struggled with the
                                                           two officers for several minutes but the officers were able to extract               from the restroom and he was then placed in handcuffs on the bed. The
                                                           CW asked             several times to calm down and he began yelling “fuck you, you stupid nigga,” “fuck you, you stupid slave,” “you’re a fucking slave
                                                            bitch,” “I’m going to fucking kill you, you stupid nigga,” “I’m going to fucking kill you”. When            threatened to kill the CW the first time the CW
                                                          asked            if that was a threat and he proceeded to threaten the CW once more. The CW then proceeded to call 911, but was instructed by one of
                                                              the officers who had           in hand cuffs to hang up as he was a Nueces County Constable, and he stated he would call it in. The Nueces County
                                                           Constable officer asked the CW if he wanted                 arrested for the threats and the CW said yes.          was then arrested and transported to the
                                                                                  Juvenile Justice Center.           is being detained. Judge Huerta has been notified of his detainment. Incident




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                                                         Workers arrived at hotel, both           and      were reported to have been picked up by police due to intoxication in Walmart. Both were transported
                                                           to Memorial Hermann in Pearland. At 8:20pm EMT personnel Arnett administered ketamine to                due to combativeness with laser enforcement.
  6                     11/6/2022
                                                                   was admitted to room 203 in the emergency department where she remained handcuffed to the bed moaning in distress due to the effects of
                                                             the ketamine. At 9:20pm           had to be re-restrained due to thrashing in the bed.        yelled out incoherently “I want my mama” and “they
                                                            won’t let me go home”. At 9:42pm medical staff drew blood and administered fluids to assist            with sobering up.         continues to spit and
                                                           thrash, she has been fitted with a disposable diaper should she urinate.          was not discharged during this shift.      was brought in a stretcher
                                                               upon arrival and stayed on it in the ER hallway until a room could be available for her. Around 9:30       stated getting up from stretcher and
                                                          attempting to remove her IV. EMT staff were still with her and prevented her from doing so. Ultimately they took it out and bandaged her to prevent
                                                         from bleeding. She tried taking the bandages off as well and EMT staff talked her out of removing it. She became combative and was arguing with EMT
                                                             staff. She finally calmed down. Staff were able to get her phone charger from her but she still has her phone on her. At 10PM         got upset and
                                                            walked out of the hospital. She was found sitting near the ambulance outside. Staff were able to talk her into coming back inside. She asked staff if
  6                     11/6/2022
                                                          staff can take her back to Walmart to buy more margaritas. Staff told her no and she came back and sat at the stretcher. At 10PM           was moved to
                                                            a room. She was able to walk there on her own but was stumbling. Her eyes are currently bloodshot red and kept asking staff for her charger. She
                                                                                           would not hand over her phone to staff. At this time she remains in her hospital room



                                                           At the beginning of the shift at 4:00pm       left the hotel. He started to walk toward the 281 access road. The caseworker called SAPD to report a
                                                         missing person. While the caseworker was waiting for SAPD, the officer on duty stated that he heard on the radio that police were called to Wal Mart
                                                            for shoplifting.      returned back to the hotel at 4:23pm with a nerf gun and nerf gun accessories. SAPD arrived at the hotel shortly after. They
  8                     11/5/2022
                                                         handcuffed        and took him back to Wal Mart to look for the individual who tried to stop him. They could not find him and since the items       stole
                                                            was under $100.00 they did not bring him to the station. They gave him a ticket and wrote down the information for             caseworker, Estoban
                                                                          Torres and said that the court will contact        caseworker to schedule a court date. The ticket was put in his binder.


                                                                              ran from her CWOP location at 3180 Goliad Road. She was under the influence of drugs and showed up at Walgreens down the
  8                     11/4/2022                        street. Employees there were concerned that she was overdosing so they called the police. The police and ems were called.       was checked by
                                                                  EMS and was fine. Law Enforcement returned her to the CWOP location. Report Number XX-XXXXXXX and Missing Persons 1465026

                                                                        packed some of her belongings and cut her ankle monitor off and left the hotel property at 7:52 pm. Law enforcement was called and
  8                     11/2/2022                          responded. They found her at 8:28 pm and took her back to the property. When they were informed that she had cut off her ankle monitor they
                                                         contacted Juvenile Probation to determine the next course of action. Law Enforcement arrested her and took her to Bexar County Juvenile Detention.


                                                            Law Enforcement was contacted after youth displayed on the television, a picture of a confederate flag with the words “FUCK THE FAGGOTS AND
                                                         FUCK YOU COURTNEY”. Courtney is a supervisor who was assaulted by the youth during child watch and he is currently on probation for it. Midland PD
                                                         responded and issued a citation to the youth for disorderly conduct. They also recommended that his probation officer be notified as this incident was
  9                     11/4/2022
                                                          against the same person he has been aggressive with in the past. Officers also informed the youth that this may be a violation of his probation which
                                                          can lead to revocation of probation and arrest. After law enforcement left, the youth said that it was stupid to get in trouble for having an opinion, he
                                                              slammed doors and took the television to his room after being told he could not do that. His probation officer is being notified of the citation.

                                                                 request to play on an electronic devise and was denied. He became belligerent and another youth stated that he might punch him in the face.
  4                     11/14/2022                               then stated that he would take the officers gun and shoot everyone. Staff called LE based on the threat. LE arrived, deescalated the situation,
                                                                                                              and persuaded him to take his medications.




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                                                           8:00pm-            is in the lobby on the computer. The staff of the hotel told CPS staff that if         had one more outburst her boss told her to put
                                                                   out.             heard the hotel staff and began to curse, yell and say fuck that lady and she doesn’t like white people and the hotel is dirty and
                                                         she hope she gets put out. The hotel staff stated that children are not allowed in the lobby. CPS staff asked              to go to her room and she said no.
                                                            Previous staff left with            room key so new staff had to get a new key. Staff let           know she had a new key so she could now go to her
                                                          room. 8:15pm-               got on the elevator without staff. Staff followed          upstairs. Roderick was waiting by his room door.            was not at
  3                     11/11/2022
                                                          her room door,              jumped out of the stair well by her room door. Staff let          in her room Roderick followed in and was told to not come in
                                                             and to leave.             told Roderick to stay. Roderick took some cereal and snacks and walked out. Lead was told to call the police by the on-call
                                                           supervisor. 8:20pm- The police knocked at the door with the lead. The police came in and spoke with                 The police let her know that the hotel
                                                           asked her to leave, and             stated that the hotel was crusty and dirty, and she was ready to go. The police told her to chill and listen to the staff
                                                                                                          until they figured out where she was going. The police left out.


                                                         Caseworker Darcell Stewart and Mary Jane Fuentez (contractor) worked the 4 PM to 8 PM shift on 11/13/22.              asked to shower, and CW agreed.
                                                           CW checked on            throughout the time she showered. On the 4th check in on            CW knocked on the door again and asked           if she
                                                         was okay. CW attempted to open the door due to              not responding. The door was locked and CW took a nickel from her personal coin purse and
                                                          unlocked the door. As CW opened the door             stated “I did a bad thing” CW and contractor discovered that        was cutting her arm. She cut
  9                     11/13/2022                        her left arm and left bicep area with a small blade. CW and contractor asked          to stop but she continued and ignored staff. Youth used a blade
                                                           from a pencil sharpener to cut herself. She was transported to medical hospital by ambulance. After her cuts were treated, she was transported to
                                                            Oceans Psychiatric Hospital in Abilene by ambulance where she was admitted on 11/14/22. On 11/14/22, Oceans took her to the medical hospital
                                                            saying that she was pulling out her staples and they refused to take her back saying they can’t handle her. Youth came back to child watch. She is
                                                                                                   currently being assessed again, however she is denying being suicidal.


                                                             La Quinta hotel:            was asleep upon arrival of primary CW. CW woke up             in an attempt to have her check in with PR bond officer.
                                                           Officer did not answer the call.          got upset that she was woken.            told primary CW to get out of her room and she nudged CW out of
                                                            the room.            closed and locked the door that connects room 308 & 310 together. CWOP staff attempted to speak to                 to ask her to
                                                          open the door and she did not respond.             turned on what is believed to be the TV in her room and put the volume up. She then turned it back
                                                             off after a few minutes. CWOP staff continued with attempts to have her open the door. Attempts to reach PD Ana Garcia were made (906AM &
  8                     11/15/2022
                                                          907AM) with no success. PD Molly Henry was called (908AM) and did not answer phone call. PD Henry responded to texts. She stated to call primary
                                                              CW and was told CW was here. She stated to contact SAPD non-emergency to have LE come to have door opened. SAPD incident # SAPD2022-
                                                          1506016. LE arrived with maintenance staff and staff unlocked door with key. LE left the hotel. Hotel staff will remove lock from door that joins rooms
                                                         together when              is awake. After            CW left, she began to calm down.            tried to fall back asleep, but was wide awake.
                                                                                          was calm for remainder of shift. She returned to her room to attempt to fall back asleep.


                                                                was laying down in her bed when her caseworkers returned her call. was talking to her caseworker about her missing school today and her
                                                          concerns with the school. became terribly upset while on the phone with her caseworker and started hollering and talking loud saying, “I want to
                                                         go home”. got off the phone and start pacing back and forth using profanity and saying how she will show Mrs. Roberson who she is f…ing with and
                                                         how she better no f… with her. started throwing the youth phone at the hotel window trying to break it. Staff got the phone once the cellphone fell
                                                         on the floor. wanted to throw the phone at the TV as she referred to how she would destroy the TV again. Staff asked not to throw the phone at
  3                     11/7/2022
                                                            the TV. then got the iron out of her bathroom to throw at the window. Security and staff intervened by asking not to break the window and
                                                            make her situation worse than it already is. started breathing heavily and showing panicking signs. The caseworker asked if she would like to
                                                           talk with someone. stated she would like to speak with her CPS mother Mrs. Flores. Caseworker was able to screw the back on the phone so she
                                                          can make her call. The cellphone is going in and out and she seem to be having difficulties hearing on the phone. was able to speak with CPS mom
                                                                                                     and calm down. fell asleep shortly after getting off the phone.


                                                                         returned from run at 10:27pm. The Courtesy officer talked to him and then asked to search his backpack. The backpack was searched
                                                          and then the officer asked       to give her what was in his pockets. He refused and started to vape right in front of the officer. So, she handcuffed
                                                            him and called for backup. Three more officers arrived, and he was taken to the police car after they found two vape pens. They tested them for
  8                     11/2/2022
                                                         Marijuana/THC however the vapes were empty and the officer did not have enough to test. Isaiah was yelling and resisting and being disrespectful. He
                                                          finally calmed down and he answered that he did not want to go to detention when the officer asked. They uncuffed him and then warned him that
                                                                                     they would take him in if they get called out again. Report number 22-239646 H. Lowery #1556




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                                                          Around 2:00pm,           wanted to walk outside (around the hotel for fresh air). He made one lap around and came in to use the restroom. After using
                                                            the restroom in the lobby area, he went outside again and stated that he needs to smoke. He began to pick up cigarettes from the ground putting
                                                         them in his mouth stating these are his cigarettes from last night. He went to a tree that is to the far right of the hotel (facing the main entrance of the
                                                              hotel) and had a lighter hid at the bottom of the tree and lighted the cigarette and he was instructed to put the lighter down, do not light the
                                                          cigarette, but continued to smoke. He then proceeded to dump the cigarette container that is used to dispose used cigarettes and picked a couple of
                                                         cigarettes out of the dumped pile and smoked another cigarette. I alerted the police officer that is on duty and he asked repeated for             to put out
                                                           the cigarette and finally he did.       walked off and I asked him for the lighter repeated and he refused. The officer pleaded with           to give me
  5                     11/17/2022
                                                            the cigarette lighter and he refused and walked off the hotel property after the myself and the officer said, "STOP!” several times and crossed the
                                                          highway (the officer and I watched him) and kept walking. I called the LPD and reported that he walked off the property. After about twenty minutes,
                                                            he returned to the property and the officer stated to him that he needed to be searched he refused trying to get away from the officer, the officer
                                                             hand cuffed him and was able to obtain the lighter. The LPD pulled up and asked about what had happened and re-handcuffed                   with their
                                                          handcuffs and was escorted to the LPD’s vehicle and            will be processed. Officer Rosales gave me the CASE No. 22-31747. At this time, I received
                                                           a call from Juvenile Probation, and they are full so        will be released back to CPS custody. I will be contacting Officer Rosales to be able to bring
                                                                                   him back to the hotel so that staff at hotel will not be out of ratio. If so he will be brought back by LPD.


                                                               was in lobby greeting staff at shift change.   started speaking to staff loudly.     had been very agitated when          started talking back
  5                       /17/2022                       to her.       called      a “bitch ass nigga”.     and       then started swinging at the same time. Law enforcement intervened quickly, and the
                                                            fight was broken up. One item was damaged during the altercation. Lufkin PD was not called. Fight was staffed with On-Call supervisor and PA.


                                                                    left out and proceeded to leave down the hallway without workers’ permission. The workers and security followed her down the hallway. She
                                                          came back to the room.              called the police and told the worker that her leg was hurting, and CPS will not allow her to the hospital. She is giving
                                                         the law enforcement details on her location.              began packing a bag. Worker requested that she leaves the cellphone if she leaves as, it could be
                                                               reported stolen if taken. She stated that she isn't leaving, and the police are on the way. It is not an emergency present that requires LE. 10:15
                                                          Paramedics arrived at the hotel. They explained there was not much they could do for her leg. They are getting all her identifying information and are
                                                           checking her vitals. They have requested her medications and allergies. The worker asked                 for the phone, and she provided the worker with
                                                         the agency cell. Worker placed cell in lead room. 10:22PM Paramedics explained they would not be taking her to the hospital as she is able to continue
                                                             to walk on it. They did not observe any injury to the knee. They recommended that she follows up with her primary physician. Paramedics Cayden
                                                           Clinton &Kyle Dalton Duncanville EMS(assisting Cedar Hill) Vitals 121/85.             stated that the door was slammed and that she should have them
                                                            take her to a psych hospital. 10:30PM              requested the security to get an agency phone to contact her worker. Security informed them there
  3                     11/12/2022                        was not an answer at the door. Shift lead was asked by workers to not open the door. She is crying and stated will assault the workers with two glass
                                                              bottles of chip dip. Worker attempted calming her She stated she will cut herself if she does not speak with PD.              stated she has two glass
                                                            bottles for both workers. She was informed that shift lead has notified on call supervisor. Shift lead was informed of the threats to harm others and
                                                           self. LE was contacted.           is crying loudly. The worker asked if she could hug her. She did not reply. Worker requested LE be called again as her
                                                                anger increased.          threw a drink and hair products towards workers along with a remote. She then went near the restroom and threw
                                                             groceries. 10:52pm: LE was contacted by shift lead. LE B. Crowder and J. Cole arrived at the room. LE gathered information from
                                                          asked LE to transport her to a psych hospital. LE explained that could not complete a courtesy transport. The workers explained that they did not feel
                                                                 safe due to          making threats and throwing objects at the workers. The worker explained that if she is acting out then we will not feel
                                                          comfortable in an enclosed space and possibly get injured in the vehicle. LE continued to refuse.               later provided glass jars to workers. She was
                                                               informed by LE that if she was to throw jars at workers it is a class c misdemeanor The worker placed 3 glass jars of dip and placed them in the
                                                                                                                                 med/lead room.



                                                                 became upset that her previous Foster Mom Randy did not answer the phone when she called. She informed staff that she was planning to do
                                                            something crazy but refused to say what. She asked to use the phone again and was told no, that she had already attempted to call.               yelled
                                                              “yeah but they didn’t answer”.          came into         room and was asked to leave. Staff called the Longview Police Department to request
                                                          assistance when          brought        a butterknife and told her to use this to break the blades off. Grace then proceeded to grab a bobby pin and cut
                                                          her wrist and quickly covered her arm up with her shirt. Myla yelled to check her arm that           was bleeding and pulled          shirt up to show the
  4                     11/20/2022                          blood. Once         heard that staff was on the phone, she yelled at         that she was not going back to jail and that they were going to run. Both
                                                                 and       ran out of the room, towards the elevator. Staff met Law Enforcement downstairs and provided information about the incident and
                                                         the girls behavior. Law Enforcement advised that they would transport the girls to the Hospital and that EMS had declined to transport due to the girls
                                                           behavior.         continued to be combative with staff, hospital staff, and Law Enforcement. Law Enforcement advised that they thought they were
                                                          going to have to use mace on           because of how she was acting in the car. The Doctor spoke with me and advised that he felt           needed to go
                                                                          to a facility due to her behavior and history. A referral was completed, and         was transported to a psych hospital.




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                                                                      was playing cards at the table with CW Davis and CW Freeman was sitting on the sofa in the same room.                  came into the room and
                                                                      became visibly upset, went to sit on his bed, and started putting on his socks and shoes. CW Davis asked what he was doing, if he was done
                                                           playing cards.            said he wanted to leave, he didn’t want to be there any longer.              had sat down at the table where            had been
                                                             sitting and said “why do you want to leave, its good here”.            yelled at him “shut up” to which             responded “if you announce to the
                                                           whole world how you feel, you should expect a response. I have a right to respond how I feel”. Both CW Davis and CW Freeman were advising both
                                                            boys to settle down, to stop the words between them, but neither boy complied.                  yelled again louder for          to “I said shut up” then
                                                              acted like he was going to get off the bed and stand up to                      said “what are you doing? You’re not fixing to do anything, you’re a
                                                           coward”.             immediately sprung up off the bed lunging toward              and punched him with a closed fist in the right temple area.
                                                         appeared to be stunned but did not retaliate with further physical aggression between them. Security officer had heard the altercation escalating and
                                                          was in the doorway between the rooms when                  hit          and immediately grabbed Brigham by the sleeve of his jacket to pull him into the
                                                         other bedroom. Officer put Brigham in a chair and placed handcuffs on him explaining that he had assaulted                   and advised caseworkers to call
                                                               Beaumont PD for assistance. CW Davis remained in the room with                 while she called on call supervisor, Michelle Cleaver. CW Freeman
                                                          remained in the room with               while she called Bmt PD for assistance. After the officers were dispatched, CW Freeman questioned Zykerian as
  4                     11/19/2022
                                                          to whether he needed medical attention or not. His face did not appear to be swollen or cut upon close inspection.                  reported it did not hurt,
                                                            just surprised him. Two officers came from BPD to interview both boys. CW Davis and CW Freeman gave their account, both security officers gave
                                                         their account, then the BPD officer talked to each boy separately. Both security officers confirmed that both boys were guilty in this incident because
                                                                     had been antagonizing            to react. On call supervisor was notified that no charges were being pressed at this time. No incident report
                                                                number was given by BPD because of charges not pressed. It was advised by supervisor Cleaver that                  and          needed to remain
                                                              separated moving forward.             will remain in the room where he has been sleeping and Brigham will move to the sofa sleeper in the other
                                                           bedroom. When Brigham was told he needed to move rooms, he became visibly upset, crying, sobbing, and saying he didn’t want to be at the child
                                                            watch location. This episode escalated so CW Davis got              to go outside in the hall to sit down and deescalate. CW Davis notified Supervisor
                                                            Cleaver twice while Brigham was having his crisis situation in the hallway. Supervisor Cleaver advised CW Davis to call Spindletop Crisis Hotline for
                                                           assistance if it was evident            was not able to get himself under control. CW Davis was able to talk             down from his elevation without
                                                               having Crisis Hotline intervention.          eventually came back inside the room and fixed himself dinner. After he ate, he agreed to move his
                                                           belongings to the other room as had been previously requested.                remained in his room and watched TV for the duration of the shift. There
                                                                                            were no further physical altercations between either boy for the remainder of this shift.


                                                         Lead Caseworker is Mitchell Joseph. Second Caseworker is Michelle Copeland. Supervisor Gaina Robinson. Program Director Cynthia Stewart. Device is
                                                          a potato peeler.          would walk from bathroom to bathroom or out in the hallway outside of the hotel room. During the incident, both staff was
                                                          calm and non-confrontational. CW Joseph constantly engaged with                 causing           to even laugh at times.            eyes were red, yet her
                                                           facial expression was distinctive or expressionless.          was extremely moody. CW Copeland was very afraid, yet no fear was obvious and verbal
                                                            tones were cautious, calm and non-confrontational.CW Joseph never let                harm herself or destroy any [roperty. CW Joseph remained calm,
                                                             constantly engaged and compassionate towards                 At 4:20a,         went into the kitchen area and retrieved a potato peeler. CW Joseph
                                                         immediately approached              and asked for the device.           went into the bathroom and attempted to close the door. CW Joseph followed her
                                                            and kept the door open.            sat on the side of the bathtub and said “I want to kill myself, but I’m not”. She scratched herself with the device a
                                                          gew times and even jabbed CW Joseph in the palm with it.               refused to give up the device while attempting to destroy the bathroom door and
                                                         doorknob with the device. At 4:22a, CW Copeland was able to take a picture of the device in                  hand and text it to the Supervisor. After several
                                                         verbal attempts to retrieve the device,            became more agitated and raced towards CW Copeland while raising the device to CW Copeland’s face
                                                         asking “do you want this” and “so you want to call somebody”. CW Joseph was able to distract                  while         continue to follow CW Copeland
                                                           (we were walking in circles around CW Joseph–I did not want to make constant direct eye contact with                   Between 4:23a and 5a, CW Joseph
                                                             was with          constantly requesting the device. CW Joseph was in the bathroom and following her, constantly asking for the device.
                                                           refused and said she wanted to take a bath. They were times when they were both talking and laughing while CW Joseph attempted to retrieve the
  6                     11/22/2022
                                                         device. To prevent a potential violent attack, CW Copeland would move out of                  eyesight, until         wanted to come around CW Copeland.
                                                          CW Copeland went to the vacant room to report in and update the Supervisor and Program Director.                    would become verbally aggressive with
                                                          violent threats toward CW Copeland only.                moods would change from calm to violent every minute or so – there are no known triggers. One
                                                          minute she wanted to ask a question or make a statement, and the next minute she wanted to threaten or attack CW Copeland. During this time, we
                                                           were in and out of the room and in the hallway because              would walk out of the room.             was more violent towards CW Copeland, than
                                                              she was toward CW Joseph. Yet, she wanted to use CW Copeland’s cell phone to speak with Supervisor and during such time, she was calm and
                                                           cooperative towards CW Copeland. At 5:01a, CW Copeland had to call 911 from the hallway. CW Copeland had to walk in the hallway to call because
                                                                    would continue to approach CW Copeland very close with the device and say “so you want to call somebody”.                   would constantly step
                                                           towards CW Copeland and raise the device close to CW Copeland’s face or                would stand back and square up waving her arms backwards and
                                                           forward with the device in her hand, ready to attack.            kept threatening CW Copeland only. CW Joseph would ask                to stop and to give
                                                           up the device.           tone was not raised or angry; yet, matter of fact and firm. At 5:07a, Stafford PD arrived.            and CW Joseph were in the
                                                                bathroom. When             saw the Police Officers she was startled and immediately surrendered the device. Her demeanor changed and she
                                                             responded like a 10 yr old. A letter that          wrote describing her suicidal feelings and discussion of a sexual abuse act by her Grandmothers
                                                             boyfriend was mentioned between               and the Police Officers.         said the letter was written a year ago tomorrow. The Supervisor and
                                                            Program Director was updated when Law Enforcement arrived and provided updates during Law Enforcements assessment At 6:37a Danasia was




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                                                         11/26/2022-            was talking to the Officer Hamilton saying that the Caseworker are there to cater to him then laughed. Around 8:20pm                 was
                                                              in the lobby of the hotel ringing the service bell at the front desk repeatedly. Worker Connor asked            to stop because it was disturbing the
                                                           employees and guests.              grabbed the credit card reader and began pressing buttons. Worker Connor told him that if he broke the card reader,
                                                           the hotel could press charges for destruction of property.             had a pen in his hand and made several stabbing gestures towards worker Connor.
                                                          8:30pm             walked out of the hotel and went to Denny’s. Workers attempted to get               to come back to the hotel and suggested that
                                                           could watch a football game or a movie on the TV.               refused to come back to the hotel. Workers Connor and Alexis followed             down the
                                                         street and attempted to convince him to come back to the hotel.                began cursing at the workers and threatened to fight Worker Connor.
                                                           then started grabbing Worker Connor, and dropping his shoulder and shoving into Worker Connor. Worker Connor asked                       to respect his body
                                                             space and not put his hands on workers.             refused and started calling workers “a fat ass” and “bitch”.         then attempted to get Worker
                                                          Connor to flinch by throwing punches and elbows at Worker Connors face without making physical contact. Worker Connor asked Hunter to stop and
                                                              said he could make contact with a worker and that would constitute an assault.               then began threatening to kill staff as well as managers.
                                                                   then began shoving Worker Connor and dropping his shoulder and ramming into Worker Connor’s chest. Worker Connor stood with his hands
                                                            in the air open palm telling Hunter that he was assaulting Worker Connor and Worker Connor would press charges against him if he didn’t stop. He
  7                     11/26/2022
                                                           continued trying to push through Worker Connor by ramming his shoulder into Worker Connor’s chest while cursing at the workers.                     then sat
                                                             down on the ground and began banging his head against the door to his room. Worker Connor put his arm on the door to attempt to keep
                                                         from harming himself.              continued to hit his head on Worker Connor’s arm with increasing force.            then crawled through Worker Connor’s
                                                            legs and worker Connor moved to avoid stepping on                         then continued cursing and refusing to cooperate. Worker Connor told
                                                          that he was calling the police to press charges on him for             ramming his shoulder into worker Connor’s chest repeatedly while threating to hurt
                                                              Worker Connor.           then ran from the hotel and attempted to walk into oncoming traffic on the service road several times and made several
                                                            threats to kill himself. Worker Alexis called the police and Worker Connor gave his statement about Hunter assaulting Worker Connor.                  tried
                                                            multiple times to interrupt and scream at the workers saying he was being held captive. The officers spoke with Hunter for 30mins in an attempt to
                                                         get him to calm down, but he was still making threats to kill himself. The Officers took             to McLane’s children’s hospital to be checked out for his
                                                           mental health. Workers followed the officers to McLane’s and stayed with                while the doctor’s checked him out. Doctor’s assessed            and
                                                          said that his behavior appears to be attention seeking behavior and was discharged from the hospital. Upon returning to the hotel, Hunter continued
                                                               to taunt the staff by calling them names, posturing to physically assault them, and made statements of calling in intakes on staff to have them
                                                                             terminated and how “he loves to get away with his behavior and call in false reports” on staff and other professionals.



                                                                    walked out of hotel room and slammed the door behind her. CW, Contractor and security followed her outside, she then went back inside of
                                                          the hotel room and locked everyone out of the room. While she was alone in the room she made a hole in the wall. CW was yelling thru the door and
  8                     11/26/2022
                                                         knocking to open the door she then opened the door and got into the CW face because she was mad. CW walked past her into the room and Darianne
                                                              left the room again so all of the staff on duty went looking for her outside and was unable to find her. CW filed a run away report with SAPD.


                                                           On 11/26/2022, “           was hospitalized due to her insulin levels being at 512. When           was discharged from the hospital. When walking to my
                                                          vehicle,        demanded that she sit in the front, I informed her that was not happening and that she needed to sit in the back.               got upset and
                                                         refused to enter my vehicle. Security and the hospital sitter were present and were attempting to get                to enter my vehicle. Andre walked off and
                                                         was redirected by the security to enter my car. Another security arrived and offered              snacks if she got into my vehicle.          tone changed and
                                                          she stated “Okay!”          was given Pepsi 0, Gatorade, hot Cheetos and was eating on the car way back. Once we got back to the hotel,                 began
                                                         eating all the snacks in one setting, she was redirected to stop eating because she was in the hospital initially for her insulin levels.          ignored staff
                                                         and she began eating a muffin. When I was ppening the medication safe to get her PM meds administered to her,                     quickly sped walk towards me
                                                           pushed me in attempts to get the state phone. I quickly got the phone from the safe and               attempted to snatch the phone from my hands, she
                                                             was getting close to me and I informed the officer on duty to get                   began getting upset that I was not allowing her to have the state
  8                     11/26/2022                          phone. I gave her the option of me holding the phone and calling only approved contacts on her binder while the phone being on speaker,
                                                          refused.         attempted to go into the medication safe and get her meds, I then ran to the safe to shut the door and                pushed me again. I told
                                                                 that she will not grab anything in the safe that she is not allowed to, the officer redirected          to his side on the kitchen.       then grabbed
                                                         a plastic magnet on the fridge and began to break it. Staff and I informed the officer to confiscate the item she was trying to break; Andre was refusing
                                                         to give him the item. At this time, the officer on duty was not taking away the item that            was trying to break. I called SAPD to inform them of her
                                                            behaviors of possible self-harm and how I wanted to press charges on her for pushing me.                then walked out of the room and began running
                                                          away down the hall-way into the staircase.           was found walking down the street. SAPD found               on the side of the street making seizure-like
                                                           gestures. They called EMS and she was cleared, they put her into their vehicle and informed worker that they are going to ED her because they saw
                                                          her cutting her arms with a piece of plastic. Officers delivered        to Clarity. Officers informed me that they will call me to provide me with incident
                                                                                                                                    report #.


                                                               made suicidal ideations to hang himself and was going from room to room looking for items to use.         also voiced he wanted to cut his throat
                                                          with a knife. He obtained a plastic knife which was confiscated by the SAPD who was on site.       was passing back and forth from room 421 to 431.
  8                     11/26/2022
                                                          There was a point in which       was hitting the walls but the officer and caseworkers were able to verbally redirect him to avoid him injuring himself
                                                                         or destructing hotel property.     was then emergency detailed to obtain treatment at Laurel Ridge Treatment Center.




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Region   Child Name   Date of Incident      Location                                                                           Description


                                                          Worker-Annette Loy arrived at Quality Inn Room #119. The room had two children,                         and               Worker was told that          had
                                                              run off with           and went to La Quinta on Goliad from 9am to about 3:30pm. Worker-Annette Loy was told that               just returned twenty
                                                          minutes ago. Worker -Annette Loy noticed there was a Missing Persons SAPD report# SAPD 22255212 officer#0253. At 5:10 PM,                      got her food
                                                           tray and sat down on the couch in room #119. She did not eat much and drank the fruit punch. She said she had a headache and said “If I am trippin,
                                                          then             is trippin.” Worker asked what she meant by that and she said “puff puff.” Worker tried to determine if she ingested anything while she
                                                         was missing from earlier in the day. Worker continued to watch her and she started laughing uncontrollable and holding her head. At 5:15PM, Worker-
                                                          Annette Loy contacted Vicki Hinson-PD and informed her of the situation. Worker was told to just document. At 5:37PM,                  got up off the couch
                                                          and walked out of Room #119 to the hallway and walked toward the exit at the back of the hotel. Worker notified Chief Deputy Segura #533 Atascosa
                                                           County Precinct and Poteet PD officer-Roland Jimenez in room #121. Worker and both officers followed                 out of the hotel to the back parking
                                                             lot.           was running, jumping around, throwing herself on the ground. She said her feet were on fire, she had been sot several times and was
                                                           bleeding. She talked incoherently at other times and engages in a lot of screaming/yelling. She walked toward Military Dr. in the grass lot next to the
  8                     11/23/2022
                                                            hotel and found a brown, Corona beer bottle and acted like she was chugging the beer. There was no liquid in the beer bottle. She threw herself on
                                                               the ground several times. She acted like she was going to go into traffic a couple of times. She took off her t-shirt and attempted to take off her
                                                          underwear. Officer Segura and Jimenez handcuffed her. She was on the ground and we waited for SAPD & Fire/EMS. At 5:37PM, Worker-Annette Loy
                                                          contacted Vicki Hinson-PD and informed her of the situation. She could hear              screaming/yelling. She instructed worker to call 911. At 5:37 PM,
                                                          Worker-Annette Loy called 911 and requested SAPD and EMS. Worker provided address location, worker name and phone number. At 6:00PM, SAPD
                                                              officers E. Torres & A. Motero #1763 made scene and used their handcuffs to secure               They returned Officer Segura & Jimenez handcuffs.
                                                                 Worker provided SAPD report# SAPD2022-1542857. We waited for FIRE/EMS to arrive. At 6:08PM, San Antonio FIRE made scene. Personnel
                                                         responding: A. Saucedo, Waller, S. Tackett, R. Mair, and D. Gonzales responded. At 6:33PM, EMS sedated                  per doctor order. At 6:44PM, Worker-
                                                          Annette Loy rode in EMS Unit with Lanisha Charles to CHOSA. At 6:53PM, EMS Unit made CHOSA ER location Trauma #2. At 8:00PM, Worker-Annette
                                                         Loy ended 4pm-8pm shift at CHOSA ER Location Trauma #2 with Lanisha Charles. At 8:01PM, Worker-Annette Loy began 8pm-12am shift at CHOSA ER
                                                                                                                    Location Trauma #2 with                  .




                                                            12:00pm-12:30–Both workers arrived for shift.            was sitting on the bed when the workers arrived.            asked for the workers phone to
                                                           watch YouTube. Worker Wilkey stated to let her get her stuff set up and check the log.            stated that other workers let her use their phones.
                                                                  got up and walked out of the room. Worker Wilkey and Security followed Kamyria out of the room.                walked to the end of the hallway.
                                                                    told Worker Wilkey to stop following her. Worker Wilkey said she must keep her in sight but would give her space.             stated that she
                                                           was going to hit Worker Wilkey and knock her glasses off. Worker Wilkey stated that the police would be called.              walked back towards her
                                                         room continuing to threaten Worker Wilkey and calling her names. Security stayed between Worker Wilkey and                            started banging on
  3                     11/21/2022
                                                          the med room and became upset when they would not open the door.                  went back into her room and locked the door. Contractor Hambright
                                                             was in the room with           Shift Lead Walker was informed that            barricaded contractor Hambright in the room (Shift lead was in the
                                                          middle of change of shift with previous lead in med room). Shift Lead Walker had called the police. Security knocked on the door several times to get
                                                                     to open the door.          finally opened the door. Police arrived and talked with                    was able to calm down and agreed to
                                                           behave. Before the police finished the discussion, Shift Lead Walker introduced herself and told           that, should she want to leave the room, it
                                                            must be approved by Shift Lead Walker (with approval by supervisor on duty).             is worried about not being able to go and see her mother.




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                                                             On November 25, 2022 Caseworker Shaquella Patterson arrived at foster home in Corsicana to pick up                           , 17, and return him to Child
                                                            Watch. Caseworker Patterson contacted CVS Caseworker Epy Ruiz to translate between her                  Rafael.        was informed he will not be able to
                                                           return to child watch with his cellphone.            refused to give his worker his cellphone. Caseworker Patterson stated while in route to the Denton
                                                           Office,         rolled her car window down, opened the car door from the outside, and hopped to out of Caseworker Patterson’s car while in motion.
                                                             Car was moving 10-15mph on CR 3140 in Corinth. He did not fall and child lock was on the door.                 jumped over barbwire fence onto private
                                                         property. Supervisor Tara Harris directed Caseworker Patterson to immediately contact Corsicana Law Enforcement (LE) to report                     as a runaway.
                                                               Supervisor Harris also directed Caseworker Patterson to stay in the area for while to see if             would be returned.          was recovered by
                                                          Corsicana LE. Caseworker Patterson informed the responding officer,                is currently out on a PR Bond for terroristic threats in Webb County. The
                                                               officer pulled up the PR bond to review the conditions of the PR bond. The officer stated             actions did not violate his PR bond. The officer
                                                            confiscated Rafael’s cellphone and handed the phone to Caseworker Patterson.                   returned to Caseworker Patterson’s vehicle and headed to
                                                             Denton County without further incident. Caseworker Patterson arrived at Staybridge Hotel Suites with                   Supervisor Harris spoke with FAD
                                                            Caseworker Miranda Troutman who was covering the first 12:00pm to 6:00pm shift. Caseworker Troutman stated                         appeared to be agitated;
                                                           however he was in his room. Supervisor Harris informed Caseworker Troutman,                   is upset because he was not allowed to return to child watch
  3                     11/25/2022                            with his phone. Supervisor Harris also informed Caseworker Troutman                 has not been getting adequate rest at night per the respite foster
                                                            placement. Caseworker Troutman stated she offered                  some food and he declined. TThe second shift came on with FGDM Specialist Janelle
                                                           Dickerson. Specialist Dickerson called and stated             started destroying his laptop and breaking the laptop in pieces. She tried to re-direct
                                                            with no success.           told her ”If he did not get his cellphone it was going to bad for everyone.” Due to            behavioral pattern and previous
                                                              threats, Supervisor Harris directed Specialist Dickerson to contact LE. Supervisor Harris also asked Specialist Dickerson to video record and take
                                                            pictures of the damages to present to LE when they arrive. LE arrived at the Staybridge Hotel. Specialist Dickerson stated law enforcement stated
                                                             making indirect threats are not illegal and there is not an identified victim. The responding officers stated           would have to act on his threats
                                                           before they can take any actions. Shortly after LE left the premises,            started make superficial scratches on his arm. Supervisor Harris directed
                                                           Specialist Dickerson to contact Emergency Medical Services (EMS) for medical support/transport to the psychiatric hospital to be evaluated. Due to
                                                                  previously jumping out of a moving car, it was not safe for any staff to              Rafael in their vehicles. EMS arrived to assess         Specialist
                                                          Dickerson stated           declined to allow the medical staff to assess his injuries. EMS stated since          declined, they could not force him and could
                                                          not provide any medical treatment. Supervisor Harris asked Specialist Dickerson to take a picture of Rafael injury.                refused. He has a three inch
                                                         superficial scratch on his arm. Supervisor offered a comprise with             he could contact his mother if he would calm down and comply with the rules
                                                                                                        of Child Watch.         declined the offer to speak with his mother.


                                                              Workers Leticia Palacios (LP) & Andrea Arellano (AA) reported for the 12am-4am shift. At beginning of shift previous workers and “                 were
                                                            downstairs already. One previous worker was already reporting with on-call supervisor Rachel about incidents which happened on their 8pm-12am
                                                           shift. That worker left. Workers LP & AA remained downstairs with “               Currently “         was up and down with hotel staff, Mark and security
                                                          guard, Spencer. “          kept walking outside with Spencer, it was cold and raining/misty. She had no jacket, and both workers following her outside.
                                                           “         finally came inside, ate 3 bites of a free snack from hotel staff, Mark–it was a sweet bread called Concha, and "            disclosed the grams.
                                                             “Andre” stated he was going to sleep outside. Both workers informed “Andre” he was going to get wet, since it was misty, and “Andre” stated he
                                                          didn’t care. While “         was outside, he picked up a dirty used cigarette and pretended to smoke it. Worker AA kept trying to redirect “Andre” and
                                                           ask him not to place it in his mouth because he could get sick. At this time while workers were trying or redirect, the off duty female constable tried
                                                            redirecting “         as well and he would not listen. “          kept placing the cigarette in his mouth. “          was getting upset and left the hotel.
                                                          Worker LP was in communication with on-call supervisor Rachel. Around 12:29am “                   took off again and walked off premises, both workers and
                                                          off-duty officer followed. “          was observed walking towards the front hotel of the Marriott. He then returned around 12:35am, went inside and
                                                         grabbed his blanket and bag of snacks and left again. At this time, workers had already called SAPD–and were waiting for them to arrive. SAPD arrived
                                                         around 12:51am. Workers informed them of the situation. There were about 2 cop cars. One car, and Officers returned with her–one SAPD officer was
                                                          a bit upset and informed “           not to be wasting their time, and there was a lot of crime tonight and they were busy. “             didn’t say anything.
  8                     11/24/2022                           He walked inside and continued talking to Spencer and Mark. “              kept following Mark into their kitchen area, and to the main office as well.
                                                               Workers tried to redirect him from going into either room, with Mark & Spencer. “              didn’t care to listen and was giving ugly looks to both
                                                           workers. At one point when he followed Mark into the kitchen, he slammed the door real loud. “                  kept going to the computer, he then sat on
                                                             the table where the binder was at and worker AA. “             began to tear up the notes that were in there about her food intake and workers kept
                                                           redirecting him to give up the binder. Once “            started tearing up the note, the off-duty officer, asked him to give up the binder, he would not.
                                                         Officer and worker AA tried to take the binder away, and “              picked up the binder, hitting the worker AA in the face with the binder. Officer then
                                                           intervened after AA was hit and had her arm on her chest to stop “              from hitting worker AA, and he got upset. “           yelled to the officer to
                                                               get the f**k off him, which she did, and the binder was taken away from “              “Andre” walked away and AA took possession of the binder.
                                                             “         went back to Mark and apparently Mark informed him he was in trouble and “                again went outside, picked up a dirty cigarrete and
                                                          walked off the premises once more. Worker LP was in communication with on-call supervisor Rachel. Workers and officer followed “                       he kept
                                                          saying to get the f**k away from him and calling workers f**king bitches and whores. Worker LP called SAPD once more, at this time it was 2: 32am.
                                                            SAPD arrived at 2:45am and workers again informed them “                was across the Marriott, and hotel staff, Mark had received a call from there to
                                                         inform him where “            was at. SAPD returned with “            he again went straight to talk to Mark. “           again went outside with Spencer, and
                                                         walked with him, worker noticed “Andre” had his hand around Spencer’s arm, walking into the hotel–“                     went talking to Mark once more, sat on
                                                                                                          the counter and stayed there. By this time, it was almost 4am.




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                                                                     was ED’d. He was upset over a phone call. I did not allow him to call an officer. He wanted to call a certain officer and I said no. He lost the
                                                         number, so he wanted to call the station for him. I said no again. He thought if he ran off then the officer would show up. However, before that he was
                                                          in a good mood. He was upset over the phone calls but not really affected. What set him off was, the hotel staff downstairs. The staff was not able to
                                                           talk to him due to LSU soccer team checking in. So when they gave him the cold shoulder, then he was triggered. “               walked away from me and
                                                               said he was leaving. He walked around the hotel, which I followed. Once she did the lap, she took off to the streets towards Texas Roadhouse.
  8                     11/4/2022                        Caseworker called once he crossed the highway. Officers, responded and found him by Drive Time. When he returned, he was returned by officers. He
                                                         sat down on the bench outside. He was fine. We talked about why he was upset. He said that he was upset over the fact that he did not want to be at
                                                            the hotel. As we were talking, I noticed glass that he was playing with in his hands. When I asked for it, he stuck it in his mouth. The officers had to
                                                            force the glass out of his mouth. They determined it was best to take him in. He is going to SA behavioral hospital. The officers took his binder and
                                                              medication. One pen of each insulin. Once he got to the hospital, "          shared that he swallowed some glass. So they took him to university
                                                                                               hospital. The on call worker went with          The cause number is 22241080.



                                                         onstable Segura-Security Room #121 & Officer Brittany-Security Room #121. Worker walked with                     several times around the hotel parking lot.
                                                                 She then decided to walk to CVS pharmacy. She looked at a few items in makeup section and looked at hair products. She then went to the
                                                          razor/shaving cream aisle. She picked up a package of single edge razor blades. Worker repeatedly asked to put the item down. She ignored worker.
                                                           At 8:38pm Worker called supervisor on call Vicki Hinson and explained we were at CVS pharmacy.                   is attempting to purchase razor blades.
                                                           Vicki said she was not on call. She texted worker the number for on call PD, Trish Magdalena. While in the store,               tried to buy razor blades
                                                            and clerks were told not to sell to her by worker. She walked back to the pharmacy to ask clerk there and worker told that clerk not to sell them to
                                                         her. She kept saying worker can’t tell her anything, worker is not her parent, etc.             then went to the self-check out and rang up the package of
                                                            razor blades and paid for them. She took the receipt, her change and razor blades. She walked back to Quality Inn and walked into room #119 and
                                                           shut/locked the door with Contractor-Jatayva Jackson was in the room with Belinda.                 then locked herself in the bathroom. Constable Pct 2
                                                         Atascosa County Chief Segura and Officer Brittany Munoz worked on securing her out of the bathroom and handcuffed her. They brought her to room
                                                             #121 where Worker-Annette Loy was also present with the officers and the child. 8:40pm Worker-Annette Loy called Trish Magdalena regarding
                                                               purchase of razor blades by             She has closed herself in bathroom of room #119. Worker was told to call 911. 8:40pm called SAPD 911
                                                         requested officers to respond to 3602 SE Military Dr. Room #119 female named                   purchased razor blades and has locked herself in bathroom.
  8                     11/28/2022                         8:46pm called Trish Magdalena officers attempting to get               out of the bathroom. 8:55pm Chief Segura and Officer Brittany Munoz entered
                                                               room/bathroom #119 and restrained                 They brought her into hallway of Quality Inn and took her to Room #121. 8:57pm called Trish
                                                         Magdalena Officers have her restrained/handcuffs in room #121. 9:12pm called Trish Magdalena-told to check bathroom for any missing razor blades.
                                                         Worker looked at photos taken of               purchasing razor blades. Worker could not tell by zooming in on photo of package of the quantity. Worker
                                                           googled product sold at CVS and matched the package. Worker informed officer package should have 10 blades. Chief Segura counted and said one
                                                             razor is missing. 9:15pm Worker-Annette Loy looked in bathroom #119. Did not locate missing razor blade. 9:24pm SAISD Officer Brittany Munoz
                                                               located the missing razor blade on              person. 9:29pm Worker-Annette Loy called 911 again and was told call still open by dispatcher.
                                                          Constable Precinct 2 Chief Segura got on phone with dispatcher and informed dispatch razor blades secured and single razor blade was later secured
                                                           from her person. Chief Segura told dispatch that they have her restrains and it has been over 50 minutes.                did nick her right hand. 9:52pm
                                                              TCT from Trish Magdalena called and worker-Annette Loy informed her that all razor blades have been secured and we are waiting on SAPD to
                                                              respond. Worker informed Trish that              is now calmly talking to Officer Brittany Munoz and still handcuffed. Trish said that On Call is on
                                                                Standby. Worker will keep her informed. 10:30pm SAPD arrived at room 121 SAPD Officer Peña #463 Officer Ramirez # 1457 and placed her
                                                          handcuffed in squad car. They will make calls to determine which psyc hospital to take her to. 10:34pm TCT to Trish Magdalena. Worker- Annette Loy
                                                                   informed her of SAPD arrival. 11:10pm on call cvs staff, Michael Cervantes-CW arrived at Location and will follow SAPD to Laurel Ridge.




                                                            This incident involves 2 youth:                        , 14y, PMC, from Detention, PID 85756769.                            , 15y, TMC, from Emergency
                                                            Shelter, PID 104768937. During shift, staff found the thermostat box broken with a note inside from                  The thermostat has been kept at 75
                                                          degrees since the temperature change.             left a note threatening staff and turned the heat up to over 80 degrees. Staff retrieved the note and
  7                     11/22/2022                         moved the thermostat back to 75 degrees. The note stated “I swere to Fucking God this aint your house and it is too fucking cold for that. DO NOT
                                                          TUCH thermostat. I don’t give a Fuck if it is hot, you go out of the house. By            B. PS: Touch it and I will know and kick ur ass. Im done.” Around
                                                         6:20pm there was a physical altercation between              and        in child watch. Staff and the security guard separated both of the boys.          was
                                                           upset and was yelling and throwing things at          as well as staff and security. The          tried pushing the security guard to get to      and was
                                                            taunting            followed staff direction and separated himself from the situation by going outside at staff’s request to keep both youth safe.
                                                                 proceeded to grab the TV and throw it to the ground as well as games that were in the living room while separated from                        grabbed
                                                         the chair from the kitchen and went out the back door running around the house to the front. Staff were able to get Jose to come back into the house
                                                             and         remained outside           was still upset and was slamming the chair into the ground and yelling at Jose With staff both inside and




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                                                         At 9:45PM a representative from the crisis hotline (Erin Juckniewitz, LMSW arrived to assess                     stated that her reason for not wanting
                                                             to be alive was because her mother is about to die. At 10:45PM Ms. Juckniewitz stated that she would be making the recommendation to have
                                                                       be assessed at a hospital. Due to the safety concerns for the workers and           the decision was made for law enforcement to be
                                                           contacted to transport her to the hospital. Ms. Juckniewitz stated that she would need to speak with her supervisor to update her on the situation.
                                                           She said she would call law enforcement afterwards and would be present when they arrived. Law enforcement arrived. Officer B. Crowder stated
  3                     11/29/2022                       that they would report CPS for negligence if they have to keep coming out to the hotel. At 12 A, it was decided that           would be transported to
                                                          the psychiatric hospital under APOWW (Apprehension by Peace Officer Without Warrant). The assigned CW, Shift Lead, and security officer followed
                                                         behind.           was denied admittance at Dallas Behavioral due to them stating that they were to capacity.            was then taken to Hickory Trails
                                                         Hospital. While completing the intake process, she was loud and verbally aggressive towards the hospital staff. She verbalized that she didn’t want to
                                                         be admitted but only wanted her medication.              was admitted into Hickory Trails Hospital. Emails and text messages have been sent out to the
                                                                                                                           appropriate parties.



                                                                   called someone on the hotel phone and stated, ‘Can you come get me’ and hung the phone up. Few second later Youth asked who is the shift
                                                         lead? Caseworker Butler went to next room and informed shift lead that youth is asking for her. Shift lead Osumba stated she is calling the Crisis Team
                                                            again to follow up before speaking to the youth. Caseworker came back to the room and informed youth that shift lead is coming in few. Youth got
                                                          mad and stated ‘The Crisis Team should have been here, and they are not” youth asked to be taken to Hickory Trail. Worker Butler stepped out to get
                                                          the shift lead again but at the same time Crisis Team was coming in. Team spoke to Youth regarding her needs and concerns. Youth stated she hasn’t
                                                          had her day meds for about 3 days now. Youth stated she been asking for it, but nobody seem to want to help her. Youth stated her CPS worker took
                                                         her to Children’s hospital the week before, but her meds were not refilled, and she doesn’t know why. Youth stated she wants to go to Hickory Trail to
                                                          be with other kids since she is all alone here and possibly receive therapy. The Crisis Team stated they can refill her meds if that’s what she wants but
                                                         she does not need to go to Hickory Trail. Youth started to yell ‘do I need to hurt myself so I can go to Hickory Trail’ Crisis Team attempted to talk to her
                                                         and stated they’ll need to step out the room for few to discuss and will be back with an answer. Crisis Team reported to Shift Lead Osumba that Youth
                                                         was not in crisis per self-report. Crisis team stated that youth did not indicate that she was planning to harm herself when they interviewed her. While
                                                           the Crisis Team went to meds room to discuss with shift lead; youth stated she is going downstairs and ran out the room, security and both workers
                                                            followed her. The Maintenance room door was open right next to Youth’s room, and she ran in there and picked up scissors and stated she will cut
  3                     11/29/2022                           herself and anybody who moved. Security walked into the room and attempted to calm her down and asked her to put the scissors down. Youth
                                                          placed the scissors down and walked downstairs to the first floor. As she walked by she stated to workers, “I’ll punch you in your face.” Youth walked
                                                            out of the hotel and paced up and down the parking lot then returned to her room. While worker was trying to open, then door the key would not
                                                            work initially.          told worker to just give her the key and got mad when worker refused. Once the key worked, she entered the room and sat
                                                           down on her bed and started flipping the channels on the tv. Meanwhile caseworkers and security-maintained sight of the youth. Jeff with the crisis
                                                                team stated that there is no determination made regarding hospitalizing Youth and inquired if CPS will transport Youth to the hospital if the
                                                           determination is made to hospitalize Youth. Shift lead Osumba advised that CPS team follow recommendations made by Crisis Team. Jeff with Crisis
                                                          Team called back to check on Youth. Jeff was advised that Youth is asleep. Jeff stated that the Crisis Team will be back out in the morning to check on
                                                          Youth. Morning Shift Lead Contact information provided to Crisis Team. Jeff with Crisis Team returned and provided Shift Lead Osumba with a safety
                                                         plan which states that Youth will be kept safe. Follow Up:            was taken to the Rees Jones clinic at children's the week before thanksgiving for her
                                                            medication review and she refused to participate in the appointment, so her medications were not refilled. She had not run out of any medications
                                                           until that night. Tiffanie has found a tele-health psychiatric provider for a refill, but then MCOT stated they would do the refills. She has not had any
                                                         day meds prescribed to her for a while so we are uncertain what she is referring to and she would not tell me what they were when I spoke to her last
                                                                                            night. All her medications have been the night meds she has been occasionally refusing.




  8                     11/17/2022
                                                                had a monitored call with his grandparents and became upset after the call. He began to escalate after the call and threw the phone away. He
                                                           then became aggressive with his roommate                 , pushing him against the wall.         was not hurt per the staff on shift. Officer and Martha
                                                             intervened immediately. Worker Martha was kicked by              while the police officer and Caseworker Martha were trying to separate the boys.
                                                           Caseworker Martha reported not being hurt.          was in the process of being moved to another site and was successfully moved.             walked out
                                                             the room upset and worker Everette and officer attempted to deescalate, however he continued to say he wanted to hurt himself and damage
                                                            property. Staff took him for a walk around the parking lot and calmed down; he watched TV for the remainder of the shift. PD Molly Henry called
                                                          confirmed that        was at this new site and confirmed that         had calmed down.          hurt himself trying to open a lotion bottle with his mouth,
  8                     11/17/2022                        but there was no blood. Officer told him that they did call in for a nonemergency visit from paramedics (EMS did not arrive during this shift). EMS did
                                                                                                                              not make the site.




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                                                         On 11/29/22,           came up to worker stating that she was going to walk to the store to get some more snacks because she didn’t want to eat the
                                                          snacks that were already in the pantry. Worker asked where did she get money from and she stated that her friend had cash app her some money.
                                                          Worker encouraged            not to leave due to the weather and it being cold outside. Worker took a photo of         and went behind her to see
                                                         what direction she would go in. Once worker walked outside, Worker observed             walking back and asked if she was changing her mind.
  3                     11/29/2022                       stated that she was wanting to go back in to get her hoodie because it was really windy. Worker then observed another youth,                climbing
                                                          out of the window. Once            and        came back in to get her hoodie, they both walked out of the door.          stated that they would be
                                                          back soon. Worker then called into to Dallas County Non Emergency Line to report the incident. It was reported that Law Enforcement would made
                                                         contact to gather information for the report.         and               came back around 9:15 pm. Both girls came back with sodas and smelling like
                                                                                              Marijuana. The smell was loud and they denied that they smoked Marijuana.

                                                                            was present upon arrival to the hotel.                   was observed in the hotel lobby on the computer eating pizza provided by the
                                                         hotel.                 was asked if she was going to take her medication today.                     stated that she is not taking her medication today due to
                                                          not needing to take it.                 then began to argue with                    on Instagram via Messenger.                    then showed caseworkers
                                                            that         was threatening to come and beat                      up.                then googled the hotel address and provided it to
                                                            Prophet then showed caseworkers a text message that Armoni’s boyfriend sent. The text message showed Armoni asking her boyfriend to shoot
                                                                           and he stated that the hotel was only 20 minutes away.                     then asked staff if she could call her caseworker. Caseworker,
                                                            Carmicha Sadler then asked                     for her caseworker’s number.                   provided the number. Caseworker, Carmicha Sadler then
                                                             informed Tenaye Grant what was going on and she instructed for staff to call the On-Call Supervisor and her Program Director. Caseworkers are
                                                            unaware who the On-Call Supervisor is. Caseworkers attempted to call Tennille Whitlock (Program Director) and she did not answer. Caseworker,
                                                         Carmicha Sadler then spoke to Program Director, Alina Jones and informed her what was going on of the incident above and stated that
                                                              wanted to contact Law Enforcement due to her life being threatened.                   then directed staff to contact Law Enforcement. Caseworker,
                                                          Carmicha Sadler then contacted law enforcement and informed them what had taken place. Law Enforcement notified staff she had an officer on the
                                                              way.                 then sat on her school laptop next to staff watching Recess and Proud Family. She called her sister and explained to her the
                                                         incident and her sister told Jazire that she put her life and staff life in danger because she wanted to flex and didn’t think the girl was do nothing. That
                                                           conversation did not last long and she ended the call.           was on her school laptop.                  then began to search for gas stations near her
  6                     11/30/2022
                                                         school. Caseworker, Carmicha Sadler asked                       why she was searching gas stations near her school.                   then stated that I was in
                                                           her business.                 then went into the room and came out with a folder and stated, “This is my folder with my runaway addresses.”
                                                                     then began to look the folder.                   then sat on her school computer.                   was able to talk with her caseworker on the
                                                              phone.                 then began to listen to music on her computer.                     then went into the room at 8:27pm to take a shower. Law
                                                             Enforcement arrived at :56pm. Caseworker, Carmicha Sadler went outside to talk to Law Enforcement. Law Enforcement was notified about the
                                                           incident that had taken place. Law Enforcement was notified that Armoni and an unknown male showed up the hotel asking for the room number.
                                                         Law Enforcement asked staff to go and get                      so that they could look at her Instagram messages. Staff agreed. The officer then read
                                                                      messages and saw that             called                 multiple times (16) and saw that            boyfriend had messaged                   as
                                                         well asking her to come outside the hotel. Law Enforcement asked staff to take                       to the room and he would talk to a worker alone, but he
                                                         asked who was the one who seen               in front of J     . Worker, Jones was trying to be discreet, but officer got rude and said why we just want say
                                                           it and stop beating around the bush. Worker Jones asked to speak to him in another area to speak instead of front of youth. Caseworker, Carmicha
                                                          Sadler agreed to take         to the room at 9:22pm.                     was upset due to staff not notifying her that         and her boyfriend showed up
                                                             to the hotel. Staff Jones spoke to officers to let them know that she had seen             at the front desk questioning hotel staff. Worker informed
                                                         officers that Jones and protégé came downstairs to retrieve something out of proteges car and that when we                   in the lobby.       i saw worker
                                                         and did not engage and proceeded to go outside to car Staff Jones came back inside of hotel and saw A                and an unknown male in a white Malibu

                                                          Around 9:30am            suffered a seizure while laying in her bed. Seizure lasted about 5-6 minutes and EMS was called. Caseworker Jennifer Castillo
                                                          and Remi Garza attended to her and turned her on her side due to                was foaming from her mouth. EMS arrived about 10 minutes after Seizure
                                                          and cared for          and took vitals and talk to Caseworker Jennifer Castillo and Remi Garza Caseworker who were covering CWOP shift from 8am-
                                                             12pm. Caseworker called Belinda’s Caseworker Forest Nelson to inform him of incident and Site lead on Call Letty Lozano. Caseworker also text
                                                           Supervisor and PD for her unit to inform them of incident. EMS stated since Belinda’s vitals where stable and appeared to be unharmed by seizure
                                                         they would not transport her to Hospital.             stayed in bed and fell asleep for about 3o minutes.         suffered another seizure around 11:00am
  8                     11/17/2022                       while she was sitting on her bed. Seizure lasted about 2 minutes and was crying and stated she wanted her mother. EMS was called again. Caseworker
                                                          called Caseworker Forrest Nelson and Site Lead Letty Lozano. Caseworker Jennifer Castillo informed site lead that               stated she was not feeling
                                                            good and wanted to be taken to hospital. Site Lead Letty Lozano stated to have EMS take her to hospital due to this was her second seizure. EMS
                                                         arrived and Caseworker’s informed them of                 illness and her previous seizure and her stating she was not feeling good and wanted to be taken
                                                         to hospital.         was taken to University Hospital by ambulance with Jennifer Castillo arrived there around 11:30am. Mr. Garza followed ambulance
                                                            to hospital. Belinda was stable and in good spirits.            was attended to by medical physician and nurse. Caseworker Forrest Nelson arrived at
                                                                                   hospital a little after 12. Caseworker Jennifer Castillo and Remi Garza where able to leave their shift.




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                                                            At approximately 7:55pm, CWOP staff and                    went downstairs to the hotel lobby. Approximately 20 minutes into us being in the lobby,
                                                                             went into the women’s restroom and came out quickly. I asked what’s going on.              Sada stated the restroom is nasty, like its
                                                         dirty. I asked the front desk staff to clean the women’s restroom.                  then proceeded to go to the men’s restroom. I then told her, “The man
                                                          is going to clean the women’s restroom”.                   then entered the men’s restroom. Ms. Jiles suggested that someone is in the men’s restroom
                                                           with                . CWOP staff knocked on the door,                 answered stating, “What”. I then laid on the floor and looked under the door and
                                                         saw 2 sets of feet. I then called CWOP on call supervisor, Mark Waters, and explained this issue. Mr. Waters instructed me to report this to the police.
                                                          Hotel front desk staff informed us that he saw the male, who looks like an older male, older than a minor, walk into the hotel through the front lobby.
  6                     11/23/2022
                                                           Front desk staff also stated that the male had on a Walmart vest when he entered the hotel. After about 10 minutes of them being in the restroom,
                                                                         exited the restroom alone.                then stated, “Come on, we can go back up stars”. I stayed in the hallway next to restroom door.
                                                           Ms. Jiles and Jazmine Sada went back upstairs to the room. I waited in front of the men’s restroom, and about 3 minutes after Jazmine Sada and Ms.
                                                         Jiles went upstairs, a male wearing a pink hoodie and jeans quickly exited the men’s restroom and left out of the side door of the hotel. This male was
                                                           wearing the same tennis shoes I saw when I looked under the door, while                     was in the restroom. I observed the male walk towards the
                                                          Walmart parking lot until I could see him anymore. At 8:45pm, I called the non-emergency number for the Houston police department, to complete a
                                                                                        police report. As of 9:55pm, the police have not arrived to the location to complete the report.


                                                         Staffs who worked from 12Pm-4PM are Marie Zoungrana Yellow and Wimes Erma (Grey) and Contractor (blue) Peggy Butler (blue).                 complained
                                                          of stomachache and that she may have COVID, dizzy and feeling like she might vomit and requested to go to the hospital.           stated that once at
                                                             the hospital they will send her to a psychiatric hospital. She confessed to her caseworker that she harmed herself with a sharpener while in the
  4                     11/20/2022
                                                         shower.        disclosed with the contractor that she wanted to hang herself. Staff called 911 and EMS transported her to UT Health Henderson.
                                                            is in room 9 at the ER. Blood and Urine samples were taking. The nurse said that she has UTI and she was giving an antibiotic. Update:        was
                                                                                                         transported and admitted to psych hospital on 11/21/22.



                                                               Worker Leticia Palacios arrived at La Quinta, room 308 & 310 for the 12am-4am shift. Worker LP was staffed by the 8pm-12am shift regarding
                                                                         During the 8pm-12am shift; staff reported that               was doing okay during their shift. However, staff informed LP that
                                                         vocalized that she may be pregnant, had a pregnancy test with her and she was also requesting her meds, however, staff was unable to open the safe
                                                              where the medications are stored. Molly Henry, on call PD stated that staff was provided the correct code to the safe. Staff offered Darianne her
                                                             medications however she refused to take them. During the 12am-4am shift; When worker stood by the door with staff,                    bumped worker
                                                         making worker’s backpack fall from her shoulder, worker LP told her “excuse you” and she giggled.                   decided to follow the previous staff, and
                                                           she went outside, worker LP went to the door to see where she was at, and she was already running back to the bldg., and told worker Richard she
                                                           was going to barricade herself in her room. At this time worker followed                 to the room, and worker staffed with the contractor, Beaztriz on
                                                                what the situation was. Worker also spoke with Security Officer. Worker tried to reason with               however, by this time she had already
                                                          barricaded herself in her room. By 12:57am, worker spoke to PD, Molly, about how Darianne was still barricaded, and was asked to go ahead and call
                                                         SAPD- non-emergency–worker called and asked for assistance. SAPD arrived, worker LP staffed the situation with SAPD officers. While LP staffed with
  8                     11/15/2022
                                                           SAPD officer;            was still in the room with off duty CWOP officer & CWOP contractor. During this time               left the CWOP site. Everyone
                                                           went looking for her and she was not located. Worker then walked towards Sonic and main street, and                    was walking back, stating it was to
                                                             F**king cold. SAPD officers spoke to              and deescalated the situation and walked             back to her room. Two officers went inside her
                                                            room with her and they moved the dressers out of the way. Workers and Richard could hear her telling the SAPD officers, all she wanted to do was
                                                             stay in her room, and that worker LP and contractor had to be there in her room with her, and she didn’t want anyone in her room. SAPD officers
                                                         talked to her and she agreed to leave the front door, unlatched and worker LP could go in and check on her. After SAPD officers left, she came into the
                                                          joining room and spoke with the security officer and talked with both worker LP and Beatriz.                stated she was hungry. Worker LP walked with
                                                               her to the front lobby. Once in the front lobby, worker noticed, Beatriz & officer Richard had not followed worker. Worker witnessed
                                                             attempt to steal some snacks. The worker informed the hotel security officer if it was discovered that food items were taken by               that she
                                                          would return to pay for the items, and he agreed that was fine. By this time, it was almost 3:30am. worker and                 walked back to the room for
                                                                                                    the rest of the shift. She allowed the door to stay open with the latch off.



                                                                    had stated that he had been frustrated with       earlier in the day. He stated that he did not like the way he was talking to staff and
                                                         disrespecting them.        had told      to leave his room and stated that he did not want           in room 305. Staff had asked        to leave to try to
                                                           keep things calm.       had agreed and left the room. During this time         left as well to go to the lobby. He got to the elevator but returned to
                                                         room 305, he was walking into the room when          confronted him about his behavior and told him he was doing to much.              started to respond
  5                     11/1/2022
                                                            but      slapped him on his face.       went to the lobby with staff and the security officer.        and           went back into their room.
                                                           stayed in his room and watched tv. He was calm and stated that he was just tired of             behavior. The boys stayed separated most of the shift
                                                         and had no other issues for the remainder of the shift.      did not have any noticeable marks on his face from the slap and did not complain about
                                                                                                                                any pain.




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                                                           On 12pm–4pm shift,              went outside with staff and other child at CWOP to get some fresh air.             and other child walked backed into the
                                                         front lobby where they went to the business center. I informed               that it wasn’t a good idea because she isn’t allowed to use electronics per her
                                                           binder.           and other child continued into room. I told           that she is not to use the computer.            told other staff member to call her
                                                            caseworker because her binder says that she just can’t get on Instagram. Other staff member, Janice Johnson, called                   caseworker, Brenda
                                                         Santana. Ms. Santana advised that              could listen to music on Youtube as long as it was appropriate, and we were monitoring her to ensure that
                                                         she was not social media or doing anything inappropriate.              then went to Youtube and immediately put on a song that was not appropriate and
                                                              saying sexually inappropriate things with inappropriate language. The caseworker on shift, Janice Johnson, went to grab the mouse to pause the
                                                          music.            began hitting Ms. Johnson’s hand with her hand and moving the mouse away from her. Ms. Johnson advised her to just put the clean
                                                         version of the song on or to change the song, and reached for the mouse.                 immediately stood up and started yelling at Ms. Johnson to not put
                                                             her hands on her, got in her face, and cornered her. The off duty cop, W. Watson with SAPD approached Promise having her move away from Ms.
                                                               Johnson. We attempted to get the girls to leave the room. The other child, was not wanting to leave and was very upset. The off duty cop was
                                                           standing in the door way.            was yelling saying that she wasn’t going back to the room, she was leaving, and getting away from this place. We
                                                            managed to get the other child up to leave the room. The off duty cop moved away from the door way,                   immediately started to go outside.
  8                     11/4/2022
                                                            The off duty cop and Ms. Johnson went outside with her, while I continued to get the other child to leave the room. I met outside with                 Ms
                                                          .Johns, and the off duty cop.            was moving around the parking lot, calling Ms. Johnson names such as “bitch, hoe” and threatening to hurt her,
                                                             and           was referring to the cop as “a killer, an African American killer, using derogatory names, telling him he killed one of her people, a pig,
                                                          racist, a white bastard, etc.” There were multiple cars trying to move throughout the parking lot, and              was moving around the parking lot and
                                                         acting like she was going to runaway or run in front of a car.            went to run and there were two car close by.             was pushing around the off
                                                              duty cop. The off duty cop then grabbed the back of               sweater.             turned around and hit the off duty cop in the face with a slight
                                                           closed hand and her palm, then pushed his chest, and attempted to run. The off duty cop grabbed her arm.                   then hit the off duty cop several
                                                             times in his face and chest. The off duty cop then got           on the ground on her stomach, was holding her down, and placed her in hand cuffs.
                                                           After getting           in the handcuffs with her moving around, screaming, cussing, and threatening him, the off duty cop picked her up and had her
                                                         sit on the curb in the handcuffs.           continued calling everyone names, cussing, etc. Two patrol cars arrived and               was placed in the vehicle
                                                            to be detained for assault to peace officer. There were multiple people, about 20, recording the incident and saying that they would be posting the
                                                             video. They were advised that they were juvenile’s and they were violating the children’s rights. They did not stop recording. SAPD 22241012, W.
                                                                                                                          Watson #01717, arrest at 15:30


                                                                        ran with         from their CWOP location at 1:45pm and were returned by Selma PD at 3:53 pm. They had BB gun on them.                  told
                                                            the officers that it was his. They told staff that the BB gun was nothing illegal, but others could perceive it to be a real gun and they needed to be
                                                         careful. PD On Call asked for the officers to keep the BB gun. And they stated that they would take it to the station and if no one claimed after 30 days
  8                     11/6/2022                         then it would be destroyed. What was in the boy’s backpacks was discussed. The officers stated that they could not search their backpacks without a
                                                            warrant but that since we were Managing Conservators we were able to. There was nothing found in the backpacks. Shortly after the boys were
                                                         returned the PD was contacted by Comfort Inn and they stated that they could not have               there anymore..Selma PD Report Number Run 2226549
                                                                                                                                and 2226554.



  5                     11/21/2022


                                                          During the 12a-4a shift on 11/21/2022       and the other two boys ran from the hotel room during the shift, running around the hotel from myself
                                                         and Worker Skinner. They finally complied and came back inside the room. Worker Skinner was standing in front of the door when            got up to try
  5                     11/21/2022                        and open the door. He told Worker Skinner to move and she said no, he needed to go sit back down.           tried to open the door anyways but was
                                                         unsuccessful.       then got mad and threatened to punch Worker Skinner in the face. Officer Jeff Coulter got in front of       and made him sit back
                                                          down.         then began calling Worker Skinner names and being Disrespectful.         got up again and walked to the door. He told worker Skinner
                                                           again to move, grabbed the door and threw it open, hitting worker Skinner with the door. Officer Coulter and I, worker Andrus, talked        down
                                                         after we found him outside of the hotel. Worker Skinner called LE to make a report. LE came to the room and spoke with          and let him know that
                                                            a report was being made and if he got another call of him being aggressive or making threats of harm toward staff, he would be coming back and
                                                          escorting him out in handcuffs.       made the comment that he did not care if he was arrested, it would not hold up in court. LE gave me the card
                                                                                 with the case number and his name. It was noted and placed in          binder. (case id: 22-00032104).
  5                     11/21/2022




  5                     11/19/2022                        I arrived for the 8PM shift,               and              were in the lobby with staff and security.            and        were on the computer.
                                                              l          i            i   ffi              f ll     i          l                   il i   f     i                          i i Bl i          if




                                                                  353                                                                                                                      Sept 2021 - Nov 2022
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Region   Child Name           Date of Incident             Location


  7                             12/1/2022




  7                             12/1/2022




  7                             12/2/2022




  7                             12/2/2022




                                                 355                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location



  7                             12/3/2022




  7                             12/4/2022




  7                             12/5/2022




  7                             12/21/2022




                                                 356                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  9                             12/23/2022




                                                 357                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  4                             12/31/2022




  9                             12/13/2022




  9                             12/14/2022




                                                 358                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             12/24/2022




                                                 359                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             12/28/2022




 11                             12/28/2022




 11                             12/31/2022




                                                 360                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location



 11                             12.30.2022




 11                             12.31.2022




                                                 361                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             12.31.2022




                                                 362                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  9                             12.12.2022




 3E                             12.01.2022




 8A                             12.06.2022




                                                 363                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident                 Location




 3E                             12.06.2022




                                                 9205 Amelia Pass San Antonio, TX 78254
 08A                            12.08.2022
                                                                (Hotel)



                                                 364                                      Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            12.08.2022




                                                 365                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 3E                             12.06.2022




 3E                             12.06.2022




                                                 366                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 3E                             12.12.2022




 08A                            12.13.2022




                                                 367                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident                   Location




                                                 3602 SE Military Dr. San Antonio, TX 78223
 08A                            12.15.2022                         (Quality
                                                                     Inn)




                                                 368                                          Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            12/15/2022




                                                 369                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            12/16/2022




 08A                            12/14/2022




 08A                            12/12/2022




                                                 370                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            12.09.2022




                                                 371                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            12.06.2022




                                                 372                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            12.16.2022




                                                 373                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            12.03.2022




                                                 374                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            12.17.2022




 08A                            12.17.2022




                                                 375                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            12.15.2022




 08A                            12.15.2022




                                                 376                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            12.12.2022




                                                 377                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            12.22.2022




 08A                            12.20.2022




 08A                            12.26.2022




                                                 378                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident                 Location




                                                  5315 South Rice Avenue Houston, TX
 06A                            12.26.2022
                                                    77081 - TownePlace Suites Hotel




                                                 379                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




                                                                               ,
 06A                            12.27.2022




 08A                            12.29.2022




                                                 380                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06A                            12.27.2022




 06A                            12.27.2022




                                                 381                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06A                            12.28.2022




                                                 382                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            12/30/2022




 08A                            12.29.2022




                                                 383                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 03E                            12.30.2022




 03E                            12.29.2022




 06B                            12.16.2022




                                                 384                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             12.27.2022




 11                             12.27.2022




                                                 385                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            12.19.2022




  9                             12.12.2022




                                                 386                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             1/29/2023




  7                             1/26/2023




  7                             1/23/2023




                                                 387                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                             1/13/2023




  7                             1/15/2023




                                                 388                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location



  7                             1/15/2023




  7                             1/29/2023




  7                             1/30/2023




                                                 389                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  7                              1/3/2023




  4                             1/11/2023




                                                 390                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  5                              1/7/2023




                                                 391                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  9                             1/24/2023




  9                             1/20/2023




                                                 392                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location

 08A                            1/13/2023




 08A                            1/13/2023




 08A                             1/3/2023




 06A                             1/7/2023




                                                 393                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            1/23/2023




 08A                            1/23/2023




                                                 394                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




  9                             1/21/2023




  4                             1/24/2023




  7                              1/5/2023




                                                 395                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                            1/17/2023




 08A                             1/8/2023




                                                 396                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 08A                             1/6/2023




                                                 397                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 06B                            1/14/2023




 03E                            1/24/2023




 03E                            1/24/2023




                                                 398                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                             1/23/2023




                                                 399                                    Dec 2022 - Nov 2023
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Region   Child Name           Date of Incident             Location




 11                              1/7/2023




 11                              1/7/2023




                                                 400                                    Dec 2022 - Nov 2023
